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                                                                             Review

      1                    UNITED STATES DISTRICT COURT

      2                 FOR THE NORTHERN DISTRICT OF OHIO

      3                            EASTERN DIVISION

      4

      5    ------------------------------)

      6    IN RE:    NATIONAL PRESCRIPTION )

      7    OPIATE LITIGATION                     ) Case No. 1:17-MD-2804

      8    ------------------------------) Hon. Dan A. Polster

      9    APPLIES TO ALL CASES                  )

     10    ------------------------------)

     11

     12                          HIGHLY CONFIDENTIAL

     13           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

     14

     15                  The videotaped deposition of WILLIAM

     16    RATLIFF, called for examination, taken pursuant to the

     17    Federal Rules of Civil Procedure of the United States

     18    District Courts pertaining to the taking of

     19    depositions, taken before JULIANA F. ZAJICEK, a

     20    Registered Professional Reporter and a Certified

     21    Shorthand Reporter, at the Hilton Garden Inn, 8910

     22    Hatfield Drive, Indianapolis, Indiana, on December

     23    19, 2018, at 9:36 a.m.

     24

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     1 APPEARANCES:                                                1 ALSO PRESENT:
     2 ON BEHALF OF THE PLAINTIFFS:
     3   KELLER ROHRBACK L.L.P.                                    2      DONALD LOHMAN, ESQ.
         1201 Third Avenue, Suite 3200                             3      VP Legal, Mallinckrodt.
     4   Seattle, Washington 98101-3052
         206-623-1900                                              4
     5   BY: DEAN KAWAMOTO, ESQ.
            dkawamoto@kellerrohrback.com;                          5
     6      DAVID J. KO, ESQ.                                      6
            dko@kellerrohrback.com
     7                                                             7 THE VIDEOGRAPHER:
     8 ON BEHALF OF THE STATE OF TENNESSEE PLAINTIFFS:             8      MR. MICHAEL NEWELL,
     9   BRANSTETTER, STRANCH & JENNINGS, PLLC
         The Freedom Center                                        9      Golkow Litigation Services.
    10   223 Rosa L. Parks Avenue, Suite 200
         Nashville, Tennessee 37203                               10
    11   615-254-8801                                             11
         BY: TRICIA HERZFELD, ESQ.
    12      triciah@bsjfirm.com                                   12
    13
       ON BEHALF OF AMERISOURCEBERGEN CORPORATION and             13
    14 AMERISOURCEBERGEN DRUG CORPORATION:                        14
    15   JACKSON KELLY PLLC
         500 Lee Street East, Suite 1600                          15 REPORTED BY: JULIANA F. ZAJICEK, CSR 84-2604
    16   Charleston, West Virginia 25301-3202                     16
         304-284-4138
    17   BY: JON L. ANDERSON, ESQ. (Telephonically)               17
            jlanderson@JacksonKelly.com
    18                                                            18
    19 ON BEHALF OF MALLINCKRODT LLC and SPECGX LLC:              19
    20   ROPES & GRAY LLP
         Prudential Tower                                         20
    21   800 Boylston Street
         Boston, Massachusetts 02199-3600                         21
    22   617-951-7910                                             22
         BY: ANDREW O'CONNOR, ESQ.
    23      andrew.o'connor@ropesgray.com;                        23
            ELISSA REIDY, ESQ.                                    24
    24      elissa.reidy@ropesgray.com

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     1 APPEARANCES: (Continued)                                    1               INDEX
     2 ON BEHALF OF CARDINAL HEALTH, INC :                         2
     3   WILLIAMS & CONNOLLY LLP
                                                                   3   WITNESS:               PAGE:
            725 Twelfth Street, N W
            Washington, D C 20005                                  4   WILLIAM RATLIFF
     4
            202-434-5000                                           5     EXAM BY MR. KAWAMOTO................. 14
     5      BY: KATELYN ADAMS, ESQ (Telephonically)                6     EXAM BY MS. HERZFELD................. 335
               kadams@wc com                                       7     EXAM BY MR. O'CONNOR................. 453
     6                                                             8     FURTHER EXAM BY MR. KAWAMOTO......... 458
     7 ON BEHALF OF McKESSON CORPORATION:                          9
     8   COVINGTON & BURLING, LLP
            One City Center                                       10                *****
     9      850 Tenth Street, NW                                  11
            Washington, D C 20001                                 12             EXHIBITS
    10      202-662-5531                                          13   MALLINCKRODT-RATLIFF EXHIBIT               MARKED FOR ID
            BY: EMILY L KVESELIS, ESQ
                                                                  14   No. 001 Excerpt from the National Drug    28
    11         ekveselis@cov com
                                                                             Threat Assessment from 2011
    12
         ON BEHALF OF ENDO HEALTH SOLUTIONS INC , ENDO            15
    13 PHARMACEUTICALS INC , PAR PHARMACEUTICAL COMPANIES,             No. 002 E-mail from Ratliff to Harper,   39
         INC :                                                    16         3/22/11, Subject: H.D. Smith;
    14                                                                       MNK-51-0000269884
            ARNOLD & PORTER KAYE SCHOLER LLP
            777 South Figueroa Street, 44th Floor                 17
    15
            Los Angeles, California 90017-5844                       No. 003 Mallinckrodt PowerPoint         66
    16      213-243-4238                                          18       presentation: Overview
            BY: TIFFANY M IKEDA, ESQ (Telephonically)                      Presentation for New Employee
    17         tiffany ikeda@arnoldporter com                     19       Orientation, Updated 11/04/08;
    18                                                                     MNK-T1 0000388159 - 187
         ON BEHALF OF WALMART INC :
    19                                                            20
            JONES DAY                                                No. 004 Mallinckrodt PowerPoint: Overview 73
    20      2727 North Harwood Street                             21       Presentation for Product and
            Dallas, Texas 75201-1515                                       Patient Safety Group, Update
    21      214-220-3939                                          22       11/04/08; MNK-T1 0000420207 - 227
            BY: LAURA JANE DURFEE, ESQ
               ldurfee@jonesday com                               23 No. 005 E-mail from Kimberly France to     77
    22
    23                                                                     Kate Muhlenkamp, 9/2/08, Subject:
    24                                                            24       Action Plan, w/attachment; MNK-T1

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     1          E X H I B I T S (Continued)                          1          E X H I B I T S (Continued)
     2 MALLINCKRODT-RATLIFF EXHIBIT                MARKED FOR ID     2 MALLINCKRODT-RATLIFF EXHIBIT                 MARKED FOR ID
     3 No. 006 Mallinckrodt PowerPoint,         86                   3 No. 020 E-mail from Karen Harper to        214
             Controlled Substance Suspicious                                 Ratliff and Spaulding, 11/2/2010,
     4       Order Monitoring Program,
             Introductory Training for Field                         4       Subject: Draft DEA St. Louis
     5       Sales, June 5, 2008; MNK-T1                                     Meeting Notes, w/attachment;
             0000277066 - 075                                        5       MNK-T1 0000421973 - 975
     6                                                               6 No. 021 E-mail chain, top one from Donald 221
       No. 007 E-mail chain, top one from Karen 110                          Lohman to Barbara Boockholdt,
     7       Harper to Bill Ratliff,                                 7       among others, Subject: Meeting
             12/13/2007, Subject: FW: Please
     8       read important information; MNK-T1                              Agenda, w/attachment; MNK-T1
             0004211219 - 226                                        8       0000471744 - 750
     9                                                               9 No. 022 PowerPoint presentation: DEA & 222 237
       No. 008 E-mail chain, top one from Karen 126                          Regulations Training, October 20th
    10       Harper to Bill Ratliff, 2/29/2008,                     10       & 21st; MNK-T1 0002950399
             Subject: FW: DEA Suspicious Order                      11 No. 023 E-mail from Karen Harper to John 238
    11       Monitoring Update; MNK-T1                                       Adams, among others, 6/6/08,
             0007146630 - 633
    12                                                              12       Subject: Suspicious Order
       No. 009 E-mail chain, top one from Jim    137                         Monitoring Notes from Bulk
    13       Rausch to Bill Ratliff, among                          13       Narcotics Sales Meeting
             others, 4/1/08, Subject: RE:                                    Presentation;
    14       Suspicious Order Monitoring;                           14       MNK-T1 0000419956 - 957
             MNK-T1 0000268860                                      15 No. 024 E-mail chain, top one from Karen 242
    15                                                                       Harper to Jim Rausch, George
       No. 010 E-mail chain, top one from Karen 147
    16       Harper to Bill Ratliff, 3/3/2008,                      16       Saffold, 6/9/10, Subject: RE:
             Subject: DEA Compliance Monthly                                 Suspicious Order Monitoring
    17       Highlights, February 2008; MNK-T1                      17       Program; MNK-T1 0000264412 - 413
             0001308810 - 811                                       18 No. 025 Global Controlled Substance        247
    18                                                                       Compliance Procedure, Revision
       No. 011 E-mail from Karen Harper to Bill 156                 19       Date: 01/04/11;
    19       Ratliff, among others, 4/10/2008,
             Subject: Draft Procedure:                                       MNK-T1 0000307322 - 324
    20       Mallinckrodt Controlled Substance                      20
             Suspicious Order Monitoring,                              No. 026 Pharmacy Information Sheet,        251
    21       w/attachments;                                         21       10/11/11; MNK-T1 0000570903 - 905
             MNK-T1 0000273902 - 909                                22 No. 027 Pharmacy Information Sheet, Date: 256
    22                                                                       10/11/11; MNK-T1 0000571105 - 111
       No. 012 E-mail from Karen Harper to Bill 171
    23       Ratliff, 6/3/2008, Subject: DEA                        23
             Compliance Monthly Report - May,                          No. 028 Handwritten notes by Bill Ratliff; 261
    24       2008; MNK-T1 0002908468 - 469                          24       MNK-T1 0000386469 - 472

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     1          E X H I B I T S (Continued)                          1          E X H I B I T S (Continued)
     2 MALLINCKRODT-RATLIFF EXHIBIT                 MARKED FOR ID    2 MALLINCKRODT-RATLIFF EXHIBIT                MARKED FOR ID
     3 No. 013 Interoffice Correspondence from 174                   3 No. 029 Covidien PowerPoint entitled      265
             Karen Harper to JoAnne Levy,                                    "EXALGO Utilization," by Julie
     4       Subject: Controlled Substance                           4       Milford; MNK-T1-002694677
             Compliance Monthly Report, Date:                        5 No. 030 E-mail chain, to one from Bill   271
     5       January 6, 2009;                                                Ratliff to Karen Harper, 5/20/08,
             MNK-T1 0000502031 - 032                                 6       Subject: Fw: Sunrise Wholesale;
     6                                                                       MNK-T1 0000290601 - 603
       No. 014 E-mail chain, top one from Karen 180                  7
     7       Harper to Bill Ratliff, 5/18/11,                          No. 031 E-mail chain, top one from Karen 276
             Subject: RE: Hydromorphone; MNK-T1                      8       Harper to Bill Ratliff, 5/20/08,
     8       0000283602 - 603                                                Subject: FW: Sunrise Wholesale;
     9 No. 015 E-mail from Karen Harper to Kerry 186                 9       MAL-MI 000015271 - 273
             Hamilton and Bill Ratliff,                             10 No. 032 E-mail chain, top one from Bill 278
    10       11/2/10, Subject: Explanation of                                Ratliff to Cathy Stewart, among
             Mallinckrodt Chargeback System;                        11       others, 5/24/08, Subject: Re:
    11       MNK-T1 0000387492                                               Intermediate Credit Update on
    12 No. 016 E-mail chain, top one from Bill 190                  12       Sunrise Pharmaceutical;
             Ratliff to Karen Harper, 7/21/10,                               MNK-T1 0000290580 - 582
    13       Subject: RE: Dea Dialog 7/20/10 -                      13
             Suspicious Order Monitoring                               No. 033 E-mail chain, top one from Cathy 283
    14       Harvard Drug License Suspension;                       14       Stewart to Bill Ratliff and Karen
             MNK-T1 0000561571 - 575                                         Harper, 5/20/08, Subject: FW:
    15                                                              15       Sunrise Wholesale;
       No. 017 PowerPoint presentation,         194                          MNK-T1 0003028219 - 220
    16       Mallinckrodt Controlled Substance                      16
             Suspicious Order Monitoring                               No. 034 E-mail chain, top one from Karen 288
    17       Program, Presentation for                              17       Harper to Bill Ratliff, 11/14/08,
             Marketing Group, March 21, 2011;                                Subject: FW: Oxy 15 mg & 30 mg @
    18       MNK-T1 0000496098 - 124                                18       Sunrise; MNK-T1 0000307120 - 121
    19 No. 018 E-mail chain, top one from Bill 199                  19 No. 035 E-mail chain, top one from Victor 294
             Ratliff to Karen Harper, 5/2/2008,                              Borelli to Bill Ratliff, 7/27/09,
    20       Subject: FW: Suspicious Order                          20       Subject: RE: Pete Kleissle, Oxy
             Monitoring Miscellaneous Update;                                Investigation;
    21       MNK-T1 0000419903 - 904                                21       MNK-T1 0000307203 - 207
    22 No. 019 E-mail chain, top one from Eileen 210                22 No. 036 E-mail chain, top one from Victor 300
             Spaulding to Karen Harper,                                      Borelli to Bill Ratliff, among
    23       8/1/2008, Subject: RE: DEA Meeting                     23       others, 8/4/09, Subject: RE:
             Proposal; MNK-T1 0000274608 - 609                               Florida medication coming into
    24                                                              24       Tennessee; MNK-T1 0000562325 -329

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     2 MALLINCKRODT-RATLIFF EXHIBIT                 MARKED FOR ID
                                                                     2 MALLINCKRODT-RATLIFF EXHIBIT              MARKED FOR ID
     3 No. 037 E-mail chain, top one is from Lisa 308
             Lundergan to Cathy Stewart, among                       3 No. 055 Spreadsheet, chargeback data, TN 429
     4       others, 8/11/09, Subject: RE:                                   oxy 15 through June 2012;
             Sunrise Customer Chargebacks,
     5       w/attachment;                                           4       MNK_TNSTA0534773
             MNK-T1 0000456333 - 335                                 5 No. 056 Spreadsheet, chargeback data, TN 444
     6
       No. 038 E-mail chain, top one from Cathy 310                          oxy 30 through June 2012;
     7       Stewart to Charity Aranda and                           6       MNK_TNSTA0534773
             Karen Harper, 8/17/09, Subject:
     8       FW: Sunrise Chargeback Summary,                         7 No. 057 Memorandum from Howard Davis to 458
             w/attachment;                                                   Karen Harper, 11/2/10, Subject:
     9       MNK-T1 0000290041 - 053
    10 No. 039 Controlled Substance Compliance 319                   8       Suspicious Order Monitoring
             Suspicious Order Monitoring,                                    Program No. C/S Comp 3.0; MNK-T1
    11       Customer Audit Checklist, date
             completed: 08/18/09;                                    9       0000269399 - 400
    12       MNK-T1 0000307243 - 245                                10
    13 No. 040 Excerpt of chargeback data re     323
             Sunrise Wholesale Inc.;                                11
    14       MNK-T1 0000264291                                      12
    15 No. 041 Administrative Memorandum of         330             13
             Agreement between the US DOJ, DEA
    16       and Mallinckrodt, 7/2017                               14
    17 No. 042 Spreadsheet; MNK_TNSTA05224016 - 347                 15
             029
    18                                                              16
       No. 043 Pharmacy Information Sheet,        356               17
    19       10/17/11, Jabos Pharmacy;
             MNK_TNSTA01665655 - 656                                18
    20                                                              19
       No. 044 Pharmacy Information Sheet,        366
    21       10/17/11, Rippetoe, Inc.;                              20
             MNK_TNSTA01666082 - 083                                21
    22
       No. 045 Pharmacy Information Sheet,        370               22
    23       10/17/11, East Tennessee Discount                      23
             Drug; MNK_TNSTA01665081 - 082
    24                                                              24

                                                        Page 11                                                             Page 13
     1          E X H I B I T S (Continued)                          1     THE VIDEOGRAPHER: We are now on the record. My
     2 MALLINCKRODT-RATLIFF EXHIBIT                 MARKED FOR ID
     3 No. 046 Pharmacy Information Sheet,        374                2 name is Michael Newell. I am a videographer for
             2/26/12, East Tennessee Discount
     4       Drug; MAL-NY00004465                                    3 Golkow Litigation Services.
     5 No. 047 E-mail from Karen Harper to        377                4         Today's date is December 19th, 2018. The
             Christine Inman, 10/20/11,
     6       Subject: AmerisourceBergen General                      5 time is 9:36 a m.
             SOM Notes and Individual Pharmacy
     7       Comments, w/attachment;                                 6         This video deposition is being held in
             MNK_TNSTA05124366 - 373
     8                                                               7 Indianapolis, Indiana, in the matter of National
       No. 048 Covidien Controlled Substance       381               8 Prescription Opiate Litigation.
     9       Compliance/Suspicious Order
             Monitoring Distributor Customer                         9         The deponent today is Floyd Ratliff.
    10       Audit Checklist, Audit Date:
             02/01/12; MNK_TNSTA05346757 - 764                      10         Counsel will be noted for the stenographic
    11                                                              11 record.
       No. 049 Spreadsheet, ABC Top 40 and Multi 405
    12       Dist Tab; MNK_TNSTA05323795 - 802                      12         The court reporter is Juliana Zajicek and
    13 No. 050 E-mail from Bill Ratliff to Donald 411
             Walker, among others, 12/5/11,                         13 will now swear in the witness.
    14       Subject: Additional Pharmacies;
             MNK_TNSTA05310282                                      14           (WHEREUPON, the witness was duly
    15
       No. 051 E-mail from Donald Walker to Bill 413                15               sworn.)
    16       Ratliff, 12/12/11, Subject:                            16     MR. KAWAMOTO: Dean Kawamoto, Keller Rohrback,
             Additional Pharmacies,
    17       w/attachment;                                          17 on behalf of the Plaintiffs.
             MNK_TNSTA05324116 - 117
    18                                                              18     MR. KO: Good morning. David Ko, Keller
       No. 052 Pharmacy Information Sheet,        417
    19       3/20/12, Bradley Drug Co.;                             19 Rohrback, also on behalf of the Plaintiffs.
             MAL-NY00004333                                         20     MS. HERZFELD: Tricia Herzfeld, Branstetter,
    20
       No. 053 Consent Order by the Tennessee      424              21 Stranch & Jennings, on behalf of the Tennessee
    21       Department of Health re
             Dr. Michael Rhodes, 7/21/09                            22 Plaintiffs.
    22
       No. 054 Spreadsheet, May 2012 Top Oxy 30 426                 23     MS. KVESELIS: Emily Kveselis, Covington &
    23       Pharms; MNK_TNSTA05348540                              24 Burling, for McKesson.
    24

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     1     MS. DURFEE: Laura Jane Durfee, Jones Day, for               1 Investigation. Have you ever testified in court
     2 Walmart.                                                        2 before?
     3     MR. LOHMAN: John Lohman in-house with                       3       A. Many times.
     4 Mallinckrodt.                                                   4       Q. Okay. And can you generally describe the
     5     MS. REIDY: Elissa Reidy of Ropes & Gray for                 5   cases that you testified in?
     6 Mallinckrodt, LLC and SpecGX.                                   6       A. I testified in all matters that were
     7     MR. O'CONNOR: Andrew O'Connor of Ropes & Gray,              7   investigated by the FBI. I was a special agent for
     8 Mallinckrodt, LLC, SpecGX and Floyd Ratliff.                    8   approximately 14-and-a-half years where I investigated
     9     MR. KAWAMOTO: Do you want any of the telephonic             9   cases, and those cases involved bank robberies and
    10 appearances or -- okay.                                        10   extortions, drug cases. I was cross-trained with the
    11               WILLIAM RATLIFF,                                 11   DEA in the early '80s. Just...
    12 called as a witness herein, having been first duly             12       Q. And for the drug cases, did any of them
    13 sworn, was examined and testified as follows:                  13   involve prescription opioids?
    14                 EXAMINATION                                    14       A. No.
    15 BY MR. KAWAMOTO:                                               15       Q. Now, you indicated that you cross-trained
    16     Q.   Good morning, Mr. Ratliff. Thank you for              16   with the DEA. What -- what do you mean by that?
    17 being here.                                                    17       A. In 19 -- this is going back a long way --
    18     A.   Good morning.                                         18   '82 -- '81, '82, '83, the FBI had received joint
    19     Q.   Have you ever been deposed before?                    19   jurisdiction with the Department -- or the Drug
    20     A.   Yes.                                                  20   Enforcement Administration to assist them with the
    21     Q.   And can you briefly describe the matter               21   overwhelming drug crisis in the United States at that
    22 you were deposed in?                                           22   time. So they -- the FBI selected certain agents to
    23     A.   It was a matter when I was with the FBI.              23   be trained to assist the DEA or to work their own
    24 It was at the US Department of Justice. It concerned           24   cases within the FBI but in coordination with the DEA.

                                                          Page 15                                                       Page 17
     1   an investigation. I was one of the -- the writers for         1       Q. So you're familiar with the Controlled
     2   the final report.                                             2   Substances Act?
     3       Q. And did this case involve -- or did this               3       A. I am.
     4   matter involve narcotics?                                     4       Q. Okay. With respect to this deposition,
     5       A. It did not.                                            5   how did you prepare for it?
     6       Q. So -- well, how -- how long ago was that?              6       A. I spoke with counsel from Ropes & Gray.
     7       A. Approximately 1996.                                    7       Q. And do you recall roughly how many times
     8       Q. Okay. So some time ago.                                8   you spoke with counsel?
     9           In terms of the rules for the deposition              9       A. Two times.
    10   then, sir, just to help things go more smoothly, it is       10       Q. And were those in-person meetings or
    11   very important for us to not speak -- speak over each        11   telephonic?
    12   other. If I ask a question and you don't understand          12       A. They were. I'm sorry. They were.
    13   what the question is, please let me know and I will do       13       Q. And roughly when did these meetings occur?
    14   my best to rephrase it. When you answer, you need to         14       A. One was yesterday and one was several
    15   answer audibly, so nodding your head isn't going to          15   months back.
    16   work. And if you want to take a break, let me know.          16       Q. And how long did these meetings last,
    17   If there is a question pending, I think it probably          17   approximately?
    18   makes sense for you to answer the question, but then I       18       A. Four or five hours.
    19   will -- we'll accommodate whatever breaks you need.          19       Q. So four or five hours per meeting?
    20           Does that sound agreeable?                           20       A. Yes.
    21       A. Understood.                                           21       Q. And I'm going to ask you a question about
    22       Q. Okay. So with respect to this                         22   documents. I'm not asking you to describe the
    23   deposition -- well, actually, let me take a step back.       23   documents -- I'm not asking you to describe the
    24           You used to work for the Federal Bureau of           24   substance of the documents for me, but why don't we

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     1 start with: Did you review any documents during these         1      Q. And what was your position with them right
     2 meetings?                                                     2   before you joined Mallinckrodt?
     3      A. Yes.                                                  3      A. When I retired, I was special agent in
     4      Q. And did any of these documents refresh                4   charge of the FBI in Albany, New York. We covered
     5 your recollection?                                            5   Vermont, all counties out to the Finger Lakes and just
     6      A. Yes.                                                  6   north of New York City was our territory.
     7      Q. Okay. Do you know if these documents have             7      Q. Did you ever work for the National Drug
     8 been produced in this case?                                   8   Intelligence Center?
     9      A. No.                                                   9      A. I did.
    10      MR. KAWAMOTO: And so I'm -- I'll make a general         10      Q. And when was that from?
    11 request of counsel to provide any documents that --          11      A. I'm trying to associate this with other
    12 that he reviewed.                                            12   movement in my career to give you an accurate date.
    13      MR. O'CONNOR: I can say for the record they             13      Q. Sure.
    14 have all been produced.                                      14      A. I would say 1996 and 1997.
    15 BY MR. KAWAMOTO:                                             15      Q. And what position did you hold with them?
    16      Q. Do you have any documents in your personal           16      A. I was the deputy director.
    17 possession relating to your work at Mallinckrodt?            17      Q. And what were your job responsibilities as
    18      A. No.                                                  18   deputy director?
    19      Q. Did you have a company phone?                        19      A. It was basically to -- to manage the
    20      A. I did.                                               20   entire operation. There was a director, but those
    21      Q. Did you ever send any text messages                  21   specific duties fall to the deputy director.
    22   related to your work at Mallinckrodt?                      22      Q. Are you familiar with the "national drug
    23      A. I'm not certain that I did. I -- I'm not             23   threat assessment"?
    24 very technical. As far as I know I carried a                 24      A. I've heard that term, but I've been

                                                         Page 19                                                          Page 21
     1   BlackBerry. Is that a text?                                 1 retired for six-and-a-half years and I seldom think
     2       Q. I think they are somewhat different, but             2 about any of this, so. And that would have been in
     3   I -- I take it from your answer you are not a heavy         3 the 1990s, 20 years ago, so I'm not certain how to
     4   texter?                                                     4 answer the question other than I believe I've heard
     5       A. Correct.                                             5 that term.
     6       Q. Fair enough.                                         6      Q. What was the job or what was the function
     7            During your time at Mallinckrodt, were you         7 of the National Drug Intelligence Center?
     8   ever interviewed by any regulators or law enforcement       8      A. We employed our own analysts and analysts
     9   personnel?                                                  9 from the FBI, the DEA, and most government agencies
    10       A. I spoke with law enforcement personnel              10 with, I had like to describe it with three initials.
    11   often but I was never interviewed in that sense.           11 We were funded through the Department of Justice and
    12       Q. And you've never been deposed while                 12 also through the Central Intelligence Agency. And our
    13   employed by Mallinckrodt?                                  13 job was to gather information from agencies that
    14       A. I have not.                                         14 didn't have specific drug law enforcement type of
    15       Q. And how long did you work for Mallinckrodt          15 jurisdiction.
    16   for?                                                       16         So, for instance, the Coast Guard might do
    17       A. Approximately -- it was September of 2000           17 an interdiction and they might have a lot of
    18   until June of 2012.                                        18 information that never gets to the Drug Enforcement
    19       Q. And what did you do after you left your             19 Administration or to the FBI or to the proper agency.
    20   job at Mallinckrodt?                                       20 So the National Drug Intelligence Center employed all
    21       A. Played golf.                                        21 of these different agencies so we could coordinate
    22       Q. Now, prior to joining Mallinckrodt, you             22 that information, make reports, and put it back out to
    23   were with the FBI?                                         23 the inf- -- to the agencies that would most benefit
    24       A. That's correct.                                     24 from that information.


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     1       Q. And is it your understanding that one of             1       Q. And what are the causes of this opioid
     2   the functions of the National Drug Intelligence Center      2   crisis?
     3   was to put out this report entitled "The National Drug      3       A. It would be abuse of narcotics.
     4   Threat Assessment"?                                         4       Q. Would you agree that overprescription by
     5       A. That's -- I'm certain that's where I heard           5   doctors is a cause?
     6   that term, but it's been many years.                        6       A. Yes.
     7       Q. Do you ever recall working on a drug                 7       Q. Would you agree that the over distribution
     8   threat assessment for the -- the NDIC?                      8   by pharmaceuticals is a cause?
     9       A. Not personally.                                      9       MR. O'CONNOR: Objection.
    10       Q. Would you agree that there is an opioid             10   BY THE WITNESS:
    11   crisis facing this country?                                11       A. Yes.
    12       MR. O'CONNOR: Objection.                               12   BY MR. KAWAMOTO:
    13   BY THE WITNESS:                                            13       Q. Do you know what a pill mill is?
    14       A. I would.                                            14       A. I do.
    15   BY MR. KAWAMOTO:                                           15       Q. What is it?
    16       Q. And roughly when did it start?                      16       A. It's -- it's one that produces an excess
    17       A. I don't recall the exact timing.                    17   of narcotics for the street.
    18       Q. If you had to estimate, though, what --             18       Q. And when you say "produces an excess of
    19   what -- roughly when would you put the date, pre 2000,     19   narcotics for the street," are you -- are you
    20   2012, if you had to ballpark it?                           20   referring to a manufacturer of narcotics?
    21       A. I would rather not guess.                           21       A. No.
    22       Q. Were you concerned about the opioid                 22       Q. So what -- what do you mean when you say
    23   epidemic while you were employed at Mallinckrodt?          23   it produces -- a pill mill "produces an excess of
    24       A. Yes.                                                24   narcotics for the street"?
                                                          Page 23                                                           Page 25
     1       Q. And you joined Mallinckrodt in 2000, is              1     A.     A manufacturer receives a quota from the
     2   that correct?                                               2 Drug Enforcement Administration. They have an
     3       A. Correct, um-hum.                                     3 overview of what pain medications are needed to be
     4       Q. Did you ever hear the term "opioid                   4 distributed through distributors throughout the
     5   epidemic user" discussed while you were employed at         5 United States. They have the big picture. The
     6   Mallinckrodt?                                               6 manufacturers only have a small portion of the picture
     7       A. Yes. The -- what you need to understand,             7 because they were granted quota, normally not the
     8   if I might add some additional information, I worked        8 entire amount they request, but they were granted a
     9   as the Security Manager for Mallinckrodt until they         9 certain amount of quota by the Drug Enforcement
    10   were purchased by Tyco, Tyco International, and then       10 Administration.
    11   it became Tyco Healthcare, then I became the Director      11    MR. KO: By the way, I believe everyone's
    12   of Security, director, not manager, but Director of        12 real-time is down.
    13   Security for Tyco Healthcare. That eventually was          13     MR. KAWAMOTO: Do you want to take a quick ten
    14   spun off into Covidien and I was the Chief Security        14 second break?
    15   Officer for Covidien worldwide.                            15     THE VIDEOGRAPHER: We are going off the record
    16       Q. And so was it in the context of your work           16 at 9:52.
    17   as the Director of Security for Tyco that you heard        17        (WHEREUPON, a recess was had
    18   this term or you used this term -- or I'm sorry -- you     18         from 9:52 to 9:55 a.m.)
    19   heard this term discussed?                                 19    THE VIDEOGRAPHER: We are back on the record at
    20       MR. O'CONNOR: Objection.                               20 9:55.
    21   BY THE WITNESS:                                            21 BY MR. KAWAMOTO:
    22       A. I just can't recall exactly when I heard            22     Q.     So, Mr. Ratliff, before we went off the
    23   the term. Did I hear that term, yes.                       23 record, we were discussing pill mills.
    24   BY MR. KAWAMOTO:                                           24          Are pill mills essentially pharmacies?

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     1       MS. DURFEE: Objection.                                  1   deaths from that illicit product that was in the
     2   BY THE WITNESS:                                             2   market.
     3       A. There is no way for me to answer that. I             3      Q. And by illicit distribution of narcotics,
     4   don't know that.                                            4   does that include prescription opioids?
     5   BY MR. KAWAMOTO:                                            5      MR. O'CONNOR: Objection.
     6       Q. Okay. Well, what -- I think we                       6   BY THE WITNESS:
     7   established that in your view a pill mill is not a          7      A. Yes.
     8   manufacturer, so what -- what is a pill mill?               8   BY MR. KAWAMOTO:
     9       A. They are putting licit pills into the                9      Q. In fact, weren't the majority of illicit
    10   illicit market.                                            10   narcotics that were being distributed prescription
    11       Q. And can you give me an example of a pill            11   opioids?
    12   mill?                                                      12      MR. O'CONNOR: Objection.
    13       A. Well, there are countries, Mexico would be          13   BY THE WITNESS:
    14   one, China would be another, that introduce pills into     14      A. I don't know that.
    15   the United States at a -- at a large rate. So those        15      MR. KAWAMOTO: I'd like to mark as exhibit --
    16   would be pill mills.                                       16           So this is going to be marked as
    17       Q. And so your understanding of the term               17   Exhibit 1, and I'm not quite sure what the best way to
    18   "pill mill" is -- is that it would include China, for      18   get this to the other side of the table is, so if I
    19   example?                                                   19   give it to you can you sort of circulate it.
    20       A. Yes.                                                20              (WHEREUPON, a certain document was
    21       Q. Could a local retail pharmacy be a pill             21               marked Mallinckrodt-Ratliff
    22   mill?                                                      22               Deposition Exhibit No. 001, for
    23       A. Yes.                                                23               identification, as of 12/19/2018.)
    24       MS. DURFEE: Objection.                                 24   BY MR. KAWAMOTO:

                                                        Page 27                                                            Page 29
     1   BY MR. KAWAMOTO:                                            1      Q. So, Mr. Ratliff, I've handed you what's
     2      Q. Did you ever encounter such pill mills                2   Exhibit 1. It's an excerpt from the National Drug
     3   while working for Mallinckrodt?                             3   Threat Assessment from 2011. I put it up on the Elmo
     4      A. I did.                                                4   for your convenience.
     5      Q. Do you believe pill mills contributed to              5      A. Okay.
     6   the opioid crisis?                                          6      Q. You'll note that it's put out by the US
     7      A. I do.                                                 7   Department of Justice and it is the National Drug
     8      Q. And were you concerned about them while               8   Intelligence Center is actually the institution that's
     9   you were employed at Mallinckrodt?                          9   responsible for it.
    10      A. Yes.                                                 10           Directing your attention to the top of
    11      Q. And did you believe it was -- strike that.           11   Page 37, and I'll high right this, this wording for
    12          Do you believe Mallinckrodt had an                  12   you.
    13   obligation to prevent its products from reaching pill      13           Can you please read what I have just
    14   mills?                                                     14   highlighted?
    15      MR. O'CONNOR: Objection.                                15      A. "The abuse of CPDs constitutes a problem
    16   BY THE WITNESS:                                            16   second only to the abuse of marijuana in scope and
    17      A. Yes.                                                 17   pervasiveness in the United States; the problem is
    18   BY MR. KAWAMOTO:                                           18   particularly acute among adolescents."
    19      Q. And do you recall when you first became              19      Q. Would you agree with that statement?
    20   concerned about pill mills?                                20      MR. O'CONNOR: Objection.
    21      A. I can't give you a specific date or year.            21   BY THE WITNESS:
    22   There were -- there was a lot of information on the        22      A. Based on their assessment, yes.
    23   news about the illicit, not licit, but illicit             23   BY MR. KAWAMOTO:
    24   distribution of narcotics and that it was causing          24      Q. Well, do you have any reason to believe

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     1 that the assessment is inaccurate?                            1   but I know they've had a great deal of -- of problems.
     2       A. No.                                                  2        Q. So it would be fair to characterize West
     3       Q. That's all with that one.                            3   Virginia as a hot spot as we are using that term,
     4       A. Okay.                                                4   would it not?
     5       Q. So is it fair to say that the opioid                 5        MR. O'CONNOR: Objection.
     6   crisis is largely driven by prescription opioids?           6   BY THE WITNESS:
     7       MR. O'CONNOR: Objection.                                7        A. Yes.
     8   BY THE WITNESS:                                             8   BY MR. KAWAMOTO:
     9       A. I would say yes.                                     9        Q. What about Georgia?
    10   BY MR. KAWAMOTO:                                           10        A. I don't know specifically that Georgia was
    11       Q. Are you aware of the term "migration" with          11   a hot spot.
    12   respect to -- strike that.                                 12        Q. What about Tennessee?
    13           Are you familiar with the use of the term          13        A. Just for the record, I've been retired
    14   "migration" in the context of opioid products?             14   six-and-a-half years and most of the information you
    15       A. No, not that I recall.                              15   are asking is much longer ago than that and I'm --
    16       Q. Did you have particular concerns with               16   I'll do my very best, but I haven't really thought
    17   opioid products going to Florida and from there making     17   about any of this since I retired. So I'm going to do
    18   their way -- making their way to other parts of the        18   my very best to answer those questions, but you are
    19   country?                                                   19   asking questions about long ago for me.
    20       MR. O'CONNOR: Objection.                               20        Q. No, I understand that, and I appreciate
    21   BY THE WITNESS:                                            21   your best efforts.
    22       A. Yes.                                                22        A. I'm doing the best I can.
    23   BY MR. KAWAMOTO:                                           23        Q. Sir, thank you.
    24       Q. What were those concerns?                           24        A. At the time I -- there were a number of

                                                          Page 31                                                       Page 33
     1      A. There came a time that we began to look at            1 states that were having issues, I believe, but it was
     2   our customer's customer. We manufactured oxycodone.         2 Florida was where DEA really wanted us to focus our
     3   We sold that to distributors and distributors sold          3 efforts at that time.
     4   that to their customers. And there came a time when         4      Q. And in just going back briefly to the
     5   we started looking at our customer's customer. So I         5 issue of hot spots, do you -- do you recall
     6   actually went to Florida and reviewed a number of           6 conversations about Tennessee?
     7   pharmacies to see if they were legitimate pharmacies        7       MR. O'CONNOR: Objection.
     8   in my opinion or if they were, I guess what you would       8   BY THE WITNESS:
     9   call a pill mill.                                           9       A. Not specifically.
    10      Q. And why go to Florida to do that?                    10   BY MR. KAWAMOTO:
    11      A. Because that was, I think, according to              11       Q. What about Ohio?
    12   DEA one of the hot spots. There were others in the         12       MR. O'CONNOR: Objection.
    13   United States that we also looked at, but Florida was      13   BY THE WITNESS:
    14   one that DEA was particularly concerned about.             14       A. Not specifically.
    15      Q. And do you recall what some of the other             15   BY MR. KAWAMOTO:
    16   hot spots were?                                            16       Q. Now, with respect to Florida, what were
    17      A. I do. New Jersey would be one, Las Vegas,            17   your concerns about Florida?
    18   Nevada would be another, as an example.                    18       A. We were getting information that a number
    19      Q. What about Kentucky?                                 19   of the pharmacies, these would be the customers of our
    20      A. I'm certain we've discussed Kentucky in              20   customer, were purchasing large amounts of oxycodone
    21   those terms.                                               21   30s, 30-milligram tablets.
    22      Q. And what about West Virginia?                        22       Q. And was the concern that this would --
    23      A. I'm not certain if that was a term we used           23   this would -- these products were essentially being
    24   or a state we looked at while I was still employed,        24   diverted?

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     1      MR. O'CONNOR: Objection.                                   1   number of pill mills in Florida than -- well, strike
     2   BY THE WITNESS:                                               2   that.
     3      A. We didn't know that at the time. The --                 3           Based on your experience and in your
     4   the effort was to go and obtain additional information        4   opinion were there a higher number of pill mills in
     5   so we can make an assessment of those pharmacies. You         5   Florida than in other states?
     6   know, one, for example, may be next to a Veterans             6       MR. O'CONNOR: Objection.
     7   Administration hospital and maybe they had a reason           7   BY THE WITNESS:
     8   for purchasing large amounts, others may be putting           8       A. I don't -- I would have no way to assess
     9   them back into the illicit market. So we needed               9   that.
    10   additional information to make an assessment whether         10   BY MR. KAWAMOTO:
    11   or not that we would continue to supply our                  11       Q. Would it be fair to say you identified a
    12   distributor. The distributor had a responsibility to         12   large number of pill mills in Florida?
    13   know their customers. They have the same exact               13       MR. O'CONNOR: Objection.
    14   responsibility that a manufacturer has to develop a          14   BY THE WITNESS:
    15   program to prevent diversion. So they are supposed to        15       A. I would say yes.
    16   have security people just like myself that would go to       16   BY MR. KAWAMOTO:
    17   those pharmacies and review them.                            17       Q. And would you agree that the pills that
    18           So to obtain additional information, I               18   ended up with these pill mills in Florida -- well,
    19   went to Florida and I obtained cooperation from two of       19   strike that.
    20   our forensic auditors from Covidien that didn't work         20           The pills that went to these pill mills in
    21   for Mallinckrodt to go to the east side of the state,        21   Florida didn't always stay in Florida, did they?
    22   they were both fluent in Spanish, to review these            22       MR. O'CONNOR: Objection.
    23   high -- they were high dosage pharmacies to see were         23   BY THE WITNESS:
    24   they good, solid pharmacies or were they very small          24       A. I'd have no way to know that.
                                                           Page 35                                                        Page 37
     1 pharmacies with no other products in their -- on their          1   BY MR. KAWAMOTO:
     2 shelves and signs that indicated Mallinckrodt products          2      Q. Do you recall ever being informed or
     3 sold for cash only. So we went to Florida and we made           3   contacted by law enforcement in other states
     4 that review and then we made recommendations, not only          4   indicating that they had -- they had possession of
     5 to DEA, that we were not going to provide product to            5   Mallinckrodt product from the illicit market and it
     6 our distributors to go to those but that they should            6   appears that that product came from Florida?
     7 also review our results because we, you know, stopped           7      A. I believe that we received information
     8 selling to our distributor. And the distributor's               8   from Tennessee. They requested assistance on
     9 responsibility then was to -- to go to that pharmacy            9   identifying the actual numbers the -- that are
    10 and make an assessment also. And if they had                   10   contained on the bottles and that we provided that
    11 information that we didn't have, they could always             11   information, and that's -- it's been a long time ago,
    12 come forward.                                                  12   and I believe that was the case.
    13    Q. And you indicated that you went to Florida               13      Q. So that would be an example of pills
    14 to make an assessment of these pharmacies and                  14   traveling from Florida to Tennessee in the illicit
    15 essentially determine if they were pill mills or not,          15   market, is that fair?
    16 is that fair?                                                  16      A. Fair.
    17   MR. O'CONNOR: Objection.                                     17      Q. And there is nothing to prevent a pill
    18 BY THE WITNESS:                                                18   that originally is shipped to Florida from being
    19   A. That's fair.                                              19   transported to Kentucky, is there?
    20 BY MR. KAWAMOTO:                                               20      A. No.
    21   Q. And what were the results of that                         21      Q. And were you aware that there were people
    22 assessment? Did you identify pill mills in Florida?            22   coming into Florida from out of state for the express
    23      A. I did.                                                 23   purpose of obtaining opioid products?
    24      Q. In your opinion, were there a higher                   24      MR. O'CONNOR: Objection.

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     1 BY THE WITNESS:                                             1   it's got my name from and to Karen.
     2     A.   DEA -- I spoke with DEA frequently, Pete           2           And I remember basically what the e-mail
     3 Kleisele, and that information would have been gleaned      3   says, because they came to Mallinckrodt, to my office,
     4 from conversations with Pete.                               4   on occasion asking for assistance in how to
     5 BY MR. KAWAMOTO:                                            5   investigate the pharmacies, and so we -- we gave them
     6     Q.   And so DEA indicated to you that they were         6   whatever we could in assistance, so.
     7 concerned that people were coming from out of state         7        Q. And H.D. Smith was a Mallinckrodt
     8 into Florida to obtain opioid products?                     8   customer?
     9       MR. O'CONNOR: Objection.                              9        A. Yes.
    10   BY THE WITNESS:                                          10        Q. Now, do you see on the e-mail where it
    11       A. That's correct. And we also provided --           11   says: "H.D. Smith has suspended all sales of oxy 30s
    12   they are -- there is no oxy in the tablet, they are      12   into Florida for the immediate future"?
    13   placebos, would be the term, to law enforcement DEA so   13        A. Correct.
    14   they could have an undercover operation in Florida.      14        Q. Do you have an understanding of why they
    15   So we did know about that, and they couldn't             15   did that?
    16   redistribute product that they took in without the       16        A. The owner -- I mean, this is from a -- you
    17   Attorney General personally approving that. So we        17   have to remember how many years ago this has been.
    18   provided placebos to them to assist them with their      18   I'm going to give you my best recollection of that
    19   investigation.                                           19   conversation.
    20   BY MR. KAWAMOTO:                                         20        Q. That -- that would be appreciated.
    21       Q. And do you know where those placebos              21        A. So the owner said: There are problems in
    22   ultimately ended up? Do you know if they stayed in       22   Florida. You guys go down there and see what's going
    23   Florida or if they were distributed up and down the      23   on. And so he said: And stop the sales until we
    24   Eastern Seaboard?                                        24   figure it out.

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     1      A. They were --                                        1      Q. And when you say, the owner said: You
     2      MR. O'CONNOR: Objection.                               2   guys go down there, was he referring to his people or
     3   BY THE WITNESS:                                           3   was he referring to Mallinckrodt or both?
     4      A. Well, I don't know specifically where they          4      A. He had no authority over us. He was
     5   ended up. DEA requests assistance, but they never         5   talking about his people.
     6   come back and say, These are the results of your          6      Q. Okay. And do you see further on in the
     7   assistance.                                               7   e-mail, it says: "He went on to explain, as he told
     8      MR. KAWAMOTO: So I'd like to mark this as              8   us, that they do not sell to pain management clinics."
     9   Exhibit 2, if I could.                                    9      A. Okay.
    10             (WHEREUPON, a certain document was             10      Q. Do you understand what the concern was
    11              marked Mallinckrodt-Ratliff                   11   with pain management clinics?
    12              Deposition Exhibit No. 002, for               12      MR. O'CONNOR: Objection.
    13              identification, as of 12/19/2018.)            13   BY THE WITNESS:
    14   BY MR. KAWAMOTO:                                         14      A. Pain management clinics. We -- we
    15      Q. So, Mr. Ratliff, I've handed you an                15   produced or manufactured oxycodone 5s, 15s and 30s.
    16   exhibit. It is Bates numbered MNK-T 269884. It is at     16   The pain management clinics tended to prescribe the
    17   the very bottom.                                         17   oxycodone 30s, which is the highest dose at that time
    18          And could you review that Exhibit and let         18   that we manufactured. So there is no way for us to
    19   me know when you are ready?                              19   know if they are treating legitimate pain from
    20      A. Okay.                                              20   their -- their customers, but, I mean, that's
    21      Q. So this is an e-mail that you sent to              21   certainly an issue because of the volume that they
    22   Karen Harper on March 22nd, 2011.                        22   were selling.
    23          Do you recall sending this e-mail?                23      Q. And so you had a concern that the pain
    24      A. Not particularly, but I sent it because            24   management clinics may have been overprescribing, is

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     1   that fair?                                                   1   in here in this e-mail -- or e-mail that I agree with
     2      MR. O'CONNOR: Objection.                                  2   that. You know, did we have a concern, I think it was
     3   BY THE WITNESS:                                              3   on the news about pain management clinics, and so I
     4      A. I don't know that I knew that at the time,             4   didn't live in a bubble. So there certainly -- you
     5   but they were purchasing large amounts from their            5   know, if you believe the news, that there was a
     6   customers. Let me restate this.                              6   problem with pain management doctors.
     7           There the -- our customers, the                      7      Q. And when you completed your review of your
     8   distributors, were selling to these pharmacies and           8   customers' customers, that confirmed that there was a
     9   that the doctors were writing scripts to those               9   problem with pain management doctors, isn't that
    10   pharmacies for their patients. So it was far removed        10   correct?
    11   from us. So for me to tell you today that -- that I         11      A. That is correct.
    12   knew specifically this was going on, there is no way I      12      MR. O'CONNOR: Objection.
    13   could do that.                                              13      THE WITNESS: Sorry.
    14   BY MR. KAWAMOTO:                                            14   BY MR. KAWAMOTO:
    15      Q. Well, I understand that, but this e-mail              15      Q. Do you recall when you first started
    16   indicates that you had -- well, this -- this e-mail         16   reviewing your customers' customers?
    17   indicates that the distributor had a concern with pain      17      A. I would be guessing if I said a specific
    18   management clinics.                                         18   time. I -- I just -- I hate to guess.
    19           And it sounds like you shared that                  19      Q. What prompted you to start looking at your
    20   concern, is that fair?                                      20   customers' customers?
    21      MR. O'CONNOR: Objection.                                 21      A. DEA was concerned that everyone -- they
    22   BY THE WITNESS:                                             22   wanted everyone to be involved in the suspicious order
    23      A. I'm trying to see where I agreed. I --                23   monitoring program specifically and to delve into
    24   BY MR. KAWAMOTO:                                            24   their customer's customer. That was -- came out of a

                                                           Page 43                                                       Page 45
     1      Q.    Well, let me rephrase the question.                 1   conference that DEA held, if I were guessing, I would
     2           Did you -- while employed at Mallinckrodt,           2   say '09. It may have been a different time. I just
     3   did you share a concern regarding pain management            3   don't want to misspeak. That's --
     4   clinics and the prescription of oxy 30s?                     4      Q. No, I understand that, sir.
     5       MR. O'CONNOR: Objection.                                 5      A. I'm trying to give you the best, and it's
     6   BY THE WITNESS:                                              6   been a long time.
     7       A. At a point when we started to review our              7      Q. Now, the -- your customers, the
     8   customers' customers.                                        8   distributors, were also supposed to be vetting their
     9   BY MR. KAWAMOTO:                                             9   customers, is that fair?
    10       Q. And at the very bottom of the e-mail, do             10      A. That's fair.
    11   you see the sentence that says: "He concluded that if       11      MR. O'CONNOR: Objection.
    12   the pharmacies were filling too many scripts for pain       12   BY MR. KAWAMOTO:
    13   management doctors or were uncooperative that they          13      Q. Did you ever have concerns with the
    14   would no longer sell to that pharmacy"?                     14   vetting process that your customers were using to vet
    15       A. Yes.                                                 15   their customers?
    16       Q. Did you agree with that conclusion?                  16      MS. KVESELIS: Object to form.
    17       A. That was their conclusion. I was                     17   BY MR. KAWAMOTO:
    18   reporting what they were telling me.                        18      Q. You can answer.
    19       Q. But do you think that conclusion was a               19      A. Yes.
    20   reasonable one for them to be making?                       20      Q. That -- the objection is preserved for the
    21       A. As I previously stated, at the time I                21   record.
    22   hadn't had an opportunity to review our customers'          22      A. Um-hum, yes.
    23   customers and then the downstream with the pharmacies       23      Q. And can you describe those concerns?
    24   and their patients. So to say -- I don't see anywhere       24      MS. KVESELIS: Object to form.

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     1 BY THE WITNESS:                                              1      Q. And what distributor was this that we are
     2      A. We weren't sure that they were going to              2   talking about?
     3 their customers and doing an audit, so we came up with       3      A. AmerisourceBergen.
     4 a form that required a lot of information from those         4      Q. Do you recall a distributor named
     5 pharmacies that purchased large amounts of our               5   "Sunrise"?
     6 products, and there were a number of questions on            6      A. Yes.
     7 there that would help us, it would give us more              7      Q. And what do you recall about that
     8 information, additional information, and would -- it         8   distributor?
     9 would allow us to make an assessment then, too, of the       9      A. That they had hired a DEA either agent or
    10 distributor if they were following up with those            10   compliance analyst to assist them with their -- their
    11 pharmacies if there were any concerns.                      11   entry into the market. And at some point our people,
    12 BY MR. KAWAMOTO:                                            12   not myself, went to Sunrise to review the operation
    13       Q. And do you recall any of the distribute --         13   and make a determination if they were a legitimate
    14   strike that.                                              14   enterprise.
    15           Do you recall any of the distributors that        15      Q. And do you recall that Sunrise voluntarily
    16   you had concerns about?                                   16   surrendered its license to the DEA?
    17       MR. O'CONNOR: Objection.                              17      MR. O'CONNOR: Objection.
    18       MS. KVESELIS: Object to form.                         18   BY THE WITNESS:
    19   BY THE WITNESS:                                           19      A. I don't recall that specifically, but I
    20       A. Our job was to ensure our customers were           20   believe that's correct.
    21   in compliance. So if we had concerns about one of         21   BY MR. KAWAMOTO:
    22   their customers or more than one of their customers,      22      Q. Do you recall anything about Masters
    23   we would bring that to their attention. And it was        23   Pharmaceuticals?
    24   the intent that they understood exactly what we           24      MR. O'CONNOR: Objection.

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     1   expected as a manufacturer.                                1   BY THE WITNESS:
     2   BY MR. KAWAMOTO:                                           2      A. I know that I was involved in an audit of
     3       Q. And do you recall any specific                      3   Masters.
     4   distributors, though, that you had concerns about          4   BY MR. KAWAMOTO:
     5   their compliance?                                          5      Q. And what do you recall about that audit?
     6       MR. O'CONNOR: Objection.                               6      A. Almost nothing. It's been so long ago,
     7   BY MR. KAWAMOTO:                                           7   and what happens is that the different audits, they
     8       Q. Do any -- do any names stand out for you?           8   just kind of all meld together, and at my age I'm --
     9       MR. O'CONNOR: Objection.                               9   I'm having more difficulty remembering things that are
    10   BY THE WITNESS:                                           10   ten years old or -- or longer, so.
    11       A. There was one that was dilatory. We gave           11      Q. Do you know if Masters had its license
    12   them specific deadlines, like 30 days, provide this       12   revoked by the DEA?
    13   information back to Mallinckrodt so we could make an      13      A. I believe that to be the case. I know we
    14   assessment in 30 days. They didn't always make those      14   made -- we sent information to DEA after the audit. I
    15   deadlines. That doesn't necessarily mean that they        15   do remember that. But we had two audits within a day
    16   were out of compliance or had ill intent. It meant        16   or so of each -- of those audits, and that's why I'm
    17   that they didn't provide the information. So we would     17   somewhat confused if it's Masters or one of the other
    18   have to go back to them and say, We need this             18   distributors.
    19   information to make an assessment.                        19      Q. And do you recall what information you
    20       Q. And would --                                       20   sent to DEA about Masters Pharmaceuticals?
    21       A. On one occasion we brought that to                 21      A. No.
    22   management's -- the management of that distributor's      22      Q. What about Harvard, do you recall them as
    23   attention. And they, to the best of my knowledge, you     23   a distributor?
    24   know, fixed the -- the matter right away.                 24      A. I never have been to Harvard. I've heard

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     1   that name, but that's all I know.                          1   off from -- from Tyco International.
     2       Q. And what about KeySource?                           2       Q. And with respect to opioid products, what
     3       MR. O'CONNOR: Objection.                               3   were your responsibilities, for the opioid products?
     4   BY THE WITNESS:                                            4       A. To prevent diversion, to ensure that in
     5       A. I think KeySource, again, I'm almost                5   the manufacturing sites that there were programs in
     6   guessing, but I believe it's in Cincinnati and was one     6   place.
     7   of the ones that we audited during that two-day            7       Q. And could you define diversion for me?
     8   period.                                                    8   What's your understanding of that term?
     9   BY MR. KAWAMOTO:                                           9       A. Diversion is taking a licit product, a
    10       Q. And do you recall if they lost their               10   legitimate product and taking it away in an illi- --
    11   license to the DEA for Schedule II narcotics?             11   in an illicit way for one's own personal use or for
    12       A. Again, I'd be guessing. I don't know, but          12   sale.
    13   I believe they may have. This has been, you know,         13       Q. So would the overprescription by a doctor
    14   long ago.                                                 14   constitute diversion in your opinion?
    15       Q. Now, you indicated that you were the               15       MR. O'CONNOR: Objection.
    16   secure -- that you were the security director for         16   BY THE WITNESS:
    17   Mallinckrodt, is that -- is that right?                   17       A. There is no way for me to -- to without
    18       A. I was the security manager for                     18   additional information about a specific doctor to make
    19   Mallinckrodt. I was the security director when it         19   that generalization.
    20   became Tyco Healthcare.                                   20   BY MR. KAWAMOTO:
    21       Q. And so were you promoted into that                 21       Q. But if a doctor is prescribing opioids for
    22   position?                                                 22   non-medically valid reasons, that would be an example
    23       A. I was.                                             23   of diversion?
    24       Q. And roughly when did you become the                24       A. That's a hypothetical, it seems. I don't

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     1   security director for Tyco? And I understand that          1 know how I could answer that without specifics.
     2   that -- this happened a while ago, so, you know, I'm       2      Q. Well, what specifics would you need?
     3   not --                                                     3      A. I -- I'd need to know what type of
     4        A. I'm trying to remember.                            4   patients he sees and does he write the same script 90
     5        Q. -- I understand that --                            5   tablets of 30-milligram for every patient he sees.
     6        A. It is difficult to...                              6   Now, would that be a -- something that I would want to
     7        Q. -- yeah, you may not be exact.                     7   know, yes. So if that's the case, but still without
     8        A. I would say sometime in 2001. Is that --           8   additional information, it's really difficult for me
     9   and I may be wrong. I may be off a year. I think           9   to make that assessment.
    10   it's --                                                   10      Q. But in the example you gave, the 90
    11        Q. Sure. But the early 2000s, is that right?         11   tablets of 30 of oxy 30 for every patient he sees, in
    12        A. Yes, that would be fair.                          12   your -- in your view that would be an example of
    13        Q. What were your responsibilities as                13   diversion?
    14   security director for Mallinckrodt? I'm sorry.            14      MR. O'CONNOR: Objection.
    15           What were your responsibilities as                15   BY THE WITNESS:
    16   security director for Tyco?                               16      A. No. It would be suspicious, but I can't
    17        A. We had facilities all over. We were               17   make the assessment literally without having specifics
    18   responsible for the pharmaceutical section, for           18   about his customers. Would it be suspicious, yes.
    19   surgical instruments, for surgical materials. That's      19   BY MR. KAWAMOTO:
    20   not a good way to say that. It's surgical supplies.       20      Q. So it could be diversion?
    21   And there was additionally one other division that had    21      A. It's possible.
    22   to do with breathing apparatus for people that needed     22      Q. And the pill mills, the distribution of
    23   oxygen. That was sold off fairly early. So we -- we       23   Mallinckrodt products by pill mills, that would be
    24   maintained those three divisions until Covidien spun      24   another example of diversion, would it not?

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     1       MR. O'CONNOR: Objection.                                  1           Let me just say one other thing. We asked
     2   BY THE WITNESS:                                               2   DEA for assistance time and time again. They were --
     3       A. It would.                                              3   they were silent. They gave us -- they said it's your
     4   BY MR. KAWAMOTO:                                              4   responsibility. Yeah, but could you just give us a
     5       Q. And so when you say your re -- one of your             5   hint about what you would like to see. And they just
     6   responsibilities was to prevent diversion, it was to          6   couldn't seem to come up with anything. They said
     7   prevent the pill mills from getting your product?             7   it's not their responsibility. To me it is their
     8       MR. O'CONNOR: Objection.                                  8   responsibility. They are the regulatory agency and
     9   BY MR. KAWAMOTO:                                              9   they are trying to say, no, this is all our
    10       Q. Fair?                                                 10   customers -- all of the registrants' issues, and they
    11       A. No, not fair.                                         11   should have been at least somewhat helpful and they
    12           We are the manufacturer. The distributor             12   weren't.
    13   has a responsibility to know who their customers are         13        Q. But at some point in time they did
    14   and where those pills are going. So do -- do we have         14   indicate to you that you should know your customers's
    15   a responsibility to monitor our distributors, yes.           15   customer, right?
    16   And we were auditing those distributors just as you've       16       A. Exactly, yes, they did.
    17   discussed with Masters and the other one that you            17       Q. And at that point would you agree that you
    18   said. So we were monitoring those people to make a           18   had an obligation to know your customer's customer?
    19   determination if they were doing due diligence on            19       MR. O'CONNOR: Objection.
    20   their employees, but you can't take that information         20   BY THE WITNESS:
    21   and bring it all of the way back to the manufacturer.        21       A. At that time we started identifying our
    22   You have to go back through DEA in the quota that they       22   customers' customers.
    23   allot to each of the manufacturers. We were not by           23   BY MR. KAWAMOTO:
    24   any stretch the only manufacturer of oxy. There is           24       Q. Because DEA indicated that you had that

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     1 OxyContin, oxycodone, other products manufactured. So           1   responsibility, yes?
     2 you're trying to make a leap that's not necessarily in          2       MR. O'CONNOR: Objection.
     3 my opinion appropriate.                                         3   BY THE WITNESS:
     4      Q. But you had a responsibility to know your               4       A. They didn't ever say, You have that
     5 customers' customers, did you not?                              5   responsibility. It came from a conference in DC
     6      MR. O'CONNOR: Objection.                                   6   with -- with the compliance group and that term at
     7 BY THE WITNESS:                                                 7   some point came up. And so it drifted back through
     8      A. At a certain point in time we were told we              8   the grapevine, for lack of a better way to say it,
     9 should know our customer's customer, and that came              9   that they were talking about having their -- their
    10 secondhand out of a meeting in DEA. At that time we            10   registrants know their customer's customer.
    11 didn't know how we would even make that determination,         11           And basically at that time we had never
    12 how we would even determine who our customers'                 12   heard that term. DEA had never come to us personally
    13 customers were. And at -- at some point we made                13   and said, You need to know your customer's customer.
    14 the -- we developed information that we had a system           14   So -- and by the time DEA actually told us that, it
    15 called chargebacks, and if you want me to explain              15   was late in -- in 2011. It was the same date they had
    16 that, I can't, but I know that we had a system so we           16   the -- the earthquake in Washington, D.C. And we felt
    17 had information on our distributors' customers.                17   it. Because they said, You need to know your
    18         Once we had that information, that's when              18   customer's customer.
    19 we started with the forms, sending those out to the            19           And the very next week I was on a plane to
    20 distributors trying to determine if they had done due          20   Florida because they said, You need to do this. That
    21 diligence with all of their customers. They weren't            21   was really the first time they ever told us that we
    22 our customers. They were our customers' customers.             22   needed to do that. We had a good program, we did the
    23 So we didn't have that responsibility from ad                  23   very best we could to prevent diversion, and once they
    24 infinitum. It was at a certain point.                          24   said, You need to do this, we did it. We did it

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     1   immediately.                                                1 of those pharmacies because we felt very strongly that
     2           And for -- furthermore, not only did we do          2 they were selling products they shouldn't of.
     3   that, we started cancelling a lot of these. We were         3      Q.   And do you recall what -- what the case
     4   going back to our distributors and telling them, We         4 was that you testified on behalf of the DEA in?
     5   are not going to -- to sell products to you that you        5    A. Gulf Coast Pharmacy, I believe. That's
     6   sell to these particular pharmacies. And so it              6 been a long time also.
     7   worked.                                                     7      Q.   And you say you visited a total of 30
     8   BY MR. KAWAMOTO:                                            8 pharmacies, is that right?
     9       Q. So you indicated that, I think you just              9      MR. O'CONNOR: Objection.
    10   said: "We were going back to our distributors and          10 BY MR. KAWAMOTO:
    11   telling them that we are not going to sell products to     11      Q.   To the best of your recollection?
    12   you that sell" -- "that you sell to these particular       12      A.   Not by --
    13   pharmacies"?                                               13      Q.   But you and -- you and --
    14       MR. O'CONNOR: Objection.                               14    A. There were two.
    15   BY THE WITNESS:                                            15    Q. -- two other forensic officers from --
    16       A. That's correct.                                     16    A. From Covidien, not from Mallinckrodt, but
    17   BY MR. KAWAMOTO:                                           17 from the corporation.
    18       Q. So shouldn't the distributors have done             18      Q.   Okay.
    19   that on their own?                                         19      A.   They did the -- the others, and I can't
    20       MS. KVESELIS: Object to the form.                      20 recall exactly what the -- the separation was, but we
    21       MR. O'CONNOR: Objection.                               21 covered all of those 30 pharmacies.
    22   BY THE WITNESS:                                            22    Q. And with respect to those 30 pharmacies,
    23       A. Yeah, yes.                                          23 do you have a rough estimate from how many you decided
    24   BY MR. KAWAMOTO:                                           24 should not be receiving Mallinckrodt products?

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     1       Q. And do you recall how many distributors              1       A. I don't know. Some of them were
     2   you went to to tell them: We are no longer going to         2   absolutely legitimate pharmacies. You walk in and
     3   essentially -- well, strike that.                           3   they look like a Walgreens. And they have all of the
     4           Do you recall how many distributors you             4   products out there. You talk to the pharmacist and
     5   went to and told them, You need to cut off these            5   she is very aware of issues in Florida and, you know,
     6   customers?                                                  6   they would tell me what they were doing to prevent.
     7       A. We took --                                           7   They looked at the -- the scripts written by the
     8       MS. KVESELIS: Object to form.                           8   doctors to make sure that they were consistent, and
     9   BY THE WITNESS:                                             9   sometimes they would contact the doctors. Others were
    10       A. We took the top three, McKesson, Cardinal,          10   literally pill mills where they -- they had to buzz
    11   and AmerisourceBergen, and we looked at their top ten      11   you in at the door and they had stanchions and they
    12   pharmacies in Florida. So that was -- there was --         12   had a sign "Mallinckrodt Cash Only." To me that's a
    13   were a total of 30 pharmacies. They were the ones          13   pill mill.
    14   that purchased the most of the oxycodone 30s through       14       Q. Is it fair to say it's not that difficult
    15   their distributors. And so when we identified              15   to identify a pill mill if someone has your
    16   those -- and as I said, when DEA told us that, the         16   experience?
    17   very next -- next week I was in Florida. And I had --      17       MR. O'CONNOR: Objection.
    18   I caused two of our forensic auditors to cover the         18   BY THE WITNESS:
    19   east side of the state, because they had Spanish           19       A. I don't think that's fair. There are so
    20   speaking ability, and I covered the west side of the       20   many variables. You -- you know, for me, you know, I
    21   state. And I went into a number of these pharmacies        21   spent years in law enforcement. I can look at a
    22   to try to determine exactly what DEA had said, know        22   situation much differently than one that's never been
    23   your customer's customer. In fact, I had testified in      23   in law enforcement. I mean, I look at the people that
    24   the Fort Myers, Florida on behalf of DEA against one       24   are in and around the pharmacy and if they look like

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     1   they are legitimate pain patients, are -- you know,         1 the parking lot, and do they see me and recognize a
     2   are there some elderly people on walkers, are there --      2 law enforcement person or a former law enforcement
     3   you just need information to be able to make that           3 person who is watching them. So if they got up and
     4   assessment. You can't make a blanket assessment,            4 ran, that's a sign.
     5   especially without a, in my opinion, a law enforcement      5 BY MR. KAWAMOTO:
     6   background.                                                 6     Q.    Do you look for out of plate license --
     7   BY MR. KAWAMOTO:                                            7 I'm sorry.
     8       Q. And so when you visit a pharmacy to                  8          Do you look for out-of-state license
     9   evaluate whether it's a pill mill or not, can you list      9 plates?
    10   for me the things that you look for?                       10     A.    Yes.
    11       A. One of the things you look for, like I              11     Q.    Why?
    12   stated before, is do you have to be buzzed into the        12     A.    Well, I'll give you a specific. In
    13   pharmacy. So they look at you and they have to push a      13 Las Vegas there were out-of-state license plates all
    14   buzzer to let you in. Very little product on the           14 over, a very large pharmacy, people in the -- in the
    15   shelf. A sign such as "Mallinckrodt products left          15 room, there were slot machines, they were dozing off,
    16   side, cash only, no insurance."                            16 appeared to -- again, with my law enforcement
    17       Q. And these would -- these would all be               17 experience, they appeared to be on some kind of
    18   indicators that it's a pill mill?                          18 narcotic. And when they are selling large amounts
    19       A. Absolutely.                                         19 of -- of that product to people from out of state, you
    20       Q. And what else?                                      20 know, that's a sign.
    21       A. No product on the shelf, just strictly              21     MR. O'CONNOR: Counsel, we have been going about
    22   filling prescriptions in large numbers of -- of oxy 30     22 an hour. Should we take a break?
    23   going into that and being prescribed. So that's            23     MR. KAWAMOTO: Sure. Why don't -- why don't we
    24   certainly information that you -- you would want           24 take a break then.

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     1 more -- to make a proper assessment you need as much          1     THE VIDEOGRAPHER: We are going off the record
     2 information as possible. But those are things that I          2 at 10:41.
     3 would look for when trying to make an assessment.             3        (WHEREUPON, a recess was had
     4      Q. Do you also look at the clientele of the              4         from 10:41 to 10:53 a m.)
     5 pill mill?                                                    5    THE VIDEOGRAPHER: We are back on the record at
     6      A. No.                                                   6 10:53.
     7      MR. O'CONNOR: Objection.                                 7 BY MR. KAWAMOTO:
     8   BY THE WITNESS:                                             8     Q.    So, Mr. Ratliff, as you've noted on
     9      A. There is no way to do that.                           9 several occasions, I am asking you questions about
    10   BY MR. KAWAMOTO:                                           10 events that have occurred, you know, some years in the
    11      Q. But you can see who is going in and out of           11 past, and I understand that. So I think what it makes
    12   the pharmacy?                                              12 sense to do is I'm going to start showing you
    13      A. I can, yeah, physically see who is coming            13 documents that I think will help refresh your memory.
    14   and going depending on the length of time. That would      14          You should review as much of the document
    15   be, as I said before, do they have elderly people, do      15 as you need to be comfortable, but as some of these
    16   they have walkers, are they all young people.              16 are, you know, several pages, I will probably -- well,
    17      Q. And if they are all young people, is that            17 I will direct you to certain portions that I am
    18   a warning sign?                                            18 interested in. And, you know, as I said, you
    19      A. Well --                                              19 should -- you should review as much of the document as
    20      MR. O'CONNOR: Objection.                                20 you feel is appropriate.
    21   BY THE WITNESS:                                            21          So why don't we start with what I believe
    22      A. -- there are additional warning signs. Do            22 is going to be Exhibit 3. And I think the -- let's
    23   they have what we call meth mouth, which is bad teeth,     23 see.
    24   are they sitting down or kneeling down besides cars in     24            (WHEREUPON, a certain document was

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     1              marked Mallinckrodt-Ratliff                     1 BY THE WITNESS:
     2              Deposition Exhibit No. 003, for                 2      A. Normally e-mails, occasional conversations
     3              identification, as of 12/19/2018.)              3 on the phone, occasional in-person meetings.
     4   BY MR. KAWAMOTO:                                           4 BY MR. KAWAMOTO:
     5       Q. And so I've handed you a document that's            5       Q. And who is Jim O'Connor?
     6   Bates numbered 388159, and it's a Mallinckrodt --          6       A. He is a securities supervisor in
     7   Mallinckrodt PowerPoint presentation. It's an              7   St. Louis.
     8   Overview Presentation for New Employee Orientation.        8       Q. And it's -- do you see where it says
     9           Do you recall this PowerPoint?                     9   "Security Officers"?
    10       A. Yes.                                               10       A. Yes.
    11       Q. And what do you recall about it? Well,             11       Q. Who are those or what are those?
    12   strike that.                                              12       A. They are -- there were 14 officers that
    13           Who did -- did you deliver this                   13   were all trained and duly -- in the law enforcement
    14   PowerPoint? Did you -- is this your PowerPoint            14   academy, former police officers, and they were charged
    15   presentation?                                             15   with securing our facility there in St. Louis where we
    16       MR. O'CONNOR: Objection.                              16   manufactured products.
    17   BY THE WITNESS:                                           17       Q. And so we are talking physical security,
    18       A. Normally it was delivered by Karen Harper.         18   is that correct?
    19   BY MR. KAWAMOTO:                                          19       A. Yes.
    20       Q. But you were involved in preparing it,             20       Q. And then there are a number of people that
    21   were you not?                                             21   are reporting to Jim O'Connor that are security
    22       A. Yes.                                               22   monitors.
    23       Q. And so it's several pages. I would like            23           Do you see that?
    24   to focus your attention on the two org charts that are    24       A. Yes.

                                                       Page 67                                                            Page 69
     1   on Pages 3 and 4 of the PowerPoint.                        1        Q. What is a security monitor?
     2       A. Okay.                                               2        A. Each building where narcotics are
     3       Q. So the first is the power -- is an org              3   manufactured has a monitor. So anyone -- anyone
     4   chart for the Security Group Organization.                 4   coming or going has to open their lunch box, their --
     5       A. Yes.                                                5   they have to show them their coat, they have to
     6       Q. Is that your organization? Or is that --            6   basically take their hat off, pockets, pull their
     7   is that the organization you were working in, the          7   pockets out, everything, to ensure they are not
     8   department you were -- you were working in?                8   diverting product.
     9       MR. O'CONNOR: Objection.                               9        Q. Okay. And then if you turn the page over,
    10   BY THE WITNESS:                                           10   it's going to be another org chart. It's a Controlled
    11       A. Yes.                                               11   Substance Compliance Group Organization.
    12   BY MR. KAWAMOTO:                                          12        A. Um-hum.
    13       Q. And then if you put this up there, you'll          13        Q. So who is Karen Harper?
    14   see your name Corporate Security Director for             14        A. Karen Harper is the DEA compliance
    15   Covidien?                                                 15   manager.
    16       A. Um-hum.                                            16        Q. And what did she do?
    17       Q. Who is John Griffin?                               17        A. She was responsible for quota for all of
    18       A. Deputy legal counsel for Covidien.                 18   the employees that controlled the quota in the
    19       Q. And did you report directly to him?                19   manufacturing. Also she was responsible for
    20       A. I did.                                             20   communicating with DEA, any discrepancies or -- she
    21       Q. And how -- what was the nature of your             21   just -- she had a -- a wide range of responsibilities.
    22   communication? Did you provide monthly reports, or        22        Q. And who was responsible for the suspicious
    23   how did you communicate?                                  23   order monitoring program?
    24       MR. O'CONNOR: Objection.                              24        A. Karen.

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                                                        Page 70                                                          Page 72
     1      Q. Were you involved in that as well?                  1   for Karen and she also worked at Webster Groves. We
     2      A. I assisted her, yes.                                2   had a facility there with our -- they were developing
     3      Q. And what were your responsibilities with            3   new products and so forth, so she helped with the
     4   respect to the SOM program?                               4   coordination there.
     5      A. Well, to assist as necessary.                       5      Q. And I'm sorry. What was -- what function
     6      Q. So did you have sort of defined tasks that          6   did the Webster Groves facility play?
     7   you were responsible for or was it primarily whatever     7      A. They were research and development.
     8   Karen asked you to help her with?                         8      Q. And do you know who Lee Nelson is?
     9      MR. O'CONNOR: Objection.                               9      A. I did. He is now deceased.
    10   BY THE WITNESS:                                          10      Q. What were his responsibilities?
    11      A. Primarily whatever Karen asked me to               11      A. He monitored quota.
    12   assist her with. Occasionally I did, I went to audits    12      Q. And what about Wender -- Wendy Slaby or
    13   when I was available, and I helped coordinate contact    13   Slaby?
    14   with DEA, the local DEA in St. Louis, so.                14      A. She worked for Karen.
    15   BY MR. KAWAMOTO:                                         15      Q. And what about Christine Greg -- I'm
    16      Q. Were you involved in reviewing the                 16   sorry -- Christine -- Christie Kegg?
    17   policies that -- well, strike that.                      17      A. She worked for Karen.
    18           Were you involved in reviewing or revising       18      Q. But other than working for Karen, you
    19   suspicious order monitoring -- suspicious order          19   don't know what their responsibilities were?
    20   monitoring program policies?                             20      A. I don't.
    21      A. Karen Harper wrote the program, but I              21      Q. And I take it you didn't work with either
    22   assisted in the process.                                 22   one of them?
    23      Q. And who is JoAnne Levy or JoAnne Levy?             23      A. Well, they were in close proximity to my
    24      A. VP of pharmaceutical logistics.                    24   office, but I didn't work specifically or -- with

                                                       Page 71                                                        Page 73
     1      Q. And what -- what did she do, what were her          1   them.
     2   responsibilities?                                         2      Q. You can put that aside.
     3      A. That's outside my purview.                          3          Okay. So I'm going to give you another
     4      Q. So I take it you didn't work directly with          4   PowerPoint marked Exhibit 4.
     5   her?                                                      5            (WHEREUPON, a certain document was
     6      A. No.                                                 6             marked Mallinckrodt-Ratliff
     7      Q. What about Eileen Spaulding, what did she           7             Deposition Exhibit No. 004, for
     8   do?                                                       8             identification, as of 12/19/2018.)
     9      A. She worked for Karen Harper in Hobart,              9   BY MR. KAWAMOTO:
    10   New York.                                                10      Q. And for this PowerPoint I'd like to direct
    11      Q. And was Hobart your primary -- well, I'm           11   your attention to Page 4 of it which has another
    12   sorry. Strike that.                                      12   organizational chart.
    13           What was the -- what did the -- what             13      A. Okay.
    14   function did the Hobart facility fulfill?                14      Q. Now, Mallinckrodt had a suspicious order
    15      MR. O'CONNOR: Objection.                              15   monitoring program, did it not?
    16   BY THE WITNESS:                                          16      A. Yes.
    17      A. They took the raw product and made tablet          17      Q. And it was required to have this program
    18   form and other products. So it wasn't all just           18   by the applicable law and DEA regulations, is that
    19   tablets.                                                 19   correct?
    20   BY MR. KAWAMOTO:                                         20      MR. O'CONNOR: Objection.
    21      Q. And do you know who Carrie Johnson was?            21   BY THE WITNESS:
    22      A. Not necessarily.                                   22      A. Yes.
    23      Q. What about Mar- -- what about Mary Lewis?          23   BY MR. KAWAMOTO:
    24      A. Mary Lewis worked in St. Louis and worked          24      Q. Can you look at this org chart and

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     1   identify for me all of the people that you believe        1 did everything through Karen.
     2   were involved in that suspicious order monitoring         2     Q. So do you -- you don't recall ever working
     3   program?                                                  3 with Jim Rausch?
     4      A. Could you be more specific?                         4     A. If you are asking have I ever been in a
     5      Q. Well, there is a suspicious order                   5 meeting with Jim Rausch, probably.
     6   monitoring program, and I'm -- I would like to figure     6       Q. Or communicated with him via e-mail?
     7   out what employees were involved in implementing          7       A. Probably, but I can't tell you
     8   that -- well, either designing or implementing that       8   specifically all of these years later if that's a
     9   program?                                                  9   fact.
    10      MR. O'CONNOR: Objection.                              10       Q. What about Cathy Stewart, do you recall
    11   BY THE WITNESS:                                          11   working with her?
    12      A. Well, I would say Karen Harper                     12       A. I know Cathy Stewart because her husband
    13   specifically, but everyone on this page had some         13   is a security officer.
    14   responsibility. They were our logistics, they were       14       Q. But other than through her husband, do you
    15   our transportation, moving product from one place to     15   recall working with Cathy Stewart in the context of
    16   another. So they are all responsible to prevent          16   the suspicious order monitoring program?
    17   diversion.                                               17       A. Not specifically.
    18   BY MR. KAWAMOTO:                                         18           If you have documents that you can refresh
    19      Q. Well, so, do you see Michael Pheney?               19   my memory, I'd be happy to review them.
    20      A. I do.                                              20       Q. Okay. Well, yeah, why don't -- why don't
    21      Q. What were his diversion control                    21   we do that then.
    22   responsibilities?                                        22       MR. KAWAMOTO: I'd like to mark this as exhibit,
    23      MR. O'CONNOR: Objection.                              23   I believe it's five.
    24   BY THE WITNESS:                                          24              (WHEREUPON, a certain document was

                                                        Page 75                                                       Page 77
     1       A. He didn't work for me. I know who Michael          1              marked Mallinckrodt-Ratliff
     2   is. I know he controlled transportation of products.      2              Deposition Exhibit No. 005, for
     3   Beyond that, I really don't know what his                 3              identification, as of 12/19/2018.)
     4   responsibilities are.                                     4   BY MR. KAWAMOTO:
     5   BY MR. KAWAMOTO:                                          5       Q. So, this is an e-mail and an attachment
     6       Q. Well, how about Jim Rausch, do you see his         6   with the Bates No. 448772, and the title of the
     7   name? He is underneath Michael.                           7   attachment is the: "Oxycodone Extended Release
     8       A. You are asking me questions about long ago         8   RiskMAC" -- "RiskMAP Action Plan."
     9   and employees that weren't employed by me or I didn't     9       A. Okay.
    10   work with on a daily basis or even sometimes didn't      10       Q. Are you familiar with this RiskMAP action
    11   see for long periods of time.                            11   plan?
    12       Q. Well, why don't we do this --                     12       A. I don't recall it.
    13       A. These were headquarters in Hazelwood and I        13       Q. If you could turn to Page 3 of the
    14   was at the St. Louis plant. The times I was at           14   attachment. It says "Supplay" -- "Supply Chain &
    15   Hazelwood was -- they were brief and it was for a        15   Security."
    16   specific meeting.                                        16          And do you see your name identified for a
    17       Q. So what individuals on this org chart did         17   number of these -- of these rows?
    18   you work with the in the context of the suspicious       18       A. Yes.
    19   order monitoring program?                                19       Q. So the first row is: "Provide
    20       A. Karen Harper.                                     20   notification to DEA of any confirmed diversion."
    21       Q. Anyone else?                                      21       A. Um-hum.
    22       A. And her team. I mean, they were right             22       Q. Can you explain what -- what does that
    23   around the corner from my office. So if there was        23   mean?
    24   some questions, I could talk to them, but normally I     24       A. If we have a diversion, they should tell

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     1 me.                                                         1 told.
     2       Q. And I'm sorry. Who should tell you?                2     Q. Now, it says: "Investigate abnormal
     3       A. The person that discovers the diversion or         3 orders."
     4   whoever is in charge of that particular event.            4           What is an abnormal order?
     5       Q. And then you would then report that to             5      A. From time to time Karen would be advised
     6   DEA?                                                      6   that a customer had ordered a large amount, much more
     7       A. Unless there was an investigation that was         7   than they had ever ordered in the past, so they would
     8   necessary, and then we would perform an investigation     8   automatically give that to Karen to do an
     9   to try to determine what happened in that specific        9   investigation to say, do you have any idea what's
    10   incident, and then we would report it to DEA.            10   going on with this customer, so.
    11       Q. Do you recall any specific incidents of           11      Q. Are you familiar with the term "peculiar
    12   diversion while you were the security director?          12   order"?
    13       A. I'm certain there were some diversions,           13      A. Yes.
    14   but specifically, no. I know that -- that DEA -- or      14      Q. Okay. What --
    15   not DEA -- Hobart had several diversions. And I know     15      A. Peculiar means it was excessive.
    16   they worked closely with DEA and the state police on     16      Q. And is there a difference between an
    17   those. I wasn't responsible for Hobart. They had a       17   abnormal order and a peculiar order or are they the
    18   security manager there, but he would report all of       18   same?
    19   that to me so I would be aware of it.                    19      MR. O'CONNOR: Objection.
    20       Q. And the incident -- the incidents that you        20   BY THE WITNESS:
    21   are describing, are they examples -- are they            21      A. Not in my mind. They are the same.
    22   essentially examples of theft, someone walks off from    22   BY MR. KAWAMOTO:
    23   the facility with -- with bottles of pills?              23      Q. What about a suspicious order?
    24       A. Normally not bottles. It would be -- it           24      MR. O'CONNOR: Objection.

                                                      Page 79                                                       Page 81
     1 would be a few pills, normally.                             1   BY THE WITNESS:
     2      Q. The third row says: "Investigate" --                2       A. I'm not sure how to define it at this
     3 "Investigate abnormal orders." And it identifies            3   point. It's a -- I just -- I don't know that there is
     4 Karen Harper and you as the point people.                   4   a difference in those terms.
     5           What did that entail?                             5   BY MR. KAWAMOTO:
     6      MR. O'CONNOR: Objection.                               6       Q. So an abnormal order -- I guess what I'm
     7   BY THE WITNESS:                                           7   trying to understand is was there a difference with
     8      A. That entailed Karen at least advising me            8   respect to Mallinckrodt's terminology between an
     9   about it, and she normally handled all of those           9   abnormal order and a suspicious order?
    10   matters. She worked -- there was a time she worked       10       MR. O'CONNOR: Objection.
    11   for me and then there was a time she apparently worked   11   BY THE WITNESS:
    12   for JoAnne Levy and others, so.                          12       A. Not in my mind.
    13   BY MR. KAWAMOTO:                                         13   BY MR. KAWAMOTO:
    14      Q. And roughly when did she work for you              14       Q. Now, can you turn to Page 5 of this
    15   from, if you can recall?                                 15   attachment.
    16      A. I can't recall. I just know that she that          16       A. Okay.
    17   did work for me from -- for a period of time. That's     17       Q. It says "Pharmacovigilance, Surveillance &
    18   the best I can do.                                       18   Epidemiology."
    19      Q. And then was she promoted?                         19       A. Say that again.
    20      A. They just realigned responsibilities.              20       Q. It says "Pharmacovigilance, Surveillance &
    21      Q. Do you know why they did that?                     21   Epidemiology."
    22      A. At the time JoAnne Levy wanted the DEA             22           Do you see that?
    23   compliance group under the logistics. She thought it     23       A. I do.
    24   better fit than with security. That's what I was         24       Q. Okay. And the first row references:

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                                                         Page 82                                                      Page 84
     1 "Receive, capture, and monitor adverse events."              1   every line of this document.
     2          Do you know what an adverse event is?               2       Q. And then turning to Page 5, I'm just
     3      A. Not necessarily.                                     3   trying to understand what interaction, if any, you had
     4      Q. So I take it it wasn't -- you didn't --              4   with this group of people and the work they were
     5   you didn't ever identify or report an adverse event?       5   doing.
     6      MR. O'CONNOR: Objection.                                6           So this is now "Pharmacovigilance,
     7   BY THE WITNESS:                                            7   Surveillance & Epidemiology."
     8      A. This has been a long time ago. If you had            8           Do you see that?
     9   asked me contemporaneous when this was written or -- I     9       A. Okay.
    10   would have probably had an answer. Today I would be       10       Q. Are you familiar with the AERS database,
    11   guessing if I said what that means. You are showing       11   that's A-E-R-S?
    12   me documents that are -- you know, I haven't thought      12       A. No. Not today I am not, so.
    13   about in all of these years. And this is the first        13       Q. And are you familiar with a RiskMAP
    14   time I've seen this document today since I probably       14   report?
    15   worked there six-and-a-half years ago or probably         15       A. It just doesn't ring a bell.
    16   years before that.                                        16       Q. Okay. What about one of the rows is:
    17   BY MR. KAWAMOTO:                                          17   "Monitor longitudinal patient data for patterns of
    18      Q. Well, and so my question is, as you sit             18   abuse."
    19   here today, do you have any recollection of what's an     19           Was that something you were ever involved
    20   adverse -- what an adverse event means?                   20   in?
    21      A. No.                                                 21       A. Please repeat.
    22      Q. Okay. Did you ever work with Maria                  22       Q. One of the rows indicates: "Monitor
    23   Chianti -- Chianta?                                       23   longitudinal patient data for patterns of abuse."
    24      A. That name is not familiar. You know, if             24           Was that ever a task that you were

                                                         Page 83                                                       Page 85
     1 you have a document that identifies me working with          1   involved in?
     2 her, you could show it to me, and I'd be happy to talk       2       A. I don't think so.
     3 about it, but right now I could -- I have no idea who        3       Q. The next task is: "Issue 15-day alert
     4 she is.                                                      4   report involving Oxycodone ER regardless of the
     5        Q. Well, sir, your name appears in this               5   outcome the following: All medication errors
     6   document. Did you -- did you review it?                    6   involving breaking, chewing, crushing, accidental
     7        A. Probably at that time I reviewed it. But           7   overdoses, adverse events in children under 18."
     8   it's been a great deal of time removed since I would       8          Is that a responsibility that you were
     9   have done this, and maybe I would have reviewed it one     9   ever involved in or a task that you were ever involved
    10   time.                                                     10   in?
    11        Q. Well, going back to the supply chain and          11       A. No.
    12   security, are -- are these tasks and responsibilities     12          Are these employees of Mallinckrodt?
    13   accurate?                                                 13       Q. To be honest, sir, I don't know. I'm just
    14        MR. O'CONNOR: Objection.                             14   reading them off of this.
    15   BY THE WITNESS:                                           15       A. Yeah, well, the reason is I don't know who
    16        A. Are you talking about everything written          16   these people are and I don't know that I have ever
    17   here?                                                     17   heard their names. So I was just wondering if you are
    18   BY MR. KAWAMOTO:                                          18   asking me questions about people that weren't even
    19        Q. No. I'm talking about the ones that               19   with Mallinckrodt, so.
    20   reference you.                                            20       Q. Well, and you don't have -- so you don't
    21        A. Without going through every line of               21   have any familiarity with the RiskMAP action plan?
    22   everything, I would think that if it's written like       22       A. To the best of my knowledge, no.
    23   this, it would probably be accurate, but I can't make     23       Q. So you don't know if this was prepared
    24   that statement today because, you know, I haven't read    24   specific -- strike that.

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                                                         Page 86                                                      Page 88
     1          You don't know if this was prepared                 1   Order Monitoring Procedure Team."
     2   specifically for oxycodone or whether this was             2          Do you see that?
     3   prepared for all of their products?                        3      A. Yes.
     4      A. I have no way -- no way to know that.                4      Q. And it identifies you as a member of this
     5      Q. The e-mail is from Kimberly France to Kate           5   team. Is that accurate?
     6   Muhlenkamp.                                                6      A. Yes.
     7          Do you know who Kimberly France is?                 7      Q. Okay. And so -- well, strike that.
     8      A. No.                                                  8          Do you recall when this team was formed?
     9      Q. What about Kate Muhlenkamp?                          9      A. I don't recall the team specifically. My
    10      A. I don't. I don't think so.                          10   name was used in instances such as this because I
    11      MR. KAWAMOTO: So this is Exhibit 6. Thank you.         11   should be involved if there is a problem. So, was I
    12             (WHEREUPON, a certain document was              12   on the team, probably. Did they meet, I couldn't tell
    13              marked Mallinckrodt-Ratliff                    13   you that today at all.
    14              Deposition Exhibit No. 006, for                14      Q. Well, do you recall being involved in a
    15              identification, as of 12/19/2018.)             15   suspicious order monitoring team while you were at
    16   BY MR. KAWAMOTO:                                          16   Mallinckrodt?
    17      Q. So, Mr. Ratliff, I have handed you                  17      A. No.
    18   Exhibit 6, which is another PowerPoint. It is Bates       18      Q. So you don't recall -- well, you've
    19   No. 277066.                                               19   indicated that you didn't work directly with JoAnne
    20      A. Um-hum, yes.                                        20   Levy.
    21      Q. And it is the: "Mallinckrodt Controlled             21          Do you recall working with John Adams?
    22   Substance Suspicious Order Monitoring Program,            22      A. I don't know who he is.
    23   Introductory Training for Field Sales."                   23      Q. Okay. And we've -- you don't know who
    24          Are you familiar with this PowerPoint?             24   Kimberly France is. You know Karen Harper.

                                                       Page 87                                                             Page 89
     1       A. This is 2008, ten years ago. I know that            1       A. I do.
     2   we had PowerPoints such as this. I can't recall this       2       Q. You don't know Michael Pheney, is that --
     3   specifically.                                              3       A. I do know who Michael Pheney is.
     4       Q. But would you have helped prepare this              4       Q. Okay. But you don't recall working with
     5   type of a PowerPoint?                                      5   him?
     6       MR. O'CONNOR: Objection.                               6       A. He was not a direct report to me. Did we
     7   BY THE WITNESS:                                            7   know one another, yes.
     8       A. If I can't remember it, I can't tell you            8       Q. Well, my question is a little more
     9   if I helped prepare it. I don't -- it doesn't seem --      9   specific, sir. I'm talking about in the context of
    10   I don't know. I don't think so, but...                    10   the suspicious order monitoring program for
    11   BY MR. KAWAMOTO:                                          11   Mallinckrodt, do you recall working with Mr. Pheney?
    12       Q. Would you have ever delivered this type of         12       A. I can say with some reasonable memory that
    13   a PowerPoint?                                             13   there may have been occasions where he and I discussed
    14       A. Normally not.                                      14   something about transportation, so, but this is I
    15       MR. O'CONNOR: Objection.                              15   think eight -- about eight years ago -- or ten years
    16       THE WITNESS: Sorry.                                   16   ago.
    17   BY THE WITNESS:                                           17       Q. And we've already -- I think we've already
    18       A. Normally not.                                      18   gone over Mr. Rausch. And you don't recall working
    19   BY MR. KAWAMOTO:                                          19   with him in the context of the SOM program, is that
    20       Q. So directing your attention to Page 3.             20   fair?
    21       A. What page?                                         21       A. I know who he is.
    22       Q. Page 3 of the PowerPoint.                          22       Q. Okay. Cathy Stewart you only know because
    23       A. Okay.                                              23   her husband was a security officer, is that right?
    24       Q. So it says: "Mallinckrodt Suspicious               24       MR. O'CONNOR: Objection.

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                                                       Page 90                                                         Page 92
     1   BY THE WITNESS:                                            1       A. Yes.
     2      A. I know that Cathy and Karen had                      2       Q. Okay. So according to this PowerPoint,
     3   interaction.                                               3   DEA regulations "require registrants to design and
     4   BY MR. KAWAMOTO:                                           4   operate a suspicious order identification system."
     5      Q. And did those interactions involve you,              5           Do you agree with this?
     6   though?                                                    6       A. Yes.
     7      A. Normally not.                                        7       Q. And it "requires that registrants report
     8      Q. What about Susan Marlatt?                            8   suspicious orders to DEA when discovered through
     9      A. I can't remember her at all.                         9   monitoring."
    10      Q. And for the team advisors, do you know              10           Do you agree with that?
    11   what role they played -- well, strike that.               11       A. I would, yes.
    12           Do you recall ever interacting with Jerry         12       Q. The "registrant is reminded that their
    13   Moss in the context of this SOM program?                  13   responsibility does not end merely with the filing of
    14      A. I don't recall that today.                          14   a suspicious order report."
    15      Q. What about Jason Jones?                             15           Do you agree with that?
    16      A. I don't know who that is.                           16       A. I do.
    17      Q. Jeff Burd?                                          17       Q. And what -- what do you interpret that to
    18      A. It means nothing.                                   18   mean, that the responsibility does not end merely with
    19      Q. Bob Lesnak?                                         19   the filing of a suspicious order report?
    20      A. I don't know that I ever worked directly            20       A. It means if there is an investigation
    21   with him. I mean, I'd say no because I just can't         21   needed that we conduct the investigation and we
    22   recall.                                                   22   provide follow-up information.
    23      Q. Okay. And we've covered Eileen Spaulding,           23       Q. So put another way, it is not sufficient
    24   right?                                                    24   to simply identify a suspicious order and then ship

                                                         Page 91                                                          Page 93
     1      A. I know who Eileen is. She worked for                 1   the order, is that fair?
     2   Karen at Hobart.                                           2        MR. O'CONNOR: Objection.
     3      Q. So we've got a suspicious order monitoring           3   BY THE WITNESS:
     4   team, but you don't recall whether they had any            4        A. There is a difference in what you are
     5   meetings and you don't recall participating in any         5   saying. You are saying -- repeat what you were
     6   meetings, is that correct?                                 6   asking, please.
     7      MR. O'CONNOR: Objection; form.                          7   BY MR. KAWAMOTO:
     8   BY THE WITNESS:                                            8        Q. So one of the consequences of this
     9      A. I'm saying it was ten years ago and I                9   requirement is that it would not be adequate to simply
    10   don't recall. That's what I'm saying.                     10   identify a suspicious order to the DEA and then ship
    11   BY MR. KAWAMOTO:                                          11   that order, is that cor- -- is that fair?
    12      Q. But I understand that, sir.                         12        MR. O'CONNOR: Objection.
    13      A. So, so to try to indicate that I never --           13   BY THE WITNESS:
    14   I don't know if I attended meetings or not because I      14        A. If you go on, it says a "registrant must
    15   don't specifically remember this.                         15   conduct an independent analysis of suspicious orders
    16      Q. So, well, do you have any memory of what            16   prior to completing a sale to determine whether the
    17   this team was supposed to do?                             17   controlled substances are likely to be diverted."
    18      A. I have no memory of this at all. There              18            So to me if you go there, that's -- yes,
    19   were a number of things I was involved in and would       19   it's true.
    20   have met in and so forth ten years ago, but I don't       20   BY MR. KAWAMOTO:
    21   recall it. That's the best I can do.                      21        Q. Okay. And when it says "conduct an
    22      Q. Okay. So if you turn over the page, it is           22   independent analysis of suspicious orders," what does
    23   "DEA Policy on Suspicious Orders."                        23   it mean to conduct an independent analysis?
    24           Do you see that?                                  24        A. I know that these came to Karen and that

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     1 there were certain things that she would do. She                   1   one, you know, one product or whatever. So it makes
     2 would do certain checks, she would check with DEA, but             2   it look like a huge number if you look at everyone
     3 she would also go on the internet and look at the --               3   that is registered to do anything, but there are a lot
     4 she had the ability to look at the building and to see             4   of people registered with DEA that don't manufacture
     5 if it was a real site, especially with new orders.                 5   narcotics. There aren't that many is what I'm saying.
     6 There were a number of things that she could do to                 6   BY MR. KAWAMOTO:
     7 fulfill that.                                                      7       Q. And when you say "there aren't that many,"
     8      Q.   And did you assist her in this independent               8   what you are saying is there are not -- there are not
     9 analysis of suspicious orders?                                     9   that many registrants, that you think this number
    10      A. On occasion.                                              10   is --
    11      Q. And what type of assistance did you                       11       A. I'm saying that manufacture pain medicine,
    12   provide?                                                        12   pain pills, pain products. And I may be wrong. But I
    13      A. Going on the internet and looking up to                   13   think that's -- I'm surprised by that number, how
    14   see if it was a legitimate building, that how long had          14   about that.
    15   they been there and if they owned it or if they                 15       Q. But it's certainly fair to say that DEA
    16   rented, and if it appeared that they had the, you               16   was re -- was relying on Mallinckrodt to do its part
    17   know, the requisite storage facilities and so forth.            17   to monitor suspicious orders?
    18   There were other things. I just don't remember what             18       MR. O'CONNOR: Objection.
    19   they all were, so.                                              19   BY THE WITNESS:
    20      Q. And Mallinckrodt had these obligations by                 20       A. That's correct.
    21   virtue of the fact that it was a registrant under the           21   BY MR. KAWAMOTO:
    22   Controlled Substances Act, is that correct?                     22       Q. And then if you flip the page to Page 5.
    23      MR. O'CONNOR: Objection.                                     23       A. Okay.
    24   BY THE WITNESS:                                                 24       Q. The first bullet point is: "Failure to

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     1       A. Correct.                                                  1   maintain effective div" -- "effective controls against
     2   BY MR. KAWAMOTO:                                                 2   diversion is inconsistent with the public interest."
     3       Q. Now, the bottom bullet point is: "There                   3           In other -- in other words, this is simply
     4   are currently 1,288,992 DEA registrants, DEA must rely           4   that Mallinckrodt has a duty to maintain effective
     5   on the States and individual registrants to monitor."            5   controls against diversion, is that another way of
     6           Would you agree with that statement?                     6   saying this?
     7       A. It was my understanding that they had more                7       MR. O'CONNOR: Objection.
     8   responsibility than just telling the registrants it's            8   BY THE WITNESS:
     9   their responsibility, especially in '08, so. I don't             9       A. Yes.
    10   know who wrote this and I'm not -- I just don't know            10   BY MR. KAWAMOTO:
    11   who wrote it, so. Am I absolutely clear and believe             11       Q. Now, there is a letter that seems to be
    12   that, not necessarily.                                          12   placed on the side.
    13       Q. Well, if there are over a million DEA                    13           Do you see that? Or it is a picture of a
    14   registrants, don't they -- doesn't DEA have to rely on          14   letter. Do you see that?
    15   these registrants to do their monitoring?                       15       A. I see there is a letter there.
    16       MR. O'CONNOR: Objection.                                    16       Q. Okay. And if you can make out the date,
    17   BY MR. KAWAMOTO:                                                17   it's December 27, 2007?
    18       Q. How else would the system work if that --                18       A. Yeah, I can't see that good.
    19   if that wasn't the case?                                        19       Q. Okay. Is this the 2007 Rannazzisi letter?
    20       MR. O'CONNOR: Objection.                                    20       MR. O'CONNOR: Objection.
    21   BY THE WITNESS:                                                 21   BY THE WITNESS:
    22       A. We all have a program in place to do that.               22       A. I have my bifocals and I have my reading
    23   So the answer is do they rely on us, yes. Some of               23   glasses and I just can't see well enough to verify
    24   these registrants are little tiny things that have              24   what you were saying.

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     1   BY MR. KAWAMOTO:                                              1   BY MR. KAWAMOTO:
     2       Q. Fair enough.                                           2      Q. Well, underneath the heading it says:
     3           Do you recall Mr. Rannazzisi sending out a            3   "DEA suspends licenses of distributors for not
     4   letter to registrants in 2007?                                4   maintaining effective controls against diversion of
     5       A. I don't recall it specifically, no.                    5   controlled substances."
     6       Q. Okay. What about sending out a letter in               6          Do you see that?
     7   2006?                                                         7      A. I see that.
     8       A. It's just too long ago.                                8      Q. And do you recall what the DEA's concerns
     9       Q. Okay. So Page 6 is: "Recent DEA Actions                9   were with respect to the failure to maintain effective
    10   Involving Distributors."                                     10   controls for these institutions?
    11           Do you see that?                                     11      A. No.
    12       A. Yes.                                                  12      Q. So, can you turn to Page 8 of this
    13       Q. Did Mallinckrodt follow these DEA actions             13   PowerPoint?
    14   involving their distributors?                                14      A. I can.
    15       MR. O'CONNOR: Objection.                                 15      Q. And it says: "Revise Controlled Substance
    16   BY THE WITNESS:                                              16   Suspicious Order Monitoring Procedure Highlights."
    17       A. Yes.                                                  17          Do you see that?
    18   BY MR. KAWAMOTO:                                             18      A. Okay.
    19       Q. Why?                                                  19      Q. Can you review that list for me and let me
    20       A. DEA, if they suspended a license, then                20   know when you are done?
    21   they wouldn't be licensed to have our product.               21      A. Okay.
    22       Q. Was Mallinckrodt concerned internally                 22      Q. Is this an accurate description of your
    23   about the DEA actions involving distributors?                23   suspicious order monitoring procedure?
    24       MR. O'CONNOR: Objection.                                 24      A. Yes.

                                                            Page 99                                                      Page 101
     1 BY THE WITNESS:                                                 1      MR. O'CONNOR: Objection.
     2     A. Our customers are the distributors. They                 2   BY MR. KAWAMOTO:
     3 send it to their distribution centers. So be clear              3      Q. And when was this procedure in effect
     4 about what you are talking about. A distribution                4   from?
     5 center is not -- I mean, it's our customer's                    5      A. Say again.
     6 distribution center. So did AmerisourceBergen -- we             6      Q. When was this procedure in effect from,
     7 did audits of -- of some of these, I can recall.                7   what time period did it cover, roughly?
     8 BY MR. KAWAMOTO:                                                8      A. Based on the PowerPoint, it would be
     9      Q. Well, did the DEA actions involving the                 9   June 5th of 2008.
    10   distributors raise any concerns at Mallinckrodt              10      Q. And do you know how far back it went?
    11   regarding either your SOM -- well, regarding your SOM        11      A. I don't know.
    12   program?                                                     12      Q. Do you recall it changing at some point in
    13      MR. O'CONNOR: Objection.                                  13   the future?
    14   BY THE WITNESS:                                              14      A. I don't recall.
    15      A. No. And the reason is these distributors               15      Q. Now, it says: "Security and DEA
    16   had multiple distribution centers. If they closed            16   Compliance will work closely with the Business in
    17   one, that -- they didn't close all of the distribution       17   reviewing peculiar orders and escalation to suspicious
    18   centers. They closed one. And it may be for whatever         18   order status."
    19   reason, that they did an audit, they had product             19          Do you see that?
    20   mis -- you know, inappropriately stored, or it could         20      A. Yes.
    21   be a number of things. I don't know. But I think             21      Q. And security would be you, is that right?
    22   what you are talking about are distribution centers          22      A. Correct.
    23   that they utilized to store their product when it went       23      Q. What does it mean for security and DEA
    24   out to their customers in those areas.                       24   compliance to work closely with the business? Who is

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     1 the business?                                                1   peculiar orders?
     2     A.   DEA compliance managed this. If there was           2      A. There were times that Karen Harper would
     3 an issue, she would bring it to my attention, if she         3   bring something in that she couldn't resolve, and I
     4 needed additional assistance or guidance. Who she            4   know that I would help her at that time, but I can't
     5 dealt with at this time, I can't remember ten years          5   be more specific than that. I just -- I just know
     6 ago. I just -- I can't remember.                             6   that we worked together on things like this.
     7      Q. Okay. Though it says security and DEA                7      Q. Do you recall any instances in which --
     8   Compliance, so both of you will work closely with the      8   when Harper shared concerns from business managers
     9   business, and so I'm asking from your standpoint as        9   with you regarding suspicious orders?
    10   the security person --                                    10      MR. O'CONNOR: Objection.
    11      A. Yes.                                                11   BY THE WITNESS:
    12      Q. -- you know, what -- what -- how did you            12      A. I don't recall.
    13   work with the business in reviewing peculiar orders       13   BY MR. KAWAMOTO:
    14   and the escalation of suspicious orders?                  14      Q. So turning to Page 9.
    15      A. Now, all of this listed above that would            15      A. Okay.
    16   come to Karen Harper, and if she had an issue with it     16      Q. It is a "Revised Controlled Substance
    17   and couldn't resolve it, she would bring it to me.        17   Suspicious Order Customer Checklist."
    18          Does that help.                                    18      A. Um-hum.
    19      Q. Okay. But my question relates to the                19      Q. Do you have any recollection of a customer
    20   bottom of the page. And I'm asking, you know, what is     20   checklist?
    21   your understanding of how you were going to work with     21      A. I do.
    22   the business in reviewing peculiar orders and the         22      Q. And what was -- what was -- who designed
    23   escalation to suspicious order status?                    23   that checklist?
    24      MR. O'CONNOR: Objection.                               24      A. Karen.

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     1   BY THE WITNESS:                                            1        Q. Did you have any input into it?
     2      A. I simply can't recall.                               2        A. Karen is pretty -- pretty capable of doing
     3   BY MR. KAWAMOTO:                                           3   things like this. Did I approve it or did I look at
     4      Q. Okay. Now, the second part of that                   4   it, I'm certain that I probably looked at it at some
     5   phrase, "reviewing peculiar orders and escalation to       5   point, but did I make additions or deletions, it's
     6   suspicious order status," what -- what does -- what do     6   way -- way too long ago. I don't recall.
     7   you interpret that to mean?                                7        Q. Okay. And underneath it says: "To be
     8      A. It has been ten years. I don't recall. I             8   completed by Field Sales."
     9   just don't remember.                                       9        A. Um-hum.
    10      Q. So one of the items above, it says: "An             10        Q. And it says: "Know your customer is the
    11   algorithm is customized by customer category, class of    11   goal."
    12   trade."                                                   12           Is that accurate?
    13           Do you see that?                                  13        A. I would say yes.
    14      A. I see it.                                           14        Q. So as of the tate -- date of this
    15      Q. And do you have any recollection of a --            15   PowerPoint, which is June 5th, 2008, your
    16   of an algorithm being used?                               16   understanding is that there was an obligation for
    17      A. We used algorithms at one point to -- if            17   Mallinckrodt to know its customer, is that -- is that
    18   anyone was -- had ordered more of a particular product    18   accurate?
    19   and we sent that to DEA. So, I remember that.             19        MR. O'CONNOR: Objection.
    20      Q. But you don't recall anything about the             20   BY THE WITNESS:
    21   algorithm, what it's components were or anything like     21        A. What we did is we developed a form to give
    22   that?                                                     22   us additional information to do that, and that's what
    23      A. Ten years, I don't recall.                          23   that form did, it required all kinds of things to be
    24      Q. Do you recall being asked to review                 24   filled out to give us additional information, and that

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     1 was, I think assisted us to know who our customers'            1   factor. We had everything up and you'd like to know
     2 customers were.                                                2   where it is. Is it a -- is it a legitimate building,
     3 BY MR. KAWAMOTO:                                               3   is it in a hospital complex or in a -- it depends on
     4      Q. And part of this form is a description of              4   where it is. If it's something that doesn't appear to
     5 the neighborhood, requires an on-site visit, physical          5   be a legitimate business, that would be of concern to
     6 description of a facility or photos, and it includes a         6   us. If it's down an alley in the back of a store,
     7 list of indicators.                                            7   that would be a concern for us.
     8           So, are those statements accurate with               8       Q. And the line that says: "Requires on-site
     9 respect to what the information that was being                 9   visit, inside and out," what is that in reference to?
    10 collected by this customer checklist?                         10       A. It is to the salespeople signing them up.
    11      MR. O'CONNOR: Objection.                                 11       Q. So prior to signing up a -- prior to
    12   BY THE WITNESS:                                             12   signing up a customer, the salesperson was required to
    13      A. To the best of my memory, yeah.                       13   conduct an on-site visit?
    14   BY MR. KAWAMOTO:                                            14       MR. O'CONNOR: Objection.
    15      Q. And to be clear, this was an obligation               15   BY THE WITNESS:
    16   that Mallinckrodt believed it had based on the              16       A. Say that again.
    17   applicable law, correct, this wasn't a voluntary            17   BY MR. KAWAMOTO:
    18   endeavor?                                                   18       Q. Prior to signing someone up, the
    19      MR. O'CONNOR: Objection.                                 19   salesperson was required to conduct an on-site visit?
    20   BY THE WITNESS:                                             20       MR. O'CONNOR: Objection.
    21      A. You are wrong. It was a voluntary                     21   BY THE WITNESS:
    22   endeavor to know more about those customers, to create      22       A. Apparently.
    23   a better program to comply with the law. So we did          23   BY MR. KAWAMOTO:
    24   this -- DEA didn't say, make a form and do this. We         24       Q. And the last line is: "Includes a list of

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     1 did this on our own based on what Karen believed would         1 indicators (watch outs) that require further review by
     2 be helpful, so.                                                2 Security Director."
     3 BY MR. KAWAMOTO:                                               3           Security director is you, is that right?
     4      Q.    And what she believed was necessary to              4       A. Yes.
     5 comply with your requirement or your obligation to             5       Q. Okay. And so what is a list of indicators
     6 maintain effective controls against diversion,                 6   that require further review?
     7 correct?                                                       7       A. If they sent this to me, I would look at
     8       A. We were constantly trying to improve.                 8   it not only from a security director point of view but
     9       Q. And in 2008, one of the ways you                      9   a law enforcement point of view. And we had customers
    10   believed -- well, strike that.                              10   in the northeast that didn't appear to be pharmacies
    11           In 2008, one of the -- one of the factors           11   at all and yet they were trying to buy our product and
    12   that you believed would help you improve would be           12   somehow had gotten a registration. So we wanted to
    13   knowing your customer's customer, is that right?            13   see exactly where and what the business was. So there
    14       A. Yes.                                                 14   are a lot of factors that you -- you look at, and
    15       MR. O'CONNOR: Objection.                                15   that's exactly what this is.
    16       THE WITNESS: Sorry.                                     16       Q. Okay. And you reference pharmacies. So
    17   BY MR. KAWAMOTO:                                            17   we are talking about your customer's customer at this
    18       Q. And why is it important to know the                  18   point, correct?
    19   description of the neighborhood? I'm still on -- on         19       MR. O'CONNOR: Objection.
    20   Slide 9 on Page 9.                                          20   BY THE WITNESS:
    21       A. It is an additional factor.                          21       A. Our -- the distributors sold to
    22       Q. But of what significance, why -- why does            22   pharmacies.
    23   it help you in your analysis?                               23   BY MR. KAWAMOTO:
    24       A. It is just an -- it is just an additional            24       Q. And part -- and what these -- what these

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     1   bullet points are referencing, though, is it's an           1   trying to make sure we are on the same page.
     2   on-site visit to the pharmacy?                              2       Q. Okay. Well, why -- why don't you review
     3      A. We were trying to --                                  3   the attachment and then --
     4      MR. O'CONNOR: Objection.                                 4       A. Okay. But you're not --
     5   BY MR. KAWAMOTO:                                            5       Q. -- I'll have questions to you about that?
     6      Q. You can answer.                                       6       A. You are not saying I ever received it, you
     7      A. We were trying to identify our customers'             7   are just asking me to review it now?
     8   customers to be more in tune with the program, to           8       Q. Yes. I'm saying that -- I'm saying that
     9   improve our program.                                        9   regardless of whether you received it or not, I -- I
    10      Q. Okay. Thank you. You can put that aside.             10   would like to ask you some questions about this
    11      MR. KAWAMOTO: So this is now going to be                11   attachment.
    12   Exhibit 7.                                                 12       A. Okay. I've read it.
    13              (WHEREUPON, a certain document was              13       Q. Okay. So I guess my first question to you
    14               marked Mallinckrodt-Ratliff                    14   is prior to -- prior to today, do you recall ever
    15               Deposition Exhibit No. 007, for                15   reviewing this letter?
    16               identification, as of 12/19/2018.)             16       A. No.
    17   BY MR. KAWAMOTO:                                           17       Q. Do you recall ever discussing this letter
    18      Q. So this is an e-mail marked Bates                    18   with anyone?
    19   No. 4211219, and at the very top is an e-mail from         19       A. Not to my knowledge.
    20   Karen Harper to you.                                       20       Q. Okay.
    21           Do you recall receiving this e-mail?               21       A. This is '06, 2006.
    22      A. No.                                                  22       Q. Yes.
    23      Q. But you don't have any doubt that you, in            23       A. Yeah, I don't recall that.
    24   fact, did receive it?                                      24       Q. Okay. Do you know who Joseph T.
                                                         Page 111                                                        Page 113
     1       A. I don't have any doubt that this was sent.           1   Rannazzisi is?
     2   You asked me if I had any -- if I recalled receiving        2       A. Yes, I do.
     3   it in 2007, and I don't.                                    3       Q. Do you know him?
     4       Q. Okay. And I'm going to -- my questions               4       A. No.
     5   primarily relate to the attachment.                         5       Q. Do you respect his views?
     6       A. Okay. Are you saying I received this?                6       A. Not necessarily.
     7       Q. Yes. This -- the e-mail and the                      7       Q. Why not?
     8   attachment were forwarded to you on December 2007.          8       A. I've watched him on 60 Minutes and he was
     9   That's what the top e-mail indicates. And my                9   in charge at that time but nes- -- didn't take any
    10   questions are going to primarily relate to this            10   necessary action to assist the registrants, and he
    11   attachment.                                                11   points fingers at everyone but himself, to be honest.
    12       A. I'm still having a difficult time figuring          12       Q. So this letter starts at the beginning:
    13   out where it says that this was sent to me.                13           "This letter is being sent to every
    14       Q. Well, the -- the very top e-mail --                 14   commercial entity in the United States registered with
    15       A. Yes.                                                15   the Drug Enforcement Administration to distribute
    16       Q. -- it's from Karen Harper and then "to",            16   controlled substances."
    17   it is to Bill Ratliff.                                     17           So, that would include Mallinckrodt, would
    18            Do you see that?                                  18   it -- would it not?
    19       A. Yes.                                                19       A. If they say "every registrant," the answer
    20       Q. Okay. And it's forwarding an e-mail with            20   is yes.
    21   an attachment.                                             21       Q. Okay. Now, do you see in the middle of
    22       A. Well, to be clear, E-9 and A-14 are our             22   Page 2, and actually let me put this up on the Elmo if
    23   policies. They have nothing to do with the letters         23   it helps you.
    24   and the things you said are attached. So I'm just          24           Okay. So, do you see the sentence that I

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     1   am highlighting?                                            1   right underneath or right next to No. 1?
     2       A. Yes.                                                 2       A. "Ordering excessive quantities of a
     3       Q. Okay. So: "The DEA regulations require               3   limited variety of controlled substances (e.g.,
     4   all distributors to report suspicious orders of             4   ordering only phentermine, hydrocodone, and
     5   controlled substances."                                     5   Alprazolam) while ordering few, if any, other drugs."
     6           And then underneath it there is the -- it           6       Q. And would you agree that that is a
     7   is the cite to the reg -- to the regulations. And           7   circumstance that would raise cause for concern?
     8   then it says -- can you read that for me, what I'm --       8       A. I read it.
     9   what I just highlighted?                                    9       Q. Is that a red flag, sir?
    10       A. "The registrant shall design and operate a          10       A. I read it, but I don't know what you --
    11   system to disclose to the registrant suspicious orders     11   without additional information, I don't know. I've --
    12   of controlled substances. The registrant shall inform      12   I've never seen this document before and you are
    13   the Field Division Office of the Administration in his     13   asking me to read it into the record and then you are
    14   area of suspicious orders when discovered by the           14   asking me questions about is that a red flag and I
    15   registrant. Suspicious orders include orders of            15   just don't have enough information to say is it or
    16   unusual size, orders deviate substantially from a          16   isn't it. So, you know, I'm not even sure what two of
    17   normal pattern, and orders of unusual frequency."          17   the drugs are.
    18       Q. And this obligation applies to                      18       Q. Well, let me put it another way.
    19   Mallinckrodt, correct?                                     19            The DEA is saying that "ordering excessive
    20       A. It does. It's a statute.                            20   quantities of a limited variety of controlled
    21       Q. And do you recall when -- when the statute          21   substances," and then it gives examples of controlled
    22   was enacted?                                               22   substances, "while ordering few, if any, other drugs"
    23       MR. O'CONNOR: Objection.                               23   is a red flag.
    24   BY THE WITNESS:                                            24            Do you agree with that?

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     1       A. I have no clue. Title 21 has many, many              1       MR. O'CONNOR: Objection.
     2   statutes, but it also has many revisions and they are       2   BY THE WITNESS:
     3   all listed in the front of Title 21. So without             3       A. If that's what they are saying, that's
     4   having that information, there would be no information      4   what they believe.
     5   for me to know that.                                        5   BY MR. KAWAMOTO:
     6       Q. But whenever the effective date of this              6       Q. And I'm asking you, sir, what do you
     7   regulation is, it applies to all registrants,               7   believe?
     8   including Mallinckrodt, correct?                            8       A. I just don't know. I don't -- as I said,
     9       A. Yes.                                                 9   I don't know what the other products are. I look at
    10       Q. Okay. And then can you read this section            10   it in a different way. If they were ordering few of
    11   right underneath it?                                       11   these and a lot of -- of oxycodone, that would be a
    12       A. "It bears emphasis that the foregoing               12   red flag, but that doesn't seem to be their -- their
    13   reporting requirement is in addition to, and not in        13   point, so.
    14   lieu of, the general requirement under Title 21" --        14       Q. Well, but if -- if I -- if you were to
    15   "under 21 U.S.C. 823(e) that a distributor maintain        15   change this statement to say: "Ordering excessive
    16   effective controls against diversion."                     16   quantities of a limited variety of controlled
    17       Q. And you would agree that also applies to            17   substances (e.g. oxycodone) while ordering few, if
    18   Mallinckrodt?                                              18   any, other drugs," would you agree with that
    19       A. It does.                                            19   statement?
    20       Q. Then on Page 3, it shows circumstances              20       A. Yes.
    21   that may be indicative of diversion.                       21       Q. Then can you read No. 2 for me?
    22            Do you see that?                                  22       A. "Ordering a limited variety of controlled
    23       A. I do.                                               23   substances in quantities disproportionate to the
    24       Q. And can you read the first one? It's                24   quantity of non-controlled medications ordered."

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     1      Q. Do you agree with that statement?                    1 insurance payments for controlled substances made via
     2      A. I do.                                                2 the internet. There is no way in the world we would
     3      Q. Okay. What about No. 3, can you please               3 know that. And there is a privacy issue there. "Does
     4   read that?                                                 4 the pharmacy charge reasonable prices?" How would we
     5      A. "Ordering excessive quantities of a                  5 know if it charges reasonable prices for their area?
     6   limited variety of controlled substances in                6 "Does a pharmacy offer to sell controlled substances
     7   combination with excessive quantities of lifestyle         7 without a prescription?" How would we know that?
     8   drugs."                                                    8         So, if you want me to agree with this, we
     9      Q. And do you agree with that statement?                9 are going to have to get very specific on every line
    10      A. I don't know what those are, so I'm not             10 and what it means so I'm correct when I answer your
    11   going to say "yes" or "no."                               11 question.
    12      Q. Well, when you say you don't know what              12      Q. Okay. So why don't we try that then.
    13   those are, you don't know what -- I take it you know      13           Starting with No. 1: "What percentage of
    14   what controlled substances means. Are you -- are you      14   the pharmacy's business does dispensing controlled
    15   referring to the lifestyle drugs?                         15   substances constitute?"
    16      A. Well, what are lifestyle drugs? What does           16           Would you agree that that's a -- that's
    17   that mean?                                                17   something Mal- -- would you agree that that's
    18      Q. Okay. Well, moving on to point 4 then.              18   something that is -- well, strike that.
    19      A. Okay.                                               19           Would you agree that that's a red flag?
    20      Q. Can you read that?                                  20      MR. O'CONNOR: Objection.
    21      A. "Ordering the same controlled                       21   BY THE WITNESS:
    22   substance" -- "substance from multiple distributors."     22      A. I would agree that this is part of our
    23      Q. Do you agree that that is a red flag?               23   form that we sent so we would be able to delve into
    24      A. There is no way that we would know that.            24   that information to determine how much controlled

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     1       Q. Well, I understand that, but if you had             1 substance versus non-controlled substances a pharmacy
     2   that information, would that be a red flag to you?         2 orders. So we believe that would be a red flag.
     3       A. So that's a hypothetical. If we happen to           3 That's why we asked the pharmacies at that question.
     4   have that information somehow, would that be a red         4 BY MR. KAWAMOTO:
     5   flag, in that hypothetical, yes.                           5      Q. And I take it No. 2: "Is the pharmacy
     6       Q. Okay.                                               6   complying with the laws of every state in which it is
     7       A. But we would have no way to make that               7   dispensing controlled substances?"
     8   determination.                                             8           Clearly if it were not, that would be a
     9       Q. And then underneath that there is a list            9   red flag, is that correct?
    10   of -- well, can you review the list underneath that?      10      MR. O'CONNOR: Objection.
    11   It is another numeric list of one through ten.            11   BY THE WITNESS:
    12       A. I've finished with No. 10.                         12      A. There is no way we would have that
    13       Q. Okay. Are there any factors on this list           13   information, and so to -- you are asking me things
    14   of ten that you do not agree are a red flag?              14   that there is no way that I would know. So DEA should
    15       MR. O'CONNOR: Objection.                              15   know that, but Mallinckrodt wouldn't necessarily know
    16   BY THE WITNESS:                                           16   that, especially if the pharmacy is doing something
    17       A. If we had the information, enough                  17   nefarious. So would it be a red flag if -- if one
    18   information to make that assessment, those would be       18   knew that? Well, yes, but how would one know that?
    19   red flags, but you've gone from a manufacturer to a       19   So you are putting me in a position to answer
    20   distributor to a pharmacy to a doctor. So what you        20   questions there is no way I would know.
    21   are saying is, do I agree if I had all of that            21   BY MR. KAWAMOTO:
    22   information, but we are -- you have to remember, we       22      Q. Well, for No. 3, it says: "Is the
    23   were the manufacturer and we don't always have -- we      23   pharmacy soliciting buyers of controlled substances
    24   can't always mine down to, does a pharmacy accept         24   via the internet or is the pharmacy associated with an

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     1   internet site that solicits orders for controlled           1   investigating this and making these determinations.
     2   substances?"                                                2   So we took it upon ourselves voluntarily to go into
     3           I mean, that -- that would seem to be one           3   these situations and get as much information as we
     4   where you could both ask the pharmacy and go on the         4   could through this form we developed, so.
     5   internet, right?                                            5   BY MR. KAWAMOTO:
     6       MR. O'CONNOR: Objection.                                6      Q. And these are the types of questions,
     7   BY THE WITNESS:                                             7   though, that distributors should be asking of their
     8       A. Well, I don't know that you could find               8   customers, is that correct?
     9   that out over the internet or how you could do that.        9      MR. O'CONNOR: Objection.
    10   I just don't know. And I've told you before I am not       10      MS. KVESELIS: Object.
    11   very technical. So soliciting buyers via the               11   BY THE WITNESS:
    12   internet, I'm not certain how we would know that.          12      A. The distributor, possibly, but not the
    13   BY MR. KAWAMOTO:                                           13   manufacturer. We did it voluntarily to get as much
    14       Q. Well, you could ask -- you could ask the            14   information as possible and to better, you know, hone
    15   pharmacy if they engage in that practice, though,          15   our program so we could make those decisions in
    16   right?                                                     16   concert with the distributor, too.
    17       A. Right.                                              17   BY MR. KAWAMOTO:
    18       Q. Would it be worth it to ask them?                   18      Q. And you did it because you believed it
    19       MR. O'CONNOR: Objection.                               19   would result in more effective diversion controls, is
    20   BY THE WITNESS:                                            20   that correct?
    21       A. It would. I don't know if that's on our             21      MR. O'CONNOR: Objection.
    22   form or not. I just don't know that.                       22   BY THE WITNESS:
    23   BY MR. KAWAMOTO:                                           23      A. That's correct.
    24       Q. Okay. Well, so let me take a step back              24      THE WITNESS: Sorry.

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     1 then.                                                         1 BY THE WITNESS:
     2         For these -- these ten items, these are               2       A.   Are we through with that?
     3 all things that presumably the pharmacy would know, is        3 BY MR. KAWAMOTO:
     4 that correct?                                                 4       Q.   Yes, we are done with that.
     5       MS. DURFEE: Objection; form.                            5       A.   Okay.
     6   BY THE WITNESS:                                             6       MR. O'CONNOR: Counsel, I think it has been
     7       A. The pharmacy should know if they are being           7 about an hour, maybe time for lunch?
     8   nefarious, I would think, if they are doing things          8       MR. KAWAMOTO: Sure. What -- about what time is
     9   that are outside their, you know, filling                   9 it?
    10   prescriptions. Are there scripts written for those         10       MS. REIDY: 12:07.
    11   prescriptions? I mean, they are -- does the pharmacy       11       MR. KAWAMOTO: Yeah, why don't we -- how long a
    12   often sell controlled substances without a                 12 break do you want? Do you want to do --
    13   prescription? I'm not certain that the pharmacy would      13       MR. O'CONNOR: We can go off the record here.
    14   tell you that if you asked them, so.                       14       MR. KAWAMOTO: Yeah.
    15   BY MR. KAWAMOTO:                                           15       THE VIDEOGRAPHER: We are going off the record
    16       Q. Sure. They might not tell you that, but             16 at 12:07.
    17   they can certainly provide -- some of these other          17             (WHEREUPON, a recess was had
    18   categories they could provide that information, is         18              from 12:07 to 12:49 p m.)
    19   that correct?                                              19       THE VIDEOGRAPHER: We are back on the record at
    20       MS. DURFEE: Objection to form.                         20 12:49.
    21   BY THE WITNESS:                                            21       MR. KAWAMOTO: Okay. I'd like to mark this as
    22       A. They could certainly provide that to their          22 Exhibit 8.
    23   distributor because the distributor is the person who      23             (WHEREUPON, a certain document was
    24   should know all of this. They should be the ones           24              marked Mallinckrodt-Ratliff

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     1               Deposition Exhibit No. 008, for                  1   DEA's interpretation of a requirement that registrants
     2               identification, as of 12/19/2018.)               2   are required to follow with respect to the size of an
     3       MR. O'CONNOR: Is there more than one? Are                3   order?
     4   there more copies?                                           4       MR. O'CONNOR: Objection.
     5       MR. KAWAMOTO: Yes, they should be behind.                5   BY MR. KAWAMOTO:
     6       THE WITNESS: Here we go.                                 6       Q. Is that correct?
     7              (WHEREUPON, there was a short                     7       A. Yes.
     8               interruption.)                                   8       Q. And turning to the back of the letter --
     9   BY MR. KAWAMOTO:                                             9       A. Okay.
    10       Q. Okay. So this is another e-mail and                  10       Q. -- the very top paragraph.
    11   attachment. The e-mail is Bates numbered 7146630.           11           Could you read that top paragraph, it is
    12           And my questions are going to relate to             12   the first few sentences?
    13   the attachment.                                             13       A. "Registrants that rely on rigid formulas
    14       A. Okay.                                                14   to define whether an order is suspicious may be
    15       Q. Okay. So first in terms of establishing              15   failing to detect suspicious orders. For example, a
    16   the -- the e-mail chain, the very top e-mail is an          16   system that identifies orders as suspicious only if
    17   e-mail from Karen Harper to you, Mr. Ratliff. It's a        17   the total amount of a controlled substance ordered
    18   2/29/2008.                                                  18   during one month exceeds the amount ordered the
    19           Do you see that, sir?                               19   previous month by a certain percentage or more is
    20       A. I do.                                                20   insufficient."
    21       Q. Okay. And it attaches -- it attaches a               21       Q. Do you agree with that statement, sir?
    22   letter from the DEA dated December 27, 2007.                22       A. I agree that DEA is telling us that.
    23           Do you have any recollection of receiving           23       Q. And substantively, though, do you agree
    24   this letter?                                                24   that reliance on a rigid formula to define whether an

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     1      A.     In 2007...                                         1   order is suspicious may -- may be failing to detect
     2           I don't recall this specific letter, but             2   suspicious orders, do you agree with that as a matter
     3   since it's attached and it appears to have come to me,       3   of substance, sir?
     4   I'm certain that I received it at some point.                4       A. Not necessarily. The reason I say that is
     5       Q. Okay. Do you recall ever discussing this              5   there -- most all of the registrants that we dealt
     6   letter with anyone?                                          6   with, and Karen Harper dealt with them, used an
     7       A. And the government letters such as this               7   algorithm to identify suspicious orders, in that they
     8   are called boilerplate. They send them out every once        8   were -- they deviated from the norm. They sent that
     9   in a while just to remind the registrants and/or --          9   to DEA. There came a time that Pete Kleissle called
    10   and it comes into the government also, they do the          10   me and said, That's no longer effective. We know
    11   same thing, to remind people of the rules and               11   you've been sending us those. Please cease and
    12   regulations.                                                12   desist, don't do that, you know, look at your program
    13       Q. And so I've -- if you could read the                 13   and do something different. And that's what started
    14   portion of the letter towards the bottom that I'm           14   the total reinforcement or the looking at the program
    15   going to highlight for ease of reference?                   15   and trying to make it the -- the model of the
    16       A. On the front page?                                   16   industry.
    17       Q. Ah, yes, on the front page.                          17       Q. And I -- I understand that DEA is telling
    18       A. What you have highlighted, okay.                     18   you that in this letter, but in terms of the substance
    19       Q. Yes, it starts with "the size".                      19   of their concern, do you agree -- well, strike that.
    20       A. "The size of an order alone, whether or              20           Would you agree that DEA's concern that
    21   not it deviates from a normal pattern, is enough to         21   reliance on rigid formulas to define whether an order
    22   trigger the registrant's responsibility to report the       22   is suspicious may be failing to detect suspicious
    23   order as suspicious."                                       23   orders is a valid concern?
    24       Q. And so you would agree that this is the              24       MR. O'CONNOR: Objection.

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     1 BY THE WITNESS:                                                1          So this is going to every registrant --
     2      A. I don't know that I agree with that.                   2       A. It is.
     3 BY MR. KAWAMOTO:                                               3       Q. -- both manufacturers and distributors?
     4      Q. So you -- you think it would be fine to                4       A. Exactly.
     5 rely on a rigid formula?                                       5       Q. And the statement above relating to rigid
     6      A. At the time we relied on a rigid formula               6   formulas, my question to you is: For a manufacturer
     7 because there were times we had more information than          7   like Mallinckrodt, is it okay for the manufacturer to
     8 DEA. A particular registrant, DEA had pulled their             8   rely on rigid formulas in light of this DEA letter?
     9 registration. So another distributor came in and               9       MR. O'CONNOR: Objection.
    10 wanted to order additional product. We knew that. So          10   BY THE WITNESS:
    11 to say just because it deviates it's suspicious isn't         11       A. I don't know if I have an opinion about
    12 always the case.                                              12   it.
    13       Q. Well, but isn't DEA saying something                 13   BY MR. KAWAMOTO:
    14   separate, they are saying that if you are using a           14       Q. You were director of security, sir. You
    15   rigid formula to define whether an order is suspicious      15   don't have any opinion --
    16   without taking a broader view or looking at more data,      16       A. No.
    17   you may be failing to detect suspicious orders,             17       Q. -- as to whether or not rigid formulas are
    18   isn't -- isn't that what DEA is saying in that -- in        18   appropriate with respect to detecting --
    19   that first two -- the first couple of sentences?            19       A. No.
    20       MR. O'CONNOR: Objection.                                20       Q. -- suspicious orders?
    21   BY THE WITNESS:                                             21       A. Rigid formulas were used by almost all
    22       A. They are saying this system fails placed             22   manufacturing registrants for years. So were they
    23   by a pharmacy if the pharmacy -- see, you're -- we are      23   always wrong, is that what you are saying, they have
    24   still confusing the manufacturer from the distributor       24   always been wrong? What we are saying is we got a

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     1 to the pharmacy, so. So what you did is you stopped            1   great deal of information from that. And from that we
     2 short of reading the rest of the facts that talk about         2   were able to determine if it's suspicious. What we
     3 this is -- "This system fails to identify orders               3   were telling DEA is this is a deviation by those rigid
     4 placed by a pharmacy if the pharmacy placed unusually          4   numbers from what they've ordered in the past. It was
     5 large orders from the beginning of its relationship            5   my belief that they would use that information in
     6 with the distributor." And you are trying to say, Oh,          6   deciding who they would audit or not audit. So when
     7 well, this refers to the manufacturer also when it             7   they are coming out and telling us this, they are
     8 doesn't say that.                                              8   saying that now it's your responsibility to -- don't
     9 BY MR. KAWAMOTO:                                               9   just send us this anymore because it's really not
    10      Q. And so your interpretation of this letter,            10   helping. So that's the time when we changed and did
    11 then, is that there is nothing wrong with a                   11   what DEA required. They are saying, Don't send us
    12 manufacturer relying on a rigid formula?                      12   rigid numbers any more. But what I'm saying is, I
    13      A. Again, I'm going to say not necessarily               13   don't agree with the fact that those were wrong.
    14   that I agree with that statement because I think it's       14       Q. But you would -- you would agree that as
    15   too rigid. What I'm saying is this is with regard to        15   of the date of this letter, which is December 2007, it
    16   a distributor in pharmacies and you are trying to --        16   was no longer appropriate to rely on a rigid formula
    17   to put that on everyone that's a registrant, and I          17   in light of DEA's letter?
    18   just think that's far reaching.                             18       MR. O'CONNOR: Objection.
    19      Q. Well, but the -- the -- the first page of             19   BY MR. KAWAMOTO:
    20   the letter says, it says; "This letter is being             20       Q. Is that correct?
    21   sent" -- this is at the very top. "This letter is           21       A. Well, if we go back -- see, you're --
    22   being sent to every entity in the United States             22   you're only taking part of that paragraph, and I just
    23   registered with the Drug Enforcement Administration to      23   have fault with that. They -- it talks about
    24   manufacture or distribute controlled substances."           24   pharmacies. So it's saying, if you read -- if the --

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     1 the distributors, which is different than the                  1 said, Okay. And I called Karen in and I said, Pete
     2 manufacturers, if they use rigid numbers in doing              2 said don't send those, these monthly letters anymore.
     3 this, they may be missing this. So it's not saying             3           So at that point DEA is saying to a
     4 just because all registrants received it doesn't               4   manufacturer, Yeah, we don't -- we don't want you to
     5 necessarily mean that they are talking to the                  5   do that anymore. So that is our -- when we knew that,
     6 manufacturers.                                                 6   that's when our program started to change. We started
     7       Q. Okay. And my question to you then, sir,               7   to fine -- to define knowing our customers's customer
     8   is: As a manufacturer, when you read this letter, and        8   and we developed that form that gave all of this
     9   you read that paragraph, and is it okay if you are a         9   information from those pharmacies so we could make
    10   manufacturer to rely on a rigid formula for                 10   better decisions. So we were trying to help DEA in
    11   identifying suspicious orders?                              11   every way, but to say I'm basing that -- if I would
    12       MR. O'CONNOR: Objection.                                12   have read this at the time, I would have said, Well,
    13   BY MR. KAWAMOTO:                                            13   they are talking about pharmacies, not manufacturers.
    14       Q. I understand that distributors may be                14       Q. So your interpretation of this letter, I
    15   doing something different or they may be differently        15   understand that you had a phone conversation with Pete
    16   situated, but with respect to a manufacturer, is it         16   Kleissle, but your interpretation of this letter and
    17   okay for a manufacturer like Mallinckrodt to rely on a      17   this paragraph is that this applies to distributors
    18   rigid formula to define whether an order is                 18   and not manufacturers, is that correct?
    19   suspicious?                                                 19       A. As I read it today, that's what I --
    20       MR. O'CONNOR: Objection.                                20   that's how I interpret it. But you have to remember
    21   BY THE WITNESS:                                             21   this is -- well, it's only ten years ago, over ten
    22       A. I'll just restate what I said. We                    22   years ago.
    23   believed giving those numbers to DEA would allow them       23       Q. But you don't have any reason to believe
    24   to audit if they thought -- because they have               24   as you sit here today that you would have had a

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     1   additional information. They have information from           1 different interpretation of this letter ten years ago?
     2   other -- other registrants. Maybe that distributor           2     A. Ten years ago I thought we had a great
     3   was buying from five different manufacturers. So, we         3 program in place, so.
     4   don't know that. We were providing those numbers to          4      Q. And what do you believe now, sir?
     5   them in an -- in an effort to alert them that this is        5      A. I think our program has improved.
     6   a little out of the ordinary. And to say that's just         6      Q. So you can put that aside.
     7   absolutely wrong is just not right.                          7      A. Okay.
     8   BY MR. KAWAMOTO:                                             8      MR. KAWAMOTO: Okay. So this is now Exhibit 9.
     9       Q. Well, I'm -- I'm not saying that's                    9            (WHEREUPON, a certain document was
    10   absolutely wrong, sir. I'm asking a slightly                10             marked Mallinckrodt-Ratliff
    11   different question, which is going forward from 2007        11             Deposition Exhibit No. 009, for
    12   onward -- I'm sorry -- going forward from December          12             identification, as of 12/19/2018.)
    13   2007 onward, was it acceptable to rely on a rigid           13   BY MR. KAWAMOTO:
    14   formula? I'm not asking you about rigid formulas            14      Q. So this is an e-mail chain from Karen
    15   prior to December of 2007. I'm saying, after the date       15   Harper to you with the Bates No. 268860, and the
    16   of this letter, would it be appropriate for a               16   bottom e-mail is an e-mail from you, Mr. Ratliff, to a
    17   manufacturer to rely on a rigid formula in determining      17   number of people, cc'ing Karen Harper.
    18   whether an order is suspicious?                             18      A. Okay.
    19       MR. O'CONNOR: Objection.                                19      Q. So can you review the bottom e-mail,
    20   BY THE WITNESS:                                             20   please?
    21       A. I received a telephone call from Pete                21      A. I can.
    22   Kleissle at some time, and I don't think it was -- I        22          Okay.
    23   think it was after this where he said, Yeah, don't do       23      Q. Okay. So, sir, can you read the top
    24   that anymore, don't said those. So at that point I          24   paragraph of your e-mail?

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     1      A.     I can.                                              1       A. So that -- that e-mail sentence suggests
     2            "Jim," I guess it's to Jim Rausch, "Pete             2   that the suspicious -- that you were supposed -- you
     3   Kleissle, DEA Diversion Group Supervisor, St. Louis,          3   were -- well, strike that.
     4   just called regarding several letters he has received         4           That line suggests that you were sending
     5   from you detailing suspicious orders" -- "suspicious          5   out suspicious or you were filling suspicious orders
     6   orders. He advised that he needs more information, in         6   after notifying the DEA of those orders, is that
     7   that, if it is suspicious why are we filling the              7   correct?
     8   order. I explained that we use a calculation based            8       MR. O'CONNOR: Objection.
     9   on" -- "upon an amount previously order. He stated,           9   BY THE WITNESS:
    10   'If you think it is suspicious, don't fill it.' I            10       A. No, it is not correct. What he is saying
    11   will go into more detail on Friday."                         11   is, I need more information. So what we've used is
    12       Q. Okay. Thank you.                                      12   that algorithm that we believed was helping them. So
    13            So that is an e-mail that you sent to Jim           13   he is saying, Don't do that anymore, but he is not
    14   Rausch, Michael Pheney and Cathy Stewart.                    14   saying, Oh, yeah, you are sending me this information
    15       A. Um-hum.                                               15   and it's suspicious. We were providing the
    16       Q. Does this refresh your recollection as to             16   information to them to assist them. So to say that
    17   what Jim Rausch -- the role Jim Rausch was playing in        17   any of those were suspicious, we don't really -- we
    18   the suspicious order monitoring program?                     18   just know they didn't fit within the algorithm.
    19       A. Yes. Jim works with Pheney and he is --               19   BY MR. KAWAMOTO:
    20   they obviously are the ones that are gathering the           20       Q. But he also says: "He advised that he
    21   information, I guess, upon what orders are being sent.       21   needs more information that if it is suspicious, why
    22   You have to remember, he didn't work for me, so I            22   are we filling the order."
    23   don't have a specific knowledge of what he did.              23           So doesn't that last phrase, "if it is
    24       Q. I understand that.                                    24   suspicious why are we filling the order," suggest that

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     1       A. Okay. But this is what I was speaking of               1 you were filling suspicious orders?
     2   before when Pete called me and said, Don't do that            2      A. Well, the rest of that conversation with
     3   anymore.                                                      3 Pete -- sorry, I didn't mean to talk over you. Please
     4       Q. And what you are referring to is Pete                  4 repeat yourself.
     5   called you and said don't send him any more letters,          5       Q. Doesn't that phrase "if it is suspicious
     6   is that correct?                                              6   why are we filling the order," doesn't that suggest
     7       A. Yes.                                                   7   that you were filling suspicious orders and he is
     8       Q. And what -- what were the letters that Jim             8   asking you why?
     9   was sending to Pete?                                          9       MR. O'CONNOR: Objection.
    10       A. They were a -- I can't tell you                       10   BY THE WITNESS:
    11   specifically, but they had to do with the orders, and        11       A. That's not what he is -- that is not what
    12   I don't know what their calculations were, I don't           12   he related to me. He is just saying, Don't do that
    13   know anything about that. I just know that they              13   anymore. If you -- if it's the algorithm, if it
    14   filled out letters and sent them based on an algorithm       14   doesn't fit, we don't have enough based on what you
    15   that had been developed and was being used.                  15   are sending us based on your algorithm. And I'll give
    16       Q. Okay. And do you see this -- this                     16   you more information on Friday about what's going on,
    17   sentence that I'm highlighting? Could you repeat             17   so.
    18   that, please?                                                18   BY MR. KAWAMOTO:
    19       A. Several letters he has received from me               19       Q. And so that -- that phrase then is
    20   detailing suspicious orders. "He advised that he             20   inaccurate?
    21   needs more information, in that, if it is suspicious         21       A. I would say it's poorly worded on my part.
    22   why are we filling the order," is that what you are          22       Q. And when he says: "He stated, 'If you
    23   asking?                                                      23   think it is suspicious, don't fill it,'" why would
    24       Q. Yes.                                                  24   he -- why would he say that -- why would he say that

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     1 to you? And you have that in quotes, sir.                  1   know that.
     2       A. Um-hum.                                           2       Q. Sure. But he was clearly running them at
     3       MR. O'CONNOR: Objection.                             3   a minimum on some, correct?
     4   BY MR. KAWAMOTO:                                         4       A. At a minimum on some, but I would think it
     5       Q. Why would he say that to you if he didn't         5   was -- the algorithm affected all of the customers.
     6   have a concern that you were filling suspicious          6       Q. Okay. So I understand that you are not
     7   orders?                                                  7   sure whether it was all of them or some of them, but I
     8       MR. O'CONNOR: Objection.                             8   guess my point is, regardless of whether it was all of
     9   BY THE WITNESS:                                          9   the orders or some of the orders, he was running an
    10       A. I don't believe that Pete believed we were       10   algorithm on these orders and that -- that algorithm
    11   filling suspicious orders. If he had believed that,     11   presumably identified various orders.
    12   he and his team would have been at Mallinckrodt going   12            Is that your understanding?
    13   through all of our records. He was just explaining to   13       MR. O'CONNOR: Objection.
    14   me in a very emphatic way to change what you are        14   BY THE WITNESS:
    15   doing. And that came out of headquarters. And so did    15       A. Yes, if they were -- if they were out
    16   he say that, yes.                                       16   of -- if they were higher than they had been, if it
    17   BY MR. KAWAMOTO:                                        17   had increased at a certain time, there is a method to
    18       Q. And what did he want you to do -- well,          18   all of that. I don't profess to know what it is, but
    19   strike that.                                            19   I know we were doing that, and he was being very
    20           What were you doing that he had concerns        20   specific about this, about us stopping with the --
    21   about?                                                  21   with the algorithms.
    22       MR. O'CONNOR: Objection.                            22   BY MR. KAWAMOTO:
    23   BY THE WITNESS:                                         23       Q. Okay. So presumably after April
    24       A. We were using an algorithm, as all of the        24   of 2008 -- well, strike that.

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     1   other registrants were, and he is saying don't use       1           I take it you responded to his direction
     2   that.                                                    2   by stopping use of the algorithm, is that correct?
     3   BY MR. KAWAMOTO:                                         3       MR. O'CONNOR: Objection.
     4       Q. And what did he want you to do instead            4   BY THE WITNESS:
     5   then?                                                    5       A. I think that's what I did with this
     6       A. Provide him more information.                     6   e-mail.
     7       Q. So I want to make sure I understand what          7   BY MR. KAWAMOTO:
     8   you mean by you say you were using an algorithm.         8       Q. Okay. And so what took its place?
     9       A. Um-hum.                                           9   Instead of using an algorithm to identify suspicious
    10       Q. So you were applying a formula to a              10   orders, how did you identify them?
    11   group -- well, do you know if this algorithm was        11       A. Well, you'd have to ask Karen Harper. We
    12   applied to all of the orders for your opioid products   12   started a new program. I can't tell you the exact
    13   or only some?                                           13   date that we started sending out those forms to
    14       MR. O'CONNOR: Objection.                            14   identify all of our -- all of the other information.
    15   BY THE WITNESS:                                         15   I just don't know the answer to that.
    16       A. I don't know that. Jim Rausch would be a         16       Q. And you reference in the second paragraph
    17   better source for that. He is the one that filled out   17   "Frank Sapienza"?
    18   the letters based on the orders that they received,     18       A. Yes.
    19   so.                                                     19       Q. Who is he?
    20   BY MR. KAWAMOTO:                                        20       A. He was with DEA.
    21       Q. So Jim is running an algorithm on some           21       Q. And the reference is, you have a call
    22   population of orders?                                   22   planned with Frank Sapienza on Friday "to strengthen
    23       A. You're putting words. I -- I don't know          23   our suspicious order monitoring system" -- I'm
    24   if he was running it on all of the -- I just don't      24   sorry -- "our suspicious order identification system."

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     1           Do you recall anything about that call               1   Highlights, February 2008."
     2   with Frank?                                                  2           Do you see that, sir?
     3       A. I don't.                                              3       A. I do.
     4       Q. Do you have any recollection of how you               4       Q. Okay. Do you recall receiving -- do you
     5   were going to strengthen your suspicious order               5   re -- well, strike that.
     6   identification system?                                       6           Were these e-mails that Karen sent out
     7       A. Not at this point I don't.                            7   every month?
     8       Q. Who would have been in charge of that                 8       MR. O'CONNOR: Objection.
     9   program -- of that project?                                  9   BY THE WITNESS:
    10       A. Karen Harper.                                        10       A. Well, it says: "DEA Compliance Monthly
    11       Q. Do you have any recollection of your                 11   Highlights," so there is an assumption to be made, but
    12   involvement in that project as you sit here today?          12   you have to remember this is over ten years ago. So
    13       A. I'm sure I assisted, but I can't tell you            13   do I remember receiving this, I see my name on it, and
    14   that -- Karen is very informed and knows everything         14   that's about all I can tell you about that. It's over
    15   there is about DEA compliance, so she would have taken      15   ten years.
    16   this on as a responsibility to write a program. Did I       16   BY MR. KAWAMOTO:
    17   read it, did I look at it, did I make recommendations,      17       Q. And you are the only one that's receiving
    18   at this point I can't tell you, you know. Would that        18   this e-mail. So why -- why is she sending this to
    19   be normal, yes.                                             19   you?
    20       Q. Okay. And when you say you will go into              20       A. She may have worked for me at the time. I
    21   more detail on Friday, that's in the top paragraph, do      21   don't know.
    22   you recall what any of those details were?                  22       Q. Now, do you see the section marked
    23       A. I can't remember the conversation.                   23   "Suspicious Order Monitoring"?
    24       Q. So all you recall right -- all you recall            24       A. Uh-huh, I do.

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     1   based on this e-mail today is that you received a call       1      Q. And I guess the second line of that says:
     2   from Pete Kleis- -- from --                                  2           "Further, the need for a comprehensive
     3       A. Pete Kleissle.                                        3   review and upgrade of our Suspicious Order Monitoring
     4       Q. -- from Pete Kleissle, and as a result you            4   program has received elevated priority. A conference
     5   directed Jim to stop sending him letters and                 5   call on the matter with Corporate Logistics is
     6   Mallinckrodt stopped using the algorithm.                    6   scheduled for tomorrow."
     7           Is that accurate?                                    7           Do you -- do you see that?
     8       MR. O'CONNOR: Objection.                                 8      A. No. Where is it?
     9   BY THE WITNESS:                                              9      Q. Let me -- let me highlight it for you.
    10       A. I think that's accurate.                             10      A. Okay. So you are saying: "Further, the
    11       MR. KAWAMOTO: I believe we are up to                    11   need for a comprehensive review and upgrade of our
    12   Exhibit 10.                                                 12   Suspicious Order Monitoring program has received
    13              (WHEREUPON, a certain document was               13   elevated priority. A conference call on the matter
    14               marked Mallinckrodt-Ratliff                     14   will" -- "with Corporate Logistics is scheduled for
    15               Deposition Exhibit No. 010, for                 15   tomorrow."
    16               identification, as of 12/19/2018.)              16           I see that.
    17   BY MR. KAWAMOTO:                                            17      Q. Okay. Do you -- is this -- do you agree
    18       Q. So this is an e-mail from Karen Harper to            18   with this statement? Meaning in March of 2008, do you
    19   you --                                                      19   recall there being -- do you recall the need for a
    20       A. Okay.                                                20   comprehensive review and upgrade of your suspicious
    21       Q. -- dated March 3rd, 2008. It has got                 21   order monitoring program and do you recall it
    22   Bates No. 1308810.                                          22   receiving elevated priority?
    23           And the title of this e-mail -- the title           23      MR. O'CONNOR: Objection.
    24   of this e-mail is: "DEA Compliance Monthly                  24   BY THE WITNESS:

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     1       A. We constantly tried to upgrade our program              1   of your SOM program?
     2   to be the best for any manufacturer.                           2       A. You can ask me this for ten times. I'm
     3           So when I read this, it does not surprise              3   going to tell you I don't recall this because of the
     4   me that it's written in that way, and I think we were          4   length of time that's passed. I've been out of the
     5   always striving to -- to have a better program, so, if         5   company for six-and-a-half years. I'm doing my best
     6   that answers your question.                                    6   to cooperate, but if I don't remember, I don't
     7   BY MR. KAWAMOTO:                                               7   remember.
     8       Q. But this references a comprehensive review              8       Q. Well, and the purpose of these documents
     9   and upgrade and it notes that that has received                9   is to see if they can refresh your recollection.
    10   elevated priority.                                            10       A. And I'm saying they don't.
    11       A. I don't know what that means.                          11       Q. So, do you recall any concerns that
    12       Q. So that would -- that would suggest                    12   Mallinckrodt had in this time period, so early 2008,
    13   something other than sort of routine improvement,             13   regarding its SOM program?
    14   would it not?                                                 14       MR. O'CONNOR: Objection.
    15       A. I will repeat, this has been way over ten              15   BY THE WITNESS:
    16   years, and for me to look at that and make a decision         16       A. We wanted to have the best program
    17   on what that meant or who did it and when they did it         17   possible.
    18   is really kind of -- I just can't tell you that. I'm          18   BY MR. KAWAMOTO:
    19   saying we were constantly trying to upgrade our               19       Q. Well, I understand that, sir.
    20   program to be in compliance. So, if we needed to have         20       A. We were constantly trying to upgrade the
    21   a -- a better program or more up -- yeah, I think we          21   program and make it -- and obtain additional
    22   could all -- always say we can improve, so. But you           22   information so we could assist. You know, there was a
    23   are asking questions here, you know, we are going on          23   time we thought that our distributors were doing their
    24   11 years here, so. I have been retired                        24   due diligence. We reviewed -- they sent us all of

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     1 six-and-a-half. I -- I mean, I know you want me to               1   their -- their programs in written form and they
     2 say certain things but I just can't, so.                         2   looked really nice. But unless you drilled down be --
     3      Q. Well, sir, I don't want you to say                       3   beyond that, you don't really know if they are, you
     4   anything. I'm just interested in what your                     4   know, doing what they should be doing, their due
     5   recollection is and that's why we are going through            5   diligence. So that's when we started to develop the
     6   these records.                                                 6   form that we are asking our salespeople to go out on
     7      A. Okay. Well, that's my recollection.                      7   all of our customers and give us this information so
     8   Thank you.                                                     8   we can make the best decision possible so we are
     9      Q. Okay. And do you have any recollection of                9   ensuring that we are not sending out anything that's
    10   what triggered this comprehensive review and upgrade?         10   suspicious.
    11      A. Well, I don't know. So, was it the 3/3 --               11       Q. And my question to you is slightly
    12   April 1st, no.                                                12   different, which is do you recall any concerns at this
    13      Q. Okay. And the reference to "received                    13   time period, which would be March of 2008?
    14   elevated priority," do you know --                            14       MR. O'CONNOR: Objection.
    15      A. I have no idea. I have no idea in the                   15   BY THE WITNESS:
    16   world. I don't know who the elevated priority would           16       A. I don't.
    17   have come from or anything about it.                          17       THE WITNESS: Sorry.
    18      Q. Well, you indicated that Karen Harper at                18       MR. O'CONNOR: That's okay.
    19   this time may have been working for you, is that              19   BY MR. KAWAMOTO:
    20   right?                                                        20       Q. Now, sir, you've repeatedly referenced
    21      A. Well, I said may have been working for me.              21   that you were continuing to improve your program.
    22   So I don't remember. She worked for me for a time.            22   What's the basis for that statement?
    23      Q. But you don't recall any particular                     23       A. That's the form that we developed to ask
    24   urgency in early 2008 regarding the upgrade and review        24   questions about the -- not -- not only the -- the --

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     1 from the distributors but from their customers. So we              1 could explain it to you. Do you have the form?
     2 as a manufacturer sold to distributors, and in many                2 BY MR. KAWAMOTO:
     3 conversations with DEA we were looking at, Okay. Now               3       Q. We have -- well, we've seen several forms.
     4 we are going to have to go to the customer, our                    4   They appear to be drafts. So, to be honest, I'm
     5 customer, the distributor, to their customers to                   5   not -- I'm not sure.
     6 determine if they are actually doing what the                      6       A. Well, we had -- we had a -- I'm sorry.
     7 distributor -- distributor should be doing in                      7       Q. So as you sit here now, and we'll go
     8 reviewing. So, yes, we were doing that. We were --                 8   through additional documents --
     9 yeah, we were constantly trying to upgrade that to                 9       A. Okay.
    10 make sure we had enough information to make decisions             10       Q. -- but what is it you recall about this
    11 like that.                                                        11   form?
    12     Q. And when did that occur?                                   12       A. That it stated the name, it stated the
    13     A. I can't tell you. I don't know.                            13   proportion of controlled substance to non-controlled
    14     Q. Other than knowing your customer's                         14   substances, the number of cash customers as opposed to
    15 customer, what other steps did you take to improve and            15   insurance customers or whatever, and I know it talked
    16 upgrade your program, which you said you were doing               16   in terms of the two highest prescribing doctors. You
    17 constantly?                                                       17   have to remember, over ten years old, I just -- I
    18     A. I mean, that's knowing our customer's                      18   mean, that's just really a vague recollection, so.
    19 customer was the thrust of that -- that program at the            19   I'm doing my best to help you.
    20 time.                                                             20       MR. KAWAMOTO: Here we go.
    21     Q. So that was -- that was the improvement,                   21             (WHEREUPON, a certain document was
    22 sir?                                                              22              marked Mallinckrodt-Ratliff
    23     A. To the best of my knowledge.                               23              Deposition Exhibit No. 011, for
    24     Q. And so when Karen is in March of 2008                      24              identification, as of 12/19/2018.)

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     1 talking to -- talking about improving the program,                 1   BY MR. KAWAMOTO:
     2 your recollection is the component -- what she was --              2       Q. So this is an e-mail with several
     3 well, strike that.                                                 3   attachments, and why don't we start with the e-mail.
     4          Your recollection is that that improvement                4   So if you could review that and let me know when you
     5 was knowing your customer's customer, is that correct?             5   are ready.
     6     MR. O'CONNOR: Objection.                                       6       A. Okay. I have read that.
     7 BY THE WITNESS:                                                    7       Q. Okay. So this is an e-mail from Karen
     8     A.    I can't tell you at this time sitting here               8   Harper to you, Michael Pheney, Jim Rausch, Cathy
     9 exactly when the form was developed or when we started             9   Stewart, and Kimberly France.
    10 doing that. I just can't tell you that. I just -- I               10       A. Um-hum.
    11 have no memory of exactly when that happened.                     11       Q. And it is dated April 10th, 2008. It's
    12 BY MR. KAWAMOTO:                                                  12   Bates number is 273902.
    13      Q. Okay.                                                     13           And do you recall receiving this e-mail?
    14      A. But I know that we started to do that.                    14       A. May name is on it, so I must have received
    15   And the exact date, I can't -- I just can't tell you.           15   it, but I don't recall receiving it.
    16   I don't know.                                                   16       Q. Okay. Now, in this Karen is raising
    17      Q. And what do you recall about the form? I                  17   various questions regarding improvements to the
    18   mean, this is -- we've repeatedly discussed this form.          18   suspicious order checklist.
    19   What do you -- what do you recall about the form? Who           19           Is that accurate?
    20   did it go to, what did it ask for, what type of                 20       A. That's what it says.
    21   information was it trying to seek?                              21       Q. Okay. And what -- what do you recall
    22      MR. O'CONNOR: Objection.                                     22   about what the suspicious order checklist was?
    23   BY THE WITNESS:                                                 23       A. I don't really recall it at all.
    24      A. I mean, I'd love to see the form and I                    24       Q. Okay. Well, so why don't we look at some

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     1 of the attachments then, because I believe one of them      1   how we have an obligation to do that. It's -- I don't
     2 is a -- a checklist.                                        2   know what "The Integrichain Pilot Program" is or who
     3      A. Okay.                                               3   wrote the document. And sometimes they use -- they
     4      Q. Actually, two of them are checklists.               4   use words and phrases that aren't necessarily in -- in
     5      A. Okay.                                               5   keeping with a manufacturer. So they are saying,
     6      Q. So the "Controlled Substance Order                  6   whatever this program is that we should be doing that,
     7   Checklist," that's the first attachment.                  7   and we had some -- we had people at some point that
     8           Do you see that?                                  8   came in and tried to -- tried to provide information
     9      A. I do.                                               9   that it was their -- their project, their pet project.
    10      Q. And just so I understand how this                  10   So am I saying that we were -- no, I don't think so.
    11   checklist was used, this would be completed by the       11   I don't think that's the job of a manufacturer at all.
    12   customer service representative. So this wasn't --       12   Our job is to prevent diversion. But as a growing --
    13   this wasn't part of the effort to know your customer's   13   that's somebody's special project and they decided
    14   customer, was it?                                        14   that we should have this obligation. So do I agree
    15      A. I think it was part of the overall --              15   with that, no.
    16   excuse me -- suspicious order monitoring program. Did    16   BY MR. KAWAMOTO:
    17   I ever see these, no. Was I aware that there was a       17      Q. Well, so what part of the obligation do
    18   checklist, probably at that time, but I think it was     18   you not agree with, because it says Covidien -- I
    19   part and parcel to the -- to the suspicious order        19   mean, "As a growing leader in the pain management
    20   monitoring program. They were trying to bring            20   category, Covidien has a social and business
    21   everybody in on the same page.                           21   obligation to prevent abuse."
    22      Q. The next attachment is an overview of              22           Do you agree that there is an obligation
    23   something called "The Integrichain Pilot Program."       23   to prevent abuse if you are a manufacturer?
    24           Do you see that?                                 24      MR. O'CONNOR: Objection.

                                                     Page 159                                                            Page 161
     1       A. I do see that.                                     1   BY THE WITNESS:
     2       Q. Do you recall anything about The                   2       A. We have an obligation to prevent
     3   Integrichain Pilot Program?                               3   diversion, but there is no way as a manufacturer we
     4       A. No.                                                4   are going to be able to prevent abuse. If down the
     5       Q. The very top paragraph, right underneath           5   line, I'll give you an example, it's in a prison,
     6   Background, could you read that for me, please?           6   there is never a perfect system. You are always going
     7       A. "As a growing leader in the pain                   7   to get drugs into a prison. Even -- even the most
     8   management category, Covidien has a social and            8   hardened prisoners -- prisons get contraband into that
     9   business obligation to prevent abuse, diversion and       9   prison. So what you are saying is we have a -- an
    10   theft of its" -- "and theft of its" whatever. There      10   obligation to prevent abuse. The doctor has an
    11   is something wrong there. "Detailed data, through        11   obligation. The pharmacist has an obligation. But
    12   surveillance and pharmacovigilance, is an important      12   the manufacturer, I don't believe so.
    13   resource for the company."                               13   BY MR. KAWAMOTO:
    14       Q. So recognizing that there appears to be a         14       Q. Okay. So the manufacturer in your opinion
    15   word missing, other than that, would you generally       15   does not have any obligation to prevent abuse?
    16   agree with that statement?                               16       A. It's our responsibility to prevent
    17       A. I don't know what pharmacovigilance is.           17   diversion.
    18       Q. Well, how about the sentence: "As a               18       Q. What's the difference between diver- --
    19   growing leader in the pain management category,          19   diversion and abuse?
    20   Covidien has a social and business obligation to         20       A. Well, abuse would be someone going into a
    21   prevent abuse, diversion and theft" of something?        21   pharmacy with a script from a -- a doctor who writes
    22       MR. O'CONNOR: Objection.                             22   them for a certain amount of money and going out and
    23   BY THE WITNESS:                                          23   either selling those drugs or taking them, and that's
    24       A. As a manufacturer, I think -- I don't know        24   abuse. So is it our responsibility to prevent that,

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     1   no. There is no way we could do that, so.                        1       Q. Well, sir, to be honest, it is not clear
     2       Q. Now, what you described, sir, is someone                  2   who did write this.
     3   coming in with a script that they paid a doctor to               3       A. Okay.
     4   obtain and then having it filled and then either                 4       Q. What I've got is the attachment to the
     5   taking the pills themselves or selling the pills.                5   e-mail.
     6           Isn't that what occurs at a pill mill?                   6       A. So -- okay. So we don't have any idea who
     7       A. At a what?                                                7   wrote it, if it was a pet project, if someone brought
     8       MR. O'CONNOR: Objection.                                     8   it in at a time, you don't know that?
     9   BY MR. KAWAMOTO:                                                 9       Q. Well, procedurally speaking, there is a --
    10       Q. Isn't that what occurs at a pill mill,                   10   there are limits to how many of your questions I can
    11   isn't that what happens with pill mills, people come            11   answer, but --
    12   in with scripts that are probably not legitimate, they          12       A. Okay.
    13   obtain -- they obtain products and then those opioid            13       Q. -- I'm comfortable saying I don't know who
    14   products make their way into the illicit market?                14   wrote this.
    15       MR. O'CONNOR: Objection.                                    15       A. Thank you.
    16   BY MR. KAWAMOTO:                                                16       Q. And hence why I'm asking you about it.
    17       Q. Isn't that the problem with the pill mill,               17       A. I appreciate it because I don't know who
    18   sir?                                                            18   wrote it earlier.
    19       A. Yes.                                                     19            Okay. "Covidien currently monitors
    20       Q. Okay. And you do have an obligation, your                20   diversion of our product through transactional data
    21   diversion obligation is to prevent your products from           21   via electronic exchange and audit services from
    22   ending up in pill mills?                                        22   manufacturer to direct customer. Although these
    23       MR. O'CONNOR: Objection.                                    23   systems meet current standards for monitoring
    24   BY THE WITNESS:                                                 24   diversion, we are limited by our inability to track
                                                              Page 163                                                        Page 165
     1      A. Our obligation is to determine if our                      1 resources simultaneously through a comprehensive
     2   distributor has a program in place to do exactly that.           2 monitoring system that utilize" -- "utilizes all sales
     3   So what we found out was they weren't fulfilling their           3 and supply chain data. This is occurring at a time
     4   obligation in every instance. So then we went further            4 when prescription drug abuse, misuse, and diversion
     5   to go out and determine who those customers were to              5 are increasing, which we anticipate will prompt the
     6   see if they were providing licit or illicit pills in             6 enactment of stricter monitoring requirements."
     7   the market. So the first responsibility is to the                7      Q. So focusing on that last sentence that you
     8   distributor. So we took it upon ourselves to go out              8   just read --
     9   and find out who those customers, our customers'                 9      A. Okay.
    10   customers are to try to prevent that, so.                       10      Q. -- "This is occurring at a time when
    11   BY MR. KAWAMOTO:                                                11   prescription drug abuse, misuse, and diversion are
    12      Q. But if you determined that a customer's                   12   increasing, which we anticipate will prompt the
    13   customer was a pill mill, then you had an obligation            13   enactment of stricter monitoring requirements," is
    14   to cut them -- to direct the distributor to cut them            14   that an accurate statement in your opinion? And the
    15   off, did you not?                                               15   date of this e-mail and presumably this attachment is
    16      MR. O'CONNOR: Objection.                                     16   going to be April of 2008.
    17   BY THE WITNESS:                                                 17      A. So ten-and-a half years ago. So I don't
    18      A. Absolute -- absolutely. And we did that                   18   know that. And I don't know who wrote the document.
    19   many times.                                                     19   I don't know what their -- their ability to have this
    20   BY MR. KAWAMOTO:                                                20   information would be, and I just don't know that I can
    21      Q. And then can you read the highlighted                     21   say with any specificity that -- that this is
    22   section in the paragraph underneath "Compliance Need:           22   accurate. I just -- you know, I don't know.
    23   Simultaneous Abuse and Diversion Monitoring," please?           23      Q. Well, is it fair to say that over your
    24      A. Could you tell me who wrote this?                         24   time at Mallinckrodt, which spanned from 2000 to 2012,

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     1   there was an increase in drug abuse, misuse and           1      A. Okay.
     2   diversion, is that accurate?                              2   BY MR. KAWAMOTO:
     3       MR. O'CONNOR: Objection.                              3      Q. So is -- is this the form that you were
     4   BY THE WITNESS:                                           4   referencing with respect to -- to the form to help you
     5       A. I think it's probably accurate.                    5   know your customer's customer?
     6   BY MR. KAWAMOTO:                                          6      A. It's familiar. So I -- you know, it very
     7       Q. And did that prompt the enactment --               7   well could be that form.
     8   enactment of stricter monitoring requirements, sir?       8      Q. And would you have been involved in
     9       MR. O'CONNOR: Objection.                              9   developing this form?
    10   BY THE WITNESS:                                          10      A. I don't think so.
    11       A. DEA never gave us any advice on what we           11      Q. Do you recall ever reviewing this form
    12   should do or not do other than not to send anymore       12   when it was filled out?
    13   letters with the algorithm, okay. But they never         13      A. Yes.
    14   said, You need to do this or that. At one point they     14      Q. And what did you review it for? What was
    15   said, It would be nice if you know your customer's       15   the purpose of your review?
    16   customer. And that came, as I said, not directly, but    16      A. We needed additional information on -- on
    17   it came through a sidebar from DEA.                      17   registrants to see if we felt that they were
    18           So, did -- did we do everything within our       18   legitimate.
    19   power to start identifying those customers' customers,   19      Q. And can you walk me through how this, how
    20   yes. We were doing our very best to identify those       20   the information in this form would have helped you
    21   people. But did the DEA ever say in writing, until       21   determine whether a -- well, strike that.
    22   much later when we had the earthquake meeting at the     22      A. Do you have a -- where I can see the whole
    23   end of '11 when they said, You need to know your         23   thing? I -- it's cut off at the bottom.
    24   customer's customer. Before that it had been kind of,    24      Q. Yeah, it's -- it is in the back of your --

                                                       Page 167                                                    Page 169
     1 It would be nice if you knew that, but they would           1 it is towards the end of --
     2 never give us any instruction on what they meant.           2       A. That's this?
     3 BY MR. KAWAMOTO:                                            3       MR. O'CONNOR: Can we have the Bates number?
     4     Q.   Do you know if this pilot program was ever         4       MR. KAWAMOTO: Yeah. It's Bates No. 273907, so
     5 implemented, this Integrichain Pilot Program?               5   it should be as part of that document.
     6     A.   I have no clue. I don't know who wrote             6   BY THE WITNESS:
     7 it, I don't know -- I just don't know. You would            7       A. Thank you.
     8 think there would be something on here that would           8   BY MR. KAWAMOTO:
     9 identify the writer.                                        9       Q. Sure.
    10      Q. Are you familiar with 852 sales data?              10       A. Yeah, this isn't the form. This is not
    11      A. No. I don't know what that means.                  11   the one I was talking about.
    12      Q. What about 867 sales data?                         12       Q. Understood.
    13      A. Is there someplace I can look at this? I           13          Would you -- do you recall ever reviewing
    14   don't -- I don't --                                      14   this particular form, though, when it was filled out?
    15      Q. No, it's -- it's not going to be present           15       A. No.
    16   here. I'm just asking if you are familiar with it?       16       Q. Now, the next attachment, and it is Bates
    17      A. I'm not familiar with the sales data.              17   No. 273908, it's a "Controlled Substance Suspicious
    18      Q. Now, after the Integrichain overview,              18   Monitoring" and it is a "DEA Compliance Procedure."
    19   there is this "New Customer Checklist."                  19   This appears to be on a standardized form.
    20      A. Okay.                                              20          Is that -- is that accurate?
    21      Q. Now, you'll -- do you recall that we were          21       A. Yes.
    22   discussing a form, you know, probably ten minutes ago?   22       Q. Okay. And the originator is Karen Harper.
    23      MR. O'CONNOR: Objection.                              23          What -- what is this form, what is its
    24   BY THE WITNESS:                                          24   function?

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                                                          Page 170                                                            Page 172
     1      MR. O'CONNOR: Objection.                                  1     A.    Okay. I have read the "Regulatory
     2   BY MR. KAWAMOTO:                                             2 Interpretations." What other?
     3      Q. Let me put that another way.                           3     Q.    Okay. The one up top saying "Suspicious
     4           How did -- how did Mallinckrodt use these            4 Order Mentoring."
     5   types of forms internally? Is this a formal policy           5     A.    Okay.
     6   document or -- I'm trying to understand what I'm             6     Q.    Okay. So it says under Suspicious Order
     7   looking at?                                                  7 Mentoring, I think that means monitoring: "The team
     8      MR. O'CONNOR: Objection.                                  8 continues work and three meetings were held in May."
     9   BY THE WITNESS:                                              9          Is the -- is the reference to the team the
    10      A. I know I've seen these and seen more than             10 SOM team?
    11   one of them. How it was implemented, I'd -- I'd be          11     A.    I -- yeah, I don't know.
    12   guessing, so.                                               12     Q.    Okay. And I take it you don't recall
    13   BY MR. KAWAMOTO:                                            13 anything about meetings being held in May on
    14      Q. Now, on the back page it has                          14 suspicious order monitoring or mentoring?
    15   responsibilities and then it identifies various             15     A.    No.
    16   departments.                                                16     Q.    Okay. Now, the next sentence references
    17           Do you see that?                                    17 a: "Procedure that is in Draft 3 Revision and a
    18      A. Yes.                                                  18 subcommittee which has become work on which algorithms
    19      Q. Okay. So you've got the "Customer Data                19 will be used to screen orders of unusual quantity,
    20   Integrity Group. Perform Dun & Bradstreet information       20 frequency and pattern."
    21   check on new controlled" -- well, actually, strike          21     A.    Okay.
    22   that.                                                       22     Q.    So, do you have any recollection of a
    23           Can you review this and let me know if you          23 subcommittee?
    24   recall this process ever being implemented?                 24     A.    No.

                                                          Page 171                                                        Page 173
     1      A. After all of these years, I just can't                 1       Q. Now, the -- the -- this is dated June
     2   remember it.                                                 2   of 2008 and it's referencing work on algorithms which
     3      Q. You can't remember it.                                 3   will be used to screen orders of unusual quantity,
     4      A. I mean, I just can't remember.                         4   frequency and pattern.
     5      Q. Now, with respect to security director,                5           So if you will recall in April of 2008 you
     6   that would have been you, is that correct?                   6   had a conversation with Pete Kleissle.
     7      A. Yes.                                                   7           Do you recall that?
     8      Q. Do you recall if -- if this was an                     8       A. Yes.
     9   accurate description of your -- of your role in 2008?        9       Q. And the upshot of that conversation is
    10      MR. O'CONNOR: Objection.                                 10   that you were to stop -- well, Jim Rausch was to stop
    11   BY THE WITNESS:                                             11   sending him letters and using that algorithm?
    12      A. Again, I can't recall. I just don't know.             12       MR. O'CONNOR: Objection.
    13              (WHEREUPON, a certain document was               13   BY THE WITNESS:
    14               marked Mallinckrodt-Ratliff                     14       A. He said, Don't send us letters using the
    15               Deposition Exhibit No. 012, for                 15   algorithms.
    16               identification, as of 12/19/2018.)              16   BY MR. KAWAMOTO:
    17   BY MR. KAWAMOTO:                                            17       Q. Okay.
    18      Q. So this is an e-mail from Karen Harper to             18       A. That doesn't mean that the algorithms
    19   you. It is entitled "DEA Compliance Monthly Report,         19   aren't effective, because that's what they are saying
    20   May 2008," and it has a Bates number of 2908468. And        20   here, I think, that they are -- the algorithms have
    21   I only want to ask you about two things, the                21   some benefit to us, so that's what I get from reading
    22   regulatory interpretations and the suspicious order --      22   it. But do I recall it, no.
    23   well, it says "Suspicious Order Mentoring." I suspect       23       Q. And so do you have any recollection of
    24   that may be a typo.                                         24   whether the algorithm was changed or modified over

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     1   time?                                                         1     A.    I don't.
     2       A. I don't.                                               2     Q.    Okay. Were you -- do you recall ever
     3       Q. And actually, you don't -- you don't                   3 becoming aware of a significant gap in the program?
     4   recall whether the algorithm was still being used             4     A.    No.
     5   after April of 2008?                                          5    Q. The second line from the bottom, it says,
     6       A. I don't. I know that they weren't sending              6 "Further, HDMA endorses an electronic order monitoring
     7   letters to DEA with it.                                       7 system and we need to determine status (has pilot
     8       Q. Going to "Regulatory Interpretations" --               8 program been run?)"
     9       A. Okay.                                                  9          Well, do you know what HDMA is?
    10       Q. -- it says -- can you read that first                 10     A.    I don't.
    11   sentence?                                                    11     Q.    Okay. And do you know -- do you have any
    12       A. "As newly appointed Dosage Customer                   12 recollection of an electronic order monitoring system?
    13   Service Manager, Cathy Stewart requested several             13     A.    At this time I don't. I just don't.
    14   regulatory interpretations pertaining to DEA 222 over        14    Q. And the last sentence says: "More work on
    15   shipment and States versus Federal controlled                15 suspicious order monitoring program will be on the
    16   substance laws."                                             16 agenda for January."
    17       Q. Do you know what that is in reference to?             17    A. Okay.
    18       A. No.                                                   18     Q.    So based on the document, sir, it appears
    19           Is that all from this?                               19 that Mallinckrodt was working on its suspicious order
    20       Q. That's all for that.                                  20 monitoring program since early 2008 until early 2009.
    21       A. Thank you.                                            21       Is that accurate?
    22              (WHEREUPON, a certain document was                22    A. We were constantly refining, reviewing,
    23               marked Mallinckrodt-Ratliff                      23 and improving the suspicious order monitoring program.
    24               Deposition Exhibit No. 013, for                  24 So if that's what you are saying, yes.

                                                           Page 175                                                      Page 177
     1            identification, as of 12/19/2018.)                   1       Q. But do you have any recollection of when
     2 BY MR. KAWAMOTO:                                                2   the enhanced or new suspicious order monitoring
     3    Q. So the questions I have for you, sir,                     3   program was implemented?
     4 relate to the back page under "Ongoing Projects," and           4       A. I believe it was always in a stage of -- I
     5 in particular it is the second bullet point.                    5   mean, it was always being used as it was being
     6     A. The second bullet?                                       6   reviewed and improved is my recollection.
     7     Q. Yes. The one that I'll -- I'll highlight                 7       Q. But you don't -- you are not aware or
     8 it here.                                                        8   familiar with any of the details of that SOM program
     9         Do you see that highlighted section, sir?               9   as you sit here today?
    10     A. I do.                                                   10       A. Say that one more time, please.
    11    Q. Now, the first sentence references "HDMA                 11       Q. You are not aware or familiar with any of
    12 Industry Guidance."                                            12   the details of that SOM program as you sit here today?
    13        Do you know what that -- what is HDMA                   13       MR. O'CONNOR: Objection.
    14 Industry Guidance?                                             14   BY THE WITNESS:
    15    A. No.                                                      15       A. Was I aware of the suspicious order
    16     Q. It also references: "One significant gap                16   monitoring program, is that what you are asking?
    17 will be worked wherein HDMA suggests that the customer 17           BY MR. KAWAMOTO:
    18 (as opposed to shipper's sales rep) fills out the              18       Q. No. I'm asking -- I'm asking about the
    19 information gathering document regarding business              19   specifics of its implementation.
    20 background, customer base, state and federal license,          20          Do you know whether there was an algorithm
    21 and signs and notarizes the statement."                        21   in effect? Do you know when the customer checklist
    22         Do you see that statement?                             22   was rolled out?
    23     A. I do.                                                   23       MR. O'CONNOR: Objection.
    24     Q. Do you know what that is in reference to?               24   BY MR. KAWAMOTO:

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                                                           Page 178                                                           Page 180
     1      Q. I take it -- I mean, you don't -- you                   1 BY THE WITNESS:
     2   don't recall any of those details?                            2      A. That's exactly the case, and she would
     3      A. I don't.                                                3 have made a presentation to him. She would have done
     4      MR. O'CONNOR: Objection.                                   4 a PowerPoint and the whole thing.
     5   BY MR. KAWAMOTO:                                              5 BY MR. KAWAMOTO:
     6      Q. So your basis for saying that there was                 6      Q. But there is -- there is -- to the best of
     7   always some type of program in effect is what? Is it          7 your knowledge, there is no archive that has, you
     8   your general recollection or --                               8 know, this -- on this date this program was in fect --
     9      A. Karen.                                                  9 was in effect?
    10      Q. -- why would you say that?                             10      A. I don't know that. I just don't know that
    11      A. Karen would come in from time to time and              11 there was a specific date and we said, Okay. Now we
    12   say, We are going to do this. And I'd go, Okay. She          12 are rolling it out today. And so there was nothing
    13   was right next -- in the office right next to me. And        13 before or nothing -- no, that didn't happen. It was a
    14   so was -- did that mean did I know at the time, maybe.       14 gradual -- I mean, she worked on this all of the time,
    15   This is only -- we are getting only nine years ago.          15 trying to put it together, so.
    16   What I'm saying is would I have known at the time what       16           (WHEREUPON, a certain document was
    17   was going on, yes. But what you are asking me is to          17            marked Mallinckrodt-Ratliff
    18   review things that I haven't thought about in all of         18            Deposition Exhibit No. 014, for
    19   those years and today is the first time I'm looking at       19            identification, as of 12/19/2018.)
    20   this in nine years, ten years, eleven years and asking       20     THE WITNESS: Sorry.
    21   me to recall those details. And I apologize. I               21   BY MR. KAWAMOTO:
    22   can't. I just -- my memory is not good enough to go          22     Q. So this is an e-mail chain between you and
    23   back and look at this and say, Yep, that's what -- I         23   Karen Harper.
    24   just don't remember that.                                    24     A. Okay.

                                                       Page 179                                                             Page 181
     1       Q. So if I wanted to determine what this --               1      Q. And its Bates number is 283602.
     2   what's this -- what suspicious order monitoring               2          And you'll note that at the top there is a
     3   program was in effect, say, in July of 2008, where            3   discussion of, you know, flooring installation, and I
     4   would I go -- how would I do that?                            4   don't have any questions about that.
     5       A. I would talk to Karen Harper.                          5      A. Thank you.
     6       Q. Okay. Is there any formal document that                6      Q. But I do have questions about the e-mail
     7   you are aware of that would tell me, you know, this is        7   below that and then the e-mail below that. So if you
     8   a --                                                          8   can review that and the e-mail on the back of the
     9       A. If we have a specific date that said,                  9   page. Let me know when you are done.
    10   Okay. Now the program is in place, I don't know. I           10      A. Okay.
    11   don't think so. I think it was a -- a gradual                11      Q. Okay. And so this e-mail, the very bottom
    12   implementation.                                              12   e-mail, can you please read that? It is not very
    13           And I apologize for talking over you.                13   long.
    14       Q. That's okay.                                          14      A. "I agree with David and Kyle Wright" --
    15       A. I'll try not to do that.                              15      Q. Oh, no, I'm sorry. I meant the full
    16       Q. So if you got a new president of specialty            16   e-mail on 283603, so the back of the page.
    17   generics and he wanted to know -- he comes in in             17      A. "Yesterday, I had a lengthy chat with Matt
    18   August of 2008 and he wants to know what your SOM            18   Harbaugh and David Silver. We spoke briefly about the
    19   program is, I take it he would have gone to Karen            19   suspicious order monitoring program and its
    20   Harper, is that how he would have learned about it           20   importance. David made the comment, that if a
    21   or --                                                        21   distributor was ordering oxycodone and hydrocodone, a
    22       A. Sure.                                                 22   good test of their legitimacy was to determine if they
    23       MR. O'CONNOR: Objection.                                 23   were buying hydromorphone. Interesting thought.
    24       THE WITNESS: I'm sorry.                                  24   Let's discuss."

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     1       Q. So what -- what is -- can you explain               1 what I get from that.
     2   what's being -- well, strike that.                         2      Q. Well, and how -- how would -- how would
     3           Who is Matt Harbaugh and who is David              3 looking at the drug combination purchase pattern help
     4   Silver or who are?                                         4 you determine the legitimacy of the pharmacy? Is
     5       A. David Silver was a VP. Matt Harbaugh, I             5 it -- is it if they are only purchasing oxycodone,
     6   don't -- I remember the name, but I don't know what        6 that's a red flag, is that what this is about?
     7   his position was.                                          7       A. I don't know that.
     8       Q. And David Silver was a VP at Mallinckrodt?          8       Q. Now, then, your e-mail above is: "Thanks,
     9       A. Yes. He was at headquarters in -- in                9   I believe David was" -- "David was thinking more in
    10   Hazelwood.                                                10   line with pain relievers that are not as addictive, as
    11       Q. And you are discussing -- you're -- well,          11   opposed to only ordering those that are."
    12   what -- what are you discussing in this e-mail?           12            Do you have -- do you have any
    13       A. David was a computer wizard, a savant              13   recollection of what you meant by that statement?
    14   almost. He -- he just could do just about anything        14       A. No.
    15   with facts and figures, and that's my memory of what      15       Q. Do you recall at a time in the context of
    16   he was doing with the company.                            16   your "know your customer's customer push" that you
    17           So he made the comment that: "If a                17   started looking at drug combination purchase patterns?
    18   distributor was ordering oxycodone and hydrocodone, a     18       MR. O'CONNOR: Objection.
    19   good test of their legitimacy was to determine if they    19   BY THE WITNESS:
    20   were buying hydromorphone. Interesting thought.           20       A. I don't remember that.
    21   Let's discuss."                                           21   BY MR. KAWAMOTO:
    22       Q. And why would that have been a good test           22       Q. Would you agree, though, that if you had
    23   of their legitimacy?                                      23   a -- if you found out that a pharmacy was only
    24       A. I have no clue. I know that sounds                 24   purchasing oxycodone from a distributor, that would be

                                                        Page 183                                                       Page 185
     1   terrible, but I -- I can't remember even in 2011, is       1 a cause of concern for you?
     2   what it says. So we are back to only seven years ago.      2     MR. O'CONNOR: Objection.
     3   You know, if I were guessing, it's a pain medication.      3 BY THE WITNESS:
     4       Q. Hydromorphone -- hydromorphone is a pain            4     A. I would say yes.
     5   medication?                                                5     MR. O'CONNOR: We have been going a little over
     6       A. Yes.                                                6 an hour. Maybe a five-minute break?
     7       Q. So all three of those are pain                      7     MR. KAWAMOTO: Sure, that's fine.
     8   medications, aren't they?                                  8     THE WITNESS: I mean --
     9       A. Correct.                                            9     MR. KAWAMOTO: Well --
    10       Q. Okay. Well, why don't --                           10     THE WITNESS: I don't have a problem.
    11       A. There is not much else I could tell you.           11    MR. O'CONNOR: Actually, yeah, I'd like to take
    12       Q. Why don't we look at the e-mail above that         12 a break.
    13   from Karen Harper to you.                                 13     THE WITNESS: Okay.
    14       A. Okay.                                              14     MR. KAWAMOTO: Fine.
    15           Okay.                                             15     THE VIDEOGRAPHER: Going off the record at 2:03.
    16       Q. So based on this e-mail, Karen agrees or I         16        (WHEREUPON, a recess was had
    17   guess endorses the idea of looking at drug combination    17         from 2:03 to 2:21 p m.)
    18   purchase patterns?                                        18    THE VIDEOGRAPHER: We are back on the record at
    19       A. Yes.                                               19 2:21.
    20       Q. Why -- why -- why would looking at drug            20 BY MR. KAWAMOTO:
    21   combination purchase patterns be helpful?                 21     Q.   So, I have another e-mail for you,
    22       A. You know, to -- to determine the                   22 Mr. Ratliff. It is an e-mail from Karen Harper to a
    23   legitimacy of the pharmacy. I mean, they are using --     23 woman named Kerry Hamilton at DOJ, cc'ing you, and the
    24   they are looking for other tools to use, and that's       24 Bates number is 387492.


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                                                       Page 186                                                          Page 188
     1             (WHEREUPON, a certain document was                  1 description accurate or do you -- do you believe it's
     2              marked Mallinckrodt-Ratliff                        2 not accurate?
     3              Deposition Exhibit No. 015, for                    3      MR. O'CONNOR: Objection.
     4              identification, as of 12/19/2018.)                 4   BY THE WITNESS:
     5   BY THE WITNESS:                                               5      A. If Karen -- if Karen Harper wrote it, I
     6       A. Okay.                                                  6   would think it's accurate.
     7   BY MR. KAWAMOTO:                                              7   BY MR. KAWAMOTO:
     8       Q. Okay. First, do you -- well, this is an                8      Q. Okay. And then the highlighted -- could
     9   e-mail from Karen Harper to Ms. Hamilton and cc'ing           9   you please read the highlighted sections of the
    10   you and it is dated 11/2010.                                 10   e-mail?
    11          The top -- the first sentence of the                  11      A. "When submitting chargebacks, distributors
    12   e-mail references "information that Mallinckrodt             12   must provide Mallinckrodt with specific detailed
    13   presented yesterday to DEA offices in St. Louis and          13   information indicating how much product was sold to
    14   Albany, New York."                                           14   each end user pharmacy." Also, "Based on this
    15          Do you have any recollection of those                 15   chargeback data, Mallinckrodt" -- "Mallinckrodt has
    16   meetings?                                                    16   some information regarding pharmacy buying practices."
    17       A. I know Kerry Hamilton is with DEA. She is             17          Is that where you stopped?
    18   a compliance person.                                         18      Q. And do you believe that that is consistent
    19       Q. And do you recall speaking to her?                    19   with your understanding about Mallinckrodt's
    20       A. I've spoken to Kerry more than once --                20   chargeback data?
    21       Q. Okay.                                                 21      A. If Karen Harper wrote it, that's accurate.
    22       A. -- in meetings at the DEA office there in             22      Q. Okay. And then the last sentence, let me
    23   St. Louis.                                                   23   highlight that.
    24       Q. And do you recall meeting with her                    24          Okay. Can you please read that sentence?

                                                           Page 187                                                       Page 189
     1   regarding chargeback data?                                    1       A. "That said, Mallinckrodt assumes that most
     2        A. I know we met, but I can't tell you that              2   transactions would result in a chargeback request."
     3   it was about this or this was -- well, what I'm               3       Q. And you have no reason to disagree with
     4   looking at, this relates to DEA offices, if this was          4   Ms. Harper on this, do you?
     5   done via conference or -- or how New York and DEA             5       A. I don't know if that's -- I don't have any
     6   St. Louis would be done yesterday is the only problem         6   reason to disagree.
     7   I'm having.                                                   7       Q. Okay. How was chargeback data being used
     8        Q. Sure. So it may have been a conference                8   in the context of knowing your customer's customer,
     9   call, but regardless of --                                    9   sir?
    10        A. It could have been.                                  10       MR. O'CONNOR: Objection.
    11        Q. -- whether it was either a telephonic                11   BY THE WITNESS:
    12   meeting or an actual meeting, is that --                     12       A. I mean, at some point we were using it,
    13        A. Yeah. Yeah, I don't remember it                      13   so. Can I tell you exactly when it started and how it
    14   specifically.                                                14   was used, I know that we used a form, not the one you
    15        Q. What is your understanding of                        15   showed me before, but a form to -- to glean as much
    16   Mallinckrodt's chargeback data?                              16   information as we could from pharmacies prior to the
    17        A. That it is very confusing. And I know                17   chargeback information being available to us.
    18   it's written out here, but it's -- it's more confusing       18   BY MR. KAWAMOTO:
    19   than this, in my opinion. I've never really                  19       Q. And this e-mail indicates that by at least
    20   understood, you know, when they pay it and how it            20   11/2010, Mallinckrodt was using the chargeback data?
    21   works, if they are given credit. I just don't know           21       A. Yes.
    22   that answer, so.                                             22       Q. And from a diversion control standpoint,
    23        Q. So do you see the -- the portions that               23   what did the chargeback data help you do, what
    24   I've highlighted -- well, first, is this general             24   information did it provide?

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                                                          Page 190                                                         Page 192
     1     MR. O'CONNOR: Objection.                                   1       Q. Do you recall being present at that
     2 BY THE WITNESS:                                                2   meeting?
     3   A. It identified the distributor's customers.                3       A. No.
     4 BY MR. KAWAMOTO:                                               4       Q. Okay. Then can you read that sentence
     5    Q. And it also indicated how much they were                 5   starting from "within" that I've highlighted on my
     6 purchasing from that distributor, correct? Meaning it          6   copy of the document?
     7 wasn't just -- it not only identified the customer, it         7       A. "Within that session, DEA announced a 'new
     8 also identified the volume of product?                         8   direction' initiative whereby enforcement action will
     9     MS. KVESELIS: Objection to form.                           9   be aimed at all entities within the supply chain,
    10     MR. O'CONNOR: Objection.                                  10   including manufacturing registrants."
    11 BY THE WITNESS:                                               11           Should I go on?
    12     A. I assume that's the case. I shouldn't                  12       Q. Yes.
    13 assume, but...                                                13       A. Okay. "The expectation is becoming that
    14     MR. KAWAMOTO: Actually, can I take a 20 second            14   suppliers have not only an obligation to know their
    15 break? I just need to grab an exhibit.                        15   customers but an additional responsibility to know
    16     THE VIDEOGRAPHER: Going off the record at 2:28. 16             their customers. DEA now has information that
    17          (WHEREUPON, a recess was had                         17   indicates, as enforcement activity directed at pain
    18           from 2:28 to 2:29 p m.)                             18   clinics in Florida as it relates to the diversion of
    19      THE VIDEOGRAPHER: We are back on the record at           19   oxycodone 15 and 30-milligram is escalated, the pain
    20   2:29.                                                       20   clinics are reestablishing their businesses in
    21          (WHEREUPON, a certain document was                   21   Georgia, Ohio and Texas."
    22           marked Mallinckrodt-Ratliff                         22       Q. Okay. Thank you.
    23           Deposition Exhibit No. 016, for                     23           So is it fair to say that as of July 2010,
    24            identification, as of 12/19/2018.)                 24   the DEA was indicating that it believed you should

                                                       Page 191                                                        Page 193
     1   BY MR. KAWAMOTO:                                             1   know your customer's customer?
     2       Q. Mr. Ratliff, I understand that this e-mail            2       MR. O'CONNOR: Objection.
     3   is fairly lengthy, so I'm going to question you on the       3   BY THE WITNESS:
     4   first three pages. So Bates range 571 to 573, if that        4       A. Yes.
     5   helps your review.                                           5   BY MR. KAWAMOTO:
     6       A. Where did you want me to stop?                        6       Q. And do you recall anything about pain --
     7       Q. Well, why don't we look at the e-mail that            7   being informed that pain clinics were reestablishing
     8   spans Pages 572 to 573.                                      8   their businesses in Georgia, Ohio and Texas?
     9       A. On Harvard Drug?                                      9       A. I don't recall that specifically.
    10       Q. Yes.                                                 10       Q. And then turning the page, could you
    11       A. Okay.                                                11   please read the -- what I have highlighted under
    12       Q. Okay. And so the e-mail -- the e-mail is             12   Action Plan?
    13   about Mallinckrodt customer Harvard Drug.                   13       A. "The team believes the suspicious order
    14           Do you recall anything about that                   14   monitoring program can be further enhanced by
    15   customer?                                                   15   analyzing chargeback data for indirect customers and
    16       MR. O'CONNOR: Objection.                                16   direct sales information available within existing
    17   BY THE WITNESS:                                             17   systems."
    18       A. I know that -- that we did an audit at               18       Q. Okay. And the reference to the "team,"
    19   some point, but I wasn't involved.                          19   was that the suspicious order monitoring team?
    20   BY MR. KAWAMOTO:                                            20       A. I believe that's what she was referring
    21       Q. Okay. Now, the e-mail also references an             21   to.
    22   impromptu meeting following a site visit on July 21st,      22       Q. Okay. And so in re -- in response to
    23   2010.                                                       23   DEA's -- in response to DEA's direction that
    24       A. Okay.                                                24   Mallinckrodt and other manufacturers need to start

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     1 knowing their customer's customer, Mallinckrodt's           1      A. I would think just to inform them of
     2 response, and I'm not saying this is a complete             2   what's going on with Harvard and Sunrise.
     3 response, but a part of Mallinckrodt's response was to      3      Q. And with respect to Sunrise, it says:
     4 start relying on chargeback data.                           4   "License voluntarily surrendered."
     5          Is that accurate?                                  5           What does that mean to you?
     6      A. I think so.                                         6      A. That DEA asked for it and they gave it to
     7      Q. Okay. Thank you.                                    7   them without having to suspend them themselves.
     8      A. Is that all on that document?                       8      Q. Which means that after they voluntarily
     9      Q. Yes, that's all on that document.                   9   surrender their license, that -- that is a -- I guess
    10             (WHEREUPON, a certain document was             10   a permanent status, isn't it?
    11              marked Mallinckrodt-Ratliff                   11      MR. O'CONNOR: Objection.
    12              Deposition Exhibit No. 017, for               12   BY THE WITNESS:
    13              identification, as of 12/19/2018.)            13      A. I don't know that. I don't know that
    14   BY MR. KAWAMOTO:                                         14   they -- once they -- it could be a -- a matter of the
    15      Q. So this is a PowerPoint, Bates numbered            15   way they stored their material and if they came back,
    16   496098, and I'm only going to ask you about certain      16   I'm just giving you a hypothetical, if they -- they
    17   pages, but looking at the cover page, it is the          17   remedied that, then they could reapply. So I don't
    18   Mallinckrodt Controlled Substance Suspicious Order       18   know if it's permanent. That's why I'm saying I don't
    19   Monitoring Program, Presentation for Marketing Group,    19   know.
    20   March 21st, 2011.                                        20   BY MR. KAWAMOTO:
    21          Do you have any recollection of this              21      Q. But if it were for failure to maintain
    22   PowerPoint?                                              22   effective diversion controls, that voluntarily --
    23      A. No.                                                23   that -- I'm sorry -- that voluntary surrender would
    24      Q. Okay. Would this PowerPoint have been put          24   likely be permanent, would it not?

                                                       Page 195                                                        Page 197
     1   together by the compliance department?                    1       MR. O'CONNOR: Objection.
     2       A. I would think, yes.                                2   BY THE WITNESS:
     3       Q. And it is a presentation for the marketing         3       A. I don't know that.
     4   group. Do you know why that they -- why the               4   BY MR. KAWAMOTO:
     5   compliance department or why -- well, strike that.        5       Q. To your knowledge, did Sunrise ever get
     6           Do you know why the marketing group would         6   its license back?
     7   be receiving a presentation on Mallinckrodt's             7       A. I don't know that.
     8   suspicious order monitoring program?                      8       Q. Directing your attention to Page 15.
     9       A. I would believe it's to make sure                  9       A. Okay.
    10   everybody is on the same page with the suspicious        10       Q. Can you please read -- could you please
    11   order monitoring program.                                11   read the statements under the DEA St. Louis
    12       Q. And directing your attention to, I believe        12   Conversation?
    13   it's Page 14 of this PowerPoint.                         13       A. "Mallinckrodt was named as a supplier of
    14       A. Okay.                                             14   Harvard at a DEA training session in Washington, D.C.
    15       Q. And it has information relating to Harvard        15   Pain clinic undercover operations reveal a 'cattle
    16   Drugs and Sunrise Distributors.                          16   call' scenario. Mallinckrodt is viewed as the kingpin
    17       A. Okay.                                             17   within the drug cartel. DEA is implementing a 'new
    18       Q. Do you see that?                                  18   direction' initiative aimed at manufacturing [sic] of
    19           Do you know why this information would be        19   oxycodone. DEA expectation has evolved to require
    20   conveyed to the marketing department -- well, strike     20   that manufacturers know their customers' customers."
    21   that.                                                    21       Q. Okay. So much of that is consistent with
    22           What is -- what is the -- what is the            22   the e-mail that we -- that we viewed previously?
    23   substance of the information in this PowerPoint          23       A. Yes.
    24   regarding Harvard Drug and Sunrise Distributors?         24       Q. Do you ever recall being informed that

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     1 Mallinckrodt was viewed as the kingpin within the drug            1 Discussion Group?
     2 cartel with reference to Harvard?                                 2      A. It's a group of manufacturers that get
     3      A. Yes.                                                      3 together and compare notes. They can't talk about
     4      Q. And what do you recall about that                         4 quota or manufacture, but they can talk about things
     5 discussion or conversation?                                       5 like the suspicious order monitoring program, DEA
     6      A. We were outraged about it. It's just                      6 letters and -- and different things like that. They
     7 simply not true, and to -- to use terms like that in a            7 can talk about all kinds of stuff. They just have to
     8 conference with DEA compliance personnel is disgusting            8 be careful about not discussing their quota issues and
     9 in my opinion. Being from a Federal agency, we would              9 so forth with other registrants.
    10 never do that in a wide open forum and make some                 10      Q. And can you read this highlighted section
    11 outlandish statement like that.                                  11 for me, please?
    12      Q. And to be clear, the entity that was                     12      A. "One member of industry indicated they
    13 making the statement, though, was the Drug Enforcement           13 have received advice from DEA that the suspicious
    14 Administration, is that correct?                                 14 order monitoring program should allow DEA registrants
    15    A. Yeah. It doesn't make them right. It                       15 to 'know their customer' and compare that activity to
    16 just makes them the Drug Enforcement Administration.             16 a bank's obligation to report $10,000 transactions to
    17      Q. And what's meant by "plain" -- "pain                     17 law enforcement for detection of money laundering
    18   clinic undercover operations reveal a cattle call              18 while having the ability to detect multiple
    19   scenario"?                                                     19 transactions at 9,999."
    20           Do you know what that means?                           20      Q. Okay. And can you also read what's
    21      MR. O'CONNOR: Objection.                                    21   underneath it?
    22   BY THE WITNESS:                                                22      A. "Other suggestions included: On-site
    23      A. I really don't.                                          23   visits for all controlled substance customers, close
    24 BY MR. KAWAMOTO:                                                 24   scrutiny of" -- "scrutiny of small, independent

                                                        Page 199                                                            Page 201
     1      Q.   Okay.                                                   1 pharmacies, close scrutiny of pain management
     2      A.   Are we still on the same document?                      2 clinics."
     3      Q.   No. We are done with that document.                     3      Q. And so those suggestions, particularly the
     4      A.   Okay. Thank you.                                        4   "close scrutiny of small independent pharmacies" and
     5             (WHEREUPON, a certain document was                    5   the "close scrutiny of pain management clinics," that
     6              marked Mallinckrodt-Ratliff                          6   would be consistent with knowing your customer's
     7              Deposition Exhibit No. 018, for                      7   customer, would it not?
     8              identification, as of 12/19/2018.)                   8      A. It would be, but the people that attended
     9   BY MR. KAWAMOTO:                                                9   this meeting can also be distributors. They don't
    10      Q. Yeah, so this is an e-mail chain between                 10   have to just be manufacturers. They are in the
    11   you and Karen Harper among other people. It's Bates            11   industry, so.
    12   number is 419903.                                              12      Q. But as a -- as a general -- I mean, well,
    13      A. Okay.                                                    13   from your standpoint in terms of the enhancements that
    14      Q. So directing your attention to the bottom                14   Mallinckrodt is seeking to make to its suspicious
    15   e-mail from Karen Harper to you and others.                    15   order monitoring program, that -- those types of
    16      A. Okay.                                                    16   enhancements, the close scrutiny of small independent
    17      Q. It states: "On 4/23/08, I attended a                     17   pharmacies and close scrutiny of pain management
    18   meeting of the Midwest Controlled Substance Discussion         18   clinics, were things that Mallinckrodt was
    19   Group in Chicago. Among the agenda items was                   19   undertaking, is that correct?
    20   suspicious order monitoring."                                  20      MR. O'CONNOR: Objection.
    21          Do you recall whether you attended that                 21   BY THE WITNESS:
    22   meeting as well?                                               22      A. Well, if you read this, it says: "On-site
    23      A. I never attended these meetings ever.                    23   visits for all controlled substance customers."
    24      Q. What was the Midwest Controlled Substance                24           I mean, what you are saying is "all" and

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     1 that's a -- I just can't agree with that. There are           1 Mallinckrodt agreed with, did it not?
     2 pharmacies all over the United States that are as             2      A. I don't know that.
     3 legitimate as can be and then they order through their        3      Q. Isn't that --
     4 parent or directly from one of our distributors. So           4      A. These are --
     5 to say we have to go to all of those...                       5      Q. Well --
     6         "Close scrutiny of small, independent                 6      A. These are other suggestions included, but
     7 pharmacies." So -- "Close scrutiny of pain management         7   you are saying we agreed to that. I have no reason to
     8 clinics."                                                     8   think that we agreed to that.
     9          So what you are saying is the manufacturer           9      Q. Well, isn't that part of knowing your
    10   bypasses the distributor and goes directly to all pain     10   customer's customer though?
    11   management clinics; close scrutiny of small,               11      A. I don't think so. I mean, how do we know
    12   independent pharmacies. I'm not sure you understand        12   that the close scrutiny of small, independent
    13   what that means.                                           13   pharmacies, that they even buy from one of our
    14      Q. Well, I don't know that -- I'm not sure              14   distributors. You understand that there are many,
    15   that that is what that's saying. I think what it's         15   many distributors and there are many manufacturers and
    16   saying is: On-site visits of all controlled substance      16   they a lot of times don't buy our product, they buy
    17   customers, and you've indicated that that's --             17   someone else's.
    18      A. Those are suggestions.                               18      Q. But looking at your customer's customer,
    19      Q. -- that that may not be feasible.                    19   meaning those customers of the customer of
    20          But close scrutiny of small, independent            20   Mallinckrodt, looking at that universe, it would make
    21   pharmacies, that -- that is something that a               21   sense to scrutinize small, independent pharmacies,
    22   manufacturer could do, could it not, and isn't that        22   would it not?
    23   what Mallinckrodt was doing?                               23      MR. O'CONNOR: Objection.
    24      A. These are --                                         24   BY THE WITNESS:

                                                        Page 203                                                         Page 205
     1       MR. O'CONNOR: Objection.                                1       A. I don't know. I just -- I don't think so
     2   BY THE WITNESS:                                             2   because the thing I have a real hang-up with on-site
     3       A. -- suggestions --                                    3   visits of all controlled substance. That's the first
     4   BY MR. KAWAMOTO:                                            4   recommendation. That's incredible, "all." You just
     5       Q. No, I understand that.                               5   can't do that. And then close scrutiny of small,
     6       A. -- that you can include to -- I mean, it             6   independent pharmacies, have you -- well, I'm not
     7   is not a direct -- and you have to remember who is          7   going to ask you a question.
     8   meeting. These are manufacturers and distributors           8           In Florida there are literally hundreds
     9   meeting, and within that they are saying this is what       9   and hundreds of small, independent pharmacies, and
    10   we are kind of hearing from DEA that, you know, in a       10   I've been in some of those. And while in there, they
    11   perfect world, because when you talk about the bank's      11   say, Well, we deliver or We have a better price or We
    12   obligations and then the -- their ability -- you know,     12   can get this for a customer or They ordered this in
    13   9,999, that's a structuring violation. I used to have      13   addition to that. So there is no way I could say they
    14   a bank fraud squad and I got those every week, but         14   are doing something nefarious because they are a
    15   that didn't mean that those people were crooks. That       15   small, independent pharmacy, but to go to every single
    16   meant that they had either taken or deposited that         16   one in Florida alone is just -- it's beyond how that
    17   much money. So you have to at least -- do you see          17   would be within anyone's capability, so.
    18   what I'm saying? It's -- it's not an absolute. That        18       Q. But if you had a way to screen the small,
    19   program is meant to determine if someone is abusing,       19   independent pharmacies and prioritize certain ones,
    20   they're -- they're money laundering or selling or          20   then it would make sense to focus on those, would it
    21   drugs or some other illicit product, so.                   21   not?
    22       Q. But the suggestions for close scrutiny of           22       MR. O'CONNOR: Objection.
    23   small, independent pharmacies and close scrutiny of        23   BY THE WITNESS:
    24   pain management clinics, those were suggestions that       24       A. Some of those people don't get chargebacks

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     1   because they don't buy enough product, so they             1 affiliated with the pain management clinic or the pain
     2   wouldn't be visible to us at all.                          2 management clinic opened up a pharmacy, then you would
     3   BY MR. KAWAMOTO:                                           3 look at them as well, correct?
     4      Q. But some of them would be in the                     4     MR. O'CONNOR: Objection.
     5   chargeback system, correct?                                5 BY THE WITNESS:
     6      MR. O'CONNOR: Objection.                                6     A.   Please repeat that. I'm -- you are losing
     7   BY THE WITNESS:                                            7 me on that.
     8      A. I don't know that.                                   8 BY MR. KAWAMOTO:
     9   BY MR. KAWAMOTO:                                           9     Q.   Did you ever encounter a situation where a
    10      Q. And what about pain management clinics, I           10 pain management clinic had a pharmaceutical license
    11   mean, that was -- that was an area that Mallinckrodt      11 that was giving out drugs to its patients?
    12   scrutinized, did it not?                                  12     A.   No. You are asking me personally, right?
    13      A. We looked at the pharmacies, not the                13 No.
    14   doctors. So pain -- pain management clinics, that --      14     Q.   Or in your experience working for
    15   they write the script to the pharmacy. So now you've      15 Mallinckrodt as the director of security?
    16   removed it one more time. You have the -- you have        16     A.   I never saw it. I'm not saying it didn't
    17   the manufacturer, the distributor, you have then the      17 happen. I just never saw it, so.
    18   distributor's customer would be the clinic, and then      18     Q.   Now, the paragraph above where it says:
    19   beyond the clinic you have the doctor that writes the     19 "Advice from DEA that sus"- -- "that the Suspicious
    20   script. So now you don't just know your customer's        20 Order Monitoring program should allow DEA registrants
    21   customer because the distributor doesn't know the         21 to 'know their customer' and compare that activity to
    22   customers, the doctors.                                   22 a bank's obligation to report $10,000 transactions to
    23      Q. But in certain instances don't pain                 23 law enforcement," that is a capability that the
    24   management clinics dispense opioid products strictly      24 chargeback data would have provided to you, is that

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     1 in Florida?                                                  1   correct?
     2      A.   I don't know that. I just don't know               2      MR. O'CONNOR: Objection.
     3 that. The ones that I looked at were writing scripts         3   BY THE WITNESS:
     4 to the pharmacy and that's where we, you know, we were       4      A. The $10,000 transaction is the law.
     5 looking at the pharmacy, was it legitimate, if you get       5   BY MR. KAWAMOTO:
     6 15 scripts and they are all 90 pills for 30-milligrams       6      Q. No, I'm aware of that.
     7 and not everybody has the same pain threshold or             7      A. Okay.
     8 issues.                                                      8      Q. But if you were to translate that, for
     9      Q. And when you say, "The ones that I looked            9   example, on a certain threshold of pills, that is
    10   at were writing scripts," those -- did you -- those       10   something that chargeback data could have given you
    11   were the pain management clinics that you looked at?      11   insight into?
    12      A. No.                                                 12      MR. O'CONNOR: Objection.
    13      MR. O'CONNOR: Objection.                               13   BY THE WITNESS:
    14   BY MR. KAWAMOTO:                                          14      A. This information is coming from a member,
    15      Q. Then what -- what's the reference to                15   one -- an attendee at this conference. So, I don't
    16   "ones," what were you looking at?                         16   know how -- you know, how valid that information is
    17      A. We were looking at the pharmacies. The              17   without -- I don't know that was, I don't know what
    18   pharmacies -- the pain management, those are the          18   their background is or how they would know. I don't
    19   doctors. So the doctors are writing a script to the       19   know that I can agree. Do we know our -- should we
    20   pharmacy for the patient.                                 20   know our customer's customer, after DEA told us, yes.
    21      Q. Okay. And so you didn't look at the pain            21   So I can tell you that's the case. But I don't know
    22   management clinics, you just looked at the pharmacies?    22   how all of this other is even -- even important.
    23      A. Yes.                                                23          As I told you before, having a bank fraud
    24      Q. And to the degree the pharmacy was                  24   squad, I got this information every single week as the

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     1   supervisor, and a lot of times it was -- it wasn't        1   about a meeting in that timeframe?
     2   consistent. There was no pattern to it. So what we        2       A. I remember I met Michael Morley. He was
     3   were looking for is a pattern. So to say this --          3   with the DEA. I met him on more than one occasion, I
     4      Q. Okay. Well, putting -- okay. Putting                4   believe. Do I remember this particular meeting, no.
     5   aside this e-mail, sir --                                 5       Q. And who is Michael Morley?
     6      A. Say again.                                          6       A. He was a -- he was in the Wash -- it is in
     7      Q. Putting aside this e-mail.                          7   Virginia. We call it the Washington, D.C. DEA
     8      A. Okay.                                               8   headquarters. It is actually in Virginia, right
     9      Q. So putting this e-mail aside.                       9   across the river, and he was one of their -- I believe
    10      A. Okay.                                              10   he was a supervisor, but he was also a lab-type person
    11      Q. The volume of oxy co -- of oxy 30s that            11   and then he went into the supervisory position and
    12   your customer's customer was obtaining from its          12   then back. He transferred out of headquarters and
    13   distributor, that was relevant information that          13   went to Texas, back in the labs, so. I do know who he
    14   Mallinckrodt would pay attention to, would it not?       14   is. And I have met with him, but I just don't
    15      A. Yes.                                               15   remember being there with all of these people.
    16      Q. Okay.                                              16       Q. Okay. And do you recall anything about
    17             (WHEREUPON, a certain document was             17   the suspicious order monitoring initiative that was
    18              marked Mallinckrodt-Ratliff                   18   the subject of a presentation by Mallinckrodt?
    19              Deposition Exhibit No. 019, for               19       A. The problem is I don't remember
    20              identification, as of 12/19/2018.)            20   specifically about this meeting, and I really don't
    21   BY MR. KAWAMOTO:                                         21   remember all of these people, so I'm not certain I was
    22      Q. So this is an e-mail chain with Bates              22   there. You do understand I traveled quite a lot, so.
    23   No. 274608, and the bottom e-mail includes you, the      23   If I was available for a meeting, I would go.
    24   top e-mail does not. But the bottom e-mail includes      24       Q. How often did you have meetings at --

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     1   a -- an agenda or a rough agenda for a DEA meeting in     1   well, the DEA headquarters are in Arlington, Virginia?
     2   Washington, D.C.                                          2       A. Yes.
     3           Do you see that, sir?                             3       Q. How often would you have meetings at DEA
     4       A. Say that again. I was reading.                     4   headquarters?
     5       Q. The bottom e-mail from Karen Harper to             5       A. I would say once or twice a year.
     6   JoAnne Levy, cc'ing various people, including you --      6       Q. Now, the fact the attendees include
     7       A. Okay.                                              7   Charles Bramlage, president of Pharmaceutical
     8       Q. -- contains an agenda for a meeting with           8   Products, right?
     9   DEA in Washington, D.C.                                   9       A. That's what it says.
    10           Do you see that?                                 10       Q. And it includes the vice president JoAnne
    11       A. I do.                                             11   Levy?
    12       Q. Okay. And for Mallinckrodt attendees, you         12       A. Um-hum.
    13   are listed as an attendee.                               13       Q. I mean, this would -- the attendance list
    14           Do you see that?                                 14   would suggest this was an import -- important meeting,
    15       A. Yes.                                              15   would it not?
    16       Q. Okay. And do you also see under                   16       MR. O'CONNOR: Objection.
    17   Presentation by Mallinckrodt to include, it says:        17   BY THE WITNESS:
    18   "Suspicious Order Monitoring Initiative."                18       A. Okay. It is a draft e-mail to Michael
    19           Do you see that?                                 19   Morley and it's suggestion -- suggesting these people
    20       A. Yes.                                              20   should attend. So, if I was available, I probably
    21       Q. Do you recall attending a meeting in              21   would have attended, but I can't tell you today that I
    22   August at DEA offices in Washington, D.C.?               22   attended at all. It's a draft. These are who they
    23       A. Not specifically.                                 23   are recommending go to this meeting.
    24       Q. Well, do you generally recall anything            24   BY MR. KAWAMOTO:

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     1       Q. Do you know who Patricia Woz -- Woznick                   1   resources focusing on inspection/investigations of
     2   was?                                                             2   manufacturing registrants since DEA has been
     3       A. I've seen the name before, but I don't                    3   ineffective at stopping the illicit sales of oxycodone
     4   know who she is really. Have I met her sometime in               4   15 and 30-milligram tablets. Additionally, the
     5   the past, this is in '08, so it's ten years old, so,             5   Mal" -- "that Mallinckrodt has been mentioned
     6   yeah, I don't know that I know her.                              6   specifically at DEA conferences in Washington, D.C.
     7       Q. So if I wanted to find out more about this                7   given that Mallinckrodt is the dominant manufacturer
     8   meeting, who would I talk to?                                    8   of generic oxycodone 30-milligrams."
     9       A. I would talk to the writer. It would be                   9       Q. Do you recall that conversation from that
    10   Karen Harper.                                                   10   meeting, sir?
    11       Q. That would be Karen Harper?                              11       A. I more recall the paragraph above it. So
    12       A. Yeah.                                                    12   that's what I took away from the meeting, that it was,
    13       Q. Okay.                                                    13   you know, one of the best programs he had seen. He
    14       A. I'm not saying I didn't attend. I'm                      14   couldn't approve it, but he thought it was a --
    15   saying I don't recall attending, and I don't recall             15   certainly -- and that's what I looked at. That's what
    16   attending with all of these people anyway. Okay.                16   I brought back from that meeting, if that's what you
    17       Q. Okay.                                                    17   are asking.
    18              (WHEREUPON, a certain document was                   18       Q. Well, what is -- who is the DPM?
    19               marked Mallinckrodt-Ratliff                         19       A. He is the diversion program manager. That
    20               Deposition Exhibit No. 020, for                     20   would be Scott Collier.
    21               identification, as of 12/19/2018.)                  21           Do you see above where they -- they put
    22   BY MR. KAWAMOTO:                                                22   "Diversion Program Manager (DPM)" above --
    23       Q. So this is an e-mail from Karen Harper to                23       Q. Yes.
    24   you and Eileen Spaulding. Its Bates number is 421973,           24       A. -- DEA attendees?

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     1   and the attachment is meeting notes from a meeting at            1           So he is the one that's saying the best
     2   DEA St. Louis in November of 2010.                               2   suspicious order monitoring process he has seen to
     3           Do you see that, sir?                                    3   date and what he expected from a Mallin- -- from
     4      A. I do.                                                      4   Mallinckrodt as an industry leader, that's exactly
     5      Q. Now, if you look at the attachment which                   5   what I took away from that meeting. And I was proud
     6   are the meeting notes.                                           6   of it, because we had developed and continued to
     7      A. Okay.                                                      7   strive to put the very best program we could together
     8      Q. It says: "Representing Mallinckrodt." It                   8   to ensure that we prevented diversion, so.
     9   identifies you and Karen Harper.                                 9       Q. And you believe that DEA would be in a
    10      A. Um-hum.                                                   10   position to know whether a program was good or not,
    11      Q. Do you have any recollection of this                      11   right?
    12   meeting, sir?                                                   12       A. Yes, I think so, certainly someone at his
    13      A. I actually do.                                            13   level. That's a high level.
    14      Q. Okay. What do you recall about it?                        14       Q. Okay. But do you have -- you don't have
    15      A. That we met with them to provide them                     15   any recollection of DEA indicating that they had been
    16   details of our program and how it was evolving and              16   ineffective at stopping illicit sales of oxy 15 and
    17   changing into what we thought was an exceptional                17   30-milligram tablets?
    18   program and would be a leader in the industry.                  18       A. That may have come up, but that was kind
    19      Q. Okay. Now, the second paragraph down from                 19   of a common knowledge that they were having a
    20   "General Feedback From St. Louis."                              20   difficult time. It's what I alluded to earlier this
    21           Okay. So can you read that highlighted                  21   morning that we thought they were using this to do
    22   paragraph for me, please?                                       22   audits, and when we did -- sent them the letters and
    23      A. "Further, DPM advised that, nationally,                   23   so forth, it turns out they weren't doing that at all.
    24   the DEA has been holding conferences to realign their           24   So we were a little surprised, but we -- I mean,

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     1 that's all I have to say.                                       1   better, you try to use every resource that you can,
     2      Q.   So did Mallinckrodt pay -- start paying               2   and so that was a resource that we thought might be
     3 particular attention to oxy 15 and oxy 30 shipments as          3   able to help us. And DEA recommended him. Pete
     4 a result of these concerns?                                     4   Kleissle recommended the guy. He said he was
     5       A. We did all along. It wasn't just because               5   wonderful, so, okay.
     6   of these concerns. We were always concerned about             6      Q. And he was a DPM, right?
     7   those shipments.                                              7      A. I believe so.
     8       Q. You were always concerned about the                    8      Q. So he was the same level as Scott Collier?
     9   shipment of oxy 15 and oxy 30?                                9      A. That's my memory, but he may have been the
    10       A. Yes.                                                  10   same level as Pete Kleissle, but I believe he was a
    11       Q. Now, do you see the bottom paragraph that             11   DPM.
    12   says: "DEA had positive comments about Mallinckrodt          12      Q. Okay. So he had a very high level of
    13   retaining Howard Davis"?                                     13   expertise, did he not?
    14       A. Um-hum.                                               14      MR. O'CONNOR: Objection.
    15       Q. Who is Howard Davis?                                  15   BY THE WITNESS:
    16       A. Howard Davis was a -- I believe he was a              16      A. That was my hope.
    17   diversion program manager in Atlanta, and so we were         17   BY MR. KAWAMOTO:
    18   trying to get a better understanding of what was             18      Q. And you ultimately recommended him to
    19   required by DEA. So he retired. He came to                   19   another manufacturer in St. Louis?
    20   St. Louis, we hired him as a consultant. So he -- he         20      A. I did.
    21   was supposed to look at our program and say, We can do       21           Are we through with that document?
    22   this or We can do that. He was just taking our               22      Q. Yes.
    23   program that was already written and maybe changing a        23             (WHEREUPON, a certain document was
    24   word here or there, but it was our program. It had           24              marked Mallinckrodt-Ratliff

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     1 already been done. And he worked on it for several              1              Deposition Exhibit No. 021, for
     2 weeks. And I was disappointed to say the least. I               2              identification, as of 12/19/2018.)
     3 thought that having someone at that elevated position           3   BY THE WITNESS:
     4 would ensure we had the very best program possible for          4      A. Which one do you want me to read?
     5 an industry leader, and that's what we were, and we             5   BY MR. KAWAMOTO:
     6 were always striving to have the very best program              6      Q. Let's see. Actually, why don't we focus
     7 possible. So we hired him and he was with us for a              7   on the attachment. So that's -- this document is
     8 short time. I recommended him to go with another                8   Bates No. 471744 and the attachment is Bates
     9 registrant there in St. Louis. And I know that he               9   No. 471750.
    10 eventually went over there and did work for them also.         10      A. Okay.
    11       Q. And I'm sorry. You indicated that you                 11      Q. So this is an agenda from an August 23rd,
    12   were disappointed in him?                                    12   2011, meeting between you and the DEA at DEA
    13       A. I was hoping that he would have some magic            13   headquarters.
    14   bullet, that he would come in and say, Oh, this is           14      A. Okay.
    15   what we are looking at, but he didn't have that. He          15      Q. And do you see under Expected Attendees
    16   took the program we had already written and was              16   that you are listed as an expected attendee?
    17   basically copying it over and -- and polishing it a          17      A. Um-hum.
    18   little bit, but it really didn't change the substance        18      Q. Do you recall attending this meeting?
    19   of that particular -- the program we had already             19      A. I absolutely do.
    20   written, so.                                                 20      Q. Okay.
    21       Q. And so you were looking for him to                    21      A. That was the day they had the earthquake
    22   substantively change the program or -- I'm not clear         22   in Washington, D.C.
    23   on exactly why you were disappointed in him?                 23      Q. And what do you recall about this meeting?
    24       A. Well, when you are always attempting to do            24      A. That they were very specific about knowing

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     1 our customer's customer, and they talked about some of        1       MR. O'CONNOR: Objection.
     2 our distributors in detail, and we provided a lot of          2   BY THE WITNESS:
     3 information to them about what we were doing. And             3       A. Right, because they are large and they --
     4 they went, That's well and good, but you really need          4   they buy or they purchase large amounts of product and
     5 to do this. And so when I left, this -- this is the           5   distribute them, so, you know, that's why they were --
     6 meeting I told you the following week I was in                6   that's -- that's my opinion.
     7 Florida, this is what predicated that trip to Florida         7   BY MR. KAWAMOTO:
     8 was this specific -- this very meeting.                       8       Q. And you indicated that when you went to
     9      Q. Now, prior to this meeting, though, you               9   Florida, you and two other forensic analysts looked at
    10   had received indications that DEA expected you to know     10   30 pharmacies, is that accurate?
    11   your customer's customer, had you not?                     11       A. Yes.
    12      A. Yes.                                                 12       Q. Did that list of 30 pharmacies come from
    13      MR. O'CONNOR: Objection.                                13   this meeting or did you generate that independently?
    14      THE WITNESS: I'm sorry.                                 14       MR. O'CONNOR: Objection.
    15   BY MR. KAWAMOTO:                                           15   BY THE WITNESS:
    16      Q. Do you recall any of the distributors that           16       A. We used the -- the information that we
    17   were specifically discussed at this meeting?               17   possessed to look at the customers of these -- these
    18      A. I do.                                                18   three major distributors. So we took the top ten
    19      Q. And who were they?                                   19   purchasers, that would be their customers, for each
    20      A. The -- they call it the big three.                   20   one of those and then we divided those up into
    21      Q. And so that would be?                                21   territory and made assignments based on doing all 30
    22      A. McKesson, Cardinal and AmerisourceBergen.            22   of those in a short period of time.
    23      Q. And did the DEA have concerns about these            23   BY MR. KAWAMOTO:
    24   distributors?                                              24       Q. Now, when you say you used the information

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     1       MR. O'CONNOR: Objection.                                1   that we possessed, are you referring to the chargeback
     2       MS. KVESELIS: Object to form.                           2   information, is that correct?
     3   BY THE WITNESS:                                             3      A. Yes.
     4       A. They wanted to ensure that we looked at              4      Q. Do you know how long Mallinckrodt has been
     5   their customers.                                            5   collecting chargeback information for?
     6   BY MR. KAWAMOTO:                                            6      MR. O'CONNOR: Objection.
     7       Q. And you say that -- I believe you said               7   BY THE WITNESS:
     8   that the DEA provided specific information about these      8      A. No, no clue.
     9   distributors. Is that accurate or did I misunderstand       9   BY MR. KAWAMOTO:
    10   you?                                                       10      Q. Do you know if they had it in 2000?
    11       MR. O'CONNOR: Objection.                               11      MR. O'CONNOR: Objection.
    12   BY THE WITNESS:                                            12   BY THE WITNESS:
    13       A. They named some of the people saying, If            13      A. I didn't know about chargebacks until I
    14   it were me, I would look at these, their customers.        14   had been employed there a long time, so. I didn't
    15   BY MR. KAWAMOTO:                                           15   know.
    16       Q. And did they identify the -- or strike              16   BY MR. KAWAMOTO:
    17   that.                                                      17      Q. But assuming this chargeback information
    18          Did they identify specific customers'               18   was available, you could have done this analysis
    19   customers that you should be looking at?                   19   earlier?
    20       A. No.                                                 20      MR. O'CONNOR: Objection.
    21       Q. They just indicated that if they were you,          21   BY MR. KAWAMOTO:
    22   they would scrutinize the customers' customers of          22      Q. It theoretically would have been possible?
    23   these three -- these big three distributors?               23      MR. O'CONNOR: Objection.
    24       A. Right, because they are --                          24   BY THE WITNESS:

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     1       A. Theoretically, if it was available and if               1   highly confidential, so. So I think we -- we used it
     2   we knew it was available. The issue is that's                  2   at some point well before the 2011. I know we were
     3   confidential customer data that if our -- our                  3   using it before that, so.
     4   competitors knew what we were selling to certain               4       Q. So, I mean -- so, are we talking about
     5   customers, that would be valuable to them, and so that         5   2008, 2009 --
     6   was unknown to us for a long time because they were            6       A. Yeah, I --
     7   protecting confidential information on our -- on our           7       Q. -- roughly when?
     8   customers. So --                                               8       MR. O'CONNOR: Objection.
     9      Q. And to be clear --                                       9   BY MR. KAWAMOTO:
    10      A. -- and I understood that, so.                           10       Q. I mean, clearly 2011, you had access to it
    11           Sorry.                                                11   before 2011?
    12      Q. To be clear, when you say "they were                    12       A. Um-hum.
    13   protecting confidential information," they were               13       Q. But you don't have any idea how long
    14   protecting confidential information within the                14   before then?
    15   company; in other words, they were protecting                 15       A. Yeah, I -- I can't with specificity say it
    16   confidential information from you and Karen Harper, is        16   was '09 or '0- -- you know, or '10 or -- I just can't.
    17   that what you are saying?                                     17   I just don't recall.
    18      MR. O'CONNOR: Objection.                                   18       Q. And who made the decision to allow you to
    19   BY THE WITNESS:                                               19   have access to this chargeback information?
    20      A. They restricted access to that information              20       A. I have no idea.
    21   to all but need-to-know people within that department.        21       Q. Did Karen Harper make that decision?
    22   So, did they restrict it from Karen and I, one of             22       A. Karen Harper didn't have the authority to
    23   hundreds and hundreds of employees that didn't have           23   make that decision.
    24   access to that information. So based on that, yes.            24       Q. So who would have had the authority then?

                                                            Page 227                                                         Page 229
     1 But the answer is -- and I understood when they                  1      A. I have no idea.
     2 explained initially that if this gets out, all of our            2      Q. Well, the people -- I mean, the people
     3 competitors will know how much we sell to everyone,              3   ahead of you and Karen Harper would have been the vice
     4 and that's really confidential, and I understood why             4   presidents, or I'm just trying to now understand
     5 it was confidential. At that time I didn't know that             5   Mallinckrodt's corporate structure?
     6 we could glean so much information or we needed to               6      MR. O'CONNOR: Objection.
     7 know or customer's customer. You have to understand              7   BY THE WITNESS:
     8 that. Initially I didn't know that, one, we could do             8      A. I -- I literally don't know who possessed
     9 that or that it was, you know, acceptable in the -- in           9   the information or who was authorized to release the
    10 the manufacturing process with all of the                       10   information. That's -- I'm just telling you I don't
    11 manufacturers that they could go out and see not only           11   know.
    12 to whom they are selling but whom those customers are           12   BY MR. KAWAMOTO:
    13 selling to, so.                                                 13      Q. And you have no i- -- you don't have any
    14      Q.   But prior to 2011, the fact remains that              14   recollection of when you found out about it, or do you
    15 you and Karen Harper were not deemed to need to know            15   recall how you found out about it?
    16 this information?                                               16      MR. O'CONNOR: Objection.
    17       MR. O'CONNOR: Objection.                                  17   BY THE WITNESS:
    18   BY MR. KAWAMOTO:                                              18      A. I know at some point that we were able to
    19       Q. Correct?                                               19   use some of that information.
    20       A. No. I think we knew about it earlier and               20   BY MR. KAWAMOTO:
    21   I think we used it, and I think the first time that --        21      Q. But this could have been in 2005, this
    22   nah, that's just -- one of the pharmacies -- one of           22   could have been in 2007, this could have been in 2009,
    23   the distributors had an issue and I know that they            23   you just don't know?
    24   pulled some information for us and told us it was             24      MR. O'CONNOR: Objection.

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     1   BY THE WITNESS:                                           1     A.    In this instance.
     2       A. I just don't know.                                 2     Q.    Understood.
     3   BY MR. KAWAMOTO:                                          3          Did the national account managers have
     4       Q. If I wanted to find out the answer to              4 access to this information via Karen Harper?
     5   this, who would I ask?                                    5     A.    You are asking me questions I have no --
     6       A. You'd have to find out who controls the            6 no clue as to who does. I just don't know.
     7   chargeback information.                                   7     Q.    So you've indicated that you do recall
     8       Q. And so in terms of your access to the              8 this August 2011 meeting. Do you have any specific
     9   chargeback information, did you have direct access or     9 memories of any other meetings with DEA, or is it this
    10   did you make a request of someone and they provided      10 one and then you recalled the other one in St. Louis
    11   you with the data?                                       11 from I believe 2010?
    12       A. Karen Harper gave me the information on a         12     MR. O'CONNOR: Objection.
    13   spreadsheet and said, These customers' customers are     13 BY THE WITNESS:
    14   buying this, and so I had a spreadsheet that listed      14     A.    I know that we had one where the plant
    15   all of the names, okay, of those 30. So, who she         15 manager, Karen Harper and I were summoned to DEA about
    16   talked to, where she got that information, but she       16 some issue.
    17   provided it to me, and I was on a plane by myself to     17 BY MR. KAWAMOTO:
    18   go down and find all of these pharmacies to see, you     18     Q.    Do you recall the issue?
    19   know, plus the additional help from the east side of     19     A.    No. I just remember we went.
    20   Florida.                                                 20     Q.    Do you recall roughly when this occurred?
    21       Q. Now, you indicated at some point that             21     A.    I have no clue.
    22   Mallinckrodt started using chargeback data in its        22     Q.    And the plant manager would have been who?
    23   suspicious order monitoring program, right?              23     A.    His first name was Paul.
    24       MR. O'CONNOR: Objection.                             24     Q.    Okay. And I take if you don't recall the

                                                       Page 231                                                      Page 233
     1   BY THE WITNESS:                                           1   last name?
     2      A. (Nodding head.)                                     2       A. No.
     3   BY MR. KAWAMOTO:                                          3       Q. Okay.
     4      Q. So at that point who had access to this             4       A. I was lucky to recall Paul.
     5   information?                                              5       Q. Fair enough.
     6      A. Well, it would have been Karen and if she           6          But at some point you, Karen Harper and
     7   shared it with me, you know, the -- I'm just really       7   Paul were -- I assume DEA summoned you.
     8   not trying to be -- I just don't remember. It's just      8          Would they -- do you know if they summoned
     9   been too long ago to say it happened this time or this    9   you to their St. Louis office or --
    10   person was present. At my age I'm -- I'm just doing      10       MR. O'CONNOR: Objection.
    11   the best I can.                                          11   BY THE WITNESS:
    12      Q. Oh, I understand that. But we're talking           12       A. No. That was in DC.
    13   about highly sensitive information. And so you had       13   BY MR. KAWAMOTO:
    14   access to it, Karen Harper had access to it, so --       14       Q. Okay. So you were summoned to DC?
    15      A. And I didn't have direct access. I                 15       A. Um-hum.
    16   shouldn't have.                                          16       Q. Okay. Do you recall if it had anything to
    17      Q. But you didn't have direct access?                 17   do with diversion?
    18      A. No.                                                18       A. I don't think so, but I don't recall what
    19      Q. So Karen -- Karen Harper either had direct         19   it was about. I mean, it wasn't an unpleasant
    20   access or could get it from someone?                     20   meeting.
    21      A. Or she could ask for specific things that          21       Q. Would you describe the August 2011 meeting
    22   she wanted.                                              22   as an unpleasant one?
    23      Q. Okay. And she would provide that to you.           23       MR. O'CONNOR: Objection.
    24   Did the --                                               24   BY THE WITNESS:

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     1      A. Based on my background and former Federal                1 fly first to St. Louis and then to Florida?
     2   law enforcement experience, it was unpleasant to me,           2     A. To St. Louis. We gathered the
     3   but not to everyone there.                                     3 information, it was given to me, and then I went to
     4   BY MR. KAWAMOTO:                                               4 Florida.
     5      Q. Okay. Why was it unpleasant to you?                      5       Q. Okay. So within 24 hours of this DEA
     6      A. They had -- they had diversion people from               6   meeting, you were on a -- 48 hours your were on plane
     7   other states, Detroit as I recall, St. Louis, and they         7   going to --
     8   were being very stern in their presentation. They had          8       A. It was Friday, I believe, the meeting
     9   never helped us before, they had never approved any of         9   occurred.
    10   our programs, but they were being very stern with us,         10       Q. Okay.
    11   and I took that as being unpleasant.                          11       A. I could -- you could look up on the
    12      Q. And it's fair to say then that they were                12   calendar what day of the week it was, but it was the
    13   very concerned, DEA was?                                      13   following week when I left.
    14      MR. O'CONNOR: Objection.                                   14       Q. Okay. Do you know what a 222 form is?
    15   BY THE WITNESS:                                               15       A. Vaguely. It's -- you transfor -- transfer
    16      A. That was my impression.                                 16   narcotics with it. You have to have a 222 that says
    17   BY MR. KAWAMOTO:                                              17   what the product is to be transferred with the
    18      Q. Now, you indicated that you took this as                18   product. That's the best I can tell you.
    19   unpleasant but other people might not have. Do you            19       Q. Yeah.
    20   have any -- do you have anyone in mind? I mean, do            20           And so Mal- -- I'm just trying to
    21   you know if Karen also took this meeting as an                21   understand the mechanics. Mallinckrodt would receive
    22   unpleasant one?                                               22   this form along with the order request from its
    23      MR. O'CONNOR: Objection.                                   23   customer?
    24   BY THE WITNESS:                                               24       A. You are beyond me now. I don't know.

                                                        Page 235                                                        Page 237
     1       A. You would have to ask Karen.                            1       Q. Okay.
     2   BY MR. KAWAMOTO:                                               2            (WHEREUPON, a certain document was
     3       Q. Do you know if Karen was concerned about                3             marked Mallinckrodt-Ratliff
     4   this?                                                          4             Deposition Exhibit No. 022, for
     5       MR. O'CONNOR: Objection.                                   5             identification, as of 12/19/2018.)
     6   BY THE WITNESS:                                                6   BY MR. KAWAMOTO:
     7       A. I think we were both concerned.                         7       Q. So, directing your attention to the, I
     8   BY MR. KAWAMOTO:                                               8   guess the second page that says "Agenda," it says:
     9       Q. And you were concerned enough to get on a               9   "Introduction - Bill Ratliff, Director" -- "Director
    10   plane the next day, is that correct?                          10   Security Tyco Healthcare."
    11       MR. O'CONNOR: Objection.                                  11          Do you see that?
    12   BY THE WITNESS:                                               12       A. Yes.
    13       A. No.                                                    13       Q. So did you present this PowerPoint?
    14   BY MR. KAWAMOTO:                                              14       A. No.
    15       Q. I'm sorry.                                             15       Q. Okay. Did you help --
    16       A. We left the night before.                              16       A. I started "Welcome to the meeting" and
    17       Q. Yeah, you left earlier?                                17   introduced everybody and more than likely I left. I
    18       A. We left -- no. The earthquake occurred.                18   had other responsibilities.
    19   They closed down the airport for two-and-a-half, three        19       Q. So you weren't -- you weren't involved in
    20   hours to make sure that all of the tanks, nothing had         20   the preparation of this PowerPoint --
    21   cracked. They had all kinds of issues, but we                 21       A. No.
    22   eventually flew out that night to go back to                  22       Q. -- to your recollection?
    23   St. Louis.                                                    23       A. No. I'm not knowledgeable enough to
    24       Q. And you flew to Florida from DC or did you             24   prepare this.

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     1      Q. And so if you count backwards, right                 1 registration and you have a DEA 222, that wasn't -- or
     2   before the slide that says "Almost Over," you've got       2 not alone adequate in determining whether an order is
     3   this slide right here. So it is almost at the very         3 suspicious, that's -- if you had those, it would not
     4   end.                                                       4 be deemed suspicious, so I don't know if they mixed up
     5      A. Okay.                                                5 their words or if Karen misspoke. That doesn't sound
     6      Q. And so this is a presentation that --                6 right.
     7   well, strike that.                                         7       Q. But your understanding is that provided
     8           Do you see how it says: "Refer any phone           8   that the customer had a current DEA registration and
     9   calls to me concerning"?                                   9   it had a -- and it provided a 222 form, then its
    10      A. Say again.                                          10   orders were not suspicious -- were I guess de facto
    11      Q. The top line says: "Refer any phone calls           11   not suspicious?
    12   to me concerning," and then it lists various items?       12       MR. O'CONNOR: Objection.
    13      A. I am on the wrong page here.                        13   BY THE WITNESS:
    14      Q. Okay. So "Almost Over," it is going to be           14       A. Well, there are a lot of other factors
    15   the page right before.                                    15   that go into that, so I'm not in a position to tell
    16      A. "Refer any phone calls"?                            16   you that that's -- makes it not suspicious. I don't
    17      Q. Yeah, "Refer any phone calls to me                  17   know that, so. You know, I know I was there at the
    18   concerning."                                              18   presentation. I talked a little bit about security.
    19           Do you know who the "me" is, is that --           19   And Karen talked about the rest of this because I'm
    20      A. That would be Karen.                                20   not knowledgeable enough to really talk about it, so.
    21      Q. Okay.                                               21   I would ask her about that specific statement if it
    22              (WHEREUPON, a certain document was             22   were me.
    23               marked Mallinckrodt-Ratliff                   23   BY MR. KAWAMOTO:
    24               Deposition Exhibit No. 023, for               24       Q. Okay. But your -- your understanding with

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     1              identification, as of 12/19/2018.)              1   respect to the DEA registration status and the 222
     2   BY MR. KAWAMOTO:                                           2   form is that if you have those two items, then your
     3       Q. So this is an e-mail from Karen Harper to           3   order is -- you -- your order is -- is automatically
     4   you and others. It is dated June 6th, 2008, and it is      4   not suspicious or it's not suspicious?
     5   419956.                                                    5       A. No. Those things are necessary to process
     6       A. Okay.                                               6   an order and then a lot of other things go into it,
     7       Q. If I could direct your attention to the             7   so.
     8   highlighted portion of this e-mail.                        8       Q. So even if you have the registration
     9           Can you please read that for me?                   9   status and a valid 222 form, that's not the end of the
    10       A. "The group found it significant and                10   inquiry, is that your understanding?
    11   noteworthy that confirmation of the customer's current    11       A. Correct, to the best of my knowledge.
    12   DEA registration status and receipt of a DEA 222 form     12       Q. So if I were to say -- if DEA were to
    13   are not alone adequate in determining whether an order    13   contact me and say we think this order is suspicious
    14   is suspicious."                                           14   and I were to tell them, No, I checked the
    15       Q. Would you agree with that statement?               15   registration status and I got a 222 form that I
    16       A. If I could read it again, I'm --                   16   verified, that would not be adequate as a matter of
    17       Q. Sure.                                              17   compliance?
    18       A. Yeah, I don't know what it means.                  18       MR. O'CONNOR: Objection.
    19       Q. Okay.                                              19   BY THE WITNESS:
    20       A. It seems to be contradictory.                      20       A. If DEA called and say thought -- they
    21       Q. But you don't have any -- you don't have           21   thought it was suspicious, it's suspicious. They are
    22   any understanding of what this statement is referring     22   our regulator. So we would take their word as --
    23   to or the requirement it is talking about?                23   unless we had additional information, but we would
    24       A. Well, normally if you have a DEA                   24   work with them to try to determine why they thought it

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     1   was suspicious.                                             1      Q. And his boss would -- who would Jim's boss
     2      Q. But it would not be proper to just rely               2   have been?
     3   solely on the registration status and the 222 form in       3      A. I have no clue. I just don't know. It
     4   determining whether or not to ship an order?                4   has been too many years.
     5      MR. O'CONNOR: Objection.                                 5      Q. Okay. Fair enough.
     6      MS. DURFEE: Objection.                                   6          All right. I'm sorry. Karen's -- Karen
     7   BY THE WITNESS:                                             7   Harper's e-mail at the very top, could you read the --
     8      A. That's my opinion, but I'm certainly not              8   what she is saying, the highlighted sentence?
     9   an expert in this.                                          9      A. "Jim, We absolutely did have the
    10             (WHEREUPON, a certain document was               10   discussion previously and there is no disagreement
    11              marked Mallinckrodt-Ratliff                     11   now - I merely wanted to confirm that we have not
    12              Deposition Exhibit No. 024, for                 12   shipped any suspicious orders (even if we do the
    13              identification, as of 12/19/2018.)              13   investigation after the shipment). The information is
    14   BY THE WITNESS:                                            14   being gathered for JoAnne and ultimately presentation
    15      A. So I'm not named on this, so...                      15   to Tim Wright about regulatory vulnerabilities. Thank
    16   BY MR. KAWAMOTO:                                           16   you and have a great day."
    17      Q. No.                                                  17      Q. Do you know who Tim Wright is?
    18           So I wanted to direct your attention to            18      A. I think he was the present at the time.
    19   the middle e-mail first. It is from Jim Rausch to          19      Q. And Karen is referencing a discussion, but
    20   Karen Harper, cc'ing George Saffold.                       20   you weren't -- you weren't part of that discussion?
    21           Do you know who Mr. Saffold is?                    21      MR. O'CONNOR: Objection.
    22      A. No.                                                  22   BY THE WITNESS:
    23      Q. Okay. And then can you read that sentence            23      A. No.
    24   that I highlighted? And I understand you didn't            24   BY MR. KAWAMOTO:

                                                         Page 243                                                        Page 245
     1   receive this.                                               1       Q. And you don't have -- you don't have any
     2      A. "I have not had any orders in the                     2   opinion on this practice as you sit here today?
     3   classification of peculiar that has not been cleared        3       A. I -- it's just been too long.
     4   and explainable thus far. As we have discussed, it          4       Q. Okay. Oh, I'm sorry. I just -- I just
     5   takes time to get the information back from marketing       5   have two more questions.
     6   and sales, sometimes all day."                              6       A. On that?
     7      Q. Again, the next sentence is?                          7       Q. Yes, on that e-mail, so if you can look at
     8      A. "Since I don't hold the orders up during              8   it.
     9   my due diligence, it's possible that the order could        9           The top e-mail on the back page, so that
    10   ship."                                                     10   would be Bates number 264413, that's from Jim Rausch
    11      Q. Okay. So, were you aware that Mr. Rausch             11   to Karen Harper again.
    12   was not holding orders up while he was conducting his      12       A. Okay.
    13   due diligence on them?                                     13       Q. Can you read that e-mail from Jim?
    14      MR. O'CONNOR: Objection.                                14       A. "Karen, yes, I run the checks every day as
    15   BY THE WITNESS:                                            15   I showed you. As we discussed, I do not hold any
    16      A. No.                                                  16   orders while I do my research due to the time" -- "due
    17   BY MR. KAWAMOTO:                                           17   to the time constraints."
    18      Q. Okay. If you had known that that was what            18       Q. Do you know what the reference to time
    19   he was doing, would you have been concerned?               19   constraints means?
    20      MR. O'CONNOR: Objection.                                20       A. When the trucks arrive or when it's
    21   BY THE WITNESS:                                            21   shipped, I don't know.
    22      A. It certainly should have been discussed              22       Q. Okay. And Jim --
    23   with -- or his boss.                                       23       A. They don't ship out of headquarters. Jim
    24   BY MR. KAWAMOTO:                                           24   worked at headquarters, so if that helps.

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     1     Q. And your understanding of -- or your                   1 but normally they had books that they would present
     2 recollection of Jim's role is that he was reviewing           2 and they would -- Karen would go through the books and
     3 peculiar orders.                                              3 I would be there and we would look at certain things
     4         Is that accurate?                                     4 and we would ask questions about how they identified
     5     A. Apparently based on this from Karen.                   5 their customers and that's pretty much it. I mean,
     6     Q. Okay. Do you know if he was the only one               6 there were -- we'd ask a number of questions, so.
     7 that was running checks on peculiar orders?                   7      Q. What was the information that was
     8     MR. O'CONNOR: Objection.                                  8   contained in these books?
     9 BY THE WITNESS:                                               9      A. It was basically that -- in an attempt to
    10     A. I have no idea.                                       10   show they were in compliance with the -- with the
    11     THE WITNESS: Sorry.                                      11   regulation requiring the -- they were preventing
    12     MR. KAWAMOTO: Could we take a break?                     12   diversion, so, it was basically their program.
    13     MR. O'CONNOR: Sure.                                      13      Q. And the revision date is 1/04/2011.
    14     MR. KAWAMOTO: Is that fine with you?                     14           Do you recall when you started conducting
    15     THE WITNESS: I'm good.                                   15   these audits?
    16     THE VIDEOGRAPHER: We are going off the record            16      A. I don't. But I believe it was before
    17 at 3:44.                                                     17   that, would be my guess. I shouldn't guess. I can't
    18            (WHEREUPON, a recess was had                      18   be accurate to know exactly when we started, but...
    19             from 3:44 to 4:00 p m.)                          19      Q. Do you have a rough sense of how far
    20      THE VIDEOGRAPHER: We are back on the record at          20   before 2011 these started?
    21   4:00 p m.                                                  21      A. The first audit -- there were two audits
    22      MR. KAWAMOTO: So here is another exhibit.               22   and they were both in Cincinnati. So if we could
    23            (WHEREUPON, a certain document was                23   detail that date, then I would know when it started.
    24            marked Mallinckrodt-Ratliff                       24      Q. And do you recall who was being audited?

                                                         Page 247                                                       Page 249
     1              Deposition Exhibit No. 025, for                  1      A. Well, it was the Masters, maybe, and --
     2              identification, as of 12/19/2018.)               2   and I don't remember the other name.
     3   BY MR. KAWAMOTO:                                            3      Q. And how were you identifying which
     4       Q. So this is a document Bates numbered                 4   distributors to audit?
     5   307322. It's entitled "Global Controlled Substance          5      A. Karen identified them and I went along to
     6   Compliance Procedure," and the subject is "Suspicious       6   assist.
     7   Order Monitoring Customer Audit Program."                   7      Q. Okay. And do you recall how often a
     8       A. Okay.                                                8   distributor was audited, were they put on a cycle or
     9       Q. Mr. Ratliff, were you involved with this,            9   was it based on some other metric?
    10   in the customer audit program?                             10      MR. O'CONNOR: Objection.
    11       A. Yes.                                                11   BY THE WITNESS:
    12       Q. And what was your role in it?                       12      A. These were the first audits that I was
    13       A. On occasion I assisted Karen Harper with            13   involved in, so if they conducted other audits, I
    14   conducting audits of our distributors.                     14   don't know that.
    15       Q. And by "assisting," what do you mean by             15   BY MR. KAWAMOTO:
    16   that?                                                      16      Q. Do you recall any distributors that failed
    17       A. We would travel to that distributor                 17   their audits?
    18   together or she would fly in and I would be there from     18      MR. O'CONNOR: Objection.
    19   another area and we would then do the audits.              19   BY THE WITNESS:
    20       Q. And what did you look for when you were             20      A. I think Masters and the other one. There
    21   conducting the audits?                                     21   were some issues that we needed to address, so. I
    22       A. We had to provide their book or however             22   don't know that that's a pass/fail.
    23   they con -- they had their suspicious order monitoring     23   BY MR. KAWAMOTO:
    24   program, if it was in a box or if -- whatever it was,      24      Q. And do you see Point 5 on Page 307323?

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     1      A. Um-hum.                                                1      Q.    Understood.
     2      Q. It says: "In conjunction with Security,                2      A.    Okay. I'm old.
     3   notifies DEA in the event of adverse audit findings."        3           That they should remain a customer of our
     4           Do you recall doing that?                            4   customer. So we -- we put down a lot of information
     5      A. I wouldn't have done it. Karen Harper                  5   in there.
     6   would have done that.                                        6       Q. And so at the very bottom, do you see a
     7      Q. But do you have -- do you have -- well,                7   reference to "Suzanne Pea deactivated as customer on"
     8   with respect to the -- with respect to the audits            8   and then there is a blank.
     9   where there were issues with the distributor, and I --       9           Who was Suzanne Pea?
    10   I believe you -- you think there were two of them that      10       A. I don't have a clue.
    11   you can recall, or is that number wrong?                    11       Q. Now, at the very top it says: "If sales
    12      MR. O'CONNOR: Objection.                                 12   of controlled substances restricted, effective date of
    13   BY THE WITNESS:                                             13   restriction: 10/5/11."
    14      A. Well, those were the initial -- those were            14           Do you see that?
    15   the initial ones that I was involved in. There was          15       A. Where are you?
    16   another one in Kentucky. I can't remember the name of       16       Q. At the very top under "Current Status:
    17   the company. Those may have been the only -- the only       17   Sales of controlled substances restricted."
    18   three that I was involved in.                               18       A. Okay.
    19   BY MR. KAWAMOTO:                                            19       Q. So as of 10/5/11, that's when the
    20      Q. Now, you don't know if those results were             20   restriction was imposed on Gulf Coast Medical
    21   communicated -- were communicated to DEA?                   21   Pharmacy?
    22      MR. O'CONNOR: Objection.                                 22       A. Okay.
    23   BY MR. KAWAMOTO:                                            23       Q. And then do you see that -- that the
    24      Q. Well, let me rephrase that.                           24   information under Statistics?

                                                        Page 251                                                          Page 253
     1           You weren't involved in communicating                1      A. Yes.
     2   those results to DEA?                                        2      Q. Can you review that?
     3       A. Correct.                                              3      A. Okay.
     4       Q. Okay. Do you have any specific                        4      Q. And so the percentage of controlled
     5   recollection or knowledge of Karen Harper doing so?          5   substances versus non-controlled substances was 90 to
     6       A. Not a specific rec- -- recollection, I                6   10?
     7   don't.                                                       7      A. Correct.
     8       Q. Okay.                                                 8      Q. The top product by volume was oxy 30?
     9              (WHEREUPON, a certain document was                9      A. Correct.
    10               marked Mallinckrodt-Ratliff                     10      Q. The volume of the oxy family was 3 million
    11               Deposition Exhibit No. 026, for                 11   tablets from 5/10 through 10/11 with approximately
    12               identification, as of 12/19/2018.)              12   225 -- 225,000 per month?
    13   BY MR. KAWAMOTO:                                            13      A. Yes.
    14       Q. So this is a document entitled "Pharmacy             14      Q. And the value of oxy 30 was 175,000 per
    15   Information Sheet." It's Bates number is 570903.            15   month?
    16       A. Okay.                                                16      A. Okay.
    17       Q. Do you recognize this form?                          17      Q. And then it says cash sales versus
    18       A. Yes.                                                 18   non-cash sales, 30 percent are in cash sales.
    19       Q. What is it?                                          19           So would you find this -- this data to be
    20       A. This is the form I've been speaking of               20   disturbing?
    21   that we used. We put all kinds of information in here       21      MR. O'CONNOR: Objection.
    22   to help us make a determination if it should be a           22   BY THE WITNESS:
    23   continuing -- continuing with -- I'm getting really         23      A. Yes. I testified in court and these
    24   tired, just so you know.                                    24   people were prosecuted by DEA.

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                                                                             Review
                                                   Page 254                                                                Page 256
     1   BY MR. KAWAMOTO:                                        1 on the distributor's part, was it not?
     2       Q. So this is pretty clearly a pill mill?           2     MR. O'CONNOR: Objection.
     3      MR. O'CONNOR: Objection.                             3 BY THE WITNESS:
     4   BY THE WITNESS:                                         4     A.     Yes.
     5      A. That was my opinion.                              5    MR. KAWAMOTO: Okay. Actually, could we go off
     6   BY MR. KAWAMOTO:                                        6 the record very quickly.
     7      Q. Okay. Now, you also have your notes,              7     THE VIDEOGRAPHER: We are going off the record
     8   because you visited this -- this pharmacy on            8 at 4:11.
     9   September 13th, 2011?                                   9             (WHEREUPON, a recess was had
    10      A. I did.                                           10              from 4:11 to 4:18 p m.)
    11      Q. Okay. And you -- as you noted, you               11             (WHEREUPON, a certain document was
    12   testified against them.                                12              marked Mallinckrodt-Ratliff
    13           Now, under the status of Due Diligence, do     13              Deposition Exhibit No. 027, for
    14   you see that? It is on -- I'm sorry. It is on the      14         identification, as of 12/19/2018.)
    15   front page.                                            15    THE VIDEOGRAPHER: We are back on the record at
    16      A. Front page. Okay.                                16 4:18.
    17      Q. It says: "Number of site visits and dates        17 BY MR. KAWAMOTO:
    18   of each," and then it goes: "8/08, 4/09, 12/09,        18     Q.     So, sir, I've put another exhibit in front
    19   10/10, 2/11 and 9/11."                                 19 of you. Its Bates number is 571105, and it is another
    20           Do you see that?                               20 Pharmacy Information Sheet.
    21      A. I do.                                            21   A. Yes.
    22      Q. Who was performing those visits?                 22   Q. And the subject is this pharmacy is Lam's
    23       A. I don't remember specifically at this time      23 Pharmacy and it's in Las Vegas.
    24   because of the time that's past, but I believe that    24      Okay. Could you quickly review this

                                                   Page 255                                                                Page 257
     1   was their distributor or their security person, so.     1 sheet?
     2       Q. So prior to you visiting this pill mill,         2      A. Okay.
     3   it was visited five times by the security person for    3      Q. So, if you look at the statistics, you
     4   the distributor?                                        4   have the percentage of controlled -- controlled
     5       A. It's just been too long to -- to be              5   substances versus non-controlled substances of 60/40.
     6   absolutely positive that that's the case, but I         6      A. Yes.
     7   received the information from someone, so.              7      Q. You have the volume of controlled
     8       Q. And that -- well, that -- that -- then           8   substances as 400,000 tablets per month.
     9   that's what the data suggests, does it not?             9      A. Um-hum.
    10       A. Yes.                                            10      Q. The top product is once again oxy 30.
    11       MR. O'CONNOR: Objection.                           11      A. Um-hum.
    12   BY MR. KAWAMOTO:                                       12      Q. The volume of the oxy family is 3 million
    13       Q. Okay. And yet this -- this pill mill was        13   tablets from 5/10 through 10/11, approximately 160,000
    14   restricted on 10/5/2011.                               14   per month, the volume of oxy 30 tablets ranges from
    15           In your opinion, shouldn't this pill mill      15   100,000 to 120,000 per month, and then the percent of
    16   have been shut down earlier?                           16   cash sales versus non-cash sales is slightly more than
    17       MR. O'CONNOR: Objection.                           17   50 percent. And then in addition, apparently there
    18   BY THE WITNESS:                                        18   was a recent indictment of a pharmacist, and then you
    19       A. Should it have been shut down earlier?          19   also visited this site on 10/4/2011.
    20   BY MR. KAWAMOTO:                                       20      A. Um-hum.
    21       Q. Yes.                                            21      Q. So in your opinion, is this a pill mill?
    22       A. They were in a building with a number of        22      MR. O'CONNOR: Objection.
    23   pain doctors, and I would say yes.                     23   BY THE WITNESS:
    24       Q. And so in your opinion this was a failure       24      A. Yes.

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                                                      Page 258                                                        Page 260
     1   BY MR. KAWAMOTO:                                          1      A. No.
     2      Q. Okay. Now, you'll note that under Due               2   BY MR. KAWAMOTO:
     3   Diligence you have site visit dates.                      3      Q. Okay. If Lam -- if -- if Ned were the --
     4      A. Um-hum.                                             4   representing the distributor, because I believe Ned is
     5      Q. And it says: "Mone visited CA 1/09." And            5   an attorney, do you know why the distributor would
     6   there were a "Total of four visits by Mone, most          6   want to protect Lam's?
     7   recent being 7/11," and yet this was shut down in         7      MR. O'CONNOR: Objection.
     8   October of 2011.                                          8   BY THE WITNESS:
     9          Do you see that, sir?                              9      A. I think Lam's changed hands and that after
    10      MR. O'CONNOR: Objection.                              10   the indictment, according to what the individual told
    11   BY THE WITNESS:                                          11   me, that's just based on my memory of it, he said, You
    12      A. I do.                                              12   know, our pharmacist was indicted and we are -- we've
    13   BY MR. KAWAMOTO:                                         13   changed everything, DEA has been in here, and so.
    14      Q. Is this another instance where this pill           14   BY MR. KAWAMOTO:
    15   mill should have been shut down earlier --               15      Q. Okay. Now, do you see the -- the heading
    16      MR. O'CONNOR: Objection.                              16   that says "Message"?
    17   BY MR. KAWAMOTO:                                         17      A. Yes.
    18      Q. -- given the due diligence that was                18      Q. It says: "No contractual relationship
    19   purportedly being done?                                  19   with Lam's. Suggested they call DEA. Barb," I guess
    20      A. Yes.                                               20   Barb Boockholdt, "chief of regulatory section."
    21      Q. Okay. Now, directing your attention to             21      A. Okay.
    22   the second page of this document, that's 571106.         22      Q. Do you know what's meant by "no
    23      A. Um-hum.                                            23   contractual relationship with Lam's"?
    24      Q. Do you know why this was included in this          24      A. I don't.

                                                      Page 259                                                      Page 261
     1 file? It's an e-mail from Mr. Lohman, and I will -- I       1      Q. Okay. What about the -- the statement
     2 will represent to you that this came out of your            2   "purpose - data review," do you see that?
     3 custodial file.                                             3      A. I do.
     4       A. Mine personally?                                   4      Q. "Asked for our help. I said no."
     5       Q. Yes.                                               5          Do you know what that means?
     6       A. I was traveling with Mr. Lohman.                   6      A. I don't.
     7       Q. Okay. And do you see the e-mail that               7      Q. Do you know if this was a request from
     8   says: "Ned called in to check SOM system and protect      8   either Lam's or the distributor for access to
     9   Lam's in pharmacist sting/raid 8-2010"?                   9   Mallinckrodt chargeback data?
    10       A. I see it.                                         10      MR. O'CONNOR: Objection.
    11       Q. Okay. And I believe Ned reference is a            11   BY THE WITNESS:
    12   reference to Ned Milenkovich, do you see that, because   12      A. I don't remember ever seeing this
    13   it is a teleconference between Ted Milenkovich and       13   communication at all, and so I don't -- I don't know
    14   Donald Lohman?                                           14   the answer.
    15       MR. O'CONNOR: Objection.                             15   BY MR. KAWAMOTO:
    16   BY THE WITNESS:                                          16      Q. Okay. You can put that aside.
    17       A. Okay.                                             17            (WHEREUPON, a certain document was
    18   BY MR. KAWAMOTO:                                         18             marked Mallinckrodt-Ratliff
    19       Q. So Ned called Mr. Lohman and he wanted to         19             Deposition Exhibit No. 028, for
    20   check the SOM system and protect Lam's in the            20             identification, as of 12/19/2018.)
    21   pharmacist sting/raid.                                   21   BY MR. KAWAMOTO:
    22            Do you know what that means?                    22       Q. So, actually, this may be a relatively
    23       MR. O'CONNOR: Objection.                             23   short question. Do you rec -- is this your
    24   BY THE WITNESS:                                          24   handwriting, sir?

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     1      A.     Sadly it is.                                      1   It's a 1-6-4.
     2      Q.     Okay.                                             2       Q. Yes. So I'm sorry. 164 pharmacies have
     3      A.     It has gotten worse, too, just so you...          3   been cut off?
     4      Q.     Fair enough.                                      4       A. Yeah. That information was given to me,
     5            Reviewing this, do you -- do you know what         5   so.
     6   these notes refer to?                                       6       Q. Okay.
     7       A. I know I met with George Euson at one                7       A. I made a star by it because obviously -- I
     8   time. And a lot of this information came from him. I        8   put a star by it because normally when I do that to me
     9   don't know what -- what is confusing to me, those           9   that is -- shows to me later that it was important.
    10   other names.                                               10       Q. And then at the very bottom of Page 472,
    11       Q. Okay.                                               11   do you see the reference to "298 accounts walked
    12       A. But this was before he went down to                 12   away"?
    13   Florida to do the investigation.                           13       A. Uh-huh.
    14       Q. But as you sit here today, you don't know           14       Q. Do you know what that means?
    15   what these notes refer to?                                 15       A. I don't. I just -- let me have a little
    16        A. Well, they refer to that meeting with              16   due diligence.
    17   George.                                                    17           I don't know the answer to that.
    18       Q. Okay. And does this refresh your                    18       Q. Okay. That's fine.
    19   recollection as to what you discussed in that meeting?     19           So I have another PowerPoint that I would
    20       A. Well, I can read it all to you, but                 20   like you to look at. This was produced to us in
    21   it's -- basically what he was telling me they were         21   native form, so I've manually put the Bates number on
    22   doing. He was --                                           22   it. The Bates number is 2694677.
    23       Q. And -- I'm sorry.                                   23              (WHEREUPON, a certain document was
    24       A. He came over to discuss this with us and            24               marked Mallinckrodt-Ratliff

                                                       Page 263                                                        Page 265
     1   to explain to us that the owner had told him to go to       1              Deposition Exhibit No. 029, for
     2   Florida and look at all of these pharmacies and they        2              identification, as of 12/19/2018.)
     3   weren't going to ship anything until -- until they          3   BY MR. KAWAMOTO:
     4   made their determination if it was a legitimate             4       Q. And because this isn't numbered, I'll use
     5   pharmacy or not.                                            5   the Elmo to sort of identify what I want to direct you
     6      Q. And this was the e-mail that we reviewed              6   to.
     7   near the beginning of the deposition, right --              7           So the first page is EXALGO Utilization by
     8      MR. O'CONNOR: Objection.                                 8   Julie Milford.
     9   BY MR. KAWAMOTO:                                            9           Do you know who Julie Milford is?
    10      Q. -- regarding H.D. Smith and pain                     10       A. No clue.
    11   management clinics?                                        11       Q. Okay. And then if you turn into the
    12      MR. O'CONNOR: Objection.                                12   PowerPoint, there is "National Use of Opioids, Heat
    13   BY THE WITNESS:                                            13   Maps of Units Through Cash Transactions."
    14      A. Okay. Yeah, I don't remember that                    14       A. Where are you?
    15   exactly, but I take notes and then I write from the        15       Q. I'm probably -- I'm around -- I'm on
    16   notes.                                                     16   Page 6 of the PowerPoint.
    17   BY MR. KAWAMOTO:                                           17       A. Okay.
    18      Q. And then do you see at the end -- or                 18       Q. Okay. So: "National Use of Opioids, Heat
    19   towards the bottom of Page 386471?                         19   Maps of Units Through Cash Transactions."
    20      A. Yes.                                                 20       A. Okay.
    21      Q. That's: "106 pharmacies have been cut                21       Q. And then the methodology is -- do you see
    22   off." Is that -- does that mean that H.D. Smith had        22   the -- do you see the second bullet point?
    23   stopped doing business with 106 pharmacies?                23       A. "Product basket," is that what you are
    24      A. There is 164 pharmacies have been cut off.           24   asking?

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     1       Q. Yes.                                                1   counts increased considerably since 2012."
     2           "Product basket included therapies and             2      A. Yeah.
     3   strengths known to be highly abused, as well as            3      Q. So...
     4   EXALGO."                                                   4      A. And the reason I say that is I have been
     5       A. Okay.                                               5   gone six-and-a-half years, as you've -- as I've noted
     6       Q. Do you know what -- what analysis is being          6   a number of times. I just don't remember seeing
     7   done or what analysis is being presented in this           7   anything even like this. And, you know, it's possible
     8   PowerPoint?                                                8   that it was created while I was there, but I just
     9       A. No.                                                 9   don't recall it, so.
    10       Q. Okay. Were you aware that anyone in                10      Q. Now, you weren't aware of anyone doing
    11   Mal -- at Mallinckrodt was developing heat maps of        11   this type of analysis while you were at Mallinckrodt?
    12   units through cash transactions?                          12      MR. O'CONNOR: Objection.
    13       A. Okay.                                              13   BY THE WITNESS:
    14       Q. Now, crash transactions are a potential            14      A. Not personally.
    15   indicator of diversion, are they not?                     15   BY MR. KAWAMOTO:
    16       MR. O'CONNOR: Objection.                              16      Q. So this is not something you recall Karen
    17   BY THE WITNESS:                                           17   Harper ever sharing with you?
    18       A. You are saying these are cash? The last            18      A. No.
    19   two years... Yeah, I don't know. I don't know where       19      Q. Okay. Would this information have been
    20   that information would come from even.                    20   helpful to you as director of security?
    21   BY MR. KAWAMOTO:                                          21      MR. O'CONNOR: Objection.
    22       Q. And then if you look on the second page of         22   BY THE WITNESS:
    23   the methodology, do you see the two bullet points:        23      A. I would say, yes, it would be helpful to,
    24   "Calculated the per capita rate of cash Rx tablets for    24   but I don't know -- the problem I'm having with this

                                                        Page 267                                                              Page 269
     1   each three-digit zip code"?                                1 is I don't know if it's just our customers or if it's
     2          Do you see that?                                    2 from some national database that has, you know, EXALGO
     3      A. Yes.                                                 3 patient account trends. I'm not -- did we manufacture
     4      Q. And then underneath that: "Coded per                 4 EXALGO? I don't remember.
     5   capita rates into five different groupings to produce      5 BY MR. KAWAMOTO:
     6   heat maps."                                                6     Q.   Well, regardless --
     7      A. Okay.                                                7     A. So, IMS NPA --
     8      Q. Dark red is a "'Critical Spot' with 2 to 3           8     Q.   Oh, sorry.
     9   cash tablets per person."                                  9     A.   -- IMS, a Marketing -- a Market Dynamics.
    10          Would this type of analysis have been              10 That's the source. IMS NPA, IMS NPA Market Dynamics.
    11   helpful in developing anti-diversion measures?            11 So, without knowing who that is... IMS Xponent
    12      MR. O'CONNOR: Objection.                               12 Plantrak. I don't know where the information came
    13   BY THE WITNESS:                                           13 from, I don't know how I could accept -- how I could
    14      A. I don't recall ever seeing it, but it's on          14 determine how accurate it is without knowing or having
    15   Covidien's -- you know, it was produced by someone        15 more information.
    16   from Covidien apparently, so they were trying to -- to    16     Q.   And you are not familiar with IMS Xponent
    17   make some sense of it, I guess. I mean, I just don't      17 Plantrak, are you?
    18   remember.                                                 18     A.   No.
    19          Do you know when it was produced? Was I            19     Q.   But a database that tracked cash
    20   even with the company?                                    20 transactions of prescription opioids, that information
    21   BY MR. KAWAMOTO:                                          21 would be potentially helpful?
    22      Q. I'll be honest, I -- I don't know that.             22     MR. O'CONNOR: Objection.
    23      A. Yeah.                                               23 BY MR. KAWAMOTO:
    24      Q. It says "April 2011" and then "Patient              24     Q.   Assuming its accurate?

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     1       A. Right, and -- and assuming that it's our               1       Q. Sure. It is on Bates number 290603.
     2   customers. See, we don't know it's our customers. We          2       A. Okay.
     3   don't know based on the information provided if it's          3       Q. So this is an e-mail from Victor Borelli
     4   all of the manufacturers or -- or where the                   4   to Brenda Rehkop.
     5   information came from. There is no way even looking           5           Do you know who Brenda was?
     6   at it at this time to say that these are our customers        6       A. No.
     7   or how they would be able to divide that out and how          7       Q. Okay. Do you know who Victor Borelli is?
     8   IMS Xponent Plantrak would be able to divide that out.        8       A. He was one of our salespeople.
     9       Q. So even if it weren't limited to just your             9       Q. Did you work with him?
    10   customers, it was national, so it was your customers         10       A. No.
    11   and others, would it knowing certain regions that            11       Q. Did you -- no.
    12   were -- that had a very high level of cash                   12           So that e-mail above it -- well, I'm
    13   transactions for opioids be helpful in terms of              13   sorry.
    14   targeting your own audit efforts?                            14           The e-mail from Victor indicates that they
    15       MR. O'CONNOR: Objection.                                 15   are -- they are setting up a new account for Sunrise,
    16   BY THE WITNESS:                                              16   is that accurate?
    17       A. Oh, I think we knew a lot of this                     17       A. Be more specific. Which one are you
    18   information for our customers and that's what we were        18   looking at, the very first one?
    19   focusing on, so. But I -- I just don't have enough           19       Q. The very first one in the chain dated
    20   information to know where this came from.                    20   May 20th, 2008, at 7:57 a.m.
    21   BY MR. KAWAMOTO:                                             21       A. Okay. "Who is going to be the customer
    22       Q. But you had a sense for your customers                22   service manager for this new account and can I have
    23   the -- the amount and the location of cash                   23   that person's phone, fax, e-mail, et cetera. I am
    24   transactions?                                                24   traveling down to the account and want to supply them

                                                         Page 271                                                             Page 273
     1       MR. O'CONNOR: Objection.                                  1 with all of the proper information. Also, they will
     2   BY THE WITNESS:                                               2 buying -- be buying C2s as well. What address to
     3       A. I don't know that I could separate down to             3 they," but it should be "do they send that to?"
     4   cash transactions. Once we started sending those              4     Q.   So this is -- this is a new account.
     5   forms out, the distributors had to fill out all of            5     A.   Okay.
     6   that information. And so when we talked previously,           6     Q.   And then the e-mail above it is an e-mail
     7   the distributor filled out all of the information and         7 from Brenda to Victor Borelli along with Cathy --
     8   then I took that information and used it in our audits        8 Cathy Stewart and Connie Gregory.
     9   of those -- our customer's customer.                          9        Do you see that?
    10   BY MR. KAWAMOTO:                                             10     A. I do.
    11       Q. Okay.                                                 11    Q. And the -- the paragraph, do you see the
    12             (WHEREUPON, a certain document was                 12 paragraph: "The 222 forms total 195,000"?
    13              marked Mallinckrodt-Ratliff                       13     A.   Yes.
    14              Deposition Exhibit No. 030, for                   14     Q.   Okay. So could you please read that?
    15              identification, as of 12/19/2018.)                15     A.   "The 222 forms total 195,000. I have put
    16   BY MR. KAWAMOTO:                                             16 the last" -- "the latest and largest order on hold (it
    17       Q. So this is an e-mail chain between you and            17 is also waiting to be allocated) till I hear from you.
    18   Karen Harper regarding Sunrise Wholesale, and it's           18 Were you expecting Sunrise to place such a large
    19   Bates No. 290601.                                            19 order? And do they really want 2,520 bottles of
    20       A. Okay.                                                 20 oxycodone HCL 30-milligram tabs USP, 100 count each?"
    21       Q. Okay. And if I could direct your                      21     Q.   So this is the initial order from Sunrise
    22   attention to -- let's start with the very back e-mail        22 to Mallinckrodt, and right off the bat they want
    23   on Page 290603.                                              23 2,520 bottles of oxy 30, is that accurate?
    24       A. Sorry. The back of --                                 24     MR. O'CONNOR: Objection.

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     1   BY THE WITNESS:                                              1 BY MR. KAWAMOTO:
     2       A. Yes.                                                  2       Q. Okay.
     3   BY MR. KAWAMOTO:                                             3            Okay. So my apologies. This is an
     4       Q. Okay. And then there is an e-mail from                4   exhibit, but they are not stapled, so I'm going to try
     5   Cathy Stewart to you and Karen Harper. That's on the         5   to keep them separated, but there are three copies
     6   first page, 290601.                                          6   right there.
     7       A. Front page?                                           7       MR. O'CONNOR: Is there any chance you guys have
     8       Q. Front page, very top of the front page,               8   another copy or are we down to three here?
     9   29 -- 290601. I'm sorry. I'll put it up on the Elmo.         9       MR. KAWAMOTO: There are -- yes, there are
    10       A. It says, "From Bill Ratliff"?                        10   three -- there are three copies.
    11       Q. Yes, exactly.                                        11       MR. O'CONNOR: Okay.
    12       A. To Harper?                                           12               (WHEREUPON, a certain document was
    13       Q. Yep.                                                 13                marked Mallinckrodt-Ratliff
    14           And so can you read your e-mail?                    14                Deposition Exhibit No. 031, for
    15       A. "Karen seems" -- "Karen, seems to be a lot           15                identification, as of 12/19/2018.)
    16   of product for the first order especially in light of       16   BY MR. KAWAMOTO:
    17   the new customer status and credit limit. Do you know       17       Q. And I want to -- what I want to focus is
    18   if they completed the D&B?" which would be                  18   your attention on the very top e-mail, Mr. Ratliff.
    19   Dun & Bradstreet.                                           19   It is from Karen Harper to you.
    20       Q. And what would the -- what would D&B be,             20       A. Okay.
    21   or what -- what was that?                                   21       Q. Okay. So can you please read that?
    22       A. It tells a lot about their -- their                  22       A. I can.
    23   liability as a company, how long they've been in            23            "I have placed a call to Sue Marlatt
    24   business, the amount of cash that they have. It's --        24   (credit manager who is also working on our suspicious

                                                      Page 275                                                            Page 277
     1   there is a lot of information in a Dun & Bradstreet          1 order monitoring team) to ask her for a better
     2   report.                                                      2 interpretation of the Dun & Bradstreet and gave her my
     3       Q. And so it's essentially their -- the                  3 cell number. Rhonda Hart has been dealing with this
     4   financial condition of the company, is that fair?            4 account and reports to Sue. Rhonda indicated their
     5       A. That's correct.                                       5 D&B results show an extremely small company. Sunrise
     6       MR. O'CONNOR: Objection.                                 6 has a two screen informational web page and a contact
     7   BY MR. KAWAMOTO:                                             7 us e-mail screen. E-mail address is @Yahoo.com, so it
     8       Q. Okay. But given their status as a new                 8 doesn't look like a very big company there either.
     9   customer and their credit limit, and actually, if you        9 Web page says established in 2003."
    10   look down at the bottom of the page, do you see the         10     Q. So did this information do anything to
    11   credit limit is 35,000?                                     11 allay your concerns with their order, their initial
    12       A. Um-hum.                                              12 order?
    13       Q. So in light of their status as a new                 13     MR. O'CONNOR: Objection.
    14   customer and the credit limit of 35,000, you -- you --      14 BY THE WITNESS:
    15   you believe -- or your impression is that this is a         15     A. To be honest, I don't know if it was
    16   lot of product, is that fair?                               16 filled or not at this time. I just don't know.
    17       A. Yes, that's fair.                                    17 BY MR. KAWAMOTO:
    18       Q. Okay. So would it be accurate to say that            18     Q. Okay. But in light of this information,
    19   you had -- you felt that this order should be subject       19 you -- it's your opinion that this order should have
    20   to some review?                                             20 been subject to additional scrutiny?
    21       MR. O'CONNOR: Objection.                                21     MR. O'CONNOR: Objection.
    22   BY THE WITNESS:                                             22 BY THE WITNESS:
    23       A. Yes.                                                 23     A. Yes.
    24       THE WITNESS: I'm sorry.                                 24 BY MR. KAWAMOTO:


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     1      Q.    Okay.                                                  1      A. Um-hum.
     2             (WHEREUPON, a certain document was                    2      Q. And how -- how does a credit check
     3              marked Mallinckrodt-Ratliff                          3   reassure you that this order isn't excessive for such
     4              Deposition Exhibit No. 032, for                      4   a small institution?
     5              identification, as of 12/19/2018.)                   5      MR. O'CONNOR: Objection.
     6   BY THE WITNESS:                                                 6   BY THE WITNESS:
     7      A. Okay.                                                     7      A. Well, and there is -- there is certain
     8   BY MR. KAWAMOTO:                                                8   things we can do, and so, I mean, we do -- in the
     9      Q. Okay. So directing your attention to the                  9   normal course of business we do credit checks and --
    10   front page of this e-mail -- oh, I'm sorry. This is            10   and just to see if the company is viable, how long it
    11   an e-mail chain between you and Cathy Stewart, Susan           11   has been in business and so forth. There were no --
    12   Marlatt and Karen Harper, among others. Its Bates              12   nothing other than the amount was a flag at all. It
    13   number is 290580.                                              13   just seemed it was a new customer and they were trying
    14      A. Okay.                                                    14   to establish an amount that they could start their
    15      Q. And the e-mail from Susan Marlatt, do you                15   distribution network with, so.
    16   see it says: "We have completed our check"?                    16      Q. But it is a new customer asking for
    17      A. Um-hum.                                                  17   2,500 bottles of oxy 30, and that -- and oxy 30 is, as
    18      Q. And then your response is: "This should                  18   we've discussed is --
    19   be your decision based on the credit checks. If they           19      A. Yeah.
    20   are qualified, Karen and I don't need to make the              20      Q. -- one of Mallinckrodt's most heavily
    21   decision. This will become easier as we go. Have a             21   abused products --
    22   good weekend."                                                 22      A. Yeah.
    23           So what -- what are you saying in that                 23      Q. -- is that true?
    24   e-mail?                                                        24      MR. O'CONNOR: Objection.

                                                             Page 279                                                       Page 281
     1       A. That the -- there was nothing negative in                1 BY MR. KAWAMOTO:
     2   the credit checks to indicate that -- that the -- that          2      Q. Okay. So at the very top, do you see
     3   there were -- there was any background that would               3 that, can you please read your e-mail right up here?
     4   prevent us from doing business with them based on what          4      A. I said: "Sorry for not being more clear.
     5   Dun & Bradstreet came back with, so.                            5 This is a new customer that has cleared credit
     6       Q. But the credit check doesn't address the                 6 references. The salesman has not raised any issues of
     7   fact that their initial order, and they are an                  7 substance. Therefore, this should be approved in the
     8   extremely small company and with a Yahoo e-mail                 8 normal course of business, not by Karen or me. If I
     9   address, was 2,500, correct?                                    9 have missed something, please let me know."
    10       MR. O'CONNOR: Objection.                                   10      Q. So is what you are saying that
    11   BY MR. KAWAMOTO:                                               11 notwithstanding the fact that this order appears
    12       Q. So shouldn't you and Karen have been the                12 large, because the credit checks were clear and the
    13   ones to sign off on that initial 2,500 order?                  13 salesman doesn't have any concerns, you know, there is
    14       A. I don't think so. It's a -- I mean, there               14 nothing for you or Karen to approve? Am I
    15   are certain things that we do to ensure that they are          15 interpreting that correctly?
    16   creditworthy, that they are a legitimate company, and          16       A. Yes.
    17   all of those things were done. So what they are                17       Q. Okay. Now, if the salesman had raised
    18   saying is they -- they obviously broke the order up so         18   issues, then would that be a different matter?
    19   they didn't go over their -- their credit limit.               19       A. Absolutely. Then we wouldn't have shipped
    20       Q. But your initial reaction was that 2,500                20   it at all.
    21   seems like an awfully large order for such a new               21       Q. Okay. Does the salesman have an incentive
    22   customer with such a small credit limit, and you later         22   to let orders go through --
    23   learned that it is an extremely small company with an          23       MR. O'CONNOR: Objection.
    24   @Yahoo e-mail address?                                         24   BY MR. KAWAMOTO:

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     1      Q. -- because of their compensation scheme?               1       A. Apparently, yes.
     2      A. I don't know how they are compensated.                 2   BY MR. KAWAMOTO:
     3      Q. And what does a clear -- what does a clear             3       Q. Okay. And so you have Cathy Stewart
     4   credit reference tell you in terms of the risk of            4   telling you that the customer service reps -- well,
     5   diversion? I mean, the clear -- I mean, credit               5   strike that.
     6   references measure the -- a company's financial              6           If you need to, you can -- you can
     7   health, right?                                               7   reference the prior e-mail, but one of the bases that
     8      A. Yes.                                                   8   you were provided or you indicated for the approval of
     9      Q. And so if a company is profitable, that                9   the order was that the salesman had not raised any
    10   doesn't necessarily tell you that, you know, their          10   issues of substance.
    11   orders aren't suspicious or their orders are proper,        11           Do you recall that?
    12   does it?                                                    12       A. Yes.
    13      A. There was nothing negative in the -- in               13       Q. So here you have an e-mail from Cathy
    14   the report at all to say they were late in paying or        14   Stewart to you and Karen Harper --
    15   that they had had any issues at all. So,                    15       A. Um-hum.
    16   Dun & Bradstreet is a very prominent source for -- we       16       Q. -- indicating that the sales rep Victor is
    17   used it in the FBI, so.                                     17   going to tell people anything they want to hear just
    18      Q. Well, sir, I mean, pill mills have the                18   so he can get the sales through?
    19   potential to be highly profitable, don't they?              19       A. Um-hum.
    20      MR. O'CONNOR: Objection.                                 20       MR. O'CONNOR: Objection.
    21   BY THE WITNESS:                                             21   BY MR. KAWAMOTO:
    22      A. At the time we didn't know it was a pill              22       Q. Didn't that concern you?
    23   mill, so.                                                   23       A. This is after the fact that the order --
    24             (WHEREUPON, a certain document was                24   the other is in --

                                                          Page 283                                                      Page 285
     1               marked Mallinckrodt-Ratliff                      1      Q. Well --
     2               Deposition Exhibit No. 033, for                  2      A. -- May 24th -- well, no, it's not. I know
     3               identification, as of 12/19/2018.)               3   that Victor wasn't a very popular person, so.
     4   BY MR. KAWAMOTO:                                             4      Q. Do you think he was an honest person?
     5       Q. So this is another e-mail chain dated                 5      A. I don't know that.
     6   5/22/2008 between Cathy -- and it's from Cathy Stewart       6      Q. Do you think he was reliable?
     7   to you and Karen Harper. And you can tell from the           7      MR. O'CONNOR: Objection.
     8   subject line that this relates to the new customer           8   BY THE WITNESS:
     9   Sunrise Whole -- Wholesale, correct?                         9      A. I don't know that either. I just know he
    10       A. Um-hum.                                              10   wasn't very popular.
    11       Q. Okay. Can you please read the top e-mail             11   BY MR. KAWAMOTO:
    12   that I just highlighted?                                    12      Q. Do you know why he wasn't popular?
    13       A. I don't see it on the screen.                        13      A. No.
    14       Q. Oh, no, I'm sorry. My apologies.                     14      Q. In light of this information from Cathy
    15       A. Okay. "FYI - the customer service reps               15   regarding Victor, did you or Karen do anything to try
    16   all state that Victor will tell them anything they          16   to verify, you know, Victor's assessment of this new
    17   want to hear just so he can get the sale."                  17   customer?
    18       Q. Okay. And Victor is Victor Borelli,                  18      A. I think that's --
    19   correct?                                                    19      MR. O'CONNOR: Objection.
    20       A. Correct.                                             20   BY THE WITNESS:
    21       Q. And he is a sales -- he is the manager or            21      A. I think that's when they did the audit, or
    22   the sales rep for this new customer, is he not?             22   did they do the audit shortly thereafter?
    23       MR. O'CONNOR: Objection.                                23   BY MR. KAWAMOTO:
    24   BY THE WITNESS:                                             24      Q. I'll represent to you I don't believe that

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     1 they did audit in -- in the summer of 2008.                 1       Q. But you didn't audit them before shipping
     2       A. Okay. I don't know that, so.                       2   this order for 2,500 bottles of oxy 30?
     3       Q. So to the best of your recollection,               3       A. No.
     4   nothing was -- was done in response to this               4       Q. Okay. Should you have?
     5   particular --                                             5       MR. O'CONNOR: Objection.
     6       A. No.                                                6   BY THE WITNESS:
     7       Q. -- piece of information?                           7       A. Well, if you are saying is hindsight
     8       A. I do know that they represented there was          8   20/20, you know, maybe we should have -- should have
     9   a DEA agent that was working with them to ensure they     9   at least looked at it, so, but we did what we thought
    10   were in total compliance. And in talking to DEA after    10   was appropriate at the time.
    11   the fact they said, Well, he is not the most reliable    11              (WHEREUPON, a certain document was
    12   person either. But there was no way for us to            12               marked Mallinckrodt-Ratliff
    13   determine that earlier, so.                              13               Deposition Exhibit No. 034, for
    14       Q. And so just so I'm clear, in terms of             14               identification, as of 12/19/2018.)
    15   the -- the origination history for Sunrise               15   BY MR. KAWAMOTO:
    16   Wholesale --                                             16       Q. So, Mr. Ratliff, this is an e-mail from
    17       A. Um-hum.                                           17   Mr. Harper -- I'm sorry -- Ms. Harper to you. It is
    18       Q. -- you have an extremely small company            18   dated November of 2008. And you'll see from the --
    19   with a Yahoo e-mail address that contacts Mallinckrodt   19   the e-mail string that this, once again, is Sunrise
    20   asking for 2500 bottles of oxy 30. The sales rep,        20   Wholesale. So if I can direct your attention to the
    21   Mr. Borelli, is someone that his colleagues indicated    21   bottom e-mail that spans 307120 and 307121.
    22   is unpopular. And, in fact, Cathy says, you know,        22       A. Okay. I'm just trying to figure out,
    23   "Victor will tell them anything they want to hear just   23   there is a from Karen to me, FYI.
    24   so he can get the sale." And nevertheless, this --       24       Q. Yes, understood.

                                                       Page 287                                                          Page 289
     1 this customer was accepted and this order was approved      1      A. Okay.
     2 in the ordinary course.                                     2      Q. She is forwarding you this e-mail chain.
     3           Is that correct, sir?                             3           And actually, sir, if I can ask you to
     4       MR. O'CONNOR: Objection.                              4   read the e-mail on the back page, which I've -- I've
     5   BY THE WITNESS:                                           5   highlighted?
     6       A. I was just looking at the order amount             6      A. "Just a quick FYI regarding Sunrise. As
     7   again.                                                    7   you know, they have been growing in sales each and
     8   BY MR. KAWAMOTO:                                          8   every month and when I was visiting them this week,
     9       Q. Well, the order amount is at the bottom of         9   they introduced me to their new sales manager. He was
    10   3028219, so the e-mail we were just looking at from      10   Anda's No. 1 salesman and brings a wealth of knowledge
    11   Cathy Stewart.                                           11   and systems to Sunrise. This salesman is extremely
    12       A. 2,520 bottles. Okay. Yeah.                        12   tied to the Florida market and has been the cause of
    13       Q. Doesn't this suggest a -- a breakdown in          13   most of the growth (new customers, contacts" --
    14   the review process?                                      14   "contacts, et cetera). In addition to the recently
    15       MR. O'CONNOR: Objection.                             15   hired sales manager, they are adding five additional
    16   BY MR. KAWAMOTO:                                         16   salespeople, as well as additional states to
    17       Q. For either -- for both no clients and             17   distribute product to. To make a long story short, I
    18   orders, sir?                                             18   wanted to" -- "you to be aware of their growth and to
    19       MR. O'CONNOR: Objection.                             19   supply you with some new monthly sales projections for
    20   BY THE WITNESS:                                          20   this account. Beginning in January, can we raise our
    21       A. It has been ten years ago. I know                 21   projections for Sunrise: Oxy 15-milligrams: 3,000
    22   initially we did an audit and that they are no longer    22   bottles; oxy 30s: 12,000 bottles. Hope this" --
    23   in business, so.                                         23      Q. So the date of this -- I'm sorry, sir.
    24   BY MR. KAWAMOTO:                                         24      A. I'm sorry. You wanted me to read more?

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                                                           Page 290                                                      Page 292
     1       Q. The date of this e-mail is November, 2008,             1      Q. But what you knew back then, sir, because
     2   so this would be approximately five or six months             2   this is a -- I mean, well, you would agree this is a
     3   after they first became a Mallinckrodt customer?              3   sub -- this is a massive increase in their order?
     4       A. Yes.                                                   4      A. Um-hum.
     5       Q. And they are increasing their oxy 30 order             5      Q. Correct?
     6   from 2,500 bottles to 12,000 bottles per month.               6      MR. O'CONNOR: Objection.
     7           Do you see that?                                      7   BY MR. KAWAMOTO:
     8       A. I do.                                                  8      Q. And it's being -- I mean, to say that the
     9       Q. Doesn't that increase -- shouldn't that                9   person providing you with this information,
    10   increase cause some concern?                                 10   Mr. Borelli, you know, is someone that will say
    11       A. That's easy to say now. I don't know that             11   anything to get a sale, and so he is telling you that
    12   I knew that at the time.                                     12   Sunrise is asking for 12,000 -- well, now 15,000
    13       Q. Well, but, sir, at the time, this is what             13   bottles of oxy and the reason they are doing this is
    14   you did know, this is an extremely small company, they       14   because they are going to -- they have hired new
    15   start off right off the bat asking for 2,520 bottles         15   salespeople and they are going to look to additional
    16   of OxyContin. The sales rep that's in charge of this         16   states to distribute product to.
    17   account, you receive an e-mail that he will say              17           Do you know if anything was done to
    18   anything to get his sales through. And then five or          18   actually ascertain whether in fact they were going to
    19   six months later he is sending another e-mail saying         19   distribute products to additional states?
    20   to everyone, They are going to increase their volume         20      MR. O'CONNOR: Objection.
    21   from 2,520 to 12,000 bottles and they are then going         21   BY THE WITNESS:
    22   to add 3,000 bottles of oxy 15.                              22      A. I don't know.
    23           Isn't this problematic, sir?                         23   BY MR. KAWAMOTO:
    24       MR. O'CONNOR: Objection.                                 24      Q. If you had known that all of this was

                                                          Page 291                                                          Page 293
     1   BY THE WITNESS:                                               1 going to Florida, sir, would you have been concerned?
     2       A. I'm just wondering when we did our audit.              2      MR. O'CONNOR: Objection.
     3   Do you have that information?                                 3 BY THE WITNESS:
     4   BY MR. KAWAMOTO:                                              4      A. In -- and so, okay. Ten years ago, I'm
     5       Q. I believe it was in 2009.                              5 not certain that this had exploded like it has in more
     6       A. Okay. Early 2009 or --                                 6 recent times. So I don't know that that would have
     7       Q. Well, I think we'll -- I think we'll get               7 been as big an exception for us, so.
     8   to it, but it's -- let me see if I can find that              8 BY MR. KAWAMOTO:
     9   information for you.                                          9      Q. Okay. But suffice to say that based on
    10           I be -- I believe it is August of 2009.              10 this e-mail chain, this -- this increase -- this
    11       A. Okay. Six months after this, so.                      11 increase didn't draw any increased scrutiny?
    12       Q. Well, actually, sir, that would be nine --            12      MR. O'CONNOR: Objection.
    13   that would be nine months after this, because August         13 BY MR. KAWAMOTO:
    14   of 2009, this is November of 2008.                           14      Q. That you are aware of?
    15       A. Okay.                                                 15      A. I don't know that.
    16       Q. Did -- did anyone do anything to try to               16      Q. Well, sir, as you sit here today, I mean,
    17   verify Mr. Borelli's information about Sunrise?              17   I understand that you said hindsight is 20/20, but as
    18       A. I don't know.                                         18   you sit here today, do you think something should have
    19       Q. In your opinion, should something have                19   been done to scrutinize this customer and this order?
    20   been done to try to verify this information?                 20      MR. O'CONNOR: Objection.
    21       MR. O'CONNOR: Objection.                                 21   BY THE WITNESS:
    22   BY THE WITNESS:                                              22      A. As we sit here today, it's easy to -- to
    23       A. Based on what we know now, yes.                       23   scrutinize or question our judgment, so yes.
    24   BY MR. KAWAMOTO:                                             24             (WHEREUPON, a certain document was

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                                                          Page 294                                                       Page 296
     1              marked Mallinckrodt-Ratliff                       1      Q. -- we can go back to it --
     2              Deposition Exhibit No. 035, for                   2      A. They wanted to go up to that.
     3              identification, as of 12/19/2018.)                3      Q. -- they wanted to go up to it and there is
     4   BY MR. KAWAMOTO:                                             4   no indication that they weren't allowed to and, in
     5      Q. Okay. So this is another long e-mail                   5   fact, isn't that what your sales department was
     6   chain, but I'm going to take it from the -- the back         6   advocating?
     7   going forward. So I'm going to start at Page 307207          7      A. Beginning in January, raise to 12,000
     8   and go up to 307203.                                         8   bottles, yeah. That's a lot.
     9      A. Okay.                                                  9      Q. Okay. So for -- presumably for five
    10      Q. So, if you look at the e-mail on                      10   months or six months, because you got the call from
    11   Page 307207, it is an e-mail from Paul Kleissle to you      11   the DEA in July of 2009 -- I'm sorry -- in July
    12   and Karen. And he says: "When you can, can you give         12   of 2009, you had been shipping them around 15,000
    13   me a call regarding the oxy case?"                          13   bottles of oxy?
    14      A. Right, but --                                         14      MR. O'CONNOR: Objection.
    15      Q. Do you know what the reference to the oxy             15   BY THE WITNESS:
    16   case is?                                                    16      A. Okay.
    17      A. Well, based on the other e-mails, it is               17   BY MR. KAWAMOTO:
    18   going to be Sunrise.                                        18      Q. Okay.
    19      Q. Okay. And then do you see the e-mail on               19           I'm sorry. Actually, if I could direct
    20   Page 307206, and I'll highlight it for you.                 20   your attention to the previous exhibit, so that -- is
    21      A. "The DEA Diversion Group Supervisor                   21   that Exhibit 34 or 35? Okay. So 35.
    22   recommended that we audit Sunrise as soon as possible.      22           It is John Adams e-mailing Cathy Stewart,
    23   Please let me know the best way to accomplish this.         23   Victor Borelli and Karen Harper. He says: "For
    24   Please give me a call to discuss."                          24   suspicious order monitoring, this is a potential

                                                       Page 295                                                       Page 297
     1      Q. So DEA is telling that you need -- telling             1   increase on the horizon."
     2   you that you need to audit Sunrise as soon as                2           Do you -- do you know why he is conveying
     3   possible?                                                    3   that information in the context of suspicious order
     4      A. Yes.                                                   4   monitoring?
     5      Q. Is this an unusual call?                               5       A. You've lost me here.
     6      MR. O'CONNOR: Objection.                                  6       Q. I'm sorry.
     7   BY THE WITNESS:                                              7       MR. O'CONNOR: I think there is no Exhibit 36,
     8      A. We spoke with DEA a lot. I don't know                  8   as far as I know.
     9   that I had ever been asked to go audit someone though,       9   BY MR. KAWAMOTO:
    10   so I will say it is unusual.                                10       Q. Oh, okay. That may be my mistake then. I
    11   BY MR. KAWAMOTO:                                            11   apologize.
    12      Q. Okay. And this is -- as you saw from the              12           Okay. So we are -- we are on
    13   previous e-mail, this is when they were receiving           13   Exhibit 30- --
    14   15,000 bottles of Mallinckrodt oxy product a month,         14       A. 35.
    15   correct?                                                    15       Q. -- 35 and the previous e-mail -- e-mail is
    16      MR. O'CONNOR: Objection.                                 16   Exhibit 34?
    17   BY THE WITNESS:                                             17       A. Correct.
    18      A. I don't know exactly what they were                   18       Q. So looking back at Exhibit 34, this is the
    19   shipping them or if they approved the entire order. I       19   one where you are learning that they are increasing
    20   don't -- I mean...                                          20   their oxy order?
    21   BY MR. KAWAMOTO:                                            21       A. Okay.
    22      Q. Well, but, I mean, looking at the previous            22       Q. At the very bottom of Page 307120, it
    23   e-mail, and we can --                                       23   says: "For the suspicious order monitoring, this is a
    24      A. Okay.                                                 24   potential increase on the horizon."

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                                                           Page 298                                                          Page 300
     1           Do you know -- I mean, who is John Adams?             1 people, not that we had that many people to do that,
     2       A. I don't recall.                                        2 but...
     3       Q. Okay. And why is -- but why is he telling              3      Q.   So that's all for that exhibit.
     4   you and Karen about this increase?                            4      MR. KAWAMOTO: And so this I believe is now
     5       A. At this time I don't remember.                         5 Exhibit 36. Okay.
     6       Q. I mean, as you sit here, you have no                   6            (WHEREUPON, a certain document was
     7   reason to believe that this order was either denied or        7             marked Mallinckrodt-Ratliff
     8   subject to heightened scrutiny?                               8             Deposition Exhibit No. 036, for
     9       MR. O'CONNOR: Objection.                                  9             identification, as of 12/19/2018.)
    10   BY THE WITNESS:                                              10 BY MR. KAWAMOTO:
    11       A. I have no way to know that.                           11      Q.   So I'd like to direct your attention to
    12   BY MR. KAWAMOTO:                                             12 the e-mail at the very back, which would be spanning
    13       Q. Okay. So turning back now to Exhibit 35.              13 Pages 562328 to 562329.
    14       A. Okay.                                                 14   A. Okay.
    15       Q. So the DEA is asking you to audit this                15   Q. Okay. So this bottom e-mail is from
    16   company and this in your recollection is that this the       16 Dwayne Collins to you.
    17   first time that they are -- or this is the first time        17      And who is Dwayne Collins?
    18   you recall them doing that?                                  18      A.   He is a Morristown police officer --
    19       A. Yes.                                                  19      Q.   And what --
    20       Q. Do you see the e-mail in the middle of the            20     A. -- who worked in the HIDTA out of the
    21   page on 307205?                                              21 Morristown resident agency under Kevin Keithly. HIDTA
    22       A. I do.                                                 22 is a high intensity drug trafficking area. And they
    23       Q. Okay. And it says: "Bill, I know that we              23 often are on loan to the FBI to help with
    24   don't want to make this audit 'a cast of thousands',         24 investigations.

                                                       Page 299                                                               Page 301
     1   and assume the scope of audit review will be at a             1       Q. And what is he writing to tell you?
     2   fairly high" -- "a fairly high security and compliance        2       A. He is writing to say that they have a
     3   level?"                                                       3   large amount of 30-milligram oxycodone coming into his
     4           Do you know what Karen means by that?                 4   area and he is asking for my assistance.
     5       A. Not exactly.                                           5       Q. And this oxy 30, it's a Mallinckrodt
     6           What -- what is your question?                        6   product, is it not, sir?
     7       Q. Well, I'm asking about the scope of the                7       A. Oxycodone 30 is, yes.
     8   audit being at a fairly high security and compliance          8       Q. Okay. And then can -- could you please
     9   level, and I guess my question is: Given what you             9   look at the e-mail above that, so at the e-mail at the
    10   know about this company, meaning it's an extremely           10   top of the page, 562328.
    11   small company, it's now asking for 15,000 bottles of         11       A. Yes.
    12   oxy and the DEA has called you up and specifically           12       Q. So who is -- you were able to trace back
    13   said you should audit these, shouldn't your audit be a       13   this product, were you not?
    14   fairly detailed one?                                         14       A. We were, through our system.
    15       MR. O'CONNOR: Objection.                                 15       Q. And that's a chargeback system?
    16   BY THE WITNESS:                                              16       MR. O'CONNOR: Objection.
    17       A. Yes.                                                  17   BY THE WITNESS:
    18   BY MR. KAWAMOTO:                                             18       A. I don't think so. Well, it may have been,
    19       Q. So why would it be a high security and                19   but they -- the SKU on this, and the NDC number, that
    20   compliance -- why would it be at a high level?               20   tells us where it was manufactured, and I don't know
    21       MR. O'CONNOR: Objection.                                 21   if it was through chargebacks we determined those
    22   BY THE WITNESS:                                              22   bottles. I'm not sure it's with that specificity that
    23       A. I really don't know what she is                       23   we are able to track chargebacks.
    24   recommending here, other than not taking in 10 or 15         24   BY MR. KAWAMOTO:

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     1     Q.     Okay.                                                 1 methadone 10-milligram; and 4 hydromorphone. All came
     2     A.     We were able to determine where those                 2 from the customer we discussed except the
     3 shipments were -- went through our Hobart office, and            3 hydromorphone."
     4 this is just from memory.                                        4     Q.   Okay. And the customer is, I think we've
     5     Q.     I see. So you were --                                 5 established, is Sunrise, correct? And that -- that
     6     A.     So they could identify them going to                  6 would be the e-mail that spans 562 and 327.
     7 Sunrise.                                                         7     A.   Okay.
     8     Q.     So the distributor for this product was               8     Q.   Okay. So if you see where I've
     9 Sunrise Wholesale?                                               9 highlighted.
    10     A.     That's where it was shipped to.                      10     A.   "The only shipment of this lot..." I
    11     Q.     Okay. And this is, once again, the same              11 don't know where that is.
    12 company that asked for 15 -- or was receiving 15,000            12     Q.   It is at the very top of the page, 562328.
    13 bottles of oxycodone starting in January of 2009,               13 So it's a --
    14 correct, sir?                                                   14     A.   Okay.
    15     A.     Okay.                                                15     Q.   So you've received a call from a -- from
    16     MR. O'CONNOR: Objection.                                    16 law enforcement in Tennessee?
    17     MR. KAWAMOTO: Okay. Why don't we take a really 17                  A.   Um-hum.
    18 quick break and then we'll come right back.                     18     Q.   And they've identified Mallinckrodt oxy 30
    19     THE VIDEOGRAPHER: We are going off the record               19 in their jurisdiction?
    20 at 5:16.                                                        20     A.   Um-hum.
    21             (WHEREUPON, a recess was had                        21     Q.   And you've traced the -- the product back
    22              from 5:16 to 5:21 p.m.)                            22 to Sunrise Wholesale. Is that accurate?
    23     THE VIDEOGRAPHER: We are back on the record at              23     A.   Yes.
    24 5:21.                                                           24     Q.   Okay. And then in addition, you

                                                            Page 303                                                       Page 305
     1   BY MR. KAWAMOTO:                                               1   communicate again with the officer, Dwayne, and you
     2       Q. Okay. And so this e-mail exchange is                    2   tell him, "Dwayne, the doctor we discussed ordered the
     3   between you and Dwayne Collins of Morristown.                  3   following during the last 12 months, all came from the
     4           And Morristown is in Tennessee, is it not,             4   customer we discussed except the hydromorphone."
     5   sir?                                                           5           And so I just want to clarify that the
     6       A. I believe so.                                           6   customer you are referring to is Sunrise?
     7       Q. So what we are seeing is an example of                  7       A. Okay.
     8   medication that is initially sent to Florida and then          8       Q. And you also have a reference to the
     9   migrates to Tennessee, is that accurate?                       9   doctor, so that means you -- you know, you know both
    10       MR. O'CONNOR: Objection.                                  10   the customer and the end user, is that accurate?
    11   BY THE WITNESS:                                               11       MR. O'CONNOR: Objection.
    12       A. I think that's accurate.                               12   BY THE WITNESS:
    13   BY MR. KAWAMOTO:                                              13       A. I don't know that we've named the doctor
    14       Q. Okay. And then do you see the e-mail --                14   in here, have we?
    15   well, let me highlight it for you. It is going to be          15   BY MR. KAWAMOTO:
    16   on Page 562327.                                               16       Q. Well, you state: "The doctor we
    17       A. Okay.                                                  17   discussed," so presumably you know who he is?
    18       Q. And let me try to -- so can you -- can you             18       A. Okay. I'll go with that.
    19   read that e-mail, sir?                                        19       Q. The final thing I want to note is an
    20       A. Where it says "Dwayne"?                                20   e-mail in the middle of the page that's 562326.
    21       Q. Yes, please.                                           21           Do you see that?
    22       A. "Dwayne, the doctor we discussed ordered               22       A. Yes.
    23   the following during the last 12 months: 78 bottles           23       Q. Okay.
    24   of oxy, 15-milligram; 204 oxy 30-milligram; 20                24       A. "After discussions with his supervisor,

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     1 the DEA Diversion Group Supervisor recommended that we            1   them as a normal customer?
     2 audit Sunrise distributors as soon as possible. The               2       A. I didn't characterize them as a normal
     3 investigation in Eastern Tennessee" -- "Eastern                   3   customer. That's the way they are going to conduct
     4 Tennessee has substantially slowed because of                     4   the audit.
     5 infighting between the subjects. The audit has been               5       Q. Well --
     6 scheduled for August 18th and 19th in Sunrise,                    6       A. What would you suggest?
     7 Florida, which is close to Ft. Lauderdale. The team               7       Q. Well, I mean, I would -- I would have
     8 is being selected and it will be handled like a normal            8   suggested shutting them down, but, you know, that's --
     9 customer audit."                                                  9       A. Um-hum, okay.
    10     Q.    And so the reason I'm noting this is                   10       Q. -- that's between the two of us.
    11 because that the audit is now scheduled for Sunrise?             11       MR. O'CONNOR: Object.
    12     A.    Um-hum.                                                12   BY MR. KAWAMOTO:
    13     Q.    It is August 18th and 19th?                            13       Q. Okay.
    14     A.    Um-hum.                                                14              (WHEREUPON, a certain document was
    15     Q.    And going into this audit you have the                 15               marked Mallinckrodt-Ratliff
    16 following information. You've got an extremely small             16               Deposition Exhibit No. 037, for
    17 company that is a relatively new Mallinckrodt customer           17               identification, as of 12/19/2018.)
    18 that has increased its orders from 2,500 to 15,000,              18   BY MR. KAWAMOTO:
    19 and the product that you are shipping, the oxy product           19       Q. So this is an e-mail chain with an
    20 that you are shipping to them has now appeared in                20   attachment. Its Bates number is 456333. The subject
    21 Tennessee where it's the subject of law enforcement              21   of this e-mail is "Sunrise Customer Chargebacks."
    22 scrutiny.                                                        22           Do you see that, sir?
    23          Is that all accurate?                                   23       A. Yes.
    24     MR. O'CONNOR: Objection.                                     24       Q. Okay. And when you look at the chargeback

                                                             Page 307                                                     Page 309
     1 BY THE WITNESS:                                                   1   data in the attachment --
     2      A. Yes.                                                      2      A. Okay.
     3 BY MR. KAWAMOTO:                                                  3      Q. -- it contains the DEA number, the ship to
     4      Q. Okay. And so for this audit, though, "The                 4   customer name, pricing contract, the SKU, product
     5 team is being selected and it will be handled like a              5   description, the pricing quantity and net sales.
     6 normal customer audit."                                           6          Do you see that, sir?
     7      A. Um-hum.                                                   7      A. Yes.
     8      Q. What do you mean by "a normal customer                    8      Q. Okay. So this tells you who Sunrise
     9   audit"?                                                         9   customers are, doesn't it?
    10      A. Protocols. I mean, they go in and they do                10      MR. O'CONNOR: Objection.
    11   the regular audit. They -- they talk to them about             11   BY THE WITNESS:
    12   their suspicious order monitoring program, who does            12      A. Yes.
    13   that, and at the time I think they told them that they         13   BY MR. KAWAMOTO:
    14   had a -- that's when they -- I think we knew before            14      Q. And it also tells you the product that
    15   that about the DEA agent that assisted in identifying          15   they are ordering is oxy 30?
    16   customers and -- and doing due diligence to ensure             16      A. Correct.
    17   that they were operating correctly.                            17      Q. And it also tells you the amount, the
    18      Q. But based on the information available to                18   pricing quantities, is that what it is?
    19   you at this time, sir, I mean, they are not a normal           19      A. Yes.
    20   customer, are they?                                            20      MR. O'CONNOR: Objection.
    21      MR. O'CONNOR: Objection.                                    21   BY MR. KAWAMOTO:
    22   BY MR. KAWAMOTO:                                               22      Q. Okay. And this is all information that
    23      Q. Based on all of the information you have                 23   you had available to you in advance of your audit, is
    24   about Sunrise, I mean, how -- how can you characterize         24   that correct -- correct, sir?

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                                                          Page 310                                                    Page 312
     1       A. I wasn't involved in the audit, so. The               1      Q. I believe so. You have doctors, you have
     2   persons -- or Karen conducted the audit and so this          2   the number of orders, you have the total quant --
     3   would have been in her possession, so.                       3   quantity and equivalent API.
     4              (WHEREUPON, a certain document was                4      MR. O'CONNOR: Objection.
     5               marked Mallinckrodt-Ratliff                      5   BY MR. KAWAMOTO:
     6               Deposition Exhibit No. 038, for                  6      Q. And you know the -- the measure for total
     7               identification, as of 12/19/2018.)               7   quantity and equivalent APIs, is that essentially the
     8   BY MR. KAWAMOTO:                                             8   number of pills?
     9       Q. So this is another e-mail exchange with an            9      A. I'm still trying to figure out what the
    10   attachment.                                                 10   chart says.
    11       A. Yep.                                                 11      Q. Okay.
    12       Q. Sunrise Chargeback Summary. The Bates                12      A. What's all of the information at the
    13   number is 290041. And it is from Cathy Stewart to you       13   bottom?
    14   and Karen, among others. And then at the top e-mail         14      Q. I think that is a comparative analysis of
    15   it says: "Cathy, Here's the other file....the doctor        15   the API for the different doctors.
    16   in question is in column CX."                               16      A. Say that again.
    17           And if you look at the attachment, sir,             17      Q. I believe that on the assumption that the
    18   which I believe starts on -- starts on Bates                18   total quantity and equivalent API is the measure of
    19   No. 290042, it appears to be a breakdown of the             19   essentially the pills that these doctors have been
    20   doctors along with the comparative amount or the            20   ordering, the chart is going to be the differing --
    21   relative amount that they are purchasing or obtaining       21   the differing volumes of pills that each doctor has
    22   from Sunrise.                                               22   ordered. That's my reading of the chart.
    23           Is that accurate?                                   23      A. So you are saying one has purchased 10
    24       MR. O'CONNOR: Objection.                                24   million pills?
                                                         Page 311                                                       Page 313
     1   BY THE WITNESS:                                              1       Q. I believe so. Where do you see that?
     2      A. I don't know that I -- I don't know really             2       A. Well, on the side where the numbers are,
     3   what this says, just so you know, what the documents         3   when you look at the chart, it is over 10 million.
     4   say. You are saying that they are -- I just want to          4       Q. Yes, I believe that means that they
     5   be clear before I say yes or no.                             5   purchased 10 million in equivalent API.
     6           You are saying that this identifies the              6       MR. O'CONNOR: Objection.
     7   doctors, is that what you are saying?                        7   BY THE WITNESS:
     8   BY MR. KAWAMOTO:                                             8       A. So how does the chart below compare to the
     9      Q. Yes. This attachment.                                  9   above, how do you separate that?
    10      A. So all of these pages?                                10   BY MR. KAWAMOTO:
    11      Q. I believe so. If you look at row one, I               11       Q. Well, I think the -- I think Beretsky, for
    12   believe those are the last names of doctors.                12   example, you have got four orders for 702,000. I
    13      A. Row one. I'm trying to find row one, so.              13   think that's his little block.
    14      Q. Well, I'm sorry. Let me help you out with             14       A. Okay. Okay. I can read that, but what
    15   that, okay. So if you look on the Elmo, I think those       15   does this at the bottom mean?
    16   are doctors.                                                16       Q. I think that is a visual depiction of the
    17      A. So they would be B, C, D, E, is that what             17   total quantity and equivalent API that these doctors
    18   you are saying?                                             18   are obtaining.
    19      Q. Yes.                                                  19       MR. O'CONNOR: Objection.
    20      A. Okay. So let --                                       20   BY MR. KAWAMOTO:
    21      Q. One doctor is in B, another doctor is in              21       Q. And I think if you look at Bates number --
    22   C, and another doctor is in D.                              22   I believe if you can turn to page Bates No. 290048,
    23      A. Okay. I've got that.                                  23   sir, and it's got a -- it would be column CX.
    24           So you've identified those as doctors?              24       A. CX, okay.

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                                                       Page 314                                                      Page 316
     1       Q. So that's Schultz?                                 1   BY MR. KAWAMOTO:
     2       A. Yes.                                               2       Q. Moving over to CW, do you see that column?
     3       Q. And do you see that there underneath it is         3       A. I do.
     4   one and 612,000?                                          4       Q. It's Shook, right?
     5       A. Okay.                                              5       A. Yes.
     6       Q. So I believe that means one order for 612          6       Q. And do you see the volume -- or the volume
     7   API?                                                      7   of API?
     8       MR. O'CONNOR: Objection.                              8       A. If that's what that means, API --
     9   BY MR. KAWAMOTO:                                          9       Q. Okay. So what -- what is the volume
    10       Q. 612,000 API?                                      10   indicated there?
    11       A. Yeah. I don't know how to read the chart,         11       A. So you are saying it's API. I don't know
    12   so I'm going to have to go with -- I don't know what     12   that. It says "12,597,000."
    13   to say. I've never seen this before that I remember,     13       Q. Well, do you know what API means?
    14   and I don't really know what it's stating or how I       14       A. Active pharmaceutical ingredient.
    15   should have been involved in this, so.                   15       Q. Okay. So is that essentially a measure of
    16       Q. Well, but it does indicate for -- I mean,         16   pills?
    17   these are -- you would agree these are the customers'    17       MR. O'CONNOR: Objection.
    18   customers for Sunrise?                                   18   BY THE WITNESS:
    19       MR. O'CONNOR: Objection.                             19       A. I'm trying to see on here where it
    20   BY THE WITNESS:                                          20   specifies that that's API. I --
    21       A. Okay. I -- okay. I -- if that's what you          21   BY MR. KAWAMOTO:
    22   are saying, okay.                                        22       Q. Well, fair enough.
    23   BY MR. KAWAMOTO:                                         23           If you turn to the first page, that's
    24       Q. Well, isn't that a plausible                      24   going to be 209942.

                                                     Page 315                                                      Page 317
     1   interpretation of the e-mail on this chart? I mean --     1            Do you see that?
     2      A. Well, it's plausible. I'm just saying               2       A. Okay.
     3   that I don't know that to be a fact is what I'm           3       Q. And do you see that notation? I'm sorry.
     4   saying.                                                   4   It is a little blurry, but --
     5      Q. Okay. But if you -- assuming this                   5       A. Total quantity equivalent to API in column
     6   cover --                                                  6   three.
     7      A. Should we have known every one of these             7       Q. Well, row three?
     8   customers, did we run a thing at the time, so the         8       A. Row three.
     9   answer is I don't know now, so.                           9            So you are saying that corresponds with
    10      Q. So next to Schultz, do you see column CW?          10   Schultz and Shook or --
    11   Well, actually, let me step back.                        11       Q. Yes. So that --
    12           So column CX is Schultz. Did you ever            12       A. So the column then, again, would be --
    13   recall hearing about a Dr. Schultz?                      13       Q. The value for -- the value for row three
    14      A. I lost the page now, so.                           14   for Shook is as you indicated --
    15      Q. The page is 290048.                                15       A. Okay.
    16      A. Okay.                                              16       Q. -- 12 million?
    17      Q. So column CX with Dr. Schultz.                     17       A. I'll go with that.
    18      A. Um-hum.                                            18       Q. Okay.
    19      Q. Do you ever recall --                              19       A. I understand.
    20      A. This is ten years ago. No.                         20       Q. So Shook is getting 12,597,000, you know,
    21      Q. Okay. Would it surprise you to learn that          21   API or active pharmaceutical ingredients?
    22   Dr. Schultz is in prison?                                22       A. Um-hum.
    23      A. Good.                                              23       Q. Doesn't that strike you as suspicious,
    24      MR. O'CONNOR: Objection.                              24   sir?

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                                                          Page 318                                                            Page 320
     1       A. That's a lot of pills.                                1 BY THE WITNESS:
     2       Q. Given that Mallinckrodt had access to this            2     A.     These just aren't stapled, is that
     3   data, shouldn't they have investigated Mr. Shook?            3 correct?
     4       MR. O'CONNOR: Objection.                                 4 BY MR. KAWAMOTO:
     5   BY THE WITNESS:                                              5     Q.     Yes.
     6       A. Well, what you are saying is this is in               6     MR. O'CONNOR: How many copies do we have?
     7   '08 or '9. I don't know that we were using the               7     MR. KAWAMOTO: We just have two, one for you and
     8   chargeback system for that. I mean, I see that               8 one for the witness.
     9   they've pulled this information and we did an audit,         9 BY MR. KAWAMOTO:
    10   but I don't know that this information was available        10     Q.     So, sir, this is a document Bates numbered
    11   to me or was sent to me personally and said, You need       11 307243. It is titled "Controlled Substance Compliance
    12   to look at this. I know Pete Kleissle with DEA said         12 Suspicious Order Monitoring, Custom" -- "Customer
    13   you need to audit these people right away. So we went       13 Audit Checklist."
    14   down to audit those people.                                 14     A.     Okay.
    15   BY MR. KAWAMOTO:                                            15     Q.     Do you see that, sir? Are you familiar
    16       Q. Well, regardless, certainly -- well,                 16 with this form?
    17   actually, sir, if you -- if you look at the e-mail on       17     A.     I've seen this form. Not this particular
    18   Page 290041 --                                              18 one, but I've seen this form before.
    19       A. Okay.                                                19     Q.     And so this is the audit report for
    20       Q. -- your -- your -- it was actually sent to           20 Sunrise Wholesale, is it not, sir?
    21   you. It was sent to Karen Harper and Bill Ratliff.          21     A.     It appears, yes.
    22       A. Um-hum.                                              22     Q.     And this is the result of the audit that
    23       Q. So you received this information, sir?               23 the DEA urged you to conduct immediately, correct?
    24       A. If this is properly marked, yes. And the             24     A.     Yes.

                                                       Page 319                                                          Page 321
     1   answer is I just don't remember it, so.                      1       Q. Okay. Is it fair to say that Sunrise
     2      Q. Well, shouldn't -- as you sit here today,              2   passed its audit?
     3   shouldn't you have taken a look at Dr. Shook --              3       MR. O'CONNOR: Objection.
     4      MR. O'CONNOR: Objection.                                  4   BY THE WITNESS:
     5   BY MR. KAWAMOTO:                                             5       A. Are there any more pages, just these two?
     6      Q. -- with his 12 million plus API?                       6   BY MR. KAWAMOTO:
     7      MR. O'CONNOR: Objection.                                  7       Q. That's -- that's all we have, sir.
     8   BY THE WITNESS:                                              8       A. Okay. Well, "Does the subject company
     9      A. I mean, that's reasonable.                             9   fill prescriptions issued by practitioners based
    10         May I add something?                                  10   solely on an online questionnaire without a medical
    11   BY MR. KAWAMOTO:                                            11   examination...? Yes. Is the prescribing practitioner
    12      Q. Yes, you can.                                         12   licensed to practice...? Yes. Is there any evidence
    13      A. I'm not certain we were looking at our                13   the physician offers to sell controlled substances
    14   customers' customers during that time, so.                  14   without a prescription? Yes. Does the physician
    15      Q. But you certainly had the capability of               15   charge reasonable prices? Yes."
    16   looking at them had you chosen to do so?                    16           I mean, they were willing to fill it
    17      MR. O'CONNOR: Objection.                                 17   with -- we are missing some pages here. This says
    18   BY MR. KAWAMOTO:                                            18   Page 3. There is nothing in between. This is not a
    19      Q. You got the chargeback reports?                       19   complete audit.
    20      A. That -- that -- yeah, okay.                           20       Q. No, I apologize. I think Page 2 may have
    21            (WHEREUPON, a certain document was                 21   been omitted from there, so why don't we...
    22             marked Mallinckrodt-Ratliff                       22              (WHEREUPON, the document was tendered
    23             Deposition Exhibit No. 039, for                   23               to the witness.)
    24             identification, as of 12/19/2018.)                24   BY THE WITNESS:

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     1       A. Okay. I'm still looking for the place               1 BY MR. KAWAMOTO:
     2   where it says they passed. Can you direct me to that       2     Q. Okay. Now, this audit, does it -- does
     3   page?                                                      3 it -- the audit pages that we have, does it indicate
     4   BY MR. KAWAMOTO:                                           4 any -- does it provide any explanation for how a
     5       Q. Well, I believe this is what I have for             5 Mallinckrodt product that was shipped to Sunrise ended
     6   the audit. It is actually one, two --                      6 up in Tennessee where it was in the possession of law
     7       A. Three pages.                                        7 enforcement?
     8       Q. -- three pages.                                     8     MR. O'CONNOR: Objection.
     9           Is your recollection -- is your                    9 BY THE WITNESS:
    10   recollection that these -- these audits --                10     A. Well, that's my memory that it was sold to
    11       A. I don't recall.                                    11 a doctor and the doctor was, in fact, the person who
    12       Q. -- are more pages?                                 12 was selling those tablets, so that's just from memory.
    13       A. I don't recall. I wasn't on the audit. I           13 So it wasn't directly from Sunrise. It was to their
    14   can't recall even reviewing the completed audit after     14 customer who was selling it to -- to a doctor. And
    15   it was -- after it was completed. I recall talking to     15 it's -- it's just from memory.
    16   Karen and they placed a lot of credence in the DEA        16 BY MR. KAWAMOTO:
    17   person that was assisting them with their -- their        17     Q. But Mallinckrodt knew who Sunrise
    18   business. So later we came to learn that he was not       18 customers were and they knew -- and Mallinckrodt knew
    19   as reputable as one would like, but we didn't know        19 the amount of oxy that customers were provided, isn't
    20   that at the time when she did the audit, so.              20 that correct?
    21       Q. So your understanding or recollection,             21     MR. O'CONNOR: Objection.
    22   though, is that Sunrise passed its audit?                 22 BY THE WITNESS:
    23       A. I don't remember that. I don't know. I             23     A. That's correct.
    24   mean, if they voluntarily gave up their -- their --       24 BY MR. KAWAMOTO:

                                                        Page 323                                                      Page 325
     1 their registration, that would tell me that there was        1       Q. And so does this audit address the fact
     2 some -- some issues, so.                                     2   that Dr. Shook is getting 12 million, 12 million plus
     3       Q. Okay. Well, I'm going to -- this is                 3   API from Sunrise?
     4   another exhibit. And what this is is this is an            4       A. I don't know that that was included. I --
     5   excerpt of chargeback data that was produced to us.        5   I just don't know.
     6       A. Okay.                                               6       Q. Shouldn't it have?
     7       Q. And I've limited it to Sunrise.                     7       MR. O'CONNOR: Objection.
     8             (WHEREUPON, a certain document was               8   BY THE WITNESS:
     9              marked Mallinckrodt-Ratliff                     9       A. It is subjective. I don't know.
    10              Deposition Exhibit No. 040, for                10   BY MR. KAWAMOTO:
    11              identification, as of 12/19/2018.)             11       Q. Looking at these totals and assuming that
    12   BY MR. KAWAMOTO:                                          12   this extrapolation from the -- the data that was
    13       Q. And there are three copies there.                  13   produced is accurate, for a three-year time span, do
    14       A. Let's see if that's everything there. Oh,          14   you see how many pills were provided -- were sent to
    15   here is another. Thank you.                               15   Florida, that's going to be Total Sales Quantity
    16       Q. So the chargeback -- looking at Page 1 of          16   Government UOM?
    17   2, the chargeback system indicates that they received     17       A. I see those figures.
    18   in 2010, 21,368,000 sales in terms of government UOM.     18       Q. And so what -- what figure is that?
    19           So given that the audit was conducted in          19       A. At the bottom?
    20   2009 and they were receiving product in 2010, does        20       Q. Yes.
    21   that indicate they passed?                                21       A. Total Sales Quantity Government UOM --
    22       MR. O'CONNOR: Objection.                              22   UOM, is that it or...?
    23   BY THE WITNESS:                                           23       Q. That's correct.
    24       A. That would -- that would be logical.               24       A. 49,348,900.

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     1       Q. And then do you see Florida Percentage                  1     A.    So it's not all just oxy 30s. It's oxy
     2   Sales Quantity Government UOM? And I will represent            2 15s and 30s?
     3   to you that my understanding is that's the percentage          3     Q.    Yes.
     4   of their total sales that went to Florida.                     4     A.    Okay.
     5       MR. O'CONNOR: Objection.                                   5     Q.    And they -- their order was for 3,000
     6   BY THE WITNESS:                                                6 bottles of oxy 15 starting January of 2009, sir.
     7       A. 49,196,500.                                             7          Do you recall that?
     8   BY MR. KAWAMOTO:                                               8     MR. O'CONNOR: Objection.
     9       Q. Or 99.7 percent?                                        9 BY THE WITNESS:
    10       MR. O'CONNOR: Objection.                                  10     A.    Yes.
    11   BY MR. KAWAMOTO:                                              11 BY MR. KAWAMOTO:
    12       Q. Do you recall the e-mail where Victor                  12     Q.    So my question is: We've now spent a fair
    13   Borelli said the justification for their increase in          13 amount of time looking in detail at Sunrise --
    14   orders is because they were expanding to other states?        14     A.    Um-hum.
    15   Do you recall that, sir?                                      15     Q.    -- both how Mallinckrodt decided to do
    16       A. I recall reading that, yes.                            16 business with them and how Mallinckrodt responded when
    17       Q. Okay. Does that appear accurate based on               17 it started receiving information regarding them, and,
    18   this chargeback data?                                         18 you know, and the fact that Mallinckrodt did an audit
    19       MR. O'CONNOR: Objection.                                  19 of Sunrise and they presumably passed.
    20   BY THE WITNESS:                                               20          So my question to you, sir, is doesn't
    21       A. Based on the chargeback data, it would                 21 this suggest a problem with Mallinckrodt's screening
    22   not.                                                          22 of its customers and its audit process?
    23   BY MR. KAWAMOTO:                                              23     MR. O'CONNOR: Objection.
    24       Q. So once -- so it appears that Victor was               24 BY THE WITNESS:

                                                         Page 327                                                                Page 329
     1 saying whatever he needed to do to make a sale, is               1     A.    You are talking about one distributor.
     2 that fair?                                                       2 BY MR. KAWAMOTO:
     3       MR. O'CONNOR: Objection.                                   3     Q.    One distributor that sent 49 million pills
     4   BY THE WITNESS:                                                4 to Florida over a three-year span, sir.
     5       A. That's not for me to judge, so.                         5     A.    Um-hum.
     6   BY MR. KAWAMOTO:                                               6     MR. O'CONNOR: Same objection.
     7       Q. But that's what the data suggests, sir,                 7 BY MR. KAWAMOTO:
     8   isn't it?                                                      8     Q.    Doesn't that strike you as troubling?
     9       MR. O'CONNOR: Objection.                                   9     MR. O'CONNOR: Objection.
    10   BY MR. KAWAMOTO:                                              10 BY THE WITNESS:
    11       Q. Sir, they shipped 99.7 percent of their                11     A.    Based on what we know today, yes.
    12   product to Florida. That was 49 mil -- 49 million             12     MR. KAWAMOTO: Okay. Why don't we take a quick
    13   plus of UOM, which I assume had some relationship to          13 break.
    14   pills, and they passed an audit. They passed                  14     THE VIDEOGRAPHER: Going off the record at 5:54.
    15   Mallinckrodt's audit.                                         15            (WHEREUPON, a recess was had
    16            Doesn't that suggest problems with your              16             from 5:54 to 6:05 p.m.)
    17   audit system?                                                 17     THE VIDEOGRAPHER: We are back on the record at
    18       MR. O'CONNOR: Objection.                                  18 6:05.
    19   BY THE WITNESS:                                               19     MR. O'CONNOR: And before we get started again,
    20       A. So you have two different sheets. And so               20 I just wanted to say, as the witness has mentioned, he
    21   you are doing Oxycodone HCL 15-milligram tablets. So          21 is getting up there in years and he is physically
    22   you are combining those for Florida?                          22 getting tired, so we would appreciate anything that
    23   BY MR. KAWAMOTO:                                              23 you can do and your colleague to -- to move along.
    24       Q. Yes.                                                   24     MR. KAWAMOTO: Sure. Well, this is the last

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     1 exhibit that I have, so. I mean, I can -- I can tell                1      Q. Okay. What about the second statement,
     2 you that.                                                           2   "Detect and report to the DEA orders of unusual size
     3     MR. O'CONNOR: Yeah.                                             3   and frequency"?
     4             (WHEREUPON, a certain document was                      4      A. I have been retired a long time. I don't
     5             marked Mallinckrodt-Ratliff                             5   know what that means, but...
     6             Deposition Exhibit No. 041, for                         6      Q. Okay. Turning to Page 3, do you see
     7             identification, as of 12/19/2018.)                      7   paragraph (b)?
     8 BY MR. KAWAMOTO:                                                    8      A. What did you say?
     9     Q. So, Mr. Ratliff, and I appreciate that we                    9      Q. Paragraph (b) on Page 3, it says: "With
    10 have been going at this for a while, this is the last              10   respect to the manufacture of controlled substances at
    11 exhibit, and the document that I've handed you is the              11   Mallinckrodt's Hobart, New York facility."
    12 Administrative Memorandum of Agreement between the DEA 12                  A. Are you saying (b)?
    13 and Mallinckrodt.                                                  13      Q. (b), (b) as in boy.
    14         Are you aware that Mallinckrodt has                        14      A. (b), I'm sorry. I thought you said (e).
    15 entered into a settlement with the Drug Enforcement                15          Okay.
    16 Administration?                                                    16      Q. Okay. And do you see the paragraph
    17     A. When, when was this?                                        17   underneath it that says: "Failure to take actual
    18     Q. I believe if you check the back date, it                    18   weights of controlled substances at all stages of the
    19 was in 2017, July of 2017.                                         19   manufacturing process"?
    20     A. No.                                                         20      A. I do.
    21     Q. Okay.                                                       21      Q. Were you aware of any concerns by the DEA
    22     A. I've been retired since '12.                                22   regarding this topic?
    23     Q. Okay. So if you turn to Page 2 of this                      23      A. No.
    24 agreement, do you see "Covered Conduct"?                           24      Q. Okay. Do you see Topic ii: "Use of a

                                                        Page 331                                                              Page 333
     1       A. Page 2?                                                    1 'target' tablet weight for purposes of rec" -- "of
     2       Q. Yes, Page 2.                                               2 reconciling batch records and determining the number
     3       A. Okay.                                                      3 of units of finished form manufactured even though the
     4       Q. And it is going to be Paragraph 3, Covered                 4 average weight of the tables in any specific batch
     5   Conduct.                                                          5 sometimes deviated from the target weight"?
     6       A. Okay.                                                      6           Do you see that paragraph?
     7       Q. Okay. And then it's got subheading, do                     7      A. I do.
     8   you see the little paragraph (a)?                                 8      Q. Do you have -- were you aware of any
     9       A. Um-hum.                                                    9   concerns from the DEA regarding that topic?
    10       Q. And it says: "With respect to its                         10      A. No.
    11   distribution of oxycodone and hydrocodone products,              11      Q. Okay. What about Topic iii: "Commingling
    12   Mallinckrodt's alleged failure to distribute these               12   of dust collector waste and assignment of dust
    13   controlled substances in a manner authorized by its              13   losses"?
    14   registration and Mallinckrodt's alleged failure to               14      A. No.
    15   operate an effective suspicious order monitoring                 15      Q. Okay. What about Topic iv: "Failure to
    16   system and report suspicious orders to the DEA when              16   check-weigh controlled substances received into the
    17   discovered as required by and in violation of 21 CFR             17   facility"?
    18   1301.74(b). The above is includes, but not limited               18      A. No.
    19   to, Mallinckrodt's alleged failure to." And then the             19      Q. Okay. Topic v: "Failure to maintain
    20   first, the little (i) is "conduct adequate due                   20   accurate records of substances transferred from the
    21   diligence of its customers."                                     21   manufacturing process to Mallinckrodt's analytical
    22            Do you have any knowledge of the factual                22   laboratories"?
    23   basis for that statement?                                        23      A. No.
    24       A. I don't.                                                  24      Q. You have no knowledge of that, okay.

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     1          What about any knowledge of Topic vi:                1 minute?
     2   "Failure to include substances held in certain              2     MS. HERZFELD: Yeah, let's go off the record for
     3   vaults/storage as part of the biennial inventory"?          3 a minute.
     4      A. No.                                                   4     THE VIDEOGRAPHER: We are going off the record
     5      Q. Okay. And I believe you testified                     5 at 6:14.
     6   previously that you were not interviewed by the DEA or      6             (WHEREUPON, a recess was had
     7   DOJ in connection with this settlement agreement or         7              from 6:14 to 6:19 p m.)
     8   this Administrative Memorandum of Agreement?                8     THE VIDEOGRAPHER: We are back on the record at
     9      A. Correct.                                              9 6:19.
    10      Q. Okay. So you have no knowledge of the                10 BY MS. HERZFELD:
    11   basis for this agreement?                                  11     Q.     Okay. Mr. Ratliff, we are back on the
    12      A. No. I was retired many years and...                  12 record. And before we took a break and you had a
    13      Q. Okay.                                                13 chance to speak with your counsel, you were saying you
    14      A. And I was not -- they had a security                 14 were a bit tired, and I understand that we have been
    15   manager in Hobart and so I really wasn't involved.         15 here the whole day.
    16      Q. Okay. So that concludes my -- my                     16     A.     Sure.
    17   examination. Thank you for your time, sir.                 17     Q.     But this is probably my only opportunity
    18      A. Sure.                                                18 to examine you, so --
    19      MR. KAWAMOTO: Andrew, I would note that, as I           19     A.     That's fine.
    20   indicated to Jennifer Patina yesterday, we are             20     Q. -- or to examine you at all.
    21   objecting to the late production of documents. I           21       So you -- you are fine going forward this
    22   believe it's 45 documents or 400 pages, and so we are      22 evening and that's not going to prevent --
    23   reserving our rights on that issue.                        23    A. I am.
    24      MR. O'CONNOR: Okay. I'll just state for the             24     Q.     -- you being able to give accurate and

                                                       Page 335                                                            Page 337
     1 record, you had them with plenty of time to review 45         1 complete testimony today?
     2 documents, but I understand your objection.                   2     A.     That's -- that's absolutely correct.
     3     MR. KAWAMOTO: Okay.                                       3    Q. Okay. Great. Fantastic.
     4     THE VIDEOGRAPHER: We are going off the record             4    MS. HERZFELD: I just want to lodge our
     5 at 6:10 p m.                                                  5 continuing objection to the late disclosure of
     6           (WHEREUPON, a recess was had                        6 documents in this case and also continue with our
     7         from 6:10 to 6:13 p m.)                               7 objection from the Tennessee State case that it's
     8    THE VIDEOGRAPHER: We are back on the record at             8 under different -- different rules, same objections
     9 6:13.                                                         9 we've made to every deposition.
    10               EXAMINATION                                    10     MR. O'CONNOR: And we would repeat our response.
    11 BY MS. HERZFELD:                                             11 You had plenty of time to review the documents and we
    12     Q. Okay. Mr. Ratliff, good evening. My name              12 are complying with all relevant rules and protocol.
    13 is Tricia Herzfeld, and I'm an attorney representing         13     MS. HERZFELD: Great. Okay. We'll move along.
    14 the Plaintiffs in Tennessee in the Tennessee State           14 BY MS. HERZFELD:
    15 litigation.                                                  15     Q.     Mr. Ratliff, have you ever been to
    16         How are you doing this evening?                      16 Tennessee?
    17   A. I'm tired.                                              17     A.     I have.
    18   Q. Yeah. I've offered to your attorneys that               18     Q.     Okay. For business or for pleasure?
    19 we could reset this for tomorrow morning.                    19     A.     Both.
    20        Are you fine going ahead now?                         20    Q. Okay. And when have you been for
    21     A. I'm willing to do it tomorrow. I mean,                21 business?
    22 I'm worn out.                                                22   A. We audited FedEx in -- in Memphis to see
    23     Q. Do you want to take --                                23 how our packages were handled.
    24     MR. O'CONNOR: Can we go off the record for a             24   Q. Okay. Is that the only time for business?

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     1      A. I might have been there more than once to             1      A. At this time I don't recall.
     2   the FedEx hub. I don't recall exactly when or the           2      Q. Okay. And in that one dealing with
     3   dates.                                                      3   Morristown, that officer actually approached
     4      Q. Did you ever go to anyplace other than the            4   Mallinckrodt, Mallinckrodt didn't approach the
     5   FedEx in Memphis for business in Tennessee?                 5   officer, is that correct?
     6      A. No.                                                   6      A. That's correct.
     7      Q. Okay. And then --                                     7      Q. Okay. And you mentioned the HIDTA. Do
     8      A. To the best of my knowledge.                          8   you know what that is?
     9      Q. Do you know roughly what year that audit              9      A. HIDTA?
    10   was of the FedEx in Memphis?                               10      Q. HIDTA, is that how you call it?
    11      A. Not a clue.                                          11      A. It is high intensity drug trafficking
    12      Q. And how often have you gone for vacation,            12   area.
    13   pleasure?                                                  13      Q. Okay. And have you heard it called the
    14      A. I've been to Nashville. I drive through              14   Appalachian high intensity drug trafficking area?
    15   there frequently because I live in Florida --              15      A. I have not.
    16      Q. Okay.                                                16      Q. Do you know if there are certain drug --
    17      A. -- and I have a home here, so we travel              17   high drug trafficking areas across the country?
    18   through Tennessee often.                                   18      A. There are.
    19      Q. Okay. And here is Indiana?                           19      Q. Okay. And do you know how it is the DEA
    20      A. Here is Indiana.                                     20   makes those classifications?
    21      Q. Okay. Great.                                         21      MR. O'CONNOR: Objection.
    22           And have you ever been to upper East               22   BY THE WITNESS:
    23   Tennessee, the Appalachian portion of Tennessee?           23      A. I'm not certain I understand your
    24      A. I've traveled through there through                  24   question.
                                                         Page 339                                                           Page 341
     1   Knoxville, through Pigeon Forge. I've actually              1 BY MS. HERZFELD:
     2   vacationed in -- close to Pigeon Forge in a log cabin.      2     Q.   Sure.
     3   I've traveled through that area going to play golf          3         Do you know how a particular area ends up
     4   in -- in North Carolina.                                    4 classified as a high intensity drug trafficking area
     5       Q. Okay. Have you ever made a report to                 5 based on your law enforcement experience?
     6   Tennessee law enforcement about any opioid diversion        6     A.   Well, normally those are associated with
     7   or any suspected diversion?                                 7 the FBI.
     8       A. No.                                                  8   Q. Okay.
     9       Q. Okay. Have you ever heard of anyone at               9   A. So, if we have a drug problem in that area
    10   Mallinckrodt making, pardon me, a report to law            10 we have assessed, then we collaborate with local law
    11   enforcement in Tennessee about suspected opioid            11 enforcement, state and local, and bring them in
    12   diversion?                                                 12 because of their specific expertise in those areas. A
    13       A. Well, I might need to correct that. I               13 lot of times the FBI wouldn't have the street
    14   dealt with one of the officers there who was               14 knowledge as officers would, so we bring them in to --
    15   associated with HIDTA, and I assisted him with an          15 to help with the investigations.
    16   investigation. We had located bottles that contained       16     Q.   Okay. So based on your training,
    17   identifying information that led it back to -- to one      17 knowledge and experience in law enforcement, would you
    18   of the distributors in Florida.                            18 consider counties that have been designated within a
    19       Q. Okay. And that was that Morristown e-mail           19 particular high intensity drug trafficking area for
    20   that you discussed earlier in your testimony today?        20 that to be a reliable indicator that there is drug
    21       A. That's correct.                                     21 problems within those -- within those counties?
    22       Q. Okay. And other than that investigation,            22     MR. O'CONNOR: Objection.
    23   have you been involved in any other investigations         23     MS. DURFEE: Object to form.
    24   involving diverted opioids in Tennessee?                   24 BY THE WITNESS:


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     1       A. I think I would agree with that. Those              1   person?
     2   are all over the country, though. They are not just        2       A. That individual had been the special agent
     3   in Tennessee.                                              3   in charge of the FBI in St. Louis and also in Miami,
     4   BY MS. HERZFELD:                                           4   Florida. Do I know his name, no. I can't recall it.
     5       Q. Okay. Were you ever involved in -- or had           5       Q. Did you have --
     6   you ever reported anyone in Tennessee to a licensing       6       A. At one time I did know it, so.
     7   board?                                                     7       Q. That's okay.
     8       A. Personally, no.                                     8           So you knew it at one point, you just
     9       Q. Yes, sir.                                           9   can't remember it as we sit here today?
    10           Do you know if anybody at Mallinckrodt            10       A. Correct.
    11   has?                                                      11       Q. Okay. And did you have any overlap at
    12       A. I don't know.                                      12   all, the two of you?
    13       Q. Okay. Do you know -- know whether                  13       A. We did, but I was actually -- they kept
    14   Mallinckrodt looks at media reports to gain               14   delaying my retirement and I worked the last three
    15   information about pharmacies engaged in suspected         15   months from home, and he really didn't need any
    16   diversion?                                                16   overlap or training.
    17       A. I don't know that.                                 17       Q. Okay. And all your files, did you leave
    18       Q. Okay. Have you ever personally done that,          18   those at Mallinckrodt?
    19   sir?                                                      19       A. Yes.
    20       A. No.                                                20       Q. So if he needed any information about
    21       Q. Okay. What about looking at media reports          21   pharmacies or distributors that you suspected of
    22   to gain information about physicians suspected of         22   diversion, that would have been contained within
    23   diversion?                                                23   your -- your files?
    24       A. Personally?                                        24       A. Correct.
                                                        Page 343                                                         Page 345
     1      Q. Yes, sir.                                            1       Q. Okay. And he would have had access to
     2      A. No.                                                  2   those files, to your knowledge?
     3      Q. Okay. Do you know if anyone else had that            3       A. To the best of my knowledge.
     4   responsibility at Mallinckrodt?                            4       Q. Okay. And you spoke a little before, I
     5      A. I know that we looked at doctors and we              5   just want to clarify this, because I'm not quite sure
     6   had people that would do that, so.                         6   I understood it, you -- I've got it down here, whether
     7      Q. Do you know who that was?                            7   a pharmacy -- you spoke about whether a pharmacy
     8      A. I think Karen Harper would be involved in            8   should be continuing as a customer of your customer,
     9   that program and...                                        9   the distributor, and that you guys could block that.
    10      Q. Do you know of anybody else?                        10       MR. O'CONNOR: Objection.
    11      A. Not -- not immediately, no.                         11   BY MS. HERZFELD:
    12      Q. Okay.                                               12       Q. Did I understand that correctly?
    13           Okay. And did you ever review the                 13       A. What we would do, we would recommend to
    14   decisions of licensing boards about physicians or         14   our -- the distributor, it was our distributor, one of
    15   pharmacies in doing your job at Mallinckrodt?             15   our customers, we could say, We are going to deny
    16      A. No.                                                 16   chargebacks, and so that distributor normally would
    17      Q. Okay. And you retired in 2012?                      17   then deny product to that particular end user, which
    18      A. Correct.                                            18   would be a pharmacy.
    19      Q. Okay. Was there someone who replaced you?           19       Q. Okay. And do you ever know of a time that
    20      A. Yes.                                                20   you recommended that the -- that the chargebacks be
    21      Q. Okay. Who was that?                                 21   denied and the distributor continued to -- to service
    22      A. I have no idea.                                     22   that -- that client?
    23      Q. Okay. Do you know if there was a                    23       A. No, because I got many, many, many calls
    24   transition plan in place to go from you to that           24   in the evening and during the day from pharmacies that

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     1   had been refused oxycodone or hydrocodone or our            1   various charts that were created, is that correct?
     2   products and they wanted -- their distributors told         2      A. Various charts, I'm not certain what that
     3   them that it was my fault, that we did it, and I would      3   means. I received that information based on those
     4   instruct them they needed to talk to their                  4   three distributors.
     5   distributor, show them what they were doing                 5      Q. Okay. So if you'll turn with me to the
     6   differently, convince them that they were a -- a            6   page that's marked MNK_TNSTA05224022, it's about
     7   trustworthy customer, and then they would come back         7   halfway through. It looks like this.
     8   and try to convince us.                                     8      A. I have it.
     9      Q. Okay. And --                                          9      Q. Do you recognize this document, sir?
    10      A. I don't know that that ever happened.                10      A. I do.
    11      MS. KVESELIS: Late objection.                           11      Q. Okay. And what do you recognize it to be?
    12   BY THE WITNESS:                                            12      A. Well, this is the -- the pharmacies that
    13      A. Okay.                                                13   they identified.
    14   BY MS. HERZFELD:                                           14      Q. Okay. So that would be like the top
    15      Q. Okay. Yeah, I'm going to go through some             15   pharmacies nationwide?
    16   documents with you, and hopefully we'll get through        16      A. In Florida, yes, where we were
    17   them pretty quickly, okay.                                 17   concentrating initially.
    18      A. Okay.                                                18      Q. Okay. And then looking at starting on
    19      Q. I know it looks bad that there is so many            19   this Page 4022, that ends in 4022, it looks like there
    20   but that's because I brought five copies, so it is not     20   are a whole bunch much pharmacies on there that are
    21   as bad as it looks.                                        21   also not in Florida.
    22      A. That's fine.                                         22          Do you see where I am referring?
    23      Q. Okay. I'm going to hand you what we are              23      A. I do.
    24   going to mark as -- I don't know what exhibit we are       24      Q. Okay. And so is it possible that this --

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     1 on -- what we've marked as Plaintiff's Exhibit 42 --          1   this chart is, indeed, the -- the list of the top
     2 or I guess Ratliff Exhibit 42.                                2   pharmacies in all of the country?
     3             (WHEREUPON, a certain document was                3      MR. O'CONNOR: Objection.
     4              marked Mallinckrodt-Ratliff                      4   BY THE WITNESS:
     5              Deposition Exhibit No. 042, for                  5      A. I recognize -- this is not the list that I
     6              identification, as of 12/19/2018.)               6   had, just so you know.
     7   BY THE WITNESS:                                             7   BY MS. HERZFELD:
     8      A. Okay.                                                 8      Q. Okay.
     9   BY MS. HERZFELD:                                            9      A. So the list I had was very specific to
    10      Q. Okay. So my understanding from your                  10   those three distributors.
    11   previous testimony is that after the August 23rd           11      Q. Okay. Maybe --
    12   meeting, 2011 meeting with the DEA, there were various     12      A. And it was a much smaller list. It didn't
    13   reports that were pulled on the top pharmacies within      13   contain all of these --
    14   Florida and then the top pharmacies outside of             14      Q. Okay. So maybe --
    15   Florida, is that correct?                                  15      A. -- which --
    16      MR. O'CONNOR: Objection.                                16      Q. I don't mean to interrupt you. Sorry. Go
    17   BY THE WITNESS:                                            17   ahead.
    18      A. It would be the -- we went to the top                18      A. Well, we started in Florida and then we
    19   three distributors.                                        19   started doing investigations in other parts of the
    20   BY MS. HERZFELD:                                           20   country.
    21      Q. Okay.                                                21      Q. Okay. So looking at this page and then
    22      A. And looked at their -- their top ten                 22   kind of flipping through, it looks like there are
    23   customers that ordered product in Florida.                 23   quite a few, if you'll take a moment, pharmacies that
    24      Q. Okay. And then based on that, there were             24   are located in Tennessee. Specifically I'm looking at

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     1   15 lines down on that first page. It indicates Lowe's        1      A. Right, but I don't know that I've ever
     2   Drugs in Maryville, Tennessee.                               2   seen this list.
     3           Do you see where I'm talking about? It is            3      Q. Okay. But my question is you would agree
     4   right under that last little checkmark. Maybe my             4   with me that they are identified in this?
     5   highlighting will show you.                                  5      A. Yes.
     6       A. Okay.                                                 6      Q. Okay. Thank you, sir.
     7       Q. And then if you go down kind of midway                7          Okay. And then switching over to the
     8   through the page, there is another one, Riggs Ten- --        8   page that I think this might be more of what you were
     9   Riggs Drug in Powell, Tennessee.                             9   thinking about, the very first page, the one marked
    10           Do you see where I'm at there? Do you see           10   MNK_TNSTA05224016, the very first page.
    11   that, sir?                                                  11      A. Okay.
    12       A. I haven't found it yet. I'm looking.                 12      Q. Do you see it?
    13       Q. Okay. If you look at the fourth kind                 13      A. I do.
    14   of -- there is like a dashed line on the side, it is        14      Q. Okay. And on this list do you recognize
    15   the second above that.                                      15   what this chart is?
    16       A. And what's the name?                                 16      A. I don't recall it, so.
    17       Q. Riggs Drug.                                          17      Q. Okay. Have you ever -- do you recall
    18       A. I found that. Okay.                                  18   seeing ever a chart that has on the various
    19       Q. In Powell, Tennessee.                                19   distributors broken down by three-digit zip code?
    20       A. Okay.                                                20      A. No.
    21       Q. And if you flip through for the various              21      Q. Okay. And do you recall having these
    22   other pages, and I won't spend the time going through       22   reports run as being part of a diversion prevention
    23   each one, I would submit to you that there are various      23   program?
    24   other pharmacies in Tennessee.                              24      MR. O'CONNOR: Objection.

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     1       A. Um-hum.                                               1   BY THE WITNESS:
     2       Q. Do you agree with me there?                           2       A. I don't know when these were run, so.
     3       A. Say again.                                            3   BY MS. HERZFELD:
     4       Q. That there are other pharmacies in                    4       Q. Okay.
     5   Tennessee on this list for top pharmacies in the             5       A. Do you know?
     6   country, would you agree with that statement?                6       Q. I -- I don't have a date on this. Sorry.
     7       A. Well, are you saying there were two on                7       A. Yeah, so, you have to remember I've been
     8   that front page?                                             8   retired six-and-a-half years, so.
     9       Q. Um-hum.                                               9       Q. Sure. I understand.
    10       A. And then on this page there are additional           10       A. I don't know if this was run before or I
    11   ones, is that what you are saying?                          11   just don't know the answer to that.
    12       Q. Yes, sir.                                            12       Q. I believe it was in your custodian file,
    13            If you look at the fifth pharmacy?                 13   so I thought you might know.
    14       A. Um-hum.                                              14           You don't know?
    15       Q. -- LaFollette --                                     15       A. In my custodian file?
    16       A. Yep.                                                 16       Q. I believe so, sir, yes.
    17       Q. -- in Tennessee, do you see that one?                17       A. My personal custodian file?
    18            And then about the 10th or 11th, there is          18       Q. I believe so, yes, sir.
    19   another one, Macs Pharmacy, Knoxville.                      19       A. Well, I would probably disagree with that
    20            Do you see that?                                   20   because I don't think so.
    21       A. I do.                                                21       Q. You don't think this is a document --
    22       Q. Okay. So you would agree with me that                22       A. This was not -- this could have been in
    23   there are multiple Tennessees -- pharmacies on this         23   the DEA compliance file which is not mine.
    24   list of top pharmacies within the country?                  24       Q. Okay. So what you are saying is you don't

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     1 recognize this and you didn't create it?                    1      A.    Okay.
     2      A. Correct.                                            2      Q.    Do you recall being involved in that --
     3      Q. Okay. And you don't think you have ever             3      A.    I do.
     4   seen it before?                                           4      Q.    -- audit?
     5      A. Correct.                                            5           Okay. Do you recall taking notes in --
     6      Q. Okay. Well, then I guess we'll move on.             6   during your participation in that audit, sir?
     7           Do you have any idea who might have               7      A. I would normally and usually take notes.
     8   created it?                                               8      Q. You would usually?
     9      A. I don't know. But I assure you this                 9      A. Yes.
    10   wasn't in my file.                                       10      Q. Okay. And do you know what happened to
    11      Q. Okay, sir.                                         11   your notes?
    12           Okay. Moving along then, do you know             12      A. I don't.
    13   specifically about there being an opioid problem in      13      Q. Okay. I'm going to hand you what we will
    14   Appalachia?                                              14   mark as Exhibit 43.
    15      MR. O'CONNOR: Objection.                              15              (WHEREUPON, a certain document was
    16   BY THE WITNESS:                                          16               marked Mallinckrodt-Ratliff
    17      A. I have seen news reports to that effect.           17               Deposition Exhibit No. 043, for
    18   BY MS. HERZFELD:                                         18               identification, as of 12/19/2018.)
    19      Q. Okay. And have you seen those during your          19   BY MS. HERZFELD:
    20   time when you were employed at Mallinckrodt or since     20      Q. Do you recognize this document, sir?
    21   you've left?                                             21      A. Yes.
    22      A. Since I've left.                                   22      Q. Okay. And there is some handwritten notes
    23      Q. Okay. Were you aware of the opioid                 23   that are on this document. Is that your handwriting?
    24   problem in Appalachia at that time that you were         24      A. No.

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     1 employed at Mallinckrodt?                                   1       Q. Do you know whose it is?
     2     A.   I think I know there were problems in West         2       A. No.
     3 Virginia, I think there were problems in other states,      3       Q. Okay. Did you prepare this document
     4 but most of that, to my memory, was after I left            4   absent the handwriting?
     5 Mallinckrodt.                                               5       A. The problem I'm having is I don't ever
     6       Q. Okay. Did you ever --                              6   recall going to Jabos Pharmacy, Jabos Pharmacy in
     7       A. Actually left Covidien, Mallinckrodt being         7   Newport, Tennessee. I have no memory of that at all.
     8   one of the corporations.                                  8       Q. Okay. Well, let's just go through this
     9       Q. Okay. Did you ever -- other than your              9   sheet for a second. So this --
    10   conversation with the gentleman in Morristown, did you   10       A. Source of information, AmerisourceBergen.
    11   know about there being an opioid problem in Tennessee?   11   What they do, just to be helpful, they provide this
    12       MR. O'CONNOR: Objection.                             12   information to us.
    13   BY THE WITNESS:                                          13       Q. Okay.
    14       A. I don't know that I knew specifically that        14       A. So this information would have come to us
    15   they had an opioid problem. I knew that there was an     15   from AmerisourceBergen.
    16   opioid problem in Florida, so.                           16       Q. Okay.
    17   BY MS. HERZFELD:                                         17       A. So what's -- 10/17 of '11. Well, it says
    18       Q. Okay. Do you recall participating in the          18   I prepared the document. This document came from
    19   auditing of ABC, a distributor named ABC?                19   AmerisourceBergen and was sent to us.
    20       A. AmerisourceBergen Corporation, yes.               20       Q. Okay. So I want to make sure I
    21       Q. Yes, AmerisourceBergen -- no. ABC?                21   understand.
    22       A. Now, is that a pharmacy?                          22           So this document is a Pharmacy Information
    23       Q. Oh, no. It is AmerisourceBergen, yes,             23   Sheet for Jabos Pharmacy in Newport, Tennessee, is
    24   sir. ABC, yes.                                           24   that correct?

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     1       A. Correct.                                                  1       Q. Okay.
     2       Q. And it is dated 10/17/11, is that correct?                2       A. So -- so this is one of our Pharmacy
     3       A. That's correct.                                           3   Information Sheets that we had AmerisourceBergen fill
     4       Q. Okay. And you believe that the                            4   out and give to us or at least the information. So
     5   information contained within this worksheet came from            5   it's possible that I -- I had it typed up, so.
     6   AmerisourceBergen Health, is that correct?                       6       Q. Okay. Okay. So now that we've
     7       A. Well, it says: "Source of information:                    7   established that and that it is your handwriting on --
     8   AmerisourceBergen Health."                                       8   let's go through it a little bit, if we could, okay.
     9       Q. And when it says: "Prepared by: B.                        9       A. 10/17 of '11.
    10   Ratliff," is it possible you got that information from          10       Q. So here at the bottom it says --
    11   them and typed it up?                                           11       A. Okay.
    12           Why would it say prepared by you?                       12       Q. -- "Karen Harper Notes."
    13       MR. O'CONNOR: Objection.                                    13           Do you know where "Karen Harper Notes"
    14   BY THE WITNESS:                                                 14   comes from? What does that mean?
    15       A. I'm stumped because I don't...                           15       A. They came from Karen Harper.
    16   BY MS. HERZFELD:                                                16       Q. Okay. And so she -- these are her notes
    17       Q. Well, at the very least you would have                   17   inputted into this --
    18   been responsible for reviewing this sheet, is that              18       A. Um-hum.
    19   correct, sir?                                                   19       Q. -- chart, is that correct, this sheet?
    20       MR. O'CONNOR: Objection.                                    20       A. We conducted the audit together.
    21   BY THE WITNESS:                                                 21       Q. Okay. So is this, perhaps, a summary of
    22       A. Okay. Let's go back to the handwriting.                  22   your notes and Karen Harper's notes?
    23   "Need to visit, leave on CB list." What I was saying            23       MR. O'CONNOR: Objection.
    24   in that list -- that is my writing.                             24   BY THE WITNESS:

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     1 BY MS. HERZFELD:                                                   1      A. It appears that these are Karen's notes.
     2      Q.    That is your handwriting, sir, the                      2   BY MS. HERZFELD:
     3 handwriting?                                                       3      Q. Where it says "Karen Harper's Notes"?
     4      A.    It is.                                                  4      A. Yes.
     5      Q.    And what does it say?                                   5      Q. Okay. So in Karen Harper's notes, it
     6      A.    The note that I said, we would have taken               6   classifies Jabos Pharmacy or Jabos Pharmacy as:
     7 these to -- or with us once we received them from                  7   "Medium risk based on volume."
     8 AmerisourceBergen. And when I'm saying "Need" -- when              8           Do you see where it says that? Do you see
     9 I'm saying "Need to visit," they need to visit this                9   where it says: "Karen Harper's Notes"?
    10 based on what we read here or what I read.                        10      A. I do.
    11      Q.    Okay. When you said "take this sheet with              11      Q. Okay. And so --
    12 us," take this sheet with us where?                               12      A. "Medium risk based on volume," okay.
    13      A.    No. It was -- I was telling -- I was                   13      Q. Okay. And then it says: "No site visits
    14 saying, leaving it on our list because they need to go            14   from compliance."
    15 visit this.                                                       15           Do you know what that means?
    16      Q.    Okay. And so you --                                    16      A. From AmerisourceBergen compliance.
    17      A.    And so, "Karen Harper notes: Customer                  17      Q. So they had not visited --
    18 since... risk based..."                                           18      A. Right.
    19           We received a lot of this information, so,              19      Q. -- that pharmacy?
    20 from them, and I'm -- it has just been so long ago.               20      A. And so the 29.4 percent controlled to
    21 It says prepared by me, so I may have prepared it                 21   non-controlled, that means that was a -- they had more
    22 based on the information they provided to me. But the             22   non-controlled than controlled. So that's a low
    23 thing that's -- I was having difficulty with is I've              23   amount for a pharmacy, and I think that's why they
    24 never been to Newport, Tennessee.                                 24   were saying it was a medium risk.

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     1      Q. Okay. So you considered 29.4 percent                1       Q. Okay.
     2   controlled to non-controlled to be a low number?          2       A. Cash sales versus non-cash sales reported
     3      A. That's less than a third of what they               3   by the pharmacy, 10 percent, that's low.
     4   purchase.                                                 4       Q. Okay. So do you know what it was about
     5      Q. So that's considered a low number?                  5   this pharmacy that would -- would have been a flag for
     6      A. Yes.                                                6   Mallinckrodt to put on the chargeback restriction
     7      Q. Okay. And then it says: "No site visits             7   list?
     8   from compliance."                                         8       MR. O'CONNOR: Objection.
     9          Was that a problem?                                9   BY THE WITNESS:
    10      MR. O'CONNOR: Objection.                              10       A. Well, what we were doing is just based on
    11   BY THE WITNESS:                                          11   the volume, we wanted more information from
    12      A. We asked them to visit.                            12   AmerisourceBergen about this customer.
    13   BY MS. HERZFELD:                                         13   BY MS. HERZFELD:
    14      Q. Before or after this report?                       14       Q. Okay. And so the volume was inappropriate
    15      A. I don't know.                                      15   here?
    16      Q. Okay. And then it says: "Waiting for               16       A. No.
    17   updated questionnaire and photographs. Other than        17       MR. O'CONNOR: Objection.
    18   numbers ABC has no issue with them, this customer has    18   BY THE WITNESS:
    19   been difficult when it comes to responding to            19       A. I'm not saying it was inappropriate. I'm
    20   questionnaire."                                          20   saying that we looked at it based on their other
    21          Do you know what that means, "difficult           21   customers and this came up on our list to look at
    22   when it comes to responding to questionnaire"?           22   them.
    23      MR. O'CONNOR: Objection.                              23   BY MS. HERZFELD:
    24   BY THE WITNESS:                                          24       Q. Okay. And do you know what factor put it

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     1      A. Well, we are talking about ABC providing            1 on your list?
     2   the information.                                          2      A. No.
     3   BY MS. HERZFELD:                                          3      Q. Okay. And then if you go, it says:
     4      Q. Okay. So when you say: "This customer               4   "Late" -- pardon me -- "Latest Site Visit: Once per
     5   has been difficult when it comes to responding to         5   month by sales manager will be providing photos,
     6   questionnaire," that means ABC has been difficult, not    6   difficult customer."
     7   Jabos?                                                    7           Do you know what that means?
     8      A. Right.                                              8      A. No. I just know that we said, We want you
     9      Q. Okay. And: "Other than numbers, ABC has             9   to visit this pharmacy and we would like to have
    10   no issue with them."                                     10   photo -- photographs and -- and a site visit, so
    11          What -- do you know what was concerning           11   that's basically all I know.
    12   about the numbers, if you say 29.4 percent of            12      Q. And it says: "Top prescribers
    13   controlled to non-controlled is low?                     13   identified?: Yes."
    14      MR. O'CONNOR: Objection.                              14           Do you know who those top prescribers
    15   BY THE WITNESS:                                          15   were?
    16      A. I'm just looking at the volume of                  16      A. No.
    17   oxycodone, 30-milligram tablets per month, 55,200.       17      Q. Okay. And did you do anything to verify
    18   That's tablets.                                          18   any of this information that was reported to you by
    19   BY MS. HERZFELD:                                         19   AmerisourceBergen about Jabos Pharmacy on this sheet?
    20      Q. Is that high, sir?                                 20      A. No.
    21      MR. O'CONNOR: Objection.                              21      Q. Okay. And do you know if
    22   BY THE WITNESS:                                          22   AmerisourceBergen ever visited this pharmacy as you
    23      A. I don't know that.                                 23   requested?
    24   BY MS. HERZFELD:                                         24      A. Not at this point I don't know that.

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     1       Q. Okay. And do you know if the photographs          1   AmerisourceBergen?
     2   were ever provided that you requested?                   2      A. Yes.
     3       A. I didn't know that either.                        3      Q. Okay. And did you do anything
     4       Q. Okay. Sorry. I'm losing my voice a                4   independently, did Mallinckrodt to your knowledge do
     5   little bit.                                              5   anything independently to verify the information
     6       A. I am too. I think I can use more water.           6   contained within this sheet?
     7       MR. O'CONNOR: Do you want some water?                7      MR. O'CONNOR: Objection.
     8       THE WITNESS: Yeah, please.                           8   BY THE WITNESS:
     9   BY MS. HERZFELD:                                         9      A. No.
    10       Q. Okay. The next exhibit is 45, I believe.         10   BY MS. HERZFELD:
    11       A. That one was 43.                                 11      Q. I'm sorry, sir?
    12       Q. Oh, then 44. Thank you for your help with        12      A. No.
    13   that.                                                   13      Q. Okay. And so if you'll take a look with
    14               (WHEREUPON, a certain document was          14   me down on where it says "Karen Harper Notes"?
    15                marked Mallinckrodt-Ratliff                15      A. Um-hum.
    16                Deposition Exhibit No. 044, for            16      Q. "Customer since 03/04, medium risk based
    17                identification, as of 12/19/2018.)         17   on volume. Have requested an updated questionnaire.
    18   BY THE WITNESS:                                         18   No visits by Compliance."
    19       A. Thank you.                                       19          Did I read that correctly?
    20   BY MS. HERZFELD:                                        20      A. Correct.
    21       Q. Hopefully we'll get through it a little          21      Q. "Don't have photographs in the file. They
    22   quicker this time.                                      22   are coming."
    23            Okay. Do you recognize this document,          23          Do you know if the photographs ever came?
    24   sir?                                                    24      A. I don't.

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     1      A. I do.                                              1      Q. "This customer is in Tennessee market and
     2      Q. Okay. And is this your handwriting at the          2   'always on the radar.'"
     3   top?                                                     3          Do you know why they were always on the
     4      A. It is.                                             4   radar?
     5      Q. Okay. And what does your handwriting say           5      A. I do not know.
     6   there?                                                   6      Q. Do you know what that means?
     7      A. "Need to visit and report."                        7      A. I don't.
     8      Q. Okay. And this is a Pharmacy Information           8      Q. Do you know if they ended up on your
     9   Sheet?                                                   9   chargeback list, your no charge -- no chargeback list?
    10      A. It is.                                            10      A. I don't know that.
    11      Q. And it is dated 10/11 -- 10/17/11, is that        11      MR. O'CONNOR: Objection.
    12   correct?                                                12   BY MS. HERZFELD:
    13      A. Correct.                                          13      Q. Okay. Do you know after this report if
    14      Q. It says it was prepared by you and the            14   Mallinckrodt continued shipping to AmerisourceBergen
    15   source of information was AmerisourceBergen, is that    15   and AmerisourceBergen shipped to Rippetoe?
    16   correct?                                                16      MR. O'CONNOR: Objection.
    17      A. Correct.                                          17   BY THE WITNESS:
    18      Q. Okay. And it says the pharmacy name here          18      A. I don't know that either.
    19   is Rippetoe, Inc. in Morristown, Tennessee.             19   BY MS. HERZFELD:
    20          Is that correct?                                 20      Q. Okay.
    21      A. That's correct.                                   21      A. There is nothing on this that would
    22      Q. Okay. And if you take a second to look            22   indicate -- if they are medium risk, we wouldn't deny
    23   over this sheet, my first question is: Did you          23   them through the chargeback system.
    24   receive all of this information from                    24      Q. Okay. And so when it says: "Need to

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     1   visit and report," what did you mean by that?              1 of Knoxville."
     2      A. We are saying that AmerisourceBergen needs           2     Q. Okay. And how did you get that
     3   to visit and report to us.                                 3 information, sir?
     4      Q. Report to you the findings of their visit?           4     A. We would have received it from
     5      A. Yeah, sure, and the photos and...                    5 AmerisourceBergen.
     6      Q. Okay. Exhibit 45.                                    6     Q. Okay. And did you do anything to
     7              (WHEREUPON, a certain document was              7 independently verify the information that was given to
     8               marked Mallinckrodt-Ratliff                    8 you from AmerisourceBergen?
     9               Deposition Exhibit No. 045, for                9      A. We asked them to -- to visit the pharmacy.
    10               identification, as of 12/19/2018.)            10      Q. Okay. And do you know if they did?
    11   BY MS. HERZFELD:                                          11      A. I don't know.
    12      Q. Okay. Sir, have you seen this document              12      Q. Okay. And do you know what the
    13   before?                                                   13   significant red flags were about this particular
    14      A. Yes.                                                14   pharmacy?
    15      Q. Okay. And it is a Pharmacy Information              15      A. (Witness reading to himself.)
    16   Sheet, is that correct?                                   16           Well, the ABC Pharmacy in Las Vegas, red
    17      A. Correct.                                            17   flag, flag, that was a totally different issue, so.
    18      Q. Okay. And it is dated 10/17/11, is that             18   That got on there by mistake. That's not yours, the
    19   correct?                                                  19   pharmacy in Las Vegas.
    20      A. All of these have been dated the same               20      Q. Okay. So that doesn't have anything to do
    21   date.                                                     21   with this pharmacy?
    22      Q. Okay. And this one also says to be                  22      A. No.
    23   prepared by you based on information from                 23      Q. Okay. So it says: "Significant red flags
    24   AmerisourceBergen, is that correct?                       24   about East Tennessee Discount Drug...RED FLAG RED

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     1       A. Correct. That's correct.                            1   FLAG," in all caps.
     2       Q. Okay. And the pharmacy in this one is               2          Do you know what the significance --
     3   East Tennessee Discount Drug in Strawberry Plains,         3      A. "Significant red flags about East
     4   Tennessee.                                                 4   Tennessee Drug" -- "Discount Drug..."
     5          Am I correct on that?                               5          45,900 tablets would be a lot of -- that's
     6       A. Yes.                                                6   the overall oxycodone family. 32,500 of 30s is not
     7       Q. Okay. And this is your handwritten notes            7   particularly high. The percentage of oxycodone sales,
     8   on the -- on the document?                                 8   30-milligram tablets versus all oxycodone SKUs,
     9       A. The ones on the upper left are. "To be              9   70 percent, that is high.
    10   visited in the process of being scheduled," that's not    10      Q. Okay. And so is that the reason that this
    11   my writing.                                               11   was identified as high risk by the wholesaler, would
    12       Q. Do you know whose writing it is?                   12   that be your understanding?
    13       A. No.                                                13      MR. O'CONNOR: Objection.
    14       Q. Do you recognize it?                               14   BY THE WITNESS:
    15       A. I don't.                                           15      A. To the best of my knowledge. It has just
    16       Q. Okay. And so that hand writing on the              16   been a long time.
    17   left-hand side, what does that say?                       17   BY MS. HERZFELD:
    18       A. "Leave on no CB list, problem" is what I           18      Q. Okay. And would you agree with me, sir,
    19   said.                                                     19   that suspect pharmacies can indicate suspect
    20       Q. Do you know what the problem was with this         20   physicians in the area?
    21   pharmacy, sir?                                            21      MR. O'CONNOR: Objection.
    22       A. It appears there was a spike in oxy                22   BY THE WITNESS:
    23   purchases. It said they were supplying to a clinic in     23      A. I think that's an assumption, but it's a
    24   Nashville, Tennessee. "'Back to Wellness' driven out      24   reasonable assumption, so.

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     1   BY MS. HERZFELD:                                           1 So let's just take a look at it for a second.
     2       Q. Do you know who Ed Hazewski is?                     2      A. Okay.
     3       A. It has been a long time.                            3      Q. On -- it's, again, it's another
     4       Q. Does the name ring a bell to you at all?            4   information pharmacy sheet for East Tennessee Discount
     5       A. It rings a bell, but I'm not certain who            5   Drug in Strawberry Plains, Tennessee, the one we just
     6   he is.                                                     6   talked about before. Yes, sir?
     7               (WHEREUPON, a certain document was             7      A. Okay.
     8                marked Mallinckrodt-Ratliff                   8      Q. I'm looking down here all of the way at
     9                Deposition Exhibit No. 046, for               9   the bottom, and it says: "Top prescribers identified?
    10                identification, as of 12/19/2018.)           10   Yes."
    11   BY MS. HERZFELD:                                          11           Do you know who those top prescribers
    12       Q. I'm going to hand you what is the next             12   were?
    13   exhibit which I believe is No. 46. I'll submit to you     13      A. I'm saying I don't know that I ever saw
    14   that it is yet another Pharmacy Information Sheet.        14   this, so there is no way I would know that.
    15       A. Okay. Thank you.                                   15      Q. Okay.
    16       Q. Take a look at it for a second.                    16      A. Ed Hazewski, I believe, is their security
    17            Do you know who would receive these              17   director or security manager for AmerisourceBergen.
    18   pharmacy information sheets at Mallinckrodt?              18      Q. Okay.
    19       A. Karen Harper would have maintained them.           19      A. I'm not absolutely positive about that,
    20   Is there more than --                                     20   but --
    21       Q. Would they have been provided to you at            21      Q. Okay. So then this says --
    22   some point during your -- in your job                     22      A. -- that's what comes to mind.
    23   responsibilities?                                         23      Q. Okay. And then at the bottom, it says:
    24       A. It would have been provided by me to               24   "Visited on 1/18/2012. Pharmacy is located in a

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     1 Karen. She maintained the files.                             1 supermarket. Spoke personally to the owner/PIC,"
     2     Q. Okay. So you would have seen them and                 2 which I'm guessing is person in charge, "who is well
     3 they would have crossed your desk?                           3 aware of the," O-X, "OX issue in Tennessee. Customer
     4   A. Yes.                                                    4 is being held to strict threshold."
     5   Q. Okay. So, sir, this appears to be a                     5      A. Yeah, that would be a pharmacy --
     6 Pharmacy Information Sheet dated 2/26/2012 prepared by       6      MR. O'CONNOR: Objection.
     7 Ed Hazewski with the source of information being             7   BY THE WITNESS:
     8 AmerisourceBergen?                                           8      A. -- pharmacist in charge.
     9     A. Um-hum.                                               9   BY MS. HERZFELD:
    10     Q. Did I say all of that correctly?                     10      Q. Oh, pharmacist in charge is --
    11     A. You did.                                             11      A. PIC is.
    12     Q. Okay. And do you believe that this one               12      Q. Okay. And do you know anything about this
    13 also would have crossed your desk in the regular            13   conversation that was had with the pharmacist in
    14 course of business?                                         14   charge about the oxy issue in Tennessee?
    15    A. I don't recall it and my name isn't on it             15      A. No, because I don't think I've ever seen
    16 and nor do I have any notes on it. And this is 2/26         16   this.
    17 of '12. That was the time I was transitioning out of        17      Q. Very good, sir.
    18 Mallinckrodt, going back home to Indiana, working my        18         Okay. I'm going to hand you what we'll
    19 final days, so there is a strong chance I never saw         19   mark as exhibit --
    20 this.                                                       20      A. 47.
    21     Q. Okay. And if you didn't see it, who would            21      Q. -- 47. Thank you.
    22 have been responsible for seeing it?                        22            (WHEREUPON, a certain document was
    23     A. It would have gone to Karen Harper.                  23             marked Mallinckrodt-Ratliff
    24     Q. It would have gone to Karen Harper, okay.            24             Deposition Exhibit No. 047, for

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     1               identification, as of 12/19/2018.)            1      Q.    Sure.
     2   BY MS. HERZFELD:                                          2          It says, at the top of that document:
     3       Q. If you'll take a look at the first page,           3   "ABC has not necessarily made the decision to visit
     4   sir, it appears to be an e-mail from Karen Harper to      4   based upon the Top 40."
     5   Christine Inman.                                          5          Do you know what that refers to?
     6            Do you know who Christine Inman is?              6       A. Not -- not really.
     7       A. Not right offhand.                                 7       Q. Okay. Do you know if you created this
     8       Q. Okay. And I'll cut through some of it              8   document?
     9   here. You are not copied -- you are not copied on         9       A. No, I didn't.
    10   this exact e-mail, but looking at the attachment --      10       Q. Okay. Do you know if Karen Harper created
    11       A. Um-hum.                                           11   this document?
    12       Q. -- it says: "ABC Visit Notes 10/17/2011."         12       A. It's reasonable.
    13            Have you seen those before?                     13       Q. Okay. Who else was on -- at the audit
    14       A. I would have been involved in that audit,         14   besides you and Karen Harper?
    15   I believe. So...                                         15       A. Just the two of us.
    16       Q. I'll submit to you that your name shows up        16       Q. Okay. So if it's notes that were created
    17   on the metadata for this document, just to kind of       17   by Karen Harper, do you find her notes to be generally
    18   push things along a little bit here.                     18   reliable?
    19       A. Okay.                                             19       MR. O'CONNOR: Objection.
    20       Q. So you were involved in the audit of ABC          20   BY THE WITNESS:
    21   on 10/17/2011, is that correct?                          21       A. Yes.
    22       A. I believe so, yes.                                22   BY MS. HERZFELD:
    23       Q. Okay. And so looking through these notes          23       Q. Do you have any reason to doubt the
    24   for a second here, on Page 2, if you'll flip with me     24   veracity of notes that she has taken at the audit?

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     1   to the second page of this audit.                         1      A.   No.
     2       A. Okay.                                              2      Q.   Okay.
     3       Q. The very first sentence says: "Some of             3          Okay. On -- do you know at that audit if
     4   the Top 40 predate due diligence, ABC requested that      4   Mallinckrodt required copies of AmerisourceBergen's
     5   the account manager update the questionnaire in           5   suspicious order monitoring procedures?
     6   advance of the Mallinckrodt visit."                       6      A. I know we reviewed them at some point.
     7           Do you know if that occurred?                     7   Excuse me.
     8       A. Eventually we talked to management at ABC          8      Q. Okay. You reviewed them. Did you ever
     9   to ensure that they understood our needs, and             9   get copies?
    10   eventually, it's my understanding, that they provided    10      A. I don't recall.
    11   all of the necessary documents, but I can't say that     11      Q. Okay.
    12   unequivocally.                                           12      MS. HERZFELD: Okay. I'm having a really hard
    13       Q. Okay. So you don't know if the                    13   time with this microphone today. My apologies.
    14   questionnaire itself was updated per your request --     14   BY MS. HERZFELD:
    15   per ABC's request?                                       15      Q. Okay. I'm going to mark -- hand you what
    16       MR. O'CONNOR: Objection.                             16   we will mark as the next sequential exhibit. No. 48?
    17   BY THE WITNESS:                                          17      A. Correct.
    18       A. I just don't recall.                              18      Q. Yes.
    19   BY MS. HERZFELD:                                         19            (WHEREUPON, a certain document was
    20       Q. Okay. And then it says: "ABC has not              20             marked Mallinckrodt-Ratliff
    21   necessarily made the decision to visit based upon Top    21             Deposition Exhibit No. 048, for
    22   40."                                                     22             identification, as of 12/19/2018.)
    23           Do you know what that refers to?                 23   BY MS. HERZFELD:
    24       A. Tell me your question again.                      24      Q. Do you recognize this document, sir?

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     1      A.   Let me look at it.                                    1      A. Say that one more time, please.
     2          Okay. I recognize it.                                  2   BY MS. HERZFELD:
     3      Q. Okay. What do you recognize it to be?                   3      Q. I'll back it up.
     4      A. An audit report.                                        4           In your previous testimony about things
     5      Q. Okay. And is the audit report for                       5   that can be indicative of diversion at various
     6   AmerisourceBergen?                                            6   pharmacies --
     7      A. It is.                                                  7      A. Um-hum.
     8      Q. Okay. And this audit report was completed               8      Q. -- you talked about different factors
     9   2/1/12 according to this document, is that correct?           9   that --
    10      A. Yes.                                                   10      A. Okay.
    11      Q. Okay. And did you have input into this                 11      Q. -- could be indicative of diversion, is
    12   document?                                                    12   that correct?
    13      A. I would have, yes.                                     13      A. Okay. Yes.
    14      Q. Okay. So going with me to the second                   14      Q. Okay. And one of those was long lines?
    15   page of this document, if you look down to Section 2,        15      MR. O'CONNOR: Objection.
    16   and we are going to look at some of the bolded answers       16   BY THE WITNESS:
    17   here.                                                        17      A. Correct.
    18      A. Okay.                                                  18   BY MS. HERZFELD:
    19      Q. Okay. On Page 2 --                                     19      Q. One of those was out-of-state tags in the
    20      A. I see it.                                              20   parking lot?
    21      Q. -- it says: "Does the distributor visit                21      MR. O'CONNOR: Objection.
    22   the customer's facility to assess clientele, check for       22   BY THE WITNESS:
    23   out-of-state license plates, long lines, et cetera?"         23      A. Correct.
    24   The answer is: "ABC Compliance performance some              24   BY MS. HERZFELD:
                                                         Page 383                                                               Page 385
     1 pharmacy on-site inspections. ABC Sales calls on some           1    Q. Okay. And was one of those kind of
     2 pharmacies. Not all pharmacies are visited by ABC."             2 looking at the clientele, you talked about, you know,
     3 And then it's blank, the "yes" or "no" beside it.               3 old people or young people, people in the parking lot,
     4           Do you know why it's blank?                           4 is that generally what you testified to earlier?
     5      A. I don't.                                                5     MR. O'CONNOR: Objection.
     6      Q. Okay. Is that something that's supposed                 6 BY THE WITNESS:
     7   to be checked off there?                                      7    A. Correct.
     8      MR. O'CONNOR: Objection.                                   8 BY MS. HERZFELD:
     9   BY THE WITNESS:                                               9    Q. Okay. And so when you are looking at this
    10      A. Well, I think it's because they do visit               10 question here, it says: "Does the distributor visit
    11   some, they don't visit all, so it is not really yes or       11 the customer's facility to assess clientele, check for
    12   no, so.                                                      12 out-of-state license plates, long lines, et cetera,"
    13   BY MS. HERZFELD:                                             13 that's essentially a question asking for signs of
    14      Q. Okay.                                                  14 diversion, is that correct?
    15      A. That's why the information was typed in                15     MR. O'CONNOR: Objection.
    16   the box and this is something Karen would have done.         16 BY THE WITNESS:
    17      Q. Okay. So it says here, though, they are                17     A.     Correct.
    18   supposed to visit at the customer's facility to assess       18 BY MS. HERZFELD:
    19   the clientele, check the out-of-state license plates         19     Q.     Okay. And here it says that: "ABC
    20   and long lines.                                              20 Compliance performs some pharmacy on-site inspections"
    21           That's to check for signs of diversion, is           21 but "not all pharmacies are visited," so they are not
    22   that correct?                                                22 looking for diversion at all pharmacies that are on
    23      MR. O'CONNOR: Objection.                                  23 their clientele list according to this answer, is that
    24   BY THE WITNESS:                                              24 correct?


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     1      MR. O'CONNOR: Objection.                                1       Q. Okay. On -- do you know what that means?
     2   BY THE WITNESS:                                            2       A. There is -- there is more than one way to
     3      A. It is a reasonable assumption.                       3   track it. We would prefer if they did it in dosage
     4   BY MS. HERZFELD:                                           4   units.
     5      Q. Okay. And it is not marked off "yes" or              5       Q. Okay. And why is that?
     6   "no" on this audit checklist, is that correct?             6       A. Well, because it is easier for us to read.
     7      A. It appears not.                                      7       Q. Okay.
     8      Q. Okay. Then the next question says: "Does             8       A. So this is not the only company that did
     9   the distributor have an established procedure for          9   it this way, the only distributor.
    10   reporting suspicious orders to the DEA before             10       Q. Okay.
    11   shipment?" And the answer is: "ABC indicated that         11           Okay. If you will switch -- if you'll go
    12   they have written SOM procedures and provided             12   with me to the one that's marked Page 4 of 8, flip two
    13   Mallinckrodt a listing of those procedure titles."        13   pages.
    14           Do you know why it is only the titles were        14           Under Section 5 at the very bottom, it
    15   provided to Mallinckrodt?                                 15   says "Additional Comments."
    16      A. From memory, they said that they were               16       A. Okay.
    17   confidential.                                             17       Q. Okay. Under Additional Comments, it says:
    18      Q. Okay. And so did you -- to your                     18   "ABC metrics on pharmacy purchases including the
    19   knowledge, you never got a copy of those because they     19   following data points are tracked in dollars," dollar
    20   were confidential?                                        20   sign, "purchased versus dosage units. ABC compliance
    21      A. They said they were confidential, so they           21   director performs conversion from dollars purchased to
    22   didn't provide us a copy.                                 22   dosage units 'on the fly.'"
    23      Q. Okay. So how do you know they were --               23           Did I read that correctly?
    24   they were adequate if you didn't see a copy?              24       A. You did.

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     1      A. Well, they had copied the numbers and so             1       Q. Okay. And was that of concern to -- to
     2   forth and it appeared that it was in sequence and          2   Mallinckrodt?
     3   would have been with the titles, we saw those. We          3       MR. O'CONNOR: Objection.
     4   just didn't see the procedures themselves.                 4   BY THE WITNESS:
     5      Q. Okay. So you had to make an assumption               5       A. It is one way to do it. We would prefer
     6   based on the titles that they were adequate?               6   if they did it in dosage units. It would make it much
     7      MR. O'CONNOR: Objection.                                7   simpler for us.
     8   BY THE WITNESS:                                            8   BY MS. HERZFELD:
     9      A. Yes.                                                 9       Q. I'm going to stop for a second because I
    10   BY MS. HERZFELD:                                          10   don't think I actually finished reading that sentence.
    11      Q. Okay.                                               11           If you will a flip with me to the next
    12           Okay. And then also looking at Page 2, it         12   page, so we'll go "on the fly as requested.
    13   says, towards the bottom there, the next kind of          13   Mallinckrodt auditors suggested that ABC consider
    14   bolded answer, it says: "Does the distributor track       14   implementing dosage unit measurements for the purposes
    15   changes in pharmacy buying patterns?"                     15   of," suspicious order monitoring, "SOM."
    16           Do you see where it says that?                    16       A. Yeah.
    17      A. I do.                                               17       Q. Did I read that correctly?
    18      Q. Okay. And then it says: "ABC tracks                 18       A. That is correct.
    19   purchasing patterns in terms of dollars and is            19       Q. Okay. So your preference was that it
    20   converted to dosage unit as needed," and then it          20   would be do in -- done in dosage unit measurements?
    21   checks off "Yes."                                         21       A. Um-hum.
    22      A. Um-hum.                                             22       Q. But ABC did it according to dollars?
    23      Q. Did I read that correctly?                          23       MR. O'CONNOR: Objection.
    24      A. Yes.                                                24   BY MS. HERZFELD:

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     1      Q. Yes, sir? Is that a yes?                             1       MR. O'CONNOR: Objection.
     2      A. Would we prefer it in dosage units?                  2   BY THE WITNESS:
     3      Q. Yes, sir.                                            3       A. That's an assumption.
     4      A. Absolutely.                                          4   BY MS. HERZFELD:
     5      Q. Okay. And that's because it is easier to             5       Q. Okay. So it's possible, yes, sir?
     6   track suspicious orders that way, is that correct?         6       A. It's possible.
     7      MR. O'CONNOR: Objection.                                7       Q. Okay.
     8   BY THE WITNESS:                                            8          Okay. And then if you'll go down to
     9      A. Correct.                                             9   Section No. 4, the second question.
    10   BY MS. HERZFELD:                                          10       A. Um-hum.
    11      Q. Okay. And do you know if they ever                  11       Q. "That the physician complies with the laws
    12   changed the way they did it?                              12   in every state in which controlled substances are sold
    13      A. I don't know.                                       13   or shipped?" Answer: "ABC checks discipline history
    14      Q. Okay. Do you know what they meant by "on            14   for top dispensing physicians when they obtain that
    15   the fly"?                                                 15   information from pharmacies, but such information is
    16      A. If needed he would do it, because it's on           16   not gathered for all pharmacies."
    17   the fly.                                                  17          Did I read that correctly?
    18      Q. So it wasn't done regularly, just if                18       A. You did.
    19   somebody requested it?                                    19       Q. Okay. So it looks like only top
    20      A. That's my memory of it.                             20   prescribing physicians get their discipline history
    21      Q. Okay. Great.                                        21   checked from that.
    22           Okay. Switching back to Page 3 of 8.              22          Was that concerning to you in the audit?
    23      A. Back to 3 of 8?                                     23       MR. O'CONNOR: Objection.
    24      Q. Yes, sir. Section 3.                                24   BY THE WITNESS:

                                                        Page 391                                                        Page 393
     1       A. Section 3. Okay.                                    1     A.    Yes.
     2       Q. Go to the one that's the first bolded one,          2 BY MS. HERZFELD:
     3   that's probably the easiest way to get there.              3    Q. Okay. And it's marked "no" in the check
     4           "Does the distribute" -- "Does the                 4 box, is that correct?
     5   distributor audit pharmacy customers and review Rx         5    A. That's correct.
     6   data to check for patterns of excessive prescribing by     6     Q.    Okay. And what do the yes or noes
     7   physicians?" The answer is: "ABC audits some but not       7 indicate here?
     8   all pharmacies to screen for excessive prescribing by      8     A.    We ask questions to see how robust their
     9   physicians." And then "yes" or "no" is not checked.        9 sus- -- suspicious order monitoring program is.
    10           Did I read that correctly, sir?                   10     Q.    Okay.
    11       A. You did.                                           11    A. So we've developed this, Karen did, to
    12       Q. Okay. So if AmerisourceBergen is not               12 cover a lot of those questions that would help us
    13   checking all pharmacies for excessive prescribing by      13 better assess, give us more information to make a
    14   physicians, it wouldn't be seeing if people were -- if    14 determination.
    15   pharmacies were filling excessive prescriptions by        15     Q.    Okay. And then switching back to Page 6
    16   particular physicians, is that correct?                   16 of 8, if you go halfway down the page, it says: "ABC
    17       MR. O'CONNOR: Objection.                              17 Non-Florida Top Dispensing Oxy 30 Pharmacies: Twenty
    18   BY THE WITNESS:                                           18 Pharmacies Reviewed With ABC Previous Quarterly
    19       A. If they didn't do all.                             19 Meeting."
    20   BY MS. HERZFELD:                                          20          And then it says: "ABC was not prepared
    21       Q. So there could be some pill mills that             21 with any updated statistical information to re-review
    22   were writing prescriptions filled by some of those        22 the 20 non-Florida pharmacies discussed in the
    23   pharmacies and they wouldn't be caught, is that           23 previous quarterly meeting 10/17/11."
    24   correct?                                                  24          Did I read that correctly?

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                                                         Page 394                                                             Page 396
      1      A. You did.                                                 1   and Mallinckrodt agrees with ABC's decision based on
      2      Q. Okay. And were you concerned that they                   2   ABC's surveillance results and the pharmacist's
      3   were not prepared with updated statistical information         3   conversation in which the pharmacist was behaving
      4   since your last audit?                                         4   erratically and emotionally crying."
      5      MR. O'CONNOR: Objection.                                    5            Do you know what happened -- oh, sorry.
      6   BY THE WITNESS:                                                6   I'll finish that.
      7      A. Concerned enough to contact their                        7            "When ABC discussed current oxy diversion
      8   management to determine what they knew about their             8   trends."
      9   process and what they were going to do to meet our             9            Were you involved at all in that
     10   requirements.                                                 10   conversation with the pharmacist?
     11   BY MS. HERZFELD:                                              11        A. No.
     12      Q. Okay. And is there a memo or something                  12        Q. Okay. Was it reported to you what was
     13   somewhere that reflects that conversation with                13   said and kind of what was your understanding of it?
     14   management?                                                   14        MR. O'CONNOR: Objection.
     15      A. Our attorneys were the responsible parties              15   BY THE WITNESS:
     16   that made the contact. We were in the room, but we            16        A. That's -- it's in the notes here. That's
     17   didn't speak and I don't know if there was a document.        17   what I note.
     18   We were assured at that time that they were unaware           18   BY MS. HERZFELD:
     19   that they weren't being as compliant as they should           19        Q. That's it. Okay.
     20   and they would take care of the situation, so.                20            And so do you know what the current oxy
     21      Q. Okay. And do you know if any of those                   21   diversion trends are that's referred to here?
     22   things were updated that were requested to be updated?        22        A. I don't.
     23      A. I don't know that.                                      23        Q. Okay.
     24      Q. Okay. So finishing off just that                        24            Okay. Then the next one on the list is

                                                             Page 395                                                     Page 397
      1 sentence: "ABC Compliance Director committed to                  1   Jabos Pharmacy, which we talked about a little bit
      2 updating the pharmacy information sheets and providing           2   earlier.
      3 information for Mallinckrodt for further review."                3      A. Um-hum.
      4           Was that after the conversation with the               4      Q. I'm looking at where it says Jabos, it
      5 lawyers?                                                         5   says: "ABC previously provided Mallinckrodt
      6      A.    I don't recall exactly when that occurred,            6   (11/30/11) that ABC had discontinued selling
      7 the conversation with attorneys. This was when I was             7   controlled drugs to this company."
      8 phasing out of the company.                                      8           Did I read that correctly?
      9      Q.    Okay.                                                 9      A. To this pharmacy.
     10      A.    And I just -- I don't know.                          10      Q. Oh, sorry. "To this pharmacy."
     11      Q.    Okay.                                                11      A. Yes.
     12           Okay. And then looking at Page 6, it                  12      Q. Okay. "However, ABC stated in the meeting
     13   talks about some specific pharmacies that were of             13   with Mallinckrodt 2/1/12 that they've reconsidered
     14   concern for that were mentioned in this report. The           14   their decision and are continuing business with
     15   first one is Munsey Pharmacy in Tennessee.                    15   Jabos."
     16           Do you see where I am at, on Page 6 of 8?             16           Did I read that correctly?
     17       A. Where in the page, it is a big page? Oh,               17      A. You did.
     18   Munsey down at the bottom.                                    18      Q. "Mallinckrodt expressed concerns about
     19       Q. Yeah, do you see it?                                   19   this decision when ABC indicated that a customer who
     20       A. Okay. ABC 11/30.                                       20   exited Jabos during ABC's surveillance of the Jabos
     21       Q. Okay. So here it says: "ABC provided                   21   parking lot attempted to sell oxycodone 30-milligram
     22   Mallinckrodt information 11/30/11 that ABC had                22   tablets to the ABC investigator. ABC indicates they
     23   discontinued selling controlled drugs to this                 23   have fired the ABC sales rep who formerly called on
     24   pharmacy. Mallinckrodt discussed this account with Ed         24   Jabos because ABC determined that the sales rep was

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      1   incorrectly representing Jabos Pharmacy business and       1   about in Tennessee?
      2   asking ABC to increase Jabos controlled substance          2       A. Yes.
      3   purchasing limits."                                        3       Q. Okay. And to your knowledge, Mallinckrodt
      4           Did I read that correctly?                         4   didn't personally conduct any site visits to those
      5       A. You did.                                            5   pharmacies in Tennessee, is that correct?
      6       Q. Okay. And do you know any other                     6       MR. O'CONNOR: Objection.
      7   information than what's contained in this paragraph        7   BY THE WITNESS:
      8   about what happened at Jabos?                              8       A. Some audits were conducted by the person
      9       A. No, but I -- I remember distinctly him              9   who took my position once I left.
     10   talking about the customer coming out and trying to       10   BY MS. HERZFELD:
     11   sell their security person some drugs, so.                11       Q. Okay.
     12       Q. Okay. And that's something that would              12       A. I don't know if he conducted any in
     13   indicate diversion, is it not?                            13   Tennessee or not. That's a possibility.
     14       A. Absolutely.                                        14       Q. Okay. So to clarify my question then,
     15       Q. Okay. And do you know if ABC reconsidered          15   during your tenure --
     16   their decision and decided to continue their business     16       A. No.
     17   with Jabos?                                               17       Q. -- you don't know of any site visits that
     18       A. I don't know that.                                 18   were done in Tennessee on behalf of Mallinckrodt?
     19       Q. Okay. But it indicates in this paragraph           19       A. Correct.
     20   that that's what they were considering, is that right?    20       Q. Okay. Do you agree that there are some
     21       A. That's what it says.                               21   signs of diversion that can only be detected through a
     22       Q. Okay. And do you know if Mallinckrodt              22   site visit?
     23   took any action -- action to stop having -- stop          23       MR. O'CONNOR: Objection.
     24   having their product go from ABC to Jabos?                24   BY THE WITNESS:

                                                        Page 399                                                       Page 401
      1       MR. O'CONNOR: Objection.                               1       A. Yes.
      2   BY THE WITNESS:                                            2   BY MS. HERZFELD:
      3       A. I don't know that.                                  3       Q. Okay. Like long lines?
      4   BY MS. HERZFELD:                                           4       A. Correct.
      5       Q. Okay. And do you know if Mallinckrodt               5       Q. Customers engaging in drug seeking
      6   products continued to ship to Jabos Pharmacy in            6   behaviors, like trying to sell oxy in the parking lot?
      7   Tennessee?                                                 7       A. Yes.
      8       MR. O'CONNOR: Objection.                               8       Q. Okay. Cars full of pharmacy customers?
      9   BY THE WITNESS:                                            9       A. Yes.
     10       A. I don't know that.                                 10       Q. Okay. Cars in the parking lot with
     11   BY MS. HERZFELD:                                          11   license plates from other states or far away counties?
     12       Q. Okay. Do you know if Jabos at this time,           12       A. Yes.
     13   the two -- 2/1/12, do you know if Jabos was put on a      13       Q. Okay. Pharmacies with minimal or no
     14   chargeback restriction list?                              14   front-end merchandise?
     15       A. I don't know that.                                 15       A. Yes.
     16       Q. Okay.                                              16       Q. Pharmacies with little or no walk-in
     17          Okay. You can set that document down,              17   business?
     18   sir.                                                      18       A. Yes.
     19       A. Okay.                                              19       Q. Evidence of illicit drug use around the
     20       Q. Okay. So you personally didn't conduct             20   facility?
     21   any site visits of these pharmacies, is that correct,     21       A. Yes.
     22   sir?                                                      22       Q. Okay. Mailing materials or other evidence
     23       A. That's correct.                                    23   of operation of an internet pharmacy?
     24       Q. Okay. And the ones we've just talked               24       A. I don't know that. What are you saying?

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      1      Q. If you show up and it looks like it's just           1   location to other businesses, was it a prominent
      2   like a computer and there are some pamphlets there         2   location or in an isolated location.
      3   because it's an address for nothing but an internet        3      Q. Okay. And did you do anything to verify
      4   pharmacy?                                                  4   that AmerisourceBergen's information that they gave
      5      A. Yeah, I don't -- I've never encountered an           5   you about those Tennessee pharmacies was accurate?
      6   internet pharmacy.                                         6      A. Personally?
      7      Q. Okay. Primarily cash transactions, is                7      Q. Yes, sir.
      8   that something you could see with a site visit?            8      A. No.
      9      A. That's information that would be furnished           9      Q. Do you know if anyone within Mallinckrodt
     10   by the pharmacy.                                          10   did?
     11      Q. Okay.                                               11      A. Not while I was there. I don't know.
     12      A. There is no way by a site visit that we             12      Q. Okay.
     13   would see if it was cash or -- or other.                  13          When you were looking for potential
     14      Q. Okay. What about if there was only one              14   diversion at pharmacies, was one of the things that
     15   employee that was responsible for the order,              15   you would take into -- into account is whether
     16   monitoring and invoicing of products, is that             16   multiple distributors were providing oxycodone to one
     17   something you could determine at a site visit?            17   pharmacy?
     18      A. Not necessarily.                                    18      A. There is no way we would know that.
     19      Q. Okay. What about photographs, is there a            19      Q. Okay. So how would you not know that?
     20   way to obtain photographs if you haven't done a site      20      A. Because we don't have access to other
     21   visit?                                                    21   manufacturers' records.
     22      A. Are you asking about if we did the site             22      Q. I'm sorry. I must not have asked the
     23   visit or if we required the distributor to do the site    23   question very well. I apologize.
     24   visit?                                                    24          So I guess what I'm trying to figure out

                                                         Page 403                                                       Page 405
      1       Q. Well, I guess I'm asking, site visits               1 is if you had multiple customers, it's possible that
      2   would provide the best opportunity for photographs of      2 AmerisourceBergen and McKesson could have both been
      3   a particular site, is that correct?                        3 shipping Mallinckrodt oxycodone to Jabos Pharmacy, for
      4       A. We always requested photographs from the            4 example, is that correct?
      5   distributors.                                              5       MS. KVESELIS: Object to the form.
      6       Q. Okay. It sounds like the distributors               6   BY THE WITNESS:
      7   didn't always give them to you, is that right?             7       A. I don't know. I really don't. I mean,
      8       A. Correct.                                            8   if -- so if we had -- yeah, I just don't know that.
      9       Q. Okay. Did you sometimes look up                     9   BY MS. HERZFELD:
     10   pharmacies on things like Google Maps or Google --        10       Q. Okay. I'm going to show you a document
     11   Google Earth back in 2012? I don't even know if it        11   that's been listed in your custodian file, and maybe
     12   existed.                                                  12   we can see each other on the same page on this, okay.
     13       A. I don't know if it was in 2012, but we did         13   We'll mark this as Exhibit 49.
     14   that on occasion.                                         14               (WHEREUPON, a certain document was
     15       Q. Okay. And would that be sufficient to              15                marked Mallinckrodt-Ratliff
     16   satisfy the photographs element of what it is you         16                Deposition Exhibit No. 049, for
     17   required?                                                 17                identification, as of 12/19/2018.)
     18       MR. O'CONNOR: Objection.                              18   BY MS. HERZFELD:
     19   BY THE WITNESS:                                           19       Q. Take a minute and look at it.
     20       A. No. It was done not for that purpose.              20       A. "Custodian Bill Ratliff," who -- who put
     21   BY MS. HERZFELD:                                          21   that on there?
     22       Q. Okay.                                              22       Q. Oh, I think that's probably my notes.
     23       A. We were trying to determine if a building          23       A. On the front, it says: "ABC Top 40 and
     24   existed or an address existed and where it was in         24   Multi Dist Tab, Custodian: Bill Ratliff."

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      1            (WHEREUPON, there was a short                        1   again, Jabos Pharmacy, do you see it, in Newport,
      2             interruption.)                                      2   Tennessee?
      3   BY THE WITNESS:                                               3       A. I do.
      4      A. Okay. These were mine.                                  4       Q. Okay. And that one also says "Multi Dist"
      5   BY MS. HERZFELD:                                              5   all of the way to the right?
      6      Q. That's probably my note on the front just               6       A. Um-hum.
      7   to know what it is.                                           7       Q. Okay. And I'm sorry. It says at the top,
      8          Okay. So if you look with me, sir, for                 8   right there, "Sales Quantity Government UOM," that
      9   the second page here, it says at the top:                     9   stands for unit of measure?
     10   "AmerisourceBergen All Other States 30-milligram             10       A. I don't know.
     11   2011," year to date, "YTD."                                  11       MR. O'CONNOR: Objection.
     12          Did I read that correctly?                            12   BY MS. HERZFELD:
     13      A. Well, let me look at this again because I              13       Q. Do you know what a unit of measure is, a
     14   was --                                                       14   government unit of measure?
     15      MR. O'CONNOR: Which page?                                 15       A. No.
     16      MS. HERZFELD: The second page. Well, the                  16       Q. Okay. And then going down four more from
     17   second graph page. This one.                                 17   Jabos Pharmacy, it says: "East Tennessee Discount
     18      MR. O'CONNOR: So the third page of the packet.            18   Drugs, Strawberry Plains, Tennessee."
     19      MS. HERZFELD: Third page of the packet.                   19           Do you see where I'm at?
     20   BY THE WITNESS:                                              20       A. Um-hum.
     21      A. Right, I remember this page.                           21       Q. And then that one doesn't say Multi Dist?
     22   BY MS. HERZFELD:                                             22       A. Um-hum.
     23      Q. So you remember the first page with the                23       Q. So from looking at this, the ones that say
     24   yellow highlighting on it?                                   24   "Multi Dist," does that mean they have multiple

                                                            Page 407                                                     Page 409
      1      A. Yes.                                                    1   distributors that were distributing to them?
      2      Q. Okay. And that says "Florida" at the top?               2      A. I still have a problem with who put on the
      3      A. Right.                                                  3   front of this "Custodian Bill Ratliff."
      4      Q. Okay. So switch to the next page with me.               4      Q. Sir, all I'm doing is telling you it was
      5      A. I don't remember this at all.                           5   presented to us as being in your custodian file.
      6      Q. Okay. What does the second one say? It                  6      A. Because I don't recall these other two
      7   says: "All Other States 30-milligram," is that                7   pages.
      8   correct?                                                      8      Q. Okay, sir.
      9      A. Yes.                                                    9      A. I just -- you know, the one page I do
     10      Q. Okay. So looking through that list,                    10   recall.
     11   the -- the second -- the second pharmacy there is            11      Q. Okay.
     12   Rippetoe, Inc. --                                            12      A. Because I had that for the two other --
     13      A. Um-hum.                                                13   these were all Florida. So somebody added this to it,
     14      Q. -- in Morristown, Tennessee.                           14   and I don't know who the source is of that.
     15           Did I read that correctly?                           15      Q. Okay.
     16      A. You did.                                               16      A. Or that I should know about this.
     17      Q. Okay. And then if you look all of the way              17      Q. So did you only look at the top
     18   over to the right, it's in that little blue box, it          18   distributors for Florida?
     19   says "Multi Dist."                                           19      A. Yes.
     20           Does that stand for multiple distributors?           20      MR. O'CONNOR: Objection.
     21      A. That would be my opinion about it, yes.                21   BY MS. HERZFELD:
     22      Q. Okay. And then looking down midway                     22      Q. Did -- did you look at the top
     23   through this chart, one, two, three, four, five, six,        23   distributors outside of Florida?
     24   seven, eight, nine, the ninth one down is, there we go       24      A. Well, not originally, so. I mean, there

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                                                           Page 410                                                     Page 412
      1   may have been a time that they started looking at            1 McKesson contained 20 pharmacies in and 20 out of the
      2   those, but we literally concentrated on Florida              2 State of Florida. 15 of the pharmacies out of the
      3   initially. And you have to remember then shortly             3 State of Florida were handled by Michael Oriente
      4   after the first of the year, I was transitioning out         4 leaving five that we have not addressed. They are as
      5   of the company, so. When you are asking did we do it,        5 follows." And the last one on that list is: "Bradley
      6   I didn't do it.                                              6 Drug Company, Tennessee."
      7       Q. Okay. Okay. Okay. Then you can set that               7           Did I read that correctly?
      8   one aside.                                                   8       A. You did.
      9       A. Okay.                                                 9       Q. Okay. "It would be helpful if we could
     10       Q. Okay. You also participated in reviewing             10   identify the persons that handle those pharmacies," et
     11   McKesson's top pharmacies, is that correct?                 11   cetera, et cetera. "Thanksgiving," et cetera.
     12       A. Correct.                                             12           Did I read that correctly?
     13       Q. And McKesson had only one pharmacy listed            13       MR. O'CONNOR: Objection.
     14   in Tennessee, Bradley Drug Company. Do you recall           14   BY MS. HERZFELD:
     15   that?                                                       15       Q. Okay. And then switching to the second
     16       A. No.                                                  16   page, it appears to be an e-mail from Don Walker to
     17       MS. KVESELIS: Object to form.                           17   you, 12/12/2011, Additional Pharmacies.
     18   BY MS. HERZFELD:                                            18           "Bill, attached is the documentation for
     19       Q. Okay. Do you ever recall hearing about               19   all of the remaining pharmacies with the exception of
     20   Bradley Drug Company in Nashville?                          20   Laabs," and then there is an attachment to that
     21       A. I did -- I did Florida.                              21   e-mail.
     22       Q. You only did Florida?                                22       MR. O'CONNOR: Counsel, the Bates numbers are
     23       A. Yes.                                                 23   not consecutive here. Are you suggesting that
     24       Q. Okay. I'm going to hand you what we are              24   these --

                                                        Page 411                                                         Page 413
      1 going to mark as Exhibit 50.                                   1      MS. HERZFELD: Oh, you know what, I think
      2             (WHEREUPON, a certain document was                 2   somebody probably put them together. We can label
      3              marked Mallinckrodt-Ratliff                       3   them as separate exhibits, if you prefer.
      4              Deposition Exhibit No. 050, for                   4      MR. O'CONNOR: Yeah, I think so, so to be clear,
      5              identification, as of 12/19/2018.)                5   are you saying that Bates number ending in 282 is
      6   BY MS. HERZFELD:                                             6   Exhibit 50?
      7      Q. Okay. Sir, this appears to be an e-mail                7      MS. HERZFELD: 50. And let's do the ones ending
      8   that was sent from you to Donald Walker, December 5th,       8   4116 and 4117 as 51. My apologies for that.
      9   2011?                                                        9             (WHEREUPON, a certain document was
     10      A. Okay.                                                 10              marked Mallinckrodt-Ratliff
     11      Q. Is that correct?                                      11              Deposition Exhibit No. 051, for
     12      A. Yes.                                                  12              identification, as of 12/19/2018.)
     13      Q. Okay. And it copies Donald Lohman and                 13   BY MS. HERZFELD:
     14   Karen Harper.                                               14      Q. Okay. So now looking at document 51, it
     15           Who was Donald Walker?                              15   appears to be an e-mail from Don Walker to you, is
     16      A. He was the vice president in charge of --             16   that correct?
     17   I don't know his exact title, but he was with               17      A. Yes.
     18   McKesson.                                                   18      Q. Okay. And do you have any reason to think
     19      Q. Okay. And Donald Lohman?                              19   that this wasn't sent to you?
     20      A. He is sitting right there.                            20      A. No.
     21      Q. Do you know who that is?                              21      Q. Okay. And so it talks about additional
     22           Oh, there he is. Hello.                             22   pharmacies on 12/12/2011.
     23           Okay. So in this e-mail, it says: "Don,             23      A. Um-hum.
     24   as you may recall, the original list presented to           24      Q. And then there is an attachment which is

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                                                        Page 414                                                        Page 416
      1   the second page.                                          1      Q. Okay. And it says: "If so, background
      2           Will you take a look at that for me,              2   checks? Pogue had reprimand for unprofessional
      3   please?                                                   3   conduct in 9/9 for injecting multiple patients with
      4       A. Yes.                                               4   HGH for pain. Cochran, Yarzagaray, Scott and Rhodes
      5       Q. Okay. And do you know what this document           5   are clear."
      6   is?                                                       6          Did I read that correctly?
      7       A. It's our form that we would give the --            7      A. You did.
      8   the companies to fill out to give us the information.     8      Q. Okay. And this form came attached to this
      9       Q. So it looks like it's a version of the             9   e-mail on 12/12/2011, is that correct?
     10   pharmacy information sheets we were going over           10      A. Correct.
     11   earlier?                                                 11      Q. Okay. Did you do anything to verify the
     12       A. Yes.                                              12   information that was contained within this worksheet?
     13       Q. Okay. And the pharmacy name on this one           13      A. No.
     14   is Bradley Drug Company in Nashville, Tennessee, is      14      Q. Okay. And did you yourself fill out this
     15   that correct?                                            15   worksheet, the Pharmacy Information Sheet?
     16       A. Correct, yes.                                     16      A. No.
     17       Q. Okay. So going through this --                    17      Q. Okay. The information was given to you by
     18       A. It says: "Active/sales of controlled              18   the distributor?
     19   substances restricted."                                  19      A. Yes.
     20       Q. Yes, sir.                                         20      Q. Okay. In this case that would be
     21           Okay. So it says in that e-mail, if              21   McKesson, is that right?
     22   you'll flip back, in that first paragraph --             22      A. Correct.
     23       A. Um-hum.                                           23      Q. Okay. I'm going to hand you what we'll
     24       Q. -- "Bill, attached is the documentation           24   mark as Exhibit 52.

                                                      Page 415                                                           Page 417
      1   for all remaining pharmacies with the exception of        1             (WHEREUPON, a certain document was
      2   Laabs. We ceased all controls to Laabs in October         2              marked Mallinckrodt-Ratliff
      3   after action taken by DEA and FBI. The one I have         3              Deposition Exhibit No. 052, for
      4   directed some additional work on is Bradley given the     4              identification, as of 12/19/2018.)
      5   prescribing physicians."                                  5   BY MS. HERZFELD:
      6           Do you know what he meant by "given the           6       Q. Do you recognize this document as a
      7   prescribing physicians"?                                  7   Pharmacy Information Sheet for Bradley Drug Company,
      8      MS. KVESELIS: Object to the form.                      8   sir?
      9   BY THE WITNESS:                                           9       A. Yes.
     10      A. I don't know.                                      10       Q. Okay. And it is dated 3/20/2012, is that
     11   BY MS. HERZFELD:                                         11   correct?
     12      Q. You don't know what he was referring to?           12       A. Correct.
     13      A. No.                                                13       Q. It says it is prepared by Bill Mahoney.
     14      Q. Okay. So looking at the Pharmacy                   14           Do you know who that is?
     15   Information Sheet then on the second page --             15       A. No.
     16      A. Okay.                                              16       Q. Okay. Do you know whose handwriting this
     17      Q. -- it says: "Top prescribers identified:           17   is on the document?
     18   As of 10/25/2011," at the bottom of the page.            18       A. It's mine.
     19           Do you see where I am at?                        19       Q. Okay. Could you read it for me, please?
     20      A. Yes.                                               20       A. And I wrote at the top, "Bill Mahoney," I
     21      Q. Okay. It says "James Pogue, RT Cochran,            21   wrote "3/22/12, blister packing for" --
     22   Junior, Luis Yarzagaray, Cindy Scott, and Michael        22       Q. I thought it might be nursing?
     23   Rhodes," is that correct?                                23       A. -- "nursing homes, 15,000 square feet,
     24      A. Yes.                                               24   near the hospital district near Vanderbilt," and then

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      1   it says, "Comfortable."                                   1   saw -- if you were doing a site visit and you saw that
      2       Q. Okay. Do you know what you meant by your           2   it was surrounded by check cashing places and liquor
      3   notes there?                                              3   stores and pawn shops and things of -- of that nature
      4       A. That was the location, I believe.                  4   in a high crime area --
      5       Q. Where did you obtain information about             5       MR. O'CONNOR: Objection.
      6   where that pharmacy was located?                          6   BY MS. HERZFELD:
      7       A. Well, from Bill Mahoney. It appears that           7       Q. -- would that be indicative of you that
      8   I talked to him on 3/20/2012.                             8   you might need to look a little bit closer for
      9       Q. Okay. And Bill Mahoney, did he work for            9   diversion at that pharmacy?
     10   McKesson?                                                10       MR. O'CONNOR: Objection.
     11       A. That's an assumption. I -- I don't really         11   BY THE WITNESS:
     12   remember at this point.                                  12       A. Possibly.
     13       Q. Okay. Did you do anything to verify that          13           At that point I was dealing with McKesson
     14   information about it being near Vanderbilt or near the   14   and they were being very -- they had hired a new
     15   hospital district?                                       15   person to -- to help develop a program and they did
     16       A. No.                                               16   everything that we had asked them to do, so no longer
     17       Q. Okay. In fact, sir, it is not near                17   filling except for long-term patients. They are more
     18   Vanderbilt or the hospital district.                     18   careful, Pogue is allegedly. "All clear except for
     19       A. Say again.                                        19   Pogue." So that was also a note that he told me at
     20       Q. It is not near Vanderbilt or the hospital         20   the time, so.
     21   district. Has anyone told you that?                      21       Q. Okay. So based on your notes here and
     22       MR. O'CONNOR: Objection.                             22   your conversation with Mr. Mahoney, you felt
     23   BY THE WITNESS:                                          23   comfortable --
     24       A. If he said -- I mean, I wrote down what he        24       A. Based on what he told me, yes.

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      1   told me.                                                  1      Q. -- continuing to allow Mallinckrodt
      2   BY MS. HERZFELD:                                          2   products to go through McKesson to Bradley Drug, is
      3       Q. Okay. But you didn't do anything else to           3   that correct?
      4   verify that?                                              4      MR. O'CONNOR: Objection.
      5       A. I didn't.                                          5      MS. KVESELIS: Object to the form.
      6       Q. Okay. Would one of the things that you             6   BY THE WITNESS:
      7   were looking for for a pharmacy that may be               7      A. Yes.
      8   potentially engaged in diversion the area in which        8   BY MS. HERZFELD:
      9   it's located?                                             9      Q. Okay. Did you do anything independently
     10       MR. O'CONNOR: Objection.                             10   to verify the information that was provided to you on
     11   BY THE WITNESS:                                          11   this sheet by McKesson?
     12       A. Occasionally that will tell us something,         12      A. I did not.
     13   but it also tells us why they would be using a lot of    13      Q. Did anyone at Mallinckrodt look at IMS
     14   our product, be it they are near a hospital or -- or     14   data for any of these physicians?
     15   an area where there are a lot of doctors and so forth.   15      MR. O'CONNOR: Objection.
     16   BY MS. HERZFELD:                                         16   BY MS. HERZFELD:
     17       Q. Okay. But if it wasn't and it was a high          17      Q. Or I'm sorry. For the area?
     18   crime area, for example, is that something that could    18      MR. O'CONNOR: Objection.
     19   be indicative of diversion?                              19   BY THE WITNESS:
     20       MR. O'CONNOR: Objection.                             20      A. So you are saying where this is located?
     21   BY THE WITNESS:                                          21   BY MS. HERZFELD:
     22       A. It could be, but not necessarily.                 22      Q. Yes, sir.
     23   BY MS. HERZFELD:                                         23      A. Not to my knowledge.
     24       Q. What if you went to that pharmacy and you         24      Q. Okay.

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      1      A. I'm not certain that I was -- I think I                1       MR. O'CONNOR: Objection.
      2   was already in Indiana when this occurred, so.               2   BY THE WITNESS:
      3      Q. Okay. Do you know why Bradley Drug                     3       A. It would have been -- it would have been
      4   Company was placed on a chargeback restriction list?         4   interesting to know.
      5      MR. O'CONNOR: Objection.                                  5       MS. HERZFELD: Okay. We'll mark the next
      6   BY THE WITNESS:                                              6   exhibit 54.
      7      A. I don't.                                               7       THE WITNESS: 53.
      8   BY MS. HERZFELD:                                             8       MS. HERZFELD: 53.
      9      Q. Okay. Or if it ever was?                               9               (WHEREUPON, a certain document was
     10      A. I don't know that.                                    10                marked Mallinckrodt-Ratliff
     11      Q. Okay. This should go pretty quickly now.              11                Deposition Exhibit No. 053, for
     12          When it said in the previous exhibit that            12                identification, as of 12/19/2018.)
     13   Pogue had been disciplined in 2009 for use of HGH           13   BY MS. HERZFELD:
     14   treatment for pain, do you know what the circumstances      14       Q. If you'd take a look at this document,
     15   were of that discipline?                                    15   sir, I'll submit to you that it's a copy of the
     16      A. No.                                                   16   Consent Order by the Tennessee Department of Health.
     17      Q. Did Mallinckrodt do any additional                    17   Again, Dr. Michael Rhodes. If you'd take a look at
     18   research to find out more information about that            18   the back page, it is dated July 21st of 2009.
     19   disciplinary infraction?                                    19             Have you ever seen this document before,
     20      A. They basically put the information there              20   sir?
     21   as why he was disciplined in 2009. He supplied HGH in       21       A. I have not.
     22   treatment of pain.                                          22       Q. Okay. And you weren't aware of this
     23      Q. Okay. And do you know if Dr. Pogue is                 23   previous disciplinary history of Dr. Rhodes?
     24   prescribing now?                                            24       A. I was not.

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      1      A. I don't know that.                                     1       Q. And what about Cindy Scott, the nurse we
      2      Q. Okay. Do you know if Dr. Pogue still has               2   discussed earlier, do you know if she still has a
      3   a medical license or prescribes -- a license to              3   license to prescribe?
      4   prescribe?                                                   4       MR. O'CONNOR: Objection.
      5      A. I have no idea.                                        5   BY THE WITNESS:
      6      Q. Okay.                                                  6       A. I have no idea.
      7          Okay. What about Robert Cochran, do you               7   BY MS. HERZFELD:
      8   know if Robert Cochran is still able?                        8       Q. Okay.
      9      A. I have no idea.                                        9          Okay. You testified earlier that you have
     10      Q. Okay. What about Michael Rhodes, if                   10   some familiarity with chargeback data in your -- in
     11   Michael Rhodes had --                                       11   the context of your job at Mallinckrodt, is that
     12      A. I have no idea.                                       12   correct?
     13      Q. -- if he had been reprimanded for                     13       A. No. I have very little information.
     14   prescribing controlled substances without documenting       14       Q. Okay.
     15   appropriate medical histories or performing adequate        15       A. I am still totally confused by it.
     16   physical examinations back in 2009, is that                 16       Q. Okay. Did you review chargeback data
     17   information you would have wanted to have known?            17   regularly as part of your job?
     18      A. Yes.                                                  18       A. No.
     19      MR. O'CONNOR: Objection.                                 19       Q. I'll come back to that in one second.
     20      THE WITNESS: Sorry.                                      20          Do you recall on any discussion about a
     21   BY MS. HERZFELD:                                            21   Food City in Tennessee from your time at Mallinckrodt?
     22      Q. Okay. Is an order like that in a                      22       MR. O'CONNOR: Objection.
     23   physician's file something that could be indicative of      23   BY THE WITNESS:
     24   diversion?                                                  24       A. I don't -- I don't recall.

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      1 BY MS. HERZFELD:                                              1   restricting that Food City in Tennessee?
      2       Q.   I'm going to show you what we will mark as         2       MR. O'CONNOR: Objection.
      3 54.                                                           3   BY THE WITNESS:
      4             (WHEREUPON, a certain document was                4       A. Well, the only thing I would tell you is,
      5              marked Mallinckrodt-Ratliff                      5   I was no longer with the company. I was already
      6              Deposition Exhibit No. 054, for                  6   retired.
      7              identification, as of 12/19/2018.)               7   BY MS. HERZFELD:
      8   BY MS. HERZFELD:                                            8       Q. Okay. Well, it looks like some of this
      9       Q. No. 54, ignore this top page if it makes             9   data is back from June 2011, and it says you
     10   you nervous. As I'm handing this to you, I will            10   recommended restricting it.
     11   submit to you that this was not in your custodian          11       A. Okay.
     12   file. It was in a general file.                            12       Q. So do you have any memory why you would
     13       A. Okay.                                               13   have recommended restricting that pharmacy?
     14       Q. But my question is, take a look at it, the          14       A. If it's the one that says Masters?
     15   file name on this document was: "May 2012 Top Oxy 30       15       Q. Yes, sir.
     16   Pharmacies." If you look down, they are classified by      16       A. That would be one of the audits that we
     17   state.                                                     17   did that we discussed at great length.
     18       A. Um-hum.                                             18       Q. Okay.
     19       Q. And if you look at the second page and you          19       A. So that would probably --
     20   get to where it says "Tennessee," if you'll take a         20       Q. And do you know --
     21   look with me there, sir, it should be on the last          21       A. -- as I say, I can't recall it, but that
     22   page.                                                      22   would certainly be a reason.
     23           Do you see where I am at?                          23       Q. Okay. And do you know if that pharmacy
     24       A. I have never seen it before.                        24   was ever restricted?

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      1       Q.   That's okay.                                       1       A. I don't know that.
      2           So down on Tennessee, there is a couple of          2       Q. Okay.
      3   different ones that are highlighted yellow. Do you          3       A. This says: "Date Created: 7/17. Date
      4   see where I am at?                                          4   Last Modified: 7/19." I'm just saying I was retired,
      5       A. I see them.                                          5   so.
      6       Q. Okay. And there are two that are Food                6       Q. Understood, sir.
      7   City, Chapman Highway and Seymour, Tennessee?               7       A. Okay.
      8       A. I see that.                                          8       Q. Okay.
      9       Q. So one is AmerisourceBergen and the other            9           Okay. Almost, almost done.
     10   is DBS Trading, Inc. Masters Pharmacy.                     10       A. Okay.
     11           Do you see that?                                   11       Q. Okay. I'm going to hand you two sets of
     12       A. I do.                                               12   chargeback data, and we'll see if we can work through
     13       Q. Okay. And then there are some notes all             13   it together, okay. Number -- the first one first, the
     14   of the way to the right there. One of the notes says       14   second one second. 55, Exhibit 55.
     15   "PIS."                                                     15             (WHEREUPON, a certain document was
     16           Do you know what PIS means?                        16              marked Mallinckrodt-Ratliff
     17       A. I don't know.                                       17              Deposition Exhibit No. 055, for
     18       Q. Okay. And then the next note says: "B.              18              identification, as of 12/19/2018.)
     19   Ratliff," I'm assuming that's you --                       19   BY MS. HERZFELD:
     20       A. Yes.                                                20       Q. Okay. If you'll take a look with me, I'll
     21       Q. -- "recommends restricting" --                      21   represent to you that we put chargeback data for
     22       A. Okay.                                               22   Tennessee. This is only Tennessee on this chart.
     23       Q. -- that Food City.                                  23       A. Okay.
     24           Do you know why you would have recommended         24       Q. So I'm not expecting you to have seen it

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      1   before, okay?                                             1       MR. O'CONNOR: Objection.
      2      A. Okay.                                               2   BY THE WITNESS:
      3      Q. OKAY. So looking at this, the number one            3       A. Well, the thing I don't know is, is this
      4   for chargeback says: "Bradley Drug Company."              4   all of the products they purchased from us, is it one
      5           Do you see where it says that?                    5   particular product they purchased from us? It's --
      6      A. Brad -- are you saying Bradley Drug                 6   you know, normally when you say 59,200, if they are
      7   Company?                                                  7   purchasing multiple products from us, that's a low
      8      Q. Um-hum, where it says No. 3, Bradley Drug           8   number.
      9   Company --                                                9   BY MS. HERZFELD:
     10      A. I see that.                                        10       Q. Okay.
     11      Q. -- Charlotte Avenue.                               11       A. If it's a -- and especially when you are
     12           And then some of this stuff here is in red       12   looking at the length of time, so it's a full year,
     13   and it looks like their total oxy 15 --                  13   you'd have to give me more information to be able
     14      A. Uh-huh.                                            14   to -- to substantiate what you are saying because I
     15      Q. -- shipment for, it says the past                  15   can't based on what I see here.
     16   12 months --                                             16       Q. Okay. I'll try to give you some
     17      A. Yeah.                                              17   information.
     18      Q. -- through June 2012 is 87,400.                    18           So if you look at the top of this sheet,
     19           Do you know what that is, units?                 19   it says "Oxy 15," so it looks like it is for that
     20      A. I was retired, I believe, at this time.            20   product.
     21      Q. I believe this covers a year's worth back          21           Do you see at the very top?
     22   through July of 2011.                                    22       A. Tennessee only -- or oxy 15s and 30s
     23           Were you still employed in July 2011?            23   through June 20- -- okay. So that's --
     24      A. I was in '11, yes.                                 24       Q. This sheet says --

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      1      Q. Okay. So I'm looking at those numbers               1      A. -- both of the --
      2   there, 87,400 is -- do you see that?                      2      Q. -- oxy 15, do you see?
      3      A. Okay.                                               3      A. What's that?
      4      Q. Do you know if that's tablets or bottles?           4      Q. This sheet says: "Sheet: Oxy 15"?
      5      A. I don't know.                                       5      A. Doesn't it say and 30s through June --
      6      Q. Okay.                                               6      Q. I think that's the file name because the
      7      A. And part of it is when I was retired, so.           7   next one I'm going to show you is oxy 30. I have
      8      Q. Correct. I understand that.                         8   another one. So, look, see where it says at the
      9           Part of it was when you were there and            9   top --
     10   part of it was when you were not?                        10      A. Uh-huh.
     11      A. Correct.                                           11      Q. -- "Tennessee oxy 15 and 30 through
     12      Q. Okay.                                              12   June 2012," and it says, "Path:/suspicious order
     13           And then looking down, the one that              13   monitoring/distributor information, Sheet:", the sheet
     14   said -- next to No. 5, it says Rippetoe, Inc.?           14   here --
     15      A. Yes.                                               15      A. Oh.
     16      Q. Morristown, Tennessee?                             16      Q. -- "oxy 15 Tennessee?"
     17      A. I see it.                                          17           Do you see that?
     18      Q. And if you look all of the way over to the         18      A. Okay.
     19   end, it says 59,200 units, whatever those are, right,    19      Q. Okay. So it appears that this is the
     20   for 12 months.                                           20   chargeback data for oxy 15s from pharmacies in
     21           Do you see where I am at?                        21   Tennessee, is that correct?
     22      A. I do see that.                                     22      MR. O'CONNOR: Objection.
     23      Q. Okay. And does that seem like a high               23   BY THE WITNESS:
     24   number to you?                                           24      A. Based on what you are telling me because I

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      1   didn't deal with this information.                         1      Q. Okay. So if the population of a town
      2   BY MS. HERZFELD:                                           2   where a pharmacy is located is 29,137 people, yet the
      3       Q. I understand. If you'll just be patient             3   number of oxys are 59,200 being supplied by
      4   with me, too, because it took me kind of a minute.         4   Mallinckrodt, does that seem high to you?
      5           Okay. So looking at that and knowing that          5      MR. O'CONNOR: Objection.
      6   it's oxy 15 and the number for the Rippetoe Pharmacy       6   BY THE WITNESS:
      7   in Morristown, Tennessee is 59,200, if I told you --       7      A. There is no way I'd know. Is this the
      8   well, first, did you ever take into consideration the      8   only pharmacy in town? I don't know that.
      9   population of any particular areas when evaluating         9   BY MS. HERZFELD:
     10   potential suspicious orders?                              10      Q. Does that matter?
     11       MR. O'CONNOR: Objection.                              11      A. If it's the only pharmacy in town, it
     12   BY THE WITNESS:                                           12   might.
     13       A. Personally, I -- I don't recall taking in          13      Q. Okay.
     14   the population, so.                                       14      A. I mean, are they supplying the hospital,
     15   BY MS. HERZFELD:                                          15   are they supplying, you know, multiple doctors, how
     16       Q. Okay. And do you know if anyone at                 16   many -- you know, I just don't know. What's the aging
     17   Mallinckrodt did?                                         17   population of that area? I don't know that, so.
     18       MR. O'CONNOR: Objection.                              18      Q. Okay. So would that information cause you
     19   BY THE WITNESS:                                           19   to do a deeper inquiry, do you think it should have
     20       A. So, are you asking do we know the                  20   flagged an inquiry?
     21   population of Morristown, Tennessee?                      21      MR. O'CONNOR: Objection.
     22   BY MS. HERZFELD:                                          22   BY THE WITNESS:
     23       Q. No, no. I'm just asking if you know if             23      A. I just don't know that.
     24   anybody considered the populations where particular       24   BY MS. HERZFELD:

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      1   pharmacies were located in looking for suspicious          1      Q.    Okay.
      2   orders?                                                    2          Okay. Let's go then to the next one, the
      3       MR. O'CONNOR: Objection.                               3   one next to No. 10 is Jabos Pharmacy, the one we've
      4   BY THE WITNESS:                                            4   talked about before, in Newport, Tennessee.
      5       A. That's not the way we -- we did things.             5          Have you ever been to Newport, Tennessee,
      6   We -- we had distributors there to do it. We               6   sir?
      7   identified their major purchasers there, our               7       A. Not to my knowledge.
      8   customers' customers, and we did look at those people.     8       Q. Okay. And that one appears to have 42,000
      9   So, did we look at the size of the town, I don't know      9   units of oxy 15.
     10   that we did that, so.                                     10       A. Um-hum.
     11   BY MS. HERZFELD:                                          11       Q. Do you know what the population is of
     12       Q. Okay. You don't specifically recall doing          12   Newport, Tennessee?
     13   it?                                                       13       A. I have no idea.
     14       A. Correct.                                           14       Q. Okay. If I told you that the population
     15       Q. Okay. So back to the Rippetoe Pharmacy             15   of Newport, Tennessee -- well, that Newport,
     16   here in Morristown, Tennessee, it has like the third      16   Tennessee, first off, is in Cocke County, which is
     17   highest number for this time period for the oxy 15s at    17   very rural, do you know that?
     18   59,200.                                                   18       MR. O'CONNOR: Objection.
     19          Did you know that the population of                19   BY THE WITNESS:
     20   Morristown, Tennessee is 29,137 during that year?         20       A. There is no way I would know that. I have
     21       MR. O'CONNOR: Objection.                              21   never been there, so.
     22   BY THE WITNESS:                                           22   BY MS. HERZFELD:
     23       A. No.                                                23       Q. Okay. So if I tell you that Newport,
     24   BY MS. HERZFELD:                                          24   Tennessee has a population of 6,833 people as of the

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      1   2010 census, would that at all impact your opinion of        1       A. Well, we --
      2   whether 42,000 units of oxy 15s at the Jabos Pharmacy        2       MR. O'CONNOR: Objection.
      3   in Newport, Tennessee was concerning?                        3   BY THE WITNESS:
      4      MR. O'CONNOR: Objection.                                  4       A. -- we inquired into Jabos when we were at
      5   BY THE WITNESS:                                              5   McKesson -- or not McKesson, but AmerisourceBergen,
      6      A. So, didn't they all -- already cancel                  6   so.
      7   Jabos?                                                       7   BY MS. HERZFELD:
      8   BY MS. HERZFELD:                                             8       Q. But you didn't know the population of
      9      Q. I'm just asking, sir, if that's a flag for             9   Newport, so that wasn't something that was taken into
     10   you?                                                        10   consideration, was it?
     11      MR. O'CONNOR: Objection.                                 11       A. No.
     12   BY THE WITNESS:                                             12       Q. Okay. So moving on to the next one,
     13      A. It is and it may be why they were                     13   you've got No. 21, East Tennessee Discount Drug in
     14   cancelled. I don't know.                                    14   Strawberry Plains, Tennessee.
     15   BY MS. HERZFELD:                                            15          Do you see where we are at?
     16      Q. Okay. Do you know that that's why they                16       A. I do.
     17   were cancelled?                                             17       Q. Okay. And over there it says
     18      A. I don't know that.                                    18   24,900 units --
     19      Q. Okay. So --                                           19       A. Okay.
     20      A. I'm saying it's -- that seems based on the            20       Q. -- of oxy 15 --
     21   population of 6,000, I mean, so.                            21       A. Okay.
     22      Q. It seems high?                                        22       Q. -- for the year from East Tennessee
     23      MR. O'CONNOR: Objection.                                 23   Discount Drug.
     24   BY THE WITNESS:                                             24          Do you see where I am at?

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      1       A. I mean, it seems high, yeah.                          1       A. I do see it.
      2   BY MS. HERZFELD:                                             2       Q. Okay. And do you know what the population
      3       Q. Okay. So could that be an indicator of --             3   is of Strawberry Plains, Tennessee?
      4   of a diversion to you?                                       4       A. I don't.
      5       MR. O'CONNOR: Objection.                                 5       Q. Okay. If I told you that the population
      6   BY THE WITNESS:                                              6   of Strawberry Plains is 4,667 people, do you think it
      7       A. I don't know that and I can't speculate,              7   should have merited some inquiry that there are 24,900
      8   so.                                                          8   oxy 15s going into that pharmacy?
      9   BY MS. HERZFELD:                                             9       MR. O'CONNOR: Objection.
     10       Q. Okay. So if you've got one pharmacy in a             10   BY THE WITNESS:
     11   tiny rural town that's supplying 42,000 15 oxys --          11       A. By AmerisourceBergen, yes.
     12   42,000 oxy 15s for a population in that town of 6,833,      12   BY MS. HERZFELD:
     13   do you think that could indicate that there is a pill       13       Q. Okay. But not by Mallinckrodt?
     14   mill?                                                       14       MR. O'CONNOR: Objection.
     15       MR. O'CONNOR: Objection.                                15   BY THE WITNESS:
     16   BY THE WITNESS:                                             16       A. Not necessarily. We take the information
     17       A. I don't know that, but are they supplying            17   that they provide us initially to try to make a
     18   the whole county? I mean, you'd have to understand          18   determination if they are -- if they are doing due
     19   that counties sometimes have larger populations than a      19   diligence.
     20   town, so.                                                   20   BY MS. HERZFELD:
     21   BY MS. HERZFELD:                                            21       Q. Okay.
     22       Q. Do you think that that's information that            22       A. And we -- we're -- we met with them more
     23   should have been inquired into when you see these           23   than once, so.
     24   numbers?                                                    24       Q. Okay. So going over these three

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      1   pharmacies that we just talked about, Rippetoe, Jabos         1      A. How many?
      2   and East Tennessee Discount Drug, do you think based          2      Q. 6,833.
      3   on population and the number of oxy 15s going into            3      A. Yeah, okay.
      4   those areas that there should have been some red flags        4          Yeah, that's -- again, we don't know how
      5   for diversion inquired into?                                  5   many pharmacies are there. We don't know if they are
      6      MR. O'CONNOR: Objection.                                   6   supplying the whole county. You know, I...
      7   BY THE WITNESS:                                               7      Q. But you would have liked answers to those
      8      A. Are you saying by -- by Mallinckrodt?                   8   questions?
      9   BY MS. HERZFELD:                                              9      A. Yeah, it would have been nice.
     10      Q. Let's start with by the distributors.                  10      Q. Okay. To your knowledge, nobody -- nobody
     11      MR. O'CONNOR: Objection.                                  11   inquired as to those questions, is that right?
     12   BY THE WITNESS:                                              12      A. To the best of my knowledge.
     13      A. By the distributors, yes.                              13      Q. Okay. If you'll give me just one moment.
     14      Q. Okay.                                                  14   Okay. Last one and then we are done.
     15      A. I mean, that's their job to have a program             15          No. 57?
     16   to prevent diversion. If they are selling that many          16      A. 56.
     17   tablets into a tiny little town, it may be that's why        17      Q. 56. Gosh, I'm always off on this.
     18   they were slow in getting us the information. I don't        18            (WHEREUPON, a certain document was
     19   know.                                                        19             marked Mallinckrodt-Ratliff
     20      Q. Okay, sir. But you don't think that was                20             Deposition Exhibit No. 056, for
     21   the responsibility of Mallinckrodt?                          21             identification, as of 12/19/2018.)
     22      MR. O'CONNOR: Objection.                                  22   BY MS. HERZFELD:
     23   BY THE WITNESS:                                              23      Q. Okay. I'll submit to you that this is the
     24      A. There was a time when they were saying                 24   same document except this one the sheet says "oxy 30."

                                                         Page 443                                                          Page 445
      1   "know your customer's customer" to us, not initially,         1           Do you see that at the top?
      2   so there are a lot of customers' customers, so.               2       A. I do.
      3      Q. Okay. And if at that point you had known                3       Q. Okay. So all of that information we just
      4   your customer's customer, would that have been a red          4   went through, let's go through it again, but not quite
      5   flag for you for diversion for East Tennessee Discount        5   as long.
      6   Drug?                                                         6           No. 5 there talks about Rippetoe Pharmacy
      7      MR. O'CONNOR: Objection.                                   7   in Morristown. Do you see where I am at?
      8   BY THE WITNESS:                                               8       A. I do.
      9      A. We would have liked to have had additional              9       Q. Okay. And it says there that there are
     10   information.                                                 10   224,100 units of oxy 30 from Tennessee during that
     11   BY MS. HERZFELD:                                             11   time, is that correct?
     12      Q. Okay. But to your knowledge, nobody                    12       A. It is.
     13   considered the population factor, is that correct?           13       Q. Okay. And Bradley Drug had 212,700 units
     14      MR. O'CONNOR: Objection.                                  14   of oxy 30?
     15   BY THE WITNESS:                                              15       A. So, that -- you are saying that's for a
     16      A. Correct.                                               16   whole year?
     17   BY MS. HERZFELD:                                             17       Q. Yes, sir.
     18      Q. Okay. And the same for Jabos Pharmacy?                 18       A. So --
     19      MR. O'CONNOR: Same objection.                             19       Q. Yes.
     20   BY THE WITNESS:                                              20       A. So divide it up 12 months, it would be --
     21      A. Did we talk about how many people were in              21   and the number of pills in a bottle, I know you -- it
     22   Newport?                                                     22   seems excessive when you just look at the number, but
     23   BY MS. HERZFELD:                                             23   that's for 12 months.
     24      Q. Yes, we did, sir.                                      24       Q. Okay. So let's look at No. 9, Jabos

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      1   Pharmacy in Newport.                                      1   or a lot of customers that buy a lot more than that,
      2      A. Okay.                                               2   and if it's for a whole year, it doesn't seem unusual
      3      Q. 160,800, and we just talked about the               3   to us, so what you are saying is it's a little tiny
      4   population of Jabos. Should that have been concerning     4   town and you should have known that. Well, if you
      5   to Mallinckrodt?                                          5   look at it for a whole year, it doesn't seem nearly as
      6      MR. O'CONNOR: Objection.                               6   large as what you are saying, so.
      7   BY THE WITNESS:                                           7      Q. Don't you think somebody should ask those
      8      A. For an entire year?                                 8   questions, though?
      9   BY MS. HERZFELD:                                          9      MR. O'CONNOR: Objection.
     10      Q. Yes, sir.                                          10   BY MS. HERZFELD:
     11          The population --                                 11      Q. You said all of these questions, how many
     12      A. I'm not --                                         12   elderly people, how big is the county --
     13      Q. -- of Newport we just discussed was 6,833          13      A. Yeah.
     14   people?                                                  14      Q. -- how many hospitals, don't you think
     15      A. Right, right.                                      15   somebody should have asked those questions?
     16      MR. O'CONNOR: Objection.                              16      MR. O'CONNOR: Objection.
     17   BY MS. HERZFELD:                                         17   BY THE WITNESS:
     18      Q. Did that merit further inquiry for                 18      A. The distributor should have asked that.
     19   potential diversion, sir?                                19   BY MS. HERZFELD:
     20      MR. O'CONNOR: Objection.                              20      Q. Okay. But not Mallinckrodt?
     21   BY THE WITNESS:                                          21      MR. O'CONNOR: Objection.
     22      A. For a whole year for 160,000 tablets, not          22   BY THE WITNESS:
     23   necessarily.                                             23      A. We look at this number and it's not that
     24   BY MS. HERZFELD:                                         24   large. Had we looked behind and said, Okay. Let's
                                                       Page 447                                                      Page 449
      1      Q. Not for a town with a population of 6,833           1 just figure out for this one customer, you have to
      2   people?                                                   2 remember there are -- our distributors have thousands
      3      A. Well, I didn't know the population, but             3 of customers, okay.
      4   you need to tell me population of the county.             4 BY MS. HERZFELD:
      5      Q. Okay, sir.                                          5       Q. Yes, sir.
      6      A. Because not everybody lives in the city.            6       A. And so we have to go through every one of
      7      Q. Okay. Sir, if I tell you Cocke County is            7   them and determine the size of the town and then
      8   very rural, does that make a difference?                  8   divide out how much they got for a whole year and how
      9      MR. O'CONNOR: Objection.                               9   many people live in the county, how many are elderly
     10   BY THE WITNESS:                                          10   and how -- you know, I know what you are saying, but
     11      A. Do you know how many people live there in          11   it's not nearly as big a red flag as you are making it
     12   the county?                                              12   to be, in our -- in my opinion. In your opinion, you
     13   BY MS. HERZFELD:                                         13   are doing an admirable job, but what I'm saying is,
     14      Q. No, I'm not going to tell you that right.          14   that's not a lot of tablets for a year.
     15      A. Do you know how many people are elderly?           15       Q. Okay. The question -- my question, sir,
     16   Or do they say --                                        16   is you said that the question should have been asked
     17      Q. No, but I can Google it.                           17   by the distributor and my question is actually pretty
     18      A. But do you understand what I'm saying?             18   simple. It is should those questions have been asked
     19      Q. I do.                                              19   by Mallinckrodt?
     20      A. There are a lot of reasons people would            20       MR. O'CONNOR: Objection.
     21   take material. I'm not discounting the fact that         21   BY THE WITNESS:
     22   maybe some of it was diverted by doctors or              22       A. Based on the number, I don't think so.
     23   unscrupulous people, but what I'm saying is, if you      23   BY MS. HERZFELD:
     24   look at that for a whole year, we have a lot of people   24       Q. Okay. And what about Strawberry Plains,

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      1   if we look here at East Tennessee Discount Drug, No.         1 constantly, Well, we have all of these old people.
      2   12, it says Strawberry Plains had a 115,600 oxy              2 Well, one, the old people, do they not take 5s or 15s.
      3   30 units --                                                  3 Why does everybody take 30s, so.
      4       A. Okay.                                                 4     Q.     To your knowledge --
      5       Q. -- sent during that year to that pharmacy?            5     A.     Folks, that's a legitimate question.
      6       A. I'm sorry. How many.                                  6     Q.     Okay. And to your knowledge, those
      7       Q. 115,600.                                              7 questions weren't asked of these pharmacies in
      8       A. Okay, I've got that.                                  8 Tennessee?
      9       Q. Strawberry Plains, as we discussed, had a             9     MR. O'CONNOR: Objection.
     10   population of 4,667 --                                      10 BY THE WITNESS:
     11       A. Okay.                                                11     A.     To the best of my knowledge, I don't know.
     12       Q. -- people during that year.                          12     MS. HERZFELD: Okay. If you'll give me just a
     13           Do you think that that number could have            13 moment, just take a break real quick.
     14   been indicative of diversion in Strawberry Plains?          14     THE VIDEOGRAPHER: We are going off the record
     15       A. For a -- for a year --                               15 at 8:10.
     16       MR. O'CONNOR: Objection.                                16             (WHEREUPON, a recess was had
     17   BY THE WITNESS:                                             17              from 8:10 to 8:16 p m.)
     18       A. -- it's a -- if you divide it by 12, it's            18     THE VIDEOGRAPHER: We are back on the record at
     19   not a great number.                                         19 8:16.
     20   BY MS. HERZFELD:                                            20    MS. HERZFELD: Okay. Mr. Ratliff, I appreciate
     21       Q. I bet you it is a great number to the                21 your time this evening. I don't have any more
     22   people of Strawberry Plains?                                22 questions for you.
     23       MR. O'CONNOR: Objection.                                23    THE WITNESS: Thank you.
     24   BY THE WITNESS:                                             24     MS. HERZFELD: Thank you.

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      1       A. Well, I'm certain it is. I don't discount             1    MR. KAWAMOTO: So, Andrew, for your cross, do
      2   that at all. But what I'm saying is, if you look at          2 you want me to change places with you or do you want
      3   that as a manufacturer, to me those are things that          3 me just to sit there and object?
      4   the -- the distributor should note.                          4     MR. O'CONNOR: I'm happy for you to sit there.
      5   BY MS. HERZFELD:                                             5 I think it will be literally two minutes.
      6       Q. Okay. So it could --                                  6     MR. KAWAMOTO: Okay.
      7       A. And they should say -- and maybe they                 7           EXAMINATION
      8   should say, This is a rural area and there are only so       8 BY MR. O'CONNOR:
      9   many people, but there are a lot of factors that they        9   Q. Mr. Ratliff, I'm going to show you Exhibit
     10   look at or should look at when they are selling to          10 No. 16 which you looked at earlier today.
     11   some of those areas.                                        11          Do you recall reviewing this document this
     12       Q. Okay. So you think that that's a                     12 afternoon?
     13   potential sign of diversion that should have been           13     A.     Yes.
     14   looked into by the distributor?                             14     Q.     Okay. I'm going to direct your attention
     15       MR. O'CONNOR: Objection.                                15 to the second page, and near the bottom of that
     16   BY THE WITNESS:                                             16 document, earlier today Mr. Kawamoto had you read from
     17       A. They are the ones that are supposed to do            17 a section of the document beginning with "within that
     18   the on-site visits. They should know if it's a town         18 session"?
     19   of 4,000. They should be able to tell us when we            19     A.     Yes.
     20   inquire, you know, how -- you know, how big a town it       20    Q. And I believe you testified that you
     21   is or what, you know, what their -- their aging             21 understood the sentences that follow to be related to
     22   population is or things like that. I don't know that        22 the "know your customer's customer" concept, is that
     23   we've asked that. We did that in Florida now, asking        23 fair?
     24   what the aging population is, because the excuse was        24     A.     Yes. Fair.

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      1      Q. Okay. Are you aware of any instance                   1   Howard Davis as a consultant.
      2   before this e-mail in which you had heard about any         2          Do you see that?
      3   obligation whatsoever to know your customer's               3      A. I do.
      4   customer?                                                   4      Q. Do you recall testifying earlier today
      5      MR. KAWAMOTO: Counsel, what's the date of the            5   that you had hoped that Howard Davis had expertise
      6   e-mail? I don't have the exhibit.                           6   that he could lend to the company?
      7      MR. O'CONNOR: It is July 21st, 2010.                     7      A. Correct.
      8   BY THE WITNESS:                                             8      Q. In actuality, do you have a view about
      9      A. I don't recall that, but it -- it's not               9   whether Howard Davis had expertise that was useful to
     10   part of the statute. It's -- at all, "know your            10   the company on the issue of suspicious order
     11   customer's customer." That's something that the DEA        11   monitoring?
     12   came up with to -- to assist us or cause us to go          12      MR. KAWAMOTO: Objection.
     13   deeper and do a deeper dive, but it's not part of the      13   BY THE WITNESS:
     14   statute.                                                   14      A. It was my belief that he didn't have any
     15   BY MR. O'CONNOR:                                           15   additional information that would assist us.
     16      Q. And before July 21st, 2010, had DEA to the           16   BY MR. O'CONNOR:
     17   best of your recollection ever communicated to             17      Q. What was your opinion about his level of
     18   Mallinckrodt that it should know its customer's            18   expertise on the subject of suspicious order
     19   customer?                                                  19   monitoring?
     20      MR. KAWAMOTO: Objection.                                20      A. He asked -- he asked us a lot of the
     21   BY THE WITNESS:                                            21   questions about what we would be doing or what we
     22      A. It's been a long time ago. I -- I don't              22   should be doing.
     23   recall that, so.                                           23      Q. Did he know the answers?
     24   BY MR. O'CONNOR:                                           24      A. He was asking us to -- to try to school

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      1       Q. Do you recall any instance in which DEA              1 himself on that information.
      2   communicated that Mallinckrodt should know its              2     Q.   Thank you.
      3   customer's customer before July 21st, 2010?                 3    A. He didn't have, in my opinion, any
      4       MR. KAWAMOTO: Objection.                                4 knowledge about this -- the program or as it was
      5   BY THE WITNESS:                                             5 evolving. Now, he had retired, so I don't know that
      6       A. I don't recall.                                      6 they had the know your customer's customer
      7       MR. O'CONNOR: What's the objection?                     7 recommendations at that time, so.
      8       MR. KAWAMOTO: Again, it's been asked and                8     MR. O'CONNOR: Thank you, Mr. Ratliff. That's
      9   answered.                                                   9 all I have.
     10       MR. O'CONNOR: How about the first objection?           10     MR. KAWAMOTO: Can I take a quick break to see
     11       MR. KAWAMOTO: I believe he has already                 11 if I want to recross? How much time did you use?
     12   testified on this.                                         12     MR. O'CONNOR: What's that?
     13       MR. O'CONNOR: Okay. All right.                         13     MR. KAWAMOTO: How much time did you use?
     14   BY MR. O'CONNOR:                                           14     THE VIDEOGRAPHER: We are going off the record
     15       Q. Exhibit No. 20.                                     15 at 8:21.
     16       A. Should we put these back in order?                  16         (WHEREUPON, a recess was had
     17       Q. Don't worry about it.                               17          from 8:21 to 8:23 p m.)
     18       A. Okay.                                               18    THE VIDEOGRAPHER: We are back on the record at
     19       Q. All right. Mr. Ratliff, earlier today you           19 8:23.
     20   reviewed this document marked as Exhibit 20. Do you        20    MR. KAWAMOTO: Okay. I would like to mark this
     21   recall that?                                               21 as whatever the latest exhibit is.
     22       A. I do recall that.                                   22     THE WITNESS: 57.
     23       Q. Can you direct your attention to the                23     MR. KAWAMOTO: Yeah.
     24   bottom paragraph on the second page where it mentions      24          (WHEREUPON, a certain document was

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      1              marked Mallinckrodt-Ratliff                        1   already knew everything in this, that paragraph. So
      2              Deposition Exhibit No. 057, for                    2   what he is doing is trying to be formal by saying, Oh,
      3              identification, as of 12/19/2018.)                 3   if you did this, this would happen, but the answer is,
      4      MR. O'CONNOR: Do you have copies of this?                  4   we were already doing this.
      5      MR. KAWAMOTO: Yes, it should be underneath                 5       Q. And so, sir, your testimony is that if an
      6   there.                                                        6   order was three times the -- if an order was three
      7               FURTHER EXAMINATION                               7   times the prior historical average, Mallinckrodt would
      8   BY MR. KAWAMOTO:                                              8   not have shipped that, is that correct?
      9      Q. Mr. Ratliff, I've handed you an                         9       A. That's correct, yeah.
     10   exhibit marked 269399. It's a memo to Karen Harper           10       Q. Okay. And if they did ship that, that
     11   from Howard Davis.                                           11   would have been improper?
     12          Do you recall receiving this memo?                    12       MR. O'CONNOR: Objection.
     13      A. I'm certain that I saw it at the time.                 13   BY THE WITNESS:
     14      Q. Okay. And do you -- do you recall                      14       A. I would say yes.
     15   reviewing it?                                                15   BY MR. KAWAMOTO:
     16      A. I don't recall specifically because of the             16       Q. Okay. Can you please read the second
     17   length of time. It's been eight plus -- eight plus           17   paragraph -- the first paragraph at the very top?
     18   years, so.                                                   18       A. "Numeric formulas do not identify
     19      Q. Okay. So directing your attention to the               19   circumstances that might be indicative of a diversion,
     20   bottom paragraph, this is by way of example, do you          20   such as ordering larger quantities of a limited
     21   see the bottom paragraph of the memo?                        21   variety regularly that would otherwise not be viewed
     22      A. I do.                                                  22   as suspicious (like ordering controlled substance" --
     23      Q. It starts with "an order." Could you                   23   "substances with few, if any, other drugs or products
     24   please read that?                                            24   whether controlled or non-controlled); ordering highly

                                                            Page 459                                                      Page 461
      1       A. "An order must not be processed and filled             1 abused controlled substances in limited quantities
      2   if it is either suspicious or excessive. The existing         2 disproportionate to other products or even ordering
      3   SOP excels to meet this requirement through a specific        3 them" -- "ordering the same controlled substances from
      4   evaluation process. However, the numeric formula is           4 multiple suppliers."
      5   problematic. For example, should an occasion arise            5       Q. Okay. Thank you, sir.
      6   where an order is three times over the historical             6            I take it you don't have any disagreement
      7   average for that customer and an item or a situation          7   with that statement, do you?
      8   where the order meets but not does not exceed the             8       MR. O'CONNOR: Objection.
      9          criteria, it would theoretically be filled             9   BY THE WITNESS:
     10   through normal processing without further question.          10       A. Part of our form asks controlleds to
     11   In doing so in certain cases, as noted in recent             11   non-controlleds. So we should be able to pick up the
     12   immediate suspensions of other large DEA registrants,        12   fact if they say the majority of their business is oxy
     13   which are all a matter of public record, Mallinckrodt        13   30s, then that's a red flag. And we already had that
     14   would be unnecessarily exposing itself to a potential        14   in a form.
     15   liability. The fundamental basis of the immediate            15   BY MR. KAWAMOTO:
     16   suspensions in question were suspicious order                16       Q. So essentially your criticism of this memo
     17   monitoring deficiencies."                                    17   is that you were already doing everything that the
     18       Q. So do you agree with that paragraph?                  18   memo called for, is that correct?
     19       MR. O'CONNOR: Objection.                                 19       A. Pretty much.
     20   BY THE WITNESS:                                              20       Q. And if you were not doing that, then that
     21       A. I do agree in that we would have                      21   means that you -- you would -- that would not be
     22   already -- we wouldn't send it out if it was three           22   proper, correct?
     23   times, though, what they had been ordering. I mean,          23       MR. O'CONNOR: Objection.
     24   that's a simplistic view of that. You know, we               24   BY THE WITNESS:

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      1      A. No, I'm not saying that. I'm saying we                  1              REPORTER'S CERTIFICATE
      2   were doing almost -- almost everything that he came up        2
      3   with, and that was already in our files and already in        3          I, JULIANA F. ZAJICEK, C.S.R. No. 84-2604,
      4   our procedures, that's what I'm saying.                       4   a Certified Shorthand Reporter, do hereby certify:
      5   BY MR. KAWAMOTO:                                              5          That previous to the commencement of the
      6      Q. Okay. And can you identify anything he                  6   examination of the witness herein, the witness was
      7   has come up with that you weren't doing?                      7   duly sworn to testify the whole truth concerning the
      8      A. Do you want me to read the whole thing?                 8   matters herein;
      9   Because I'm saying right now we were already asking           9          That the foregoing deposition transcript
     10   those questions in our file, in our --                       10   was reported stenographically by me, was thereafter
     11      Q. And to the degree that you were shipping               11   reduced to typewriting under my personal direction and
     12   orders that violated these general criteria that he is       12   constitutes a true record of the testimony given and
     13   laying out here, that would not have been proper,            13   the proceedings had;
     14   that's all I'm trying to get at?                             14          That the said deposition was taken before
     15      MR. O'CONNOR: Objection.                                  15   me at the time and place specified;
     16   BY THE WITNESS:                                              16          That I am not a relative or employee or
     17      A. I'm saying we weren't shipping out orders              17   attorney or counsel, nor a relative or employee of
     18   that he is pointing out would -- these are                   18   such attorney or counsel for any of the parties
     19   hypothetical situations that he is pointing out. They        19   hereto, nor interested directly or indirectly in the
     20   are not actual situations. They are hypothetical.            20   outcome of this action.
     21      MR. O'CONNOR: Counsel, you have about -- you              21          IN WITNESS WHEREOF, I do hereunto set my
     22   have about ten seconds.                                      22   hand on this 24th day of December, 2018.
     23      MR. KAWAMOTO: Okay. Nothing further. Thank                23          _____________________________________
     24   you.                                                         24          JULIANA F. ZAJICEK, Certified Reporter

                                                          Page 463                                                               Page 465
      1      THE WITNESS: Thank you.                                    1            DEPOSITION ERRATA SHEET
      2      THE VIDEOGRAPHER: We are going off the record              2
      3 at 8:28.                                                        3
      4           (Time Noted: 8:28 p m.)                               4 Case Caption: In Re: National Prescription
      5         FURTHER DEPONENT SAITH NAUGHT.                          5             Opiate Litigation
      6                                                                 6
      7                                                                 7         DECLARATION UNDER PENALTY OF PERJURY
      8                                                                 8
      9                                                                 9          I declare under penalty of perjury that I
     10                                                                10 have read the entire transcript of my Deposition taken
     11                                                                11 in the captioned matter or the same has been read to
     12                                                                12 me, and the same is true and accurate, save and except
     13                                                                13 for changes and/or corrections, if any, as indicated
     14                                                                14 by me on the DEPOSITION ERRATA SHEET hereof, with the
     15                                                                15 understanding that I offer these changes as if still
     16                                                                16 under oath.
     17                                                                17
     18                                                                18                     WILLIAM RATLIFF
     19                                                                19
     20                                                                20 SUBSCRIBED AND SWORN TO
     21                                                                21 before me this       day
     22                                                                22 of             , A.D. 20__.
     23                                                                23
     24                                                                24         Notary Public


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Case: 1:17-md-02804-DAP Doc #: -1983-19
      Highly Confidential               Filed:
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                                               Further 118Confidentiality
                                                           of 118. PageID #: 248354
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                                                     Page 466
      1          DEPOSITION ERRATA SHEET
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     23 SIGNATURE:_______________________DATE:___________
     24            WILLIAM RATLIFF

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      1         DEPOSITION ERRATA SHEET
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     23 SIGNATURE:_______________________DATE:___________
     24            WILLIAM RATLIFF


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